Case No. 1:20-cr-00305-DDD       Document 645-4         filed 01/24/25    USDC Colorado      pg
                                       1 of 460



                                                                                     APPEAL,TERMED
                U.S. District Court − District of Colorado
                      District of Colorado (Denver)
    CRIMINAL DOCKET FOR CASE #: 1:20−cr−00305−DDD All Defendants

  Case title: USA v. Tew et al

   Magistrate judge case number: 1:20−mj−00088−KLM

  Date Filed: 09/29/2020

  Date Terminated: 12/06/2024

  Assigned to: Judge Daniel D.
  Domenico
  Appeals court case number:
  24−1465 USCA−10th Circuit

  Defendant (1)
  Michael Aaron Tew                 represented by Peter R. Bornstein
  TERMINATED: 11/15/2024                           Peter R. Bornstein, Law Offices of
                                                   6060 Greenwood Plaza Boulevard
                                                   Suite 500
                                                   Greenwood Village, CO 80111
                                                   720−354−4440
                                                   Fax: 720−287−5674
                                                   Email: pbornstein@prblegal.com
                                                   TERMINATED: 01/30/2023
                                                   LEAD ATTORNEY
                                                   Designation: CJA Appointment

                                                     David C. Boyer , Jr.
                                                     Newland Legal PLLC
                                                     PO Box 1413
                                                     Midlothian, TX 76065
                                                     469−948−1489
                                                     Email: david@newlandlegal.com
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Edward R. Harris
                                                     Federal Public Defender's Office
                                                     Districts of Colorado and Wyoming
                                                     633 17th Street
                                                     Suite 1000
                                                     Denver, CO 80202
                                                     303−294−7002
                                                     Email: co.ecf@fd.org


                                                                                                     1
Case No. 1:20-cr-00305-DDD   Document 645-4      filed 01/24/25    USDC Colorado          pg
                                   2 of 460



                                              TERMINATED: 10/21/2020
                                              Designation: Public Defender or Community
                                              Defender Appointment

                                              Eric M. Creizman
                                              Armstrong Teasdale LLP
                                              919 Third Avenue
                                              37th Floor
                                              New York, NY 10012
                                              212−209−4400 x4358
                                              Fax: 212−409−8385
                                              Email: ecreizman@atllp.com
                                              TERMINATED: 08/13/2020
                                              Designation: Retained

                                              Jason Dale Schall
                                              Bowlin & Schall Law LLC
                                              7350 East Progress Place
                                              Suite 100
                                              Greenwood Village, CO 80111
                                              720−505−3861
                                              Email: jason@bowsch.com
                                              ATTORNEY TO BE NOTICED
                                              Designation: CJA Appointment

                                              Kristen M. Frost
                                              Ridley McGreevy & Winocur PC
                                              303 16th Street
                                              Suite 200
                                              Denver, CO 80202
                                              303−629−9700
                                              Fax: 303−629−9702
                                              Email: frost@ridleylaw.com
                                              ATTORNEY TO BE NOTICED

                                              Michael Hassard
                                              Tor Ekeland Law, PLLC
                                              30 Wall Street
                                              8th Floor
                                              New York, NY 10005
                                              718−737−7264
                                              Email: michael@torekeland.com
                                              TERMINATED: 03/07/2022
                                              Designation: Retained

                                              Michael J. Sheehan
                                              Sheehan Law
                                              8400 East Prentice Avenue
                                              Suite 1040
                                              Greenwood Village, CO 80111
                                              720−381−6146
                                              Email: michael.sheehan.esq@gmail.com


                                                                                               2
Case No. 1:20-cr-00305-DDD          Document 645-4      filed 01/24/25      USDC Colorado          pg
                                          3 of 460



                                                     TERMINATED: 07/29/2020
                                                     Designation: Retained

                                                     Thomas Richard Ward
                                                     Stuart & Ward LLP
                                                     140 East 19th Avenue
                                                     Suite 300
                                                     Denver, CO 80203
                                                     303−832−8888
                                                     Email: tward@stuartwardlaw.com
                                                     TERMINATED: 03/18/2021
                                                     Designation: CJA Appointment

                                                     Tor Bernhard Ekeland
                                                     Tor Ekeland Law, PLLC
                                                     30 Wall Street
                                                     8th Floor
                                                     New York, NY 10005
                                                     718−737−7264
                                                     Email: tor@torekeland.com
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

                                                     Xuan Zhou
                                                     Lewis Brisbois Bisgaard & Smith LLP
                                                     550 West C Street
                                                     Suite 1700
                                                     San Diego, CA 92101
                                                     619−233−1006
                                                     Email: xuan.zhou@lewisbrisbois.com
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

                                                     Zachary Lee Newland
                                                     Newland Legal, PLLC
                                                     P.O. Box 3610
                                                     Evergreen, CO 80437
                                                     303−948−1489
                                                     Email: zach@newlandlegal.com
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

  Pending Counts                                     Disposition
  18 U.S.C. § 1349 (Conspiracy to                    Defendant shall be imprisoned for a total term of
  Commit Wire Fraud)                                 forty−two (42) months. This term consists of
  (1s)                                               forty−two (42) months on each of Counts 1 through
                                                     42 and 44 through 56; and twelve (12) months on
                                                     each of counts 57 through 60; all counts imposed
                                                     concurrently. Three (3) years supervised release on
                                                     each count, to run concurrently. , $5,600.00 special
                                                     assessment, no fine, and restitution in the total


                                                                                                            3
Case No. 1:20-cr-00305-DDD            Document 645-4      filed 01/24/25      USDC Colorado          pg
                                            4 of 460



                                                       amount of $6,331,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
                                                       forty−two (42) months on each of Counts 1 through
                                                       42 and 44 through 56; and twelve (12) months on
  18 U.S.C. § 1343 (Wire Fraud)
                                                       each of counts 57 through 60; all counts imposed
  (2s−40s)
                                                       concurrently. Three (3) years supervised release on
                                                       each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $$6,331,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
                                                       forty−two (42) months on each of Counts 1 through
  18 U.S.C. § 1956(h) (Conspiracy                      42 and 44 through 56; and twelve (12) months on
  to Commit Money Laundering)                          each of counts 57 through 60; all counts imposed
  (41s)                                                concurrently. Three (3) years supervised release on
                                                       each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $$6,331,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
  18 U.S.C. § 1957 (Engaging in                        forty−two (42) months on each of Counts 1 through
  Monetary Transactions in                             42 and 44 through 56; and twelve (12) months on
  Property Derived from Specified                      each of counts 57 through 60; all counts imposed
  Unlawful Activity)                                   concurrently. Three (3) years supervised release on
  (42s)                                                each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $$6,331,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
  18 U.S.C. § 1957 (Engaging in                        forty−two (42) months on each of Counts 1 through
  Monetary Transactions in                             42 and 44 through 56; and twelve (12) months on
  Property Derived from Specified                      each of counts 57 through 60; all counts imposed
  Unlawful Activity)                                   concurrently. Three (3) years supervised release on
  (44s−56s)                                            each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $6,331,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
                                                       forty−two (42) months on each of Counts 1 through
  26 U.S.C. § 7203 (Willful Failure                    42 and 44 through 56; and twelve (12) months on
  to File Tax Return)                                  each of counts 57 through 60; all counts imposed
  (57s−60s)                                            concurrently. Three (3) years supervised release on
                                                       each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $6,331,622.10.

  Highest Offense Level
  (Opening)


                                                                                                              4
Case No. 1:20-cr-00305-DDD          Document 645-4      filed 01/24/25    USDC Colorado   pg
                                          5 of 460



  Felony

  Terminated Counts                                  Disposition
  18 U.S.C. § 1349 (Attempt and
  Conspiracy)
  (1)
  18 U.S.C. § 1957 (Engaging in
  Monetary Transactions in
  Property Derived from Specified
  Unlawful Activity)
  (2)
  26 U.S.C. § 7201 (Attempt to
  Evade or Defeat Tax)
  (3)

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                         Disposition
  18 U.S.C. § 19569(h) Conspiracy
  to Commit Money Laundering

  Assigned to: Judge Daniel D.
  Domenico
  Appeals court case number:
  24−1333 USCA−10th Circuit

  Defendant (2)
  Kimberley Ann Tew                     represented by Peter R. Bornstein
  TERMINATED: 08/13/2024                               (See above for address)
  also known as                                        TERMINATED: 12/29/2022
  Kimberley Vertanen                                   LEAD ATTORNEY
  TERMINATED: 08/13/2024                               Designation: CJA Appointment

                                                      David Scott Kaplan
                                                      Stimson LaBranche Hubbard, LLC
                                                      1652 North Downing Street
                                                      Denver, CO 80203
                                                      720−689−8909
                                                      Fax: 720−689−8909
                                                      Email: kaplan@slhlegal.com
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

                                                      Jamie Hughes Hubbard


                                                                                               5
Case No. 1:20-cr-00305-DDD          Document 645-4    filed 01/24/25       USDC Colorado           pg
                                          6 of 460



                                                     Stimson LaBranche Hubbard, LLC
                                                     1652 North Downing Street
                                                     Denver, CO 80218
                                                     720−689−8909
                                                     Email: hubbard@slhlegal.com
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Michael Hassard
                                                     (See above for address)
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

                                                     Tor Bernhard Ekeland
                                                     (See above for address)
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

                                                     Xuan Zhou
                                                     (See above for address)
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

  Pending Counts                                     Disposition
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−eight (48) months on each count to run
  18 U.S.C. § 1349 (Conspiracy to
                                                     concurrently, three (3) years supervised release on
  Commit Wire Fraud)
                                                     each count to run concurrently, $100.00 special
  (1)
                                                     assessment ($1,200 total), no fine, and restitution in
                                                     the total amount of $5,023,878.50.
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                      concurrently, three (3) years supervised release on
  (21−22)                                            each count to run concurrently, $100.00 special
                                                     assessment ($1,200 total), no fine, and restitution in
                                                     the total amount of $5,023,878.50.
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                      concurrently, three (3) years supervised release on
  (25−26)                                            each count to run concurrently, $100.00 special
                                                     assessment ($1,200 total), no fine, and restitution in
                                                     the total amount of $5,023,878.50.
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−eight (48) months on each count to run
  18 U.S.C. § 1343 (Wire Fraud)                      concurrently, three (3) years supervised release on
  (31−32)                                            each count to run concurrently, $100.00 special
                                                     assessment ($1,200 total), no fine, and restitution in
                                                     the total amount of $5,023,878.50.



                                                                                                              6
Case No. 1:20-cr-00305-DDD            Document 645-4    filed 01/24/25       USDC Colorado           pg
                                            7 of 460



  18 U.S.C. § 1956(h) (Conspiracy                      Defendant shall be imprisoned for a total term of
  to Commit Money Laundering)                          forty−eight (48) months on each count to run
  (41)                                                 concurrently, three (3) years supervised release on
                                                       each count to run concurrently, $100.00 special
                                                       assessment ($1,200 total), no fine, and restitution in
                                                       the total amount of $5,023,878.50.
                                                       Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                       forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                       concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                       each count to run concurrently, $100.00 special
  Activity)
                                                       assessment ($1,200 total), no fine, and restitution in
  (43−44)
                                                       the total amount of $5,023,878.50.
                                                       Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                       forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                       concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                       each count to run concurrently, $100.00 special
  Activity)
                                                       assessment ($1,200 total), no fine, and restitution in
  (47)
                                                       the total amount of $5,023,878.50.
                                                       Defendant shall be imprisoned for a total term of
  18 U.S.C. § 1957 (Engaging in
                                                       forty−eight (48) months on each count to run
  Monetary Transactions in Property
                                                       concurrently, three (3) years supervised release on
  Derived from Specified Unlawful
                                                       each count to run concurrently, $100.00 special
  Activity)
                                                       assessment ($1,200 total), no fine, and restitution in
  (56)
                                                       the total amount of $5,023,878.50.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                    Disposition
  18 U.S.C. § 1343 (Wire Fraud)
                                                       Dismissed by Court during jury trial.
  (16)
  18 U.S.C. § 1957 (Engaging in
  Monetary Transactions in Property
  Derived from Specified Unlawful                      Defendant was found not guilty by jury at trial.
  Activity)
  (48)

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                           Disposition
  None

  Assigned to: Judge Daniel D.
  Domenico

                                                                                                                7
Case No. 1:20-cr-00305-DDD          Document 645-4       filed 01/24/25      USDC Colorado          pg
                                          8 of 460




  Defendant (3)
  Jonathan K. Yioulos                   represented by Michael John Tallon
  TERMINATED: 12/06/2024                               Michael J. Tallon, Attorney at Law
                                                       401 Stony Brook Road
                                                       Rush, NY 14543−9419
                                                       585−329−8139
                                                       Email: mtallon@tallonlaw.com
                                                       TERMINATED: 07/20/2023
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained

                                                       Richard Kent Kornfeld
                                                       Recht & Kornfeld, P.C.
                                                       1600 Stout Street
                                                       Suite 1400
                                                       Denver, CO 80202
                                                       303−573−1900
                                                       Fax: 303−446−9400
                                                       Email: rick@rklawpc.com
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Retained

  Pending Counts                                       Disposition
                                                       Defendant shall be imprisoned for a total term of
                                                       two (2) months on each count to run concurrently,
  18 U.S.C. § 1349 (Conspiracy to
                                                       three (3) years supervised release on each count to
  Commit Wire Fraud)
                                                       run concurrently, $200.00 special assessment, no
  (1)
                                                       fine, and restitution in the total amount of
                                                       $5,023,878.50.
                                                       Defendant shall be imprisoned for a total term of
                                                       two (2) months on each count to run concurrently,
  18 U.S.C. § 1343 (Wire Fraud)                        three (3) years supervised release on each count to
  (39)                                                 run concurrently, $200.00 special assessment, no
                                                       fine, and restitution in the total amount of
                                                       $5,023,878.50.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                    Disposition
  18 U.S.C. § 1343 (Wire Fraud)                        Dismissed on United States of Americas Motion to
  (2−38)                                               Dismiss Counts.
  18 U.S.C. § 1343 (Wire Fraud)                        Dismissed on United States of Americas Motion to
  (40)                                                 Dismiss Counts.

  Highest Offense Level


                                                                                                             8
Case No. 1:20-cr-00305-DDD         Document 645-4    filed 01/24/25     USDC Colorado        pg
                                         9 of 460



  (Terminated)
  Felony

  Complaints                                        Disposition
  None



  Movant
  National Air Cargo Holdings, Inc.          represented by Eric S. Galler
                                                            Galler Corporate Law Group
                                                            9466 Georgia Avenue
                                                            Suite 130
                                                            Silver Spring, MD 20910
                                                            301−728−3850
                                                            Email: egaller@gcorplaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                            Nancy Lin Cohen
                                                            Cohen Black Law LLC
                                                            1888 North Sherman Street
                                                            Suite 770
                                                            Denver, CO 80203
                                                            720−699−2323
                                                            Email: nancy@cohenblacklaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained



  Movant
  National Air Cargo Group, Inc.             represented by Eric S. Galler
  doing business as                                         (See above for address)
  National Airlines                                         LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                            Nancy Lin Cohen
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained



  Movant
  Christopher J. Alf                         represented by Eric S. Galler
                                                            (See above for address)


                                                                                                  9
Case No. 1:20-cr-00305-DDD   Document 645-4    filed 01/24/25    USDC Colorado         pg
                                   10 of 460



                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

                                                      Nancy Lin Cohen
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Movant
  Atlantic Union Bank                  represented by Lisa Marie Saccomano
                                                      Kutak Rock LLP
                                                      2001 16th Street
                                                      Suite 1800
                                                      Denver, CO 80202
                                                      303−297−2400
                                                      Email: lisa.saccomano@kutakrock.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Plaintiff
  USA                                  represented by Matthew T. Kirsch
                                                      U.S. Attorney's Office
                                                      District of Colorado
                                                      1801 California Street
                                                      Suite 1600
                                                      Denver, CO 80202
                                                      303−454−0100
                                                      Fax: 303−454−0402
                                                      Email: matthew.kirsch@usdoj.gov
                                                      TERMINATED: 11/17/2021
                                                      LEAD ATTORNEY
                                                      Designation: Federal Agency Attorney

                                                     Albert C. Buchman
                                                     U.S. Attorney's Office
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0228
                                                     Email: al.buchman@usdoj.gov
                                                     TERMINATED: 12/12/2023
                                                     Designation: Federal Agency Attorney

                                                     Andrea Lee Surratt
                                                     Crowell & Moring LLP


                                                                                             10
Case No. 1:20-cr-00305-DDD   Document 645-4    filed 01/24/25    USDC Colorado        pg
                                   11 of 460



                                                     District of Colorado
                                                     1601 Wewatta Street
                                                     Suite 815
                                                     Denver, CO 80202
                                                     303−524−8645
                                                     Email: asurratt@crowell.com
                                                     TERMINATED: 06/16/2022
                                                     Designation: Federal Agency Attorney

                                                     Bryan David Fields
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0100
                                                     Fax: 303−454−0402
                                                     Email: bryan.fields3@usdoj.gov
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Agency Attorney

                                                     Hetal Janak Doshi
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     202−808−4241
                                                     Email: hetal.doshi@usdoj.gov
                                                     TERMINATED: 02/02/2022
                                                     Designation: Federal Agency Attorney

                                                     Laura Beth Hurd
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0135
                                                     Fax: 303−454−0402
                                                     Email: laura.hurd@usdoj.gov
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Agency Attorney

                                                     Martha Ann Paluch
                                                     U.S. Attorney's Office
                                                     District of Colorado
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0100
                                                     Fax: 303−454−0402


                                                                                            11
Case No. 1:20-cr-00305-DDD        Document 645-4       filed 01/24/25      USDC Colorado         pg
                                        12 of 460



                                                              Email: Martha.paluch@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                              Sarah Hunter Weiss
                                                              U.S. Attorney's Office
                                                              District of Colorado
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0100
                                                              Email: sarah.weiss@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

   Date Filed   #   Docket Text
   07/08/2020   1   CRIMINAL COMPLAINT as to Michael Aaron Tew (1). (Attachments: # 1
                    Affidavit, # 2 Criminal Information Sheet) (cmadr, ) [1:20−mj−00088−KLM]
                    (Entered: 07/09/2020)
   07/08/2020   2   Arrest Warrant Issued in case as to Michael Aaron Tew. (cmadr, )
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   3   Arrest of Michael Aaron Tew. Initial Appearance set for 7/9/2020 02:00 PM in
                    Courtroom A 401 before Magistrate Judge Kristen L. Mix. (Text Only entry)(cmadr,
                    ) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   4   NOTICE OF ATTORNEY APPEARANCE: Michael James Sheehan appearing for
                    Michael Aaron TewAttorney Michael James Sheehan added to party Michael Aaron
                    Tew(pty:dft) (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   5   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                    Hetal) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   6   ORDER ***granting 5 Motion as to Michael Aaron Tew (1), by Magistrate Judge
                    Kristen L. Mix on 7/9/20. (nmarb, ) (nmarb, ). [1:20−mj−00088−KLM] (Entered:
                    07/09/2020)
   07/09/2020   7   MINUTE ENTRY for Initial Appearance as to Michael Aaron Tew held before
                    Magistrate Judge Kristen L. Mix on 7/9/2020. Defendant present in custody via video
                    conference. Defendant advised. Defendant has retained private counsel and is not
                    requesting court appointed counsel. Parties address the Court regarding release
                    conditions. Bond set as to Michael Aaron Tew (1) $20,000 Unsecured with the
                    conditions as set forth in the Order Setting Conditions of Release. Preliminary
                    Examination set for 7/29/2020 2:00 PM in Courtroom A501 before Magistrate Judge
                    Michael E. Hegarty. Defendant advised of conditions of bond and remanded for
                    processing and release. (Total time: 14 minutes, Hearing time: 2:08−2:22)

                    APPEARANCES: Hetal Doshi on behalf of the Government via video conference,
                    Michael Sheehan on behalf of the defendant, Angela Ledesma on behalf of pretrial
                    via video conference FTR: KLM Courtroom A401. (lgale, ) Text Only Entry
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)



                                                                                                          12
Case No. 1:20-cr-00305-DDD       Document 645-4           filed 01/24/25      USDC Colorado           pg
                                       13 of 460



   07/09/2020    8   Unsecured Bond Entered as to Michael Aaron Tew in amount of $20,000 (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020    9   ORDER Setting Conditions of Release as to Michael Aaron Tew (1) $20,000
                     Unsecured by Magistrate Judge Kristen L. Mix on 7/9/20. (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/10/2020   11   Passport Receipt as to Michael Aaron Tew.Surrender of passport re Bond Conditions;
                     Passport Number 484644160 issued by USA (jtorr, ) [1:20−mj−00088−KLM]
                     (Entered: 07/10/2020)
   07/15/2020   12   Arrest Warrant Returned Executed on 7/8/20 in case as to Michael Aaron Tew.
                     (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/15/2020)
   07/20/2020   13   Unopposed MOTION to Withdraw as Attorney by Michael Sheehan by Michael
                     Aaron Tew. (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/20/2020)
   07/21/2020   14   MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 21 July 2020 as to
                     Michael Aaron Tew. The Court is not in possession of a financial affidavit by which
                     to determine whether court appointed counsel is appropriate in this case.Therefore,
                     on or before July 24, 2020, Defendant shall complete and file a financial affidavit by
                     which the Court may determine whether to appoint counsel for Defendant. (cmadr, )
                     [1:20−mj−00088−KLM] (Entered: 07/21/2020)
   07/25/2020   15   SUPPLEMENT to 13 Unopposed MOTION to Withdraw as Attorney by Michael
                     Sheehan by Michael Aaron Tew (Sheehan, Michael) [1:20−mj−00088−KLM]
                     (Entered: 07/25/2020)
   07/28/2020   16   Joint MOTION to Exclude Time Before Indictment by USA as to Michael Aaron
                     Tew. (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 07/28/2020)
   07/28/2020   17   NOTICE OF ATTORNEY APPEARANCE: Eric M. Creizman appearing for
                     Michael Aaron Tew. Attorney Eric M. Creizman added to party Michael Aaron Tew.
                     (pty:dft) (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   18   Minute ORDER by Magistrate Judge Michael E. Hegarty on 29 July 2020. For good
                     cause shown pursuant to D.C. Colo. LAttyR 5(b), the Motion to Withdraw filedby
                     Michael Sheehan 13 is granted. Mr. Sheehan's representation of the Defendant in this
                     case is terminated. Defendant will continue to be represented Eric Creizman. (cmadr,
                     ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   19   COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E.
                     Hegarty: Preliminary Hearing as to Michael Aaron Tew held on 7/29/2020.
                     Defendant present on bond. Preliminary hearing waived. Status Conference set for
                     10/14/2020 at 02:00 PM in Courtroom A 501 before Magistrate Judge Michael E.
                     Hegarty. (Total time: 8 minutes, Hearing time: 2:12 p.m.−2:20 p.m.)

                     APPEARANCES: Hetal Doshi and Matthew Kirsch on behalf of the Government,
                     Eric Creizman on behalf of the defendant. FTR: A501. (cthom, ) Text Only Entry
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   20   WAIVER of Preliminary Hearing by Michael Aaron Tew (cthom, )
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   21


                                                                                                              13
Case No. 1:20-cr-00305-DDD       Document 645-4          filed 01/24/25       USDC Colorado          pg
                                       14 of 460



                     ORDER granting 16 Motion to Exclude as to Michael Aaron Tew (1) by Magistrate
                     Judge Michael E. Hegarty on 7/29/2020. (cthom, ) [1:20−mj−00088−KLM] (Entered:
                     07/29/2020)
   08/04/2020   22   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 08/04/2020)
   08/07/2020   24   NOTICE OF ATTORNEY APPEARANCE Matthew T. Kirsch appearing for USA.
                     Attorney Matthew T. Kirsch added to party USA(pty:pla) (Kirsch, Matthew)
                     [1:20−mj−00088−KLM] (Entered: 08/07/2020)
   08/12/2020   25   MOTION to Withdraw as Attorney by Eric M. Creizman by Michael Aaron Tew.
                     (Creizman, Eric) [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   26   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   27   MOTION for Leave to Restrict by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/13/2020   28   Minute ORDER by Magistrate Judge Kristen L. Mix on 13 August 2020. IT IS
                     HEREBY ORDERED that, on or before August 20, 2020, Defendant shall complete
                     and file a financial affidavit (attached to this Minute Order) by which the Court may
                     determine whether to appoint counsel for Defendant. IT IS FURTHER ORDERED
                     that the Motion to Withdraw # 25 is GRANTED to the extent that Mr. Creizman is
                     relieved of all further representation of Defendant. (Attachments: # 1 CJA
                     Attachment) (cmadr, ) [1:20−mj−00088−KLM] (Entered: 08/13/2020)
   08/17/2020   29   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Attachments: # 1
                     Affidavit CJA 23 Affidavit)(Creizman, Eric) [1:20−mj−00088−KLM] (Entered:
                     08/17/2020)
   08/19/2020   30   MINUTE ORDER APPOINTING COUNSEL Under CJA, as to Michael Aaron Tew
                     by Magistrate Judge Kristen L. Mix on 8/19/20. IT IS FURTHER ORDERED that if
                     it appears at any time that the Defendant can afford to pay counsel, reimbursement of
                     attorney fees may be required pursuant to 18 U.S.C. §3006A(f). (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 08/19/2020)
   08/24/2020   31   NOTICE OF ATTORNEY APPEARANCE: Edward R. Harris appearing for Michael
                     Aaron TewAttorney Edward R. Harris added to party Michael Aaron Tew(pty:dft)
                     (Harris, Edward) [1:20−mj−00088−KLM] (Entered: 08/24/2020)
   09/17/2020   32   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/17/20 GRANTING 27
                     Motion for Leave to Restrict, as to Michael Aaron Tew (1). Pursuant
                     toD.COLO.LCrR 47.1, the Clerk of the Court is directed to maintain the following
                     document UNDER RESTRICTION at LEVEL 3:1 Declaration of Eric M. Creizman
                     in Support of Motion to Withdraw as Counsel to Michael Tew [#26]. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   33   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   34   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/17/2020)



                                                                                                             14
Case No. 1:20-cr-00305-DDD       Document 645-4           filed 01/24/25      USDC Colorado           pg
                                       15 of 460



   09/18/2020   35   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/18/2020   36   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/22/2020   37   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/22/20 as to Michael
                     Aaron Tew re 36 Restricted Document − Level 1. Status Conference set for
                     11/9/2020 10:00 AM in Courtroom A401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) [1:20−mj−00088−KLM] (Entered: 09/22/2020)
   09/24/2020   38   Utility Setting Hearings as to Michael Aaron Tew: Text Only Entry Status
                     Conference set for 9/29/2020 01:30 PM in Courtroom A 502 before Magistrate Judge
                     Nina Y. Wang. All parties shall appear by video/telephone conference. (bwilk, )
                     [1:20−mj−00088−KLM] (Entered: 09/28/2020)
   09/29/2020   39   MOTION for Leave to Restrict by Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   40   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   41   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   42   Unopposed MOTION to Modify 8 Bond, 7 Initial Appearance,,,, Bond Set/Reset,,,,
                     Set Hearings,,,, Text Only Entry − Prompts,,, 9 Order Setting Conditions of Release
                     by Michael Aaron Tew. (Harris, Edward) [1:20−mj−00088−KLM] (Entered:
                     09/29/2020)
   09/29/2020   44   COURTROOM MINUTES for Status Conference, and Arraignment as to Michael
                     Aaron Tew held on 9/29/2020 before Magistrate Judge Nina Y. Wang. Defendant
                     present on bond appearing by videoconference. Defendant advised regarding
                     proceeding by remote means pursuant to CARES Act. Defendant consents.
                     Defendant waives proceeding by indictment. Defendant sworn. Defendant questioned
                     regarding waiver. Waiver tendered to the court. Information and penalty sheet
                     tendered. Criminal Case number issues is 20−cr−00305. Defendant advised regarding
                     the charges, penalties, and fines. Plea of NOT GUILTY entered by defendant. Parties
                     do not believe a discovery conference is necessary in this matter. Defendant intends
                     to file a motion to modify bond which will likely be referred to Judge Mix since she
                     set the original conditions. Parties discuss process for Restricting #39 to Level 1 and
                     the notice period. Defendants bond continues. (Total time: 16 minutes, Hearing time:
                     1:33−1:49)

                     APPEARANCES: Hetal Doshi and Matthew Krisch on behalf of the Government,
                     Edward Harris on behalf of the Defendant. FTR: NYW−CRD. (bwilk, ) Text Only
                     Entry [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   45   WAIVER OF INDICTMENT by Michael Aaron Tew by Magistrate Judge Nina Y.
                     Wang on 9/29/2020. (bwilk, ) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/29/2020   49   UNRESTRICTED INFORMATION − Level 2 as to Michael Aaron Tew (1) count(s)
                     1, 2, 3. (Attachments: # 1Penalty Sheet ) (bwilk, ) Modified on 10/9/2020 to adjust
                     restriction level (athom, ). Modified on 1/20/2021 to unrestrict pursuant to 81 Order
                     (athom, ). (Entered: 10/05/2020)


                                                                                                               15
Case No. 1:20-cr-00305-DDD       Document 645-4           filed 01/24/25      USDC Colorado          pg
                                       16 of 460



   09/30/2020   46   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/30/2020   48   RESTRICTED DOCUMENT − Level 1 as to Michael Aaron Tew. (jgonz, ) (Entered:
                     10/02/2020)
   10/01/2020   47   NOTICE of Disposition by Michael Aaron Tew (Harris, Edward) (Entered:
                     10/01/2020)
   10/06/2020   50   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 10/6/20 as to Michael
                     Aaron Tew re 42 Unopposed MOTION to Modify 8 Bond. Motion Hearing set for
                     10/8/2020 1:30 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) (Entered: 10/06/2020)
   10/07/2020   51   ORDER Setting Change of Plea hearing and Authorizing VTC or Telephone
                     Conference as to Michael Aaron Tew re 47 Notice of Disposition. Change of Plea
                     Hearing set for 10/22/2020 10:30 AM in Courtroom A 702 before Judge Daniel D.
                     Domenico. The change−of−plea hearing in the above−referenced matter shall be
                     conducted by VTC, or by telephone conference if VTC is not reasonably available.
                     By Judge Daniel D. Domenico on 10/07/2020. (athom, ) (Entered: 10/07/2020)
   10/08/2020   52   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew held before
                     Magistrate Judge Kristen L. Mix on 10/8/2020. Defendant present on bond via video
                     conference. Parties address the Court regarding 42 Motion to Modify as to Michael
                     Aaron Tew (1). For the reasons stated on the record, it is: ORDERED: 42 Motion to
                     Modify as to Michael Aaron Tew (1) is GRANTED. Defendant's bond is modified to
                     remove the condition of home detention. Gps will remain in effect and a 9:00 pm
                     curfew is imposed.Defendant continued on bond. (Total time: 4 minutes, Hearing
                     time: 1:31−1:35)

                     APPEARANCES (ALL PARTIES APPEAR BY VIDEO CONFERENCE):
                     Hetal Doshi and Matthew Kirsch on behalf of the Government, Edward Harris on
                     behalf of the defendant, Carolos Morales on behalf of probation. FTR: KLM
                     Courtroom A401. (lgale, ) Text Only Entry (Entered: 10/08/2020)
   10/21/2020   54   MOTION to Withdraw as Attorney by Edward R. Harris by Michael Aaron Tew.
                     (Harris, Edward) (Entered: 10/21/2020)
   10/21/2020   55   ORDER granting 54 Motion to Withdraw as Attorney. Good cause having been
                     shown, attorney Edward R. Harris is relieved of any further representation in this
                     case. The Clerk of Court is instructed to terminate Mr. Harris as counsel of record,
                     and to remove his name from the electronic certificate of mailing. An attorney from
                     the Criminal Justice Act panel shall be appointed to represent Defendant Michael
                     Aaron Tew. Absent extraordinary circumstances, no further motions to withdraw or
                     motions to substitute counsel will be granted. The court reminds Mr. Tew that
                     counsel is under a duty to provide him prudent and considered advice, even if that
                     advice is not what Mr. Tew hopes to hear. SO ORDERED by Judge Daniel D.
                     Domenico on 10/21/2020. Text Only Entry (dddlc2, ) (Entered: 10/21/2020)
   10/21/2020   56   ORDER VACATING the change of plea hearing as to Michael Aaron Tew. In the
                     light of this court's order granting Edward Harris' motion to withdraw as counsel for
                     Mr. Tew 55 , the change of plea hearing set for tomorrow, 10/22/2020, is hereby
                     VACATED. SO ORDERED by Judge Daniel D. Domenico on 10/21/2020. Text
                     Only Entry (dddlc2, ) (Entered: 10/21/2020)


                                                                                                             16
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado           pg
                                        17 of 460



   10/21/2020   57   Letter by Michael Aaron Tew. (athom, ) (Entered: 10/21/2020)
   10/22/2020   58   NOTICE OF ATTORNEY APPEARANCE: Thomas Richard Ward appearing for
                     Michael Aaron TewAttorney Thomas Richard Ward added to party Michael Aaron
                     Tew(pty:dft) (Ward, Thomas) (Entered: 10/22/2020)
   10/22/2020   59   MINUTE ORDER re: 47 notice of disposition. Defendant shall file a status report
                     regarding the status of his plea and any other issues he wishes to bring to the court's
                     attention no later than 11/12/2020. SO ORDERED by Judge Daniel D. Domenico on
                     10/22/2020. Text Only Entry (dddlc2, ) (Entered: 10/22/2020)
   10/27/2020   60   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   61   Unopposed MOTION for Leave to Restrict by USA as to Michael Aaron Tew.
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   62   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) (Entered: 10/27/2020)
   10/28/2020   63   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (athom, )
                     (Entered: 10/28/2020)
   10/28/2020   64   ORDER granting 61 Motion for Leave to Restrict as to Michael Aaron Tew. By
                     Judge Daniel D. Domenico on 10/28/2020. Text Only Entry (athom, ) (Entered:
                     10/28/2020)
   11/12/2020   65   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     11/12/2020)
   11/12/2020   66   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/12/2020   67   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/13/2020   68   ORDER granting 65 Motion for Leave to Restrict as to Michael Aaron Tew. For
                     good cause shown, documents 66 and 67 shall remain at a Level 2 Restriction. SO
                     ORDERED by Judge Daniel D. Domenico on 11/13/2020. Text Only Entry (dddlc2, )
                     (Entered: 11/13/2020)
   11/13/2020   69   MINUTE ORDER re Status Report 67 . Defendant shall file a status report regarding
                     the status of his plea and any other issues he wishes to bring to the court's attention
                     no later than 12/10/2020. SO ORDERED by Judge Daniel D. Domenico on
                     11/13/2020. Text Only Entry (dddlc2, ) (Entered: 11/13/2020)
   12/10/2020   70   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     12/10/2020)
   12/10/2020   71   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/10/2020   72   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/11/2020   73   ORDER granting 70 Motion for Leave to Restrict as to Michael Aaron Tew (1). For
                     good cause shown, Docs. 71 and 72 shall remain at a Level 2 restriction. Defendant is


                                                                                                               17
Case No. 1:20-cr-00305-DDD        Document 645-4            filed 01/24/25       USDC Colorado            pg
                                        18 of 460



                     further ORDERED to file a status report in this matter no later than noon on
                     12/23/2020. SO ORDERED by Judge Daniel D. Domenico on 12/11/2020. Text Only
                     Entry (dddlc2, ) (Entered: 12/11/2020)
   12/11/2020   74   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Status Report
                     due by 12/23/2020 pursuant to 73 Order. Text Only Entry (athom, ) (Entered:
                     12/11/2020)
   12/23/2020   75   STATUS REPORT by Michael Aaron Tew (Ward, Thomas) (Entered: 12/23/2020)
   12/28/2020   76   Order regarding status report 75 filed by Michael Aaron Tew. In light of Mr. Tew's
                     withdrawal of his notice of disposition, unless the parties file a motion to the
                     contrary, the court will remove the restriction on the information on 1/4/21. SO
                     ORDERED by Judge Daniel D. Domenico on 12/28/2020. Text Only Entry (dddlc2, )
                     (Entered: 12/28/2020)
   01/04/2021   77   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 01/04/2021)
   01/04/2021   78   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     01/04/2021)
   01/05/2021   79   MINUTE ORDER as to Defendant Michael Aaron Tew's Motion to Restrict 77 . The
                     government shall file its response in opposition to the motion, if any, no later than
                     1/12/2021. SO ORDERED by Judge Daniel D. Domenico on 1/5/2021. Text Only
                     Entry (dddlc2, ) (Entered: 01/05/2021)
   01/12/2021   80   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Doshi, Hetal)
                     (Entered: 01/12/2021)
   01/20/2021   81   Order Denying 78 Motion to Maintain Restriction on Indictment. Mr. Tew has failed
                     to identify a private interest in restriction of the information in this case sufficient to
                     overcome the presumption in favor of public access to court documents. His motion
                     to restrict access is thus DENIED. The clerk is directed to un−restrict the information
                     in this case, Doc. 49. SO ORDERED by Judge Daniel D. Domenico on 1/20/2021.
                     Text Only Entry (dddlc2, ) (Entered: 01/20/2021)
   01/20/2021   82   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew. Motions
                     due by 2/17/2021. Responses due by 2/24/2021. Five−day Jury Trial set for
                     3/15/2021 at 09:00 AM in Courtroom A 702 before Judge Daniel D. Domenico. Trial
                     Preparation Conference set for 3/3/2021 at 01:30 PM in Courtroom A 702 before
                     Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 01/20/2021. (athom, )
                     (Entered: 01/20/2021)
   02/03/2021   83   INDICTMENT as to Michael Aaron Tew (1) count(s) 1s, 2s−40s, 41s, 42s, 44s−56s,
                     57s−60s, Kimberley Ann Tew (2) count(s) 1, 16, 21−22, 25−26, 31−32, 41, 43−44,
                     47−48, 56, Jonathan K. Yioulos (3) count(s) 1, 2−40. (Attachments: # 1 Penalty
                     Sheet, # 2 Penalty Sheet, # 3 Penalty Sheet) (athom, ) Modified on 2/9/2021 to
                     correct text (athom, ). (Entered: 02/04/2021)
   02/03/2021   84   RESTRICTED DOCUMENT − Level 4 as to Michael Aaron Tew, Kimberley Ann
                     Tew, Jonathan K. Yioulos. (athom, ) (Entered: 02/04/2021)
   02/03/2021   85   Summons Issued as to Michael Aaron Tew. (athom, ) (Entered: 02/04/2021)
   02/03/2021   86


                                                                                                                   18
Case No. 1:20-cr-00305-DDD       Document 645-4          filed 01/24/25       USDC Colorado          pg
                                       19 of 460



                     MINUTE ORDER as to Michael Aaron Tew on 02/03/2021. Initial Appearance on
                     Summons set for 2/5/2021 02:00 PM in Courtroom A 401 before Magistrate Judge
                     Kristen L. Mix pursuant to 83 Indictment. Text Only Entry (athom, ) (Entered:
                     02/04/2021)
   02/03/2021   87   Summons Issued as to Kimberley Ann Tew. Initial Appearance set for 2/10/2021
                     02:00 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, )
                     (Entered: 02/04/2021)
   02/03/2021   88   Summons Issued as to Jonathan K. Yioulos. Initial Appearance set for 2/9/2021 02:00
                     PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, ) (Entered:
                     02/04/2021)
   02/05/2021   89   MOTION to Modify Conditions of Release by Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 02/05/2021)
   02/05/2021   90   MINUTE ENTRY for Initial Appearance, Arraignment and Discovery Hearing as to
                     Michael Aaron Tew held before Magistrate Judge Kristen L. Mix on 2/5/2021.
                     Defendant present on bond and consents to proceeding via video conference.
                     Defendant advised. Counsel has previously been appointed. Plea of NOT GUILTY
                     entered by defendant. Discovery memorandum executed. Argument by counsel for
                     the government and defense counsel as to 89 Motion to Modify Conditions of
                     Release as to Michael Aaron Tew (1). The Court DENIES 89 Motion to Modify
                     Conditions of Release as to Michael Aaron Tew (1). Defendant's bond continued,
                     Counsel is directed to chambers. (Total time: 29 minutes, Hearing time: 2:21−2:50)

                     APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                     Doshi and Matthew Kirsch on behalf of the Government, Tom Ward on behalf of the
                     defendant. FTR: KLM Courtroom A401. (lgale, ) Text Only Entry (Entered:
                     02/05/2021)
   02/05/2021   91   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                     to Michael Aaron Tew by Magistrate Judge Kristen L. Mix on 2/5/21. (lgale, )
                     (Entered: 02/05/2021)
   02/09/2021   92   MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention
                     Hearing as to Jonathan K. Yioulos held before Magistrate Judge Kristen L. Mix on
                     2/9/2021. Defendant present on summons by video conference. Defendant advised.
                     Defendant is not requesting court appointed counsel and is retaining an attorney. Plea
                     of NOT GUILTY entered by defendant. Discovery memorandum executed. Parties
                     address the Court regarding conditions of release. Bond set as to Jonathan K. Yioulos
                     (3) $40,000 Unsecured, with the conditions as set forth in the Order Setting
                     Conditions of Release. Defendant advised of conditions of bond. Counsel is directed
                     to chambers. (Total time: 12 minutes, Hearing time: 2:09−2:21)

                     APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                     Doshi and Matthew Kirsch on behalf of the Government, Michael Tallon on behalf of
                     the defendant, Angela Ledesma on behalf of pretrial. FTR: KLM Courtroom A401.
                     (lgale, ) Text Only Entry (Entered: 02/09/2021)
   02/09/2021   93   Unsecured Bond Entered as to Jonathan K. Yioulos in amount of $40,000 (lgale, )
                     (Entered: 02/09/2021)
   02/09/2021   94   ORDER Setting Conditions of Release as to Jonathan K. Yioulos (3) $40,000
                     Unsecured by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, ) (Entered:

                                                                                                              19
Case No. 1:20-cr-00305-DDD          Document 645-4        filed 01/24/25      USDC Colorado          pg
                                          20 of 460



                      02/09/2021)
   02/09/2021    95   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                      to Jonathan K. Yioulos by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, )
                      (Entered: 02/09/2021)
   02/10/2021    96   MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention
                      Hearing as to Kimberley Ann Tew held before Magistrate Judge Kristen L. Mix on
                      2/10/2021. Defendant present on summons and consents to proceeding by video
                      conference. Defendant advised. Defendant is not requesting court appointed counsel.
                      Plea of NOT GUILTY entered by defendant. Discovery memorandum
                      executed.Parties address the Court regarding conditions of release. Bond set as to
                      Kimberley Ann Tew (2) $10,000 Unsecured with the conditions as set forth in the
                      Order Setting Conditions of Release. Defendant is ordered to report to the probation
                      office on 2−11−21 at 1:00 p.m. Defendant advised of conditions of bond. Counsel is
                      directed to chambers. (Total time: 28 minutes, Hearing time: 2:31−2:59)

                      APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                      Doshi and Matthew Kirsch on behalf of the Government, Jamie Hubbard on behalf of
                      the defendant, Tommie Anderson on behalf of pretrial. FTR: KLM Courtroom A401.
                      (lgale, ) Text Only Entry (Entered: 02/10/2021)
   02/10/2021    97   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                      to Kimberley Ann Tew by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, )
                      (Entered: 02/10/2021)
   02/10/2021    98   Unsecured Bond Entered as to Kimberley Ann Tew in amount of $10,000 (lgale, )
                      (Entered: 02/10/2021)
   02/10/2021    99   ORDER Setting Conditions of Release as to Kimberley Ann Tew (2) $10,000
                      Unsecured by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, ) (Entered:
                      02/10/2021)
   02/11/2021   100   Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                      02/11/2021)
   02/11/2021   101   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. The court EXCLUDES nineteen days
                      from Mr. Tew's Speedy Trial clock. Motions due by 3/12/2021. Responses due by
                      3/17/2021. Eight−day Jury Trial set for 4/19/2021 at 09:00 AM in Courtroom A 702
                      before Judge Daniel D. Domenico. Trial Preparation Conference set for 4/12/2021 at
                      01:30 PM in Courtroom A 702 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 02/11/2021. (athom, ) (Entered: 02/11/2021)
   02/11/2021   102   ORDER GRANTING 100 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to Sarasota, Florida, to visit his wife's family from 2/13/21 to
                      2/18/21. He must (1) provide documentation regarding his travel plans to United
                      States Pretrial and Probation Services in advance of departure, and (2) promptly
                      contact his probation officer upon return from his trip. SO ORDERED by Judge
                      Daniel D. Domenico on 2/11/2021. Text Only Entry (dddlc2, ) (Entered: 02/11/2021)
   02/11/2021   104   Passport Receipt as to Kimberley Ann Tew. Surrender of passport re Bond
                      Conditions; Passport Number 522213975 issued by USA. (athom, ) (Entered:
                      02/12/2021)



                                                                                                             20
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        21 of 460



   02/16/2021   105   Summons Returned Executed on 2/11/2021 as to Kimberley Ann Tew. (angar, )
                      (Entered: 02/16/2021)
   02/25/2021   106   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Tor Bernhard Ekeland added to
                      party Michael Aaron Tew(pty:dft), Attorney Tor Bernhard Ekeland added to party
                      Kimberley Ann Tew(pty:dft) (Ekeland, Tor) (Entered: 02/25/2021)
   02/28/2021   108   MOTION for Hearing Regarding Joint Representation Pursuant to Fed. R. Crim. P.
                      44 by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Doshi, Hetal) (Entered:
                      02/28/2021)
   03/01/2021   109   MINUTE ORDER regarding 108 motion for hearing concerning joint representation
                      of Defendants Michael Aaron Tew and Kimberley Ann Tew. No later than 4:00 PM
                      on 3/4/2021, Mr. Tew, Ms. Tew, and the Government must confer and email the
                      court at domenico_chambers@cod.uscourts.gov with three mutually agreeable dates
                      for a hearing on the Government's motion (Doc. 108) from the following list of dates:
                      3/9/21, 3/10/21, 3/11/21, 3/17/21, or 3/18/21. Mr. and Ms. Tew must file their
                      responses to the Government's motion, if any, no later than 3/5/2021. SO ORDERED
                      by Judge Daniel D. Domenico on 3/1/2021. Text Only Entry (dddlc2, ) (Entered:
                      03/01/2021)
   03/01/2021   110   NOTICE OF ATTORNEY APPEARANCE Andrea Lee Surratt appearing for USA.
                      Attorney Andrea Lee Surratt added to party USA(pty:pla) (Surratt, Andrea) (Entered:
                      03/01/2021)
   03/02/2021   111   MOTION to Withdraw as Attorney by Thomas R. Ward by Michael Aaron Tew.
                      (Ward, Thomas) (Entered: 03/02/2021)
   03/02/2021   112   ORDER setting hearing on 108 motion concerning joint representation and 111
                      motion to withdraw. A hearing on the Government's motion concerning joint
                      representation (Doc. 108) and Thomas R. Ward's motion to withdraw as counsel
                      (Doc. 111) is hereby set for 3/18/2021 at 10:30 AM before Judge Daniel D.
                      Domenico by video−teleconference. Counsel are directed to contact Courtroom
                      Deputy Patti Glover at patricia_glover@cod.uscourts.gov no later than three business
                      days before the hearing for instructions on how to proceed. SO ODERED by Judge
                      Daniel D. Domenico on 3/2/2021. Text Only Entry (dddlc2, ) (Entered: 03/02/2021)
   03/03/2021   113   Unopposed MOTION to Continue Deadline for Production of Discovery by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal)
                      (Entered: 03/03/2021)
   03/03/2021   114   ORDER granting 113 Motion to Continue. The Government must produce discovery
                      in this case no later than 14 days after the court rules on the Government's motion
                      concerning joint representation. SO ORDERED by Judge Daniel D. Domenico on
                      3/3/2021. (dddlc2, ) (Entered: 03/03/2021)
   03/11/2021   115   MOTION to Continue FOR A 180−DAY ENDS OF JUSTICE CONTINUANCE
                      UNDER 18 U. S. C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew,
                      Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor)
                      (Entered: 03/11/2021)
   03/18/2021   116   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew, held before Judge Daniel D. Domenico on 3/18/2021. granting 108 Motion for
                      Hearing as to Michael Aaron Tew; Kimberley Ann Tew (2); granting 111 Motion to


                                                                                                              21
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        22 of 460



                      Withdraw as Attorney. Thomas Richard Ward withdrawn from case as to Michael
                      Aaron Tew granting 115 Motion to Continue as to all defendants. Pretrial Motions
                      due by 8/30/2021, Responses due by 9/6/2021, Jury Trial (8 days) set for 10/12/2021
                      − 10/21/2021 09:00 AM; Trial Preparation Conference set for 9/27/2021 at 10:30 AM
                      all in Courtroom A 702 before Judge Daniel D. Domenico Court Reporter: Tracy
                      Weir. (pglov) (Entered: 03/18/2021)
   03/23/2021   117   NOTICE OF ATTORNEY APPEARANCE: Michael John Tallon appearing for
                      Jonathan K. Yioulos (Tallon, Michael) (Entered: 03/23/2021)
   03/29/2021   118   Unopposed MOTION to Travel Beyond Pre−trial Release Order by Jonathan K.
                      Yioulos. (Tallon, Michael) (Entered: 03/29/2021)
   03/29/2021   119   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi,
                      Hetal) (Entered: 03/29/2021)
   03/29/2021   120   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/29/2021   121   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/30/2021   122   ORDER GRANTING 118 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to St. Thomas, American Virgin Islands from 4/5/21 to 4/9/21. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from his trip. SO ORDERED by Judge Daniel D.
                      Domenico on 3/30/2021. Text Only Entry (dddlc2, ) (Entered: 03/30/2021)
   03/30/2021   123   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 118 Unopposed MOTION to Travel Beyond Pre−trial
                      Release Order, 117 Notice of Attorney Appearance − Defendant filed by attorney
                      Michael John Tallon. The format for the attorneys signature block information is not
                      correct. DO NOT REFILE THE DOCUMENTS. Action to take − future
                      documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                      Electronic Case Filing Procedures (Criminal Cases). Also the documents were
                      scanned and not converted directly to portable document format (PDF). DO NOT
                      REFILE THE DOCUMENTS. Action to take − future documents must be filed
                      pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing
                      Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 03/30/2021)
   03/30/2021   124   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 03/30/2021)
   03/30/2021   125   ORDER granting 119 Motion for Leave to Restrict as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      03/30/2021. Text Only Entry (athom, ) (Entered: 03/30/2021)
   03/31/2021   126   Unopposed MOTION for Protective Order by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF
                      Only))(Doshi, Hetal) (Entered: 03/31/2021)
   04/01/2021   127   ORDER Granting 126 Unopposed Motion for Protective Order as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      04/01/2021. (athom, ) (Entered: 04/01/2021)

                                                                                                             22
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25     USDC Colorado          pg
                                        23 of 460



   05/13/2021   128   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Michael Aaron Tew
                      held on 02/05/2021 before Magistrate Judge Mix. Pages: 1−24. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021   129   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Jonathan K. Yioulos
                      held on 02/09/2021 before Magistrate Judge Mix. Pages: 1−15. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021   130   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Kimberley Ann Tew
                      held on 02/10/2021 before Magistrate Judge Mix. Pages: 1−26. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   06/10/2021   131   MOTION for Order , MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 06/10/2021)
   06/10/2021   132   ORDER GRANTING 131 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                      Yioulos may travel to Queens, New York; Erie, Pennsylvania; and Albrightsville,


                                                                                                            23
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        24 of 460



                      Pennsylvania on June 25 to 27, June 24 to 25, and July 2 to 5, respectively. He must
                      (1) provide documentation regarding his travel plans to United States Pretrial and
                      Probation Services in advance of departure, and (2) promptly contact his probation
                      officer upon return from each trip. SO ORDERED by Judge Daniel D. Domenico on
                      6/10/2021. Text Only Entry (dddlc2, ) (Entered: 06/10/2021)
   06/18/2021   133   NOTICE OF DEFENDANT KIMBERLEY TEWS MEMORANDUM IN SUPPORT
                      TO MODIFY THE CONDITIONS OF HER RELEASE by Kimberley Ann Tew
                      (Ekeland, Tor) Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/18/2021   134   MOTION to Modify Conditions of Release by Kimberley Ann Tew. (Attachments: #
                      1 Affidavit Decl Kimbery Tew ISO Motion to Modify the Conditions)(Ekeland, Tor)
                      Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/21/2021   135   ORDER REFERRING MOTION TO MODIFY CONDITIONS OF PRE−TRIAL
                      RELEASE 134 filed by Kimberly Tew. The Court refers the motion to Magistrate
                      Judge Kristen L. Mix because revocation or modification of a prior release order
                      under § 3142 "is available only when the review of a detention or release order is
                      being conducted by the same judicial officer who entered the order." See United
                      States v. Cisneros, 328 F.3d 610, 614 (10th Cir. 2003); see also United States v.
                      Anaya, 376 F. Supp. 2d 1261, 1262−63 (D.N.M. 2005). SO ORDERED by Judge
                      Daniel D. Domenico on 6/21/2021. Text Only Entry (dddlc2, ) (Entered: 06/21/2021)
   06/23/2021   136   NOTICE OF ATTORNEY APPEARANCE: Michael Hassard appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Michael Hassard added to party Michael
                      Aaron Tew(pty:dft), Attorney Michael Hassard added to party Kimberley Ann
                      Tew(pty:dft) (Hassard, Michael) (Entered: 06/23/2021)
   07/08/2021   137   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 07/08/2021 as to
                      Kimberley Ann Tew re 134 MOTION to Modify Conditions of Release filed by
                      Kimberley Ann Tew Motion Hearing set for 7/15/2021 11:00 AM in Courtroom A
                      401 before Magistrate Judge Kristen L. Mix. (alave, ) (Entered: 07/09/2021)
   07/15/2021   138   MINUTE ENTRY for Motion Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Kristen L. Mix on 7/15/2021. Defendant present on bond.
                      Argument by defense counsel and counsel for the government as to 134 Motion to
                      Modify Conditions of Release. Court addresses defense counsel. The Court modifies
                      defendant's bond to remove the condition of home confinement and radio frequency
                      and imposes GPS monitoring and imposes a curfew of 8:00 a.m.−9:00 p.m. Probation
                      is granted discretion to allow exceptions to the curfew when requested by defendant.
                      Defendant acknowledges the new conditions of bond and agrees to abide by them.
                      Defendant's bond continued. (Total time: 22 minutes, Hearing time: 11:08−11:30)

                      APPEARANCES: Matthew Kirsch, Hetal Doshi and Andrea Surratt on behalf of the
                      Government, Tor Ekeland and Michael Hassard on behalf of the defendant, Carlos
                      Morales on behalf of probation. FTR: KLM Courtroom A401. (lgale, ) Text Only
                      Entry (Entered: 07/15/2021)
   07/19/2021   139   NOTICE of Disposition by Jonathan K. Yioulos (Tallon, Michael) (Entered:
                      07/19/2021)
   07/27/2021   140   NOTICE of Remote Plea Proceeding by Jonathan K. Yioulos (Tallon, Michael)
                      Modified on 9/9/2021 to correct event (athom, ). (Entered: 07/27/2021)
   07/27/2021   141


                                                                                                              24
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        25 of 460



                      ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 140 Notice, 139 Notice of Disposition filed by attorney
                      Michael John Tallon. The document was scanned and not converted directly to
                      portable document format (PDF). DO NOT REFILE THE DOCUMENT. Action
                      to take − future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and
                      1.3(f) of the Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry)
                      (athom, ) (Entered: 07/27/2021)
   07/27/2021   142   ORDER as to Jonathan K. Yioulos. ORDER as to Jonathan K. Yioulos. Pursuant to
                      Notice of Disposition (Doc. 139), a Change of Plea Hearing is SET for 10/7/2021 at
                      11:30 AM in Courtroom A 1002 before Judge Daniel D. Domenico. The trial dates
                      and all other deadlines previously set are VACATED. Counsel for the parties shall
                      email a courtesy copy of the Plea Agreement and the Statement by Defendant in
                      Advance of Plea of Guilty in the form required by Local Crim. R. 11.1(c)−(d) to
                      Domenico_Chambers@cod.uscourts.gov no later than 12:00 p.m. three business days
                      prior to the Change of Plea Hearing. If these documents are not timely submitted, the
                      hearing may be vacated. The original and one copy of these documents shall be
                      delivered to the courtroom deputy at the time of the hearing pursuant to Local Crim.
                      R. 11.1(e). Defense counsel who reviewed and advised Defendant regarding the Plea
                      Agreement must attend the Change of Plea Hearing. SO ORDERED by Judge Daniel
                      D. Domenico on 7/27/2021. Text Only Entry (dddlc2, ) Modified on 7/29/2021 to
                      correct text (athom, ). (Entered: 07/27/2021)
   08/10/2021   143   Second MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Hassard, Michael) Modified on 8/11/2021 to correct applicable parties (athom, ).
                      (Entered: 08/10/2021)
   08/20/2021   144   TRANSCRIPT of MOTION HEARING as to Kimberley Ann Tew held on
                      07/15/2021 before Magistrate Judge Mix. Pages: 1−20. Prepared by: AB Litigation
                      Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 08/20/2021)
   09/16/2021   145   MOTION to Modify date of plea hearing by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 09/16/2021)
   09/17/2021   146   WITHDRAWN − Unopposed MOTION to Travel MOTION UPON ATTORNEY
                      DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE−TRIAL
                      RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) Modified on
                      9/20/2021 to correct filers (athom, ). Modified on 2/4/2022 to withdraw pursuant to
                      173 Order (athom, ). (Entered: 09/17/2021)
   09/17/2021   147

                                                                                                              25
Case No. 1:20-cr-00305-DDD        Document 645-4         filed 01/24/25      USDC Colorado         pg
                                        26 of 460



                      MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Kirsch, Matthew) (Entered: 09/17/2021)
   09/20/2021   148   MOTION to Withdraw Document 146 Unopposed MOTION to Travel MOTION
                      UPON ATTORNEY DECLARATION SEEKING ORDER PERMITTING TRAVEL
                      BEYOND PRE−TRIAL RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron
                      Tew, Kimberley Ann Tew. (Ekeland, Tor) Modified on 9/22/2021 to correct filers
                      (athom, ). (Entered: 09/20/2021)
   09/22/2021   149   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Unopposed
                      Motion for a 12−Month Ends of Justice Continuance (Doc. 143 ) is PARTIALLY
                      GRANTED. One hundred eighty (180) days, from 9/22/2021 to 3/21/2022, will be
                      excluded from the computation of Defendants' Michael Tew and Kimberley Tew's
                      Speedy Trial Act time. Motions due by 1/3/2022. Responses due by 1/10/2022. The
                      eight−day Jury Trial set to begin 10/12/2021 is VACATED and RESET to 4/4/2022
                      at 09:00 AM in Courtroom A1002 before Judge Daniel D. Domenico. The Trial
                      Preparation Conference set for 09/27/2021 is VACATED and RESET to 3/21/2022 at
                      01:00 PM in Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 09/22/2021. (athom, ) (Entered: 09/22/2021)
   09/30/2021   150   ORDER as to Jonathan K. Yioulos. Defendant's Motion to Conduct Change of Plea
                      by Video Conference Pursuant to Section 15002(b)(2) of the CARES Act (Doc. 140 )
                      is GRANTED, and the Motion to reschedule the Change of Plea Hearing (Doc. 145 )
                      is GRANTED IN PART. The Change of Plea Hearing set for 10/7/2021 at 11:30 a.m.
                      is VACATED AND RESET to 11/18/2021 at 1:30 p.m. in Courtroom A1002 before
                      Judge Daniel D. Domenico and will be conducted by VTC, or by telephone
                      conference if VTC is not reasonably available. Members of the public may attend the
                      Change of Plea Hearing by teleconference at (866) 390−1828, using Access Code
                      9792296#. All persons participating in court proceedings remotely by VTC or
                      teleconference are prohibited, under penalty of contempt, from recording or
                      broadcasting the proceeding in any manner. By Judge Daniel D. Domenico on
                      09/30/2021. (athom, ) (Entered: 09/30/2021)
   10/12/2021   151   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland Attorney Xuan
                      Zhou appearing for Michael Aaron Tew and Kimberley Ann Tew appearing for
                      Michael Aaron Tew, Kimberley Ann Tew (Ekeland, Tor) Modified on 10/13/2021 to
                      correct applicable parties (athom, ). (Main Document 151 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 10/12/2021)
   10/13/2021   152   NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 151
                      Notice of Attorney Appearance − Defendant, filed by attorney Xuan Zhou. The
                      s/signature did not match the filers name on the account for which the login and
                      password are registered. Future documents must be filed pursuant to
                      D.C.COLO.LCivR 49.1(a) and 4.3(c) of the Electronic Case Filing Procedures
                      (Criminal Cases). Attorney Xuan Zhou has failed to comply D.C.COLO.LCr49.1(a)
                      and 4.3(d) of the Electronic Case Filing Procedures (Criminal Cases), which mandate
                      the correct form for an attorneys signature block. This document does not have a s/
                      signature and must be re−filed. Xuan Zhou must re−file the above referenced
                      document which must contain her s/ signature using her own log in and password.
                      Counsel is REMINDED that your firm does not represent defendant Yioulos.
                      UNLESS you are filing a joint pleading that pertains to defendant Yioulos, you
                      should ONLY be selecting the Tew defendants as the filers and as the applicable
                      parties. If you are unclear about how documents should be filed and/or which


                                                                                                            26
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        27 of 460



                      parties should be selected when filing your documents, please contact the Clerk's
                      office for assistance or clarification. (Text Only Entry) (athom, ) (Entered:
                      10/13/2021)
   11/17/2021   153   ORDER GRANTING 147 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Matthew T. Kirsch as counsel of record, and to
                      remove this name from the electronic certificate of mailing. Plaintiff United States of
                      America will continue to be represented by attorneys Hetal Doshi and Andrea Surratt.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2021. Text Only Entry
                      (dddlc4) (Entered: 11/17/2021)
   11/18/2021   154   MINUTE ENTRY for Change of Plea Hearing by VTC as to Jonathan K. Yioulos
                      held before Judge Daniel D. Domenico on 11/18/2021. Plea of GUILTY entered by
                      defendant Jonathan K. Yioulos to Counts 1,39. Sentencing set for 2/10/2022 01:30
                      PM in Courtroom A1002 before Judge Daniel D. Domenico. Bond continued.Court
                      Reporter: Julie Thomas. (pglov) (Entered: 11/18/2021)
   11/18/2021   155   PLEA AGREEMENT as to Jonathan K. Yioulos (pglov) (Entered: 11/18/2021)
   11/18/2021   156   STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Jonathan K.
                      Yioulos (pglov) (Entered: 11/18/2021)
   11/19/2021   157   NOTICE OF ATTORNEY APPEARANCE: Xuan Zhou appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Xuan Zhou added to party Michael Aaron
                      Tew(pty:dft), Attorney Xuan Zhou added to party Kimberley Ann Tew(pty:dft)
                      (Zhou, Xuan) (Main Document 157 replaced on 1/21/2025) (lrobe, ). (Entered:
                      11/19/2021)
   11/29/2021   158   NOTICE OF ATTORNEY APPEARANCE Bryan David Fields appearing for USA.
                      Attorney Bryan David Fields added to party USA(pty:pla) (Fields, Bryan) (Entered:
                      11/29/2021)
   11/29/2021   159   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered: 11/29/2021)
   12/09/2021   160   MOTION for Order by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 12/09/2021)
   12/15/2021   161   ORDER granting 160 Motion for Order as to Jonathan K. Yioulos (3). The
                      Sentencing Hearing set for 2/10/2022 at 1:30 pm is VACATED and RESET to
                      7/12/2022 at 10:30 pm before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 12/15/2021. Text Only Entry (dddlc2, ) (Entered:
                      12/15/2021)
   12/27/2021   162   MOTION to Withdraw as Attorney by Tor Ekeland by Michael Aaron Tew,
                      Kimberley Ann Tew. (Ekeland, Tor) (Main Document 162 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 12/27/2021)
   12/27/2021   163   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Ekeland, Tor) (Main Document 163 replaced on 1/21/2025) (lrobe, ). (Entered:
                      12/27/2021)
   12/27/2021   164   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   165   Third MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Main Document 165


                                                                                                                27
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        28 of 460



                      replaced on 1/21/2025) (lrobe, ). (Attachment 1 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 12/27/2021)
   12/27/2021   166   MOTION to Withdraw as Attorney by Xuan Zhou by Michael Aaron Tew,
                      Kimberley Ann Tew. (Zhou, Xuan) (Main Document 166 replaced on 1/21/2025)
                      (lrobe, ). (Entered: 12/27/2021)
   12/27/2021   167   MOTION to Withdraw as Attorney by Michael Hassard by Michael Aaron Tew,
                      Kimberley Ann Tew. (Hassard, Michael) (Main Document 167 replaced on
                      1/21/2025) (lrobe, ). (Entered: 12/27/2021)
   01/19/2022   168   MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 01/19/2022)
   01/31/2022   169   ORDER REFERRING MOTIONS as to Michael Aaron Tew, Kimberley Ann Tew.
                      167 MOTION to Withdraw as Attorney by Michael Hassard filed by Michael Aaron
                      Tew, Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland
                      filed by Michael Aaron Tew, Kimberley Ann Tew, 159 MOTION to Withdraw as
                      Attorney filed by USA, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed
                      by Michael Aaron Tew, Kimberley Ann Tew. Motions referred to Magistrate Judge
                      Kristen L. Mix. SO ORDERED by Judge Daniel D. Domenico on 1/31/2022. Text
                      Only Entry (dddlc2, ) (Entered: 01/31/2022)
   01/31/2022   170   ORDER granting 168 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 1/31/2022. Text Only Entry (dddlc2, ) (Entered: 01/31/2022)
   02/02/2022   171   ORDER granting 159 Motion to Withdraw as Attorney. Hetal Janak Doshi
                      withdrawn from case as to Michael Aaron Tew (1), Kimberley Ann Tew (2),
                      Jonathan K. Yioulos (3). Attorney Hetal Doshi is relieved of any further
                      representation of the United States in this case. The Clerk of Court is instructed to
                      terminate Attorney Doshi as counsel of record, and to remove this name from the
                      electronic certificate of mailing. The Government shall continue to be represented by
                      Attorney Bryan Fields. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only
                      Entry (klmlc2, ) (Entered: 02/02/2022)
   02/02/2022   172   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 167 MOTION
                      to Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew,
                      Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed
                      by Michael Aaron Tew, Kimberley Ann Tew, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou filed by Michael Aaron Tew, Kimberley Ann Tew.
                      Defendant Michael Tew and Defendant Kimberley Tew shall each file a separate
                      financial affidavit under restriction at Level 3 NO LATER THAN FEBRUARY 14,
                      2022. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only Entry (klmlc2, )
                      (Entered: 02/02/2022)
   02/02/2022   173   ORDER. The Motion to Withdraw Document 148 as to Michael Aaron Tew and
                      Kimberly Ann Tew is GRANTED. Accordingly, the Motion to Travel 146 is
                      DENIED AS MOOT. SO ORDERED by Judge Daniel D. Domenico on 2/2/2022.
                      Text Only Entry (dddlc2, ) (Entered: 02/02/2022)
   02/04/2022   174   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' counsel Motion
                      for a 3−Month Ends of Justice Continuance (Doc. 165 ) is GRANTED. Ninety (90)
                      days, from 2/4/2022 to 5/5/2022, will be excluded from the computation of
                      Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time. Motions due


                                                                                                              28
Case No. 1:20-cr-00305-DDD         Document 645-4           filed 01/24/25       USDC Colorado           pg
                                         29 of 460



                      by 5/12/2022. Responses due by 5/19/2022. The eight−day Jury Trial set to begin
                      4/4/2022 is VACATED and RESET to 6/13/2022 at 09:00 AM in Courtroom A1002
                      before Judge Daniel D. Domenico. The Trial Preparation Conference set for
                      3/21/2022 is VACATED and RESET to 6/2/2022 at 03:30 PM in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 02/04/2022.
                      (athom, ) (Entered: 02/04/2022)
   02/10/2022   175   Pro Se Letter by Michael Aaron Tew, Kimberley Ann Tew. (athom, ) (Entered:
                      02/10/2022)
   02/10/2022   176   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 175
                      MOTION for Extension of Time to File filed by Michael Aaron Tew, Kimberley Ann
                      Tew. SO ORDERED by Judge Daniel D. Domenico on 2/10/2022. Text Only Entry
                      (dddlc2, ) (Entered: 02/10/2022)
   02/14/2022   177   MINUTE ORDER by Magistrate Judge Kristen L. Mix on February 14, 2022. This
                      matter is before the Court on Defendants' Motion for Extension of Time 175 (the
                      "Motion"). Defendants ask for a two−week extension to file financial affidavits
                      because they "are currently reviewing an engagement letter with a law firm based in
                      Denver" and, therefore, may not require appointment of counsel through the CJA. IT
                      IS HEREBY ORDERED that the Motion 175 is GRANTED. The deadline for each
                      Defendant to file a separate financial affidavit under restriction at Level 3 is extended
                      to February 28, 2022. (csarr, ) (Entered: 02/14/2022)
   02/25/2022   178   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Peter R. Bornstein added to party
                      Michael Aaron Tew(pty:dft), Attorney Peter R. Bornstein added to party Kimberley
                      Ann Tew(pty:dft) (Bornstein, Peter) (Entered: 02/25/2022)
   03/04/2022   179   Order. Defense counsel is directed to file a status report on or before 3/10/2022
                      confirming that he has discussed the potential conflicts of interest that joint
                      representation of criminal codefendants may raise with his clients, and that they each
                      continue to understand these dangers and risks and continue to consent to proceeding
                      with joint counsel in spite of them. SO ORDERED by Judge Daniel D. Domenico on
                      3/4/2022. Text Only Entry (dddlc2, ) (Entered: 03/04/2022)
   03/07/2022   180   ORDER granting 162 Motion to Withdraw as Attorney. Attorney Tor Ekeland is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Ekeland as counsel of record,
                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorneys
                      Michael Hassard, Peter Bornstein, and Xuan Zhou. by Magistrate Judge Kristen L.
                      Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   181   ORDER granting 166 Motion to Withdraw as Attorney. Attorney Xuan Zhou is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Zhou as counsel of record, and
                      to remove this name from the electronic certificate of mailing. Defendants Michael
                      Tew and Kimberly Tew shall continue to be represented by Attorneys Michael
                      Hassard and Peter Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text
                      Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   182   ORDER granting 167 Motion to Withdraw as Attorney. Attorney Michael Hassard is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Hassard as counsel of record,

                                                                                                                  29
Case No. 1:20-cr-00305-DDD         Document 645-4           filed 01/24/25       USDC Colorado           pg
                                         30 of 460



                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorney Peter
                      Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry
                      (klmlc2, ) (Entered: 03/07/2022)
   03/09/2022   183   Unopposed MOTION to Travel by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 03/09/2022)
   03/10/2022   184   STATUS REPORT by Michael Aaron Tew, Kimberley Ann Tew (Bornstein, Peter)
                      (Entered: 03/10/2022)
   03/14/2022   185   Order granting 183 Motion to travel. Defendants Michael and Kimberly Tew may
                      travel out of state with their children for spring break as requested in their motion.
                      Their pretrial monitoring is modified to stand−alone location monitoring without a
                      curfew. SO ORDERED by Judge Daniel D. Domenico on 3/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 03/14/2022)
   03/21/2022   186   Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                      03/21/2022)
   03/22/2022   187   MOTION to Amend/Correct Conditions of Release by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 03/22/2022)
   03/24/2022   188   MINUTE ORDER re. 187 Motion to Amend/Correct Conditions of Supervised
                      Release. The Court reviews the conditions of pretrial release de novo, and having
                      reviewed the transcripts of the two previous hearings as well as the recommendations
                      of the Probation Department, does not find that the Government has shown by a
                      preponderance of evidence that location monitoring is required to reasonably assure
                      the appearance of Kimberley Tew or the safety of another person or the community.
                      The government has until 11:00am on 3/25/2022 to respond. SO ORDERED by
                      Judge Daniel D. Domenico on 3/24/2022. Text Only Entry (dddlc2, ) (Entered:
                      03/24/2022)
   03/25/2022   189   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 187 MOTION to
                      Amend/Correct Conditions of Release (Fields, Bryan) (Entered: 03/25/2022)
   03/25/2022   190   ORDER GRANTING 187 Motion for Amendment of Conditions of Release as to
                      Kimberley Ann Tew (2). It is ORDERED that Ms. Tew's conditions of release are
                      modified to remove the requirement that she submit to GPS location monitoring. Ms.
                      Tew is directed to contact the Probation Department for instructions on how to
                      comply with her conditions of release going forward. By Judge Daniel D. Domenico
                      on 3/25/2022. (dddlc1, ) (Entered: 03/25/2022)
   03/28/2022   191   ORDER granting 186 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 3/28/2022. Text Only Entry (dddlc2, ) (Entered: 03/28/2022)
   03/31/2022   192   ORDER granting 164 Motion for Leave to Restrict. Doc. 163 is restricted at Level 3.
                      SO ORDERED by Judge Daniel D. Domenico on 3/31/2022. Text Only Entry
                      (dddlc2, ) (Entered: 03/31/2022)
   04/26/2022   193   Unopposed MOTION to Continue Trial and for Ends of Justice Finding Pursuant to
                      18 U.S.C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 04/26/2022)


                                                                                                               30
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        31 of 460



   05/10/2022   194   Unopposed MOTION for Leave to File Excess Pages for Motion to Suppress by
                      Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/10/2022)
   05/12/2022   195   ORDER granting 194 Motion for Leave to File Excess Pages as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 6000 words for their motion
                      to suppress and the government has the same number for its response. SO
                      ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, )
                      (Entered: 05/12/2022)
   05/12/2022   196   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   197   Unopposed MOTION for Reconsideration re 195 Order on Motion for Leave to File
                      Excess Pages, Motion to Suppress by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   198   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Motion to
                      Continue Trial and for an Ends of Justice Finding (Doc. 193 ) is GRANTED. One
                      hundred and eighty (180) days, from 5/12/2022 to 11/8/2022, will be excluded from
                      the computation of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act
                      time. The deadline to file motions to suppress remains 5/12/2022. Other pretrial
                      Motions due by 6/13/2022. Responses due by 6/20/2022. The eight−day Jury Trial
                      set for 06/13/2022 is VACATED and RESET to 12/5/2022 at 09:00 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. The Trial Preparation
                      Conference set for 6/2/2022 is VACATED and RESET to 11/29/2022 at 03:30 PM in
                      Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico
                      on 05/12/2022. (athom, ) (Entered: 05/12/2022)
   05/12/2022   199   ORDER granting 197 Motion for Reconsideration re 197 Unopposed MOTION for
                      Reconsideration re 195 Order on Motion for Leave to File Excess Pages, Motion to
                      Suppress filed by Michael Aaron Tew, Kimberley Ann Tew as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 12,000 words for their
                      motion to suppress, and the government has the same number with which to respond.
                      SO ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry
                      (dddlc2, ) (Entered: 05/12/2022)
   05/12/2022   200   Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                      E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                      Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                      Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                      Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26
                      Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB)(Bornstein, Peter) Modified on
                      8/22/2022 to add document title and un restrict Motion ONLY per 244 Response.
                      (sphil, ). Modified on 10/28/2022 to add text and correct event (athom, ). (Entered:
                      05/12/2022)
   05/12/2022   201   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/18/2022   202   Unopposed MOTION for Extension of Time to File Response/Reply as to 200
                      Restricted Document − Level 1,, by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 05/18/2022)
   05/19/2022   203


                                                                                                              31
Case No. 1:20-cr-00305-DDD        Document 645-4         filed 01/24/25     USDC Colorado          pg
                                        32 of 460



                      NOTICE OF ATTORNEY APPEARANCE Albert C. Buchman appearing for USA.
                      Attorney Albert C. Buchman added to party USA(pty:pla) (Buchman, Albert)
                      (Entered: 05/19/2022)
   05/19/2022   204   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 201 MOTION for Leave to Restrict (Response to Motion to Suppress, ECF No.
                      200) (Attachments: # 1 Government Filter Memo, # 2 Filter Memo − Attachment 1, #
                      3 Filter Memo − Attachment 2, # 4 Filter Memo − Attachment 3, # 5 Filter Memo −
                      Attachment 4, # 6 Filter Memo − Attachment 5, # 7 Filter Memo − Attachment 6, # 8
                      Filter Memo − Attachment 7, # 9 Filter Memo − Attachment 8, # 10 Filter Memo −
                      Attachment 9)(Fields, Bryan) (Attachment 6 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 05/19/2022)
   05/20/2022   205   MOTION to Withdraw as Attorney by Andrea Surratt by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Surratt, Andrea) (Entered:
                      05/20/2022)
   05/20/2022   206   MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 05/20/2022)
   05/20/2022   207   ORDER granting 206 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                      permitted to travel as described in the travel plans submitted to the US Attorneys
                      office and the Probation Department. SO ORDERED by Judge Daniel D. Domenico
                      on 5/20/2022. Text Only Entry (dddlc2, ) (Entered: 05/20/2022)
   05/20/2022   208   ORDER granting 202 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 6/9/2022 to file a response to the motion to
                      suppress. SO ORDERED by Judge Daniel D. Domenico on 5/20/2022. Text Only
                      Entry (dddlc2, ) (Entered: 05/20/2022)
   05/25/2022   209   MOTION to Disclose Grand Jury Material to Defendant by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                      Only))(Fields, Bryan) (Entered: 05/25/2022)
   05/25/2022   210   Unopposed MOTION for Leave to File Reply to Government's Response to
                      Defendant's Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 05/25/2022)
   06/07/2022   211   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Jonathan K. Yioulos (Attachments: # 1 Exhibit A)(ntaka) (Entered: 06/07/2022)
   06/13/2022   212   Unopposed MOTION for Order Requiring the Government to Submit Expert Witness
                      Opinions 120 Days Before Trial by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   213   Unopposed MOTION for Leave to File Additional Motions by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   214   MOTION for Sanctions for Violating Communication Privileges by Michael Aaron
                      Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   215   MOTION for Franks Hearing by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   216   MOTION to Suppress the Use of Statements by Michael Aaron Tew. (Bornstein,
                      Peter) (Entered: 06/13/2022)
   06/13/2022   217

                                                                                                           32
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        33 of 460



                      Unopposed MOTION for Extension of Time to File Response/Reply to Defendant
                      Motions Filed on June 13, 2022 by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 06/13/2022)
   06/13/2022   218   MOTION to Sever Defendant by Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      06/13/2022)
   06/13/2022   219   MOTION for James Hearing and for Government to File a James Proffer by Michael
                      Aaron Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   220   MOTION for James Hearing and for Government to File a James Proffer by
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   221   MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment
                      224 by Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit A, # 2
                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Bornstein, Peter) (Entered: 06/13/2022)
   06/16/2022   222   ORDER GRANTING 205 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Andrea Surratt as counsel of record, and to remove
                      this name from the electronic certificate of mailing. Plaintiff United States will
                      continue to be represented by attorney Bryan Fields and Albert Buchman. SO
                      ORDERED by Judge Daniel D. Domenico on 6/16/2022. Text Only Entry (dddlc2, )
                      (Entered: 06/16/2022)
   06/16/2022   223   ORDER GRANTING 210 Motion for Leave to File a Reply. Defendants have 5000
                      words for a reply to be filed on or before 6/22/2022. SO ORDERED by Judge Daniel
                      D. Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022   224   ORDER Granting 209 Motion to Disclose Grand Jury Material as to Michael Aaron
                      Tew, Kimberley Ann Tew. By Judge Daniel D. Domenico on 06/16/2022. (athom, )
                      (Entered: 06/16/2022)
   06/19/2022   225   MOTION to Continue Sentencing by Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 06/19/2022)
   06/22/2022   226   REPLY by Michael Aaron Tew, Kimberley Ann Tew in Support of Motion to
                      Suppress Evidence [Doc.200−Restricted] (Bornstein, Peter) (Entered: 06/22/2022)
   06/29/2022   227   ORDER granting 225 Motion to Continue as to Jonathan K. Yioulos (3). The
                      sentencing hearing set for 7/12/2022 is VACATED AND RESET to 1/19/2023 at
                      10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED
                      by Judge Daniel D. Domenico on 6/29/2022. Text Only Entry (dddlc2, ) (Entered:
                      06/29/2022)
   07/14/2022   228   ORDER granting 217 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 8/9/2022 to file responses to the motions filed on
                      6/13/2022. SO ORDERED by Judge Daniel D. Domenico on 8/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 07/14/2022)
   08/09/2022   229   NOTICE of Conventional Filing Exhibit 1−3 by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   230   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 218 MOTION to Sever Defendant (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   231   REPLY TO RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew re 219 MOTION for James Hearing and for Government to File a James

                                                                                                              33
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado          pg
                                         34 of 460



                      Proffer (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   232   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 220 MOTION for James Hearing and for Government to File a James Proffer
                      (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   233   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 215 MOTION for Franks Hearing (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   234   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 214 MOTION for Sanctions for Violating Communication Privileges (Buchman,
                      Albert) (Entered: 08/09/2022)
   08/09/2022   235   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 216 MOTION to Suppress the Use of Statements (Attachments: # 1 Conventionally
                      Submitted, # 2 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   236   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Attachments: # 1 Conventionally Submitted)(Buchman, Albert)
                      (Entered: 08/09/2022)
   08/09/2022   237   Conventionally Submitted Material : 1 Card USB Flash Drive: Exhibit 1 and Exhibit
                      2 to Response in Opposition 235 re 229 Notice, by Plaintiff USA. Material placed in
                      the oversized filing area Area D−5−5 of the Clerk's Office. Text Only Entry (athom, )
                      (submitted additional copy of USB placed in Chambers' mail box) (Entered:
                      08/11/2022)
   08/12/2022   238   ORDER GRANTING IN PART 201 Motion for Leave to File Motion to Suppress
                      Evidence as Restricted Level 1.

                      I must narrowly tailor any restrictions on public access, and must consider whether
                      supplying a redacted version of a document in lieu of restricting access to the entire
                      document would adequately protect the interests of the party seeking restriction.
                      United States v. Walker, 761 F. App'x 822, 835 (10th Cir. 2019); Local Civ. R.
                      7.2(c)(4). Defendants Michael and Kimberly Tew have not shown that redacting the
                      identified financial, medical, and other personal information from the motion to
                      suppress is impracticable or would not adequately protect the privacy interests at
                      stake.

                      Accordingly, the motion for leave to restrict is GRANTED IN PART with respect to
                      the exhibits to the motion only. The Clerk of Court is directed to maintain Doc. 200
                      and Docs. 200−1 to 200−28 under Level 1 restriction. Plaintiff must file a public
                      redacted version of the motion to suppress (Doc. 200 ) on or before 8/19/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/12/2022   239   ORDER GRANTING IN PART 212 Defendants' Unopposed Motion to Require the
                      Government to Submit Expert Witness Opinions 120 Days Before Trial.

                      Expert witness disclosures pursuant to Federal Rule of Criminal Procedure
                      16(a)(1)(G) and (b)(1)(C) must be made no later than 8/19/2022, and any challenges
                      to such experts must be made no later than 9/9/2022.


                                                                                                               34
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         35 of 460



                      Rebuttal expert witness disclosures must be made no later than 9/16/2022, and any
                      challenges to such rebuttal experts must be made no later than 10/7/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/15/2022   240   Unopposed MOTION for Leave to File Replies to Government's Responses to
                      Motions by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      08/15/2022)
   08/15/2022   241   ORDER REGARDING PRETRIAL DEADLINES AND PENDING MOTIONS.

                      Defendants' Unopposed Motion for Leave to File Additional Motions (Doc. 213 ) is
                      GRANTED. Motions due 9/13/2022. Responses due 9/27/2022. No replies will be
                      permitted without prior leave of the Court.

                      Defendants' Unopposed Motion for Leave to File Replies to Government's Responses
                      to Motions (Doc. 240 ) is GRANTED. Replies due 8/23/2022.

                      A Motions Hearing is SET for 10/18/2022 at 10:30 AM in Courtroom A1002 before
                      Judge Daniel D. Domenico.

                      Due to a conflict on the Court's calendar, the eight−day Jury Trial set for 12/5/2022 is
                      VACATED and RESET to commence on 12/12/2022 at 09:00 AM in Courtroom
                      A1002. Counsel and pro se parties must be present at 08:30 AM on the first day of
                      trial. Due to a conflict on the Court's calendar, the Trial Preparation Conference set
                      for 11/29/2022 is VACATED and RESET to 11/22/2022 at 01:30 PM in Courtroom
                      A1002. See written Order for pretrial deadlines.

                      SO ORDERED by Judge Daniel D. Domenico on 8/15/2022. (dddlc1, ) (Entered:
                      08/15/2022)
   08/18/2022   242   Unopposed MOTION for Order to Reschedule Hearing Date on Motion by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/18/2022)
   08/18/2022   243   ORDER GRANTING 242 Unopposed Motion to Reschedule Hearing Date on
                      Motions as to Michael Aaron Tew (1), Kimberley Ann Tew (2). The Motions
                      Hearing set for 10/18/2022 is VACATED and RESET to 10/12/2022 at 09:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 8/18/2022. Text Only Entry (dddlc1, ) (Entered: 08/18/2022)
   08/19/2022   244   RESPONSE by Michael Aaron Tew, Kimberley Ann Tew re: 238 Order on Motion
                      for Leave to Restrict,,,, (Bornstein, Peter) (Entered: 08/19/2022)
   08/23/2022   245   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      214 MOTION for Sanctions for Violating Communication Privileges (Bornstein,
                      Peter) (Entered: 08/23/2022)
   08/23/2022   246   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   247   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      219 MOTION for James Hearing and for Government to File a James Proffer, 220
                      MOTION for James Hearing and for Government to File a James Proffer (Bornstein,

                                                                                                                 35
Case No. 1:20-cr-00305-DDD        Document 645-4        filed 01/24/25      USDC Colorado         pg
                                        36 of 460



                      Peter) (Entered: 08/23/2022)
   08/23/2022   248   REPLY TO RESPONSE to Motion by Kimberley Ann Tew re 218 MOTION to
                      Sever Defendant (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   249   REPLY TO RESPONSE to Motion by Michael Aaron Tew re 216 MOTION to
                      Suppress the Use of Statements (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   250   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      215 MOTION for Franks Hearing (Attachments: # 1 Affidavit Declaration of
                      Michael A. Tew, # 2 Affidavit Declaration of Kimberley A. Tew)(Bornstein, Peter)
                      (Entered: 08/23/2022)
   09/15/2022   251   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 09/15/2022)
   09/16/2022   252   ORDER granting 251 Unopposed Motion to Travel as to Kimberley Ann Tew (2).
                      SO ORDERED by Judge Daniel D. Domenico on 09/16/2022. Text Only Entry
                      (dddlc5, ) (Entered: 09/16/2022)
   10/07/2022   253   EXHIBIT LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Exhibit List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/07/2022   254   WITNESS LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Witness List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/12/2022   255   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Suppression Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      10/12/2022. Taking under advisement 214 Motion for Sanctions as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). Denying 215 Motion for Franks Hearing as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). Taking under advisement 216
                      Motion to Suppress as to Michael Aaron Tew (1). Taking under advisement 200
                      Defendants Motion. Denying 219 Motion for James Hearing as to Michael Aaron
                      Tew (1). Taking under advisement 221 Motion to Suppress as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Taking under advisement 218 Motion to Sever
                      Defendant as to Kimberley Ann Tew (2). Taking under advisement 220 Motion for
                      James Hearing as to Kimberley Ann Tew (2). Bond continued as to both defendants.
                      Court Reporter: Julie Thomas. (rkeec) (Entered: 10/13/2022)
   10/12/2022   256   WITNESS LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      With date and time testified. (rkeec) (Entered: 10/13/2022)
   10/12/2022   257   EXHIBIT LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      (rkeec) (Entered: 10/13/2022)
   10/27/2022   258   ORDER Denying 221 Motion to Suppress Evidence from Search of 3222 East First
                      Avenue, Apartment 224 as to Michael Aaron Tew, Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   259   ORDER as to Michael Aaron Tew. Mr. Tew's Motion to Suppress the Use of
                      Statements (Doc. 216 ) is DENIED. By Judge Daniel D. Domenico on 10/27/2022.
                      (athom, ) (Entered: 10/28/2022)
   10/27/2022   260


                                                                                                         36
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        37 of 460



                      ORDER Denying 218 Motion for Severance as to Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   261   ORDER Denying 214 Motion for Sanctions as to Michael Aaron Tew, Kimberley
                      Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered:
                      10/28/2022)
   10/27/2022   262   ORDER Denying 200 Motion to Suppress Evidence as to Michael Aaron Tew,
                      Kimberley Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, )
                      (Entered: 10/28/2022)
   10/28/2022   263   ORDER GRANTING IN PART 220 Defendant Kimberly Ann Tew's Motion for a
                      James Proffer and Hearing. Ms. Tew's request for the Government to file a James
                      proffer and for the Court to hold a James hearing is granted, though not on the
                      timeline requested.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with the referenced
                      exhibits and an accompanying brief, on or before 1/6/2023. The defendants must file
                      their responses to the Government's James log and brief on or before 1/20/2023. A
                      James Hearing is SET for 1/26/2023 at 09:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico.

                      In light of the above, the Trial Preparation Conference set for 11/22/2022 is
                      VACATED and RESET for 3/7/2022 at 09:30 AM in Courtroom A1002, and the
                      eight−day Jury Trial set for 12/12/2022 is VACATED and RESET for 3/13/2023 at
                      09:00 AM in Courtroom A1002. Counsel and pro se parties must be present at 08:30
                      AM on the first day of trial. Pretrial deadlines remain as stated in the Court's Order
                      Regarding Pretrial Deadlines and Pending Motions (Doc. 241 ).

                      SO ORDERED by Judge Daniel D. Domenico on 10/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 10/28/2022)
   11/15/2022   264   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   265   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   266   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 11/15/2022)
   11/16/2022   267   Unopposed MOTION to Travel Out of State by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/16/2022)
   11/17/2022   268   ORDER granting 267 Motion to Travel as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). Mr. and Mrs. Tew are granted permission to leave the state of Colorado and
                      travel to Marquette, Michigan with their children from 11/18/2022 until 11/27/2022.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry
                      (dddlc5, ) (Entered: 11/17/2022)
   11/17/2022   269   ORDER granting 264 Motion for Leave to Restrict 265 Restricted Document − Level
                      3, 266 Restricted Document − Level 3 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). The Clerk of Court is directed to maintain 265 and 266 UNDER
                      RESTRICTION at LEVEL 3. SO ORDERED by Judge Daniel D. Domenico on


                                                                                                               37
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        38 of 460



                      11/17/2022. Text Only Entry (dddlc5, ) (Entered: 11/17/2022)
   11/28/2022   270   Unopposed MOTION to Continue adjourn sentencing by Jonathan K. Yioulos.
                      (Tallon, Michael) (Entered: 11/28/2022)
   11/28/2022   271   ORDER granting 270 Motion to Continue as to Jonathan K. Yioulos (3). Mr.
                      Yioulos's Sentencing set for 1/19/2023 at 10:30 a.m. is VACATED and RESET for
                      3/29/2023 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. All
                      related deadlines are continued. SO ORDERED by Judge Daniel D. Domenico on
                      11/28/2022. Text Only Entry (dddlc5, ) (Entered: 11/28/2022)
   11/29/2022   272   Order Regarding Motion for Subpoenas as to Michael Aaron Tew and Kimberley
                      Ann Tew. (angar, ) Modified on 11/29/2022 to correct restriction level and title
                      (angar, ). (Entered: 11/29/2022)
   12/01/2022   273   MOTION to Withdraw as Attorney by Peter R. Bornstein by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 12/01/2022)
   12/01/2022   274   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 273
                      MOTION to Withdraw as Attorney by Peter R. Bornstein. Motion referred to
                      Magistrate Judge Kristen L. Mix, by Judge Daniel D. Domenico on 12/01/2022. Text
                      Only Entry (dddlc5, ) Modified on 12/5/2022 to add text (athom, ). (Entered:
                      12/01/2022)
   12/02/2022   275   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/02/2022. IT IS
                      HEREBY ORDERED that the Motion 273 is GRANTED as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Mr. Bornstein is permitted to withdraw as counsel for
                      Defendants. IT IS FURTHER ORDERED that on or before December 16, 2022,
                      Defendants shall have replacement counsel enter an appearance or, if they believe
                      they are entitled to appointment of CJA counsel to represent them, shall each file a
                      financial affidavit under restriction at Level 3. (alave, ) (Entered: 12/05/2022)
   12/05/2022   276   MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered:
                      12/05/2022)
   12/05/2022   277   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 276
                      MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines filed
                      by USA. Motion referred to Magistrate Judge Kristen L. Mix by Judge Daniel D.
                      Domenico on 12/05/2022. Text Only Entry (dddlc5, ) (Entered: 12/05/2022)
   12/06/2022   278   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/06/2022. IT IS
                      HEREBY ORDERED that a hearing on the Motion 276 is set for December 9, 2022,
                      at 11:00 a.m. Counsel for the parties, including defense counsel Peter Bornstein who
                      was permitted to withdraw by Minute Order 275 of December 2, 2022, shall be
                      present at the hearing. IT IS FURTHER ORDERED that the Clerk of Court shall
                      email a copy of this Minute Order to Mr. Bornstein. (alave, ) (Entered: 12/06/2022)
   12/06/2022   279   Certificate of Service by E−Mail by Clerk of Court re 278 Minute Order to counsel
                      Peter Bornstein at pbornstein@prblegal.com. Text Only Entry. (alave, ) (Entered:
                      12/06/2022)
   12/09/2022   280   MINUTE ENTRY for In Court Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 12/9/2022 before Magistrate Judge Kristen L. Mix. The court GRANTS

                                                                                                              38
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        39 of 460



                      276 Motion for Reconsideration re 273 MOTION to Withdraw as Attorney. 273
                      MOTION to Withdraw as Attorney is GRANTED in part and DENIED in part to the
                      extent that Mr. Bornstein is permitted to withdraw as private counsel, but otherwise
                      denied. Defendants are ORDERED to submit financial affidavits on or before 5:00
                      PM Tuesday, December 13, 2022. Should Defendants qualify for court−appointed
                      counsel, Mr. Bornstein will be appointed as CJA counsel.

                      The Clerk of Court is ORDERED to allow Mr. Bornstein to file the financial
                      affidavits on the electronic docket on the Defendants' behalf. Should there be any
                      problem with the filing of the financial affidavits, Mr. Bornstein SHALL email them
                      to Mix_Chambers@cod.uscourts.gov.(Total time: 23 minutes, Hearing time:
                      11:00−11:23)

                      APPEARANCES: Bryan Fields, Albert Buchman on behalf of the Government,
                      Peter Bornstein on behalf of the defendant. FTR: A−401. (cpomm, ) Text Only Entry
                      (Entered: 12/09/2022)
   12/13/2022   281   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 12/13/2022)
   12/13/2022   282   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 12/13/2022)
   12/14/2022   283   ORDER granting 281 Motion for Leave to Restrict 282 Restricted Document as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). The Clerk of Court is instructed to
                      maintain 282 at LEVEL THREE RESTRICTION. SO ORDERED by Judge Daniel
                      D. Domenico on 12/14/2022. Text Only Entry (dddlc5, ) (Entered: 12/14/2022)
   12/27/2022   284   MOTION to Vacate Deadlines and for Status Conference by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/27/2022)
   12/27/2022   285   TRANSCRIPT of MOTIONS HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 10/12/22 before Judge Domenico. Pages: 1−234.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (Thomas, Julie) (Entered: 12/27/2022)
   12/27/2022   286   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/27/2022. IT IS
                      HEREBY ORDERED that attorney Peter Bornstein is appointed as CJA counsel for
                      Defendants Michael A. Tew and Kimberly A. Tew. (alave, ) (Entered: 12/27/2022)
   12/28/2022   287   ORDER DENYING 284 Government's Motion to Vacate Current Deadlines and for
                      Status Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter Bornstein represented the defendants as retained counsel for a period


                                                                                                             39
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         40 of 460



                      of over nine months from February to December 2022 (see Docs. 178 , 273 , 275 ,
                      280), and he now continues to represent the defendants as appointed CJA counsel
                      (Doc. 286 ). The Government has repeatedly stated its concern that further delays
                      may prejudice its case and the public (Doc. 284 at 3; Doc. 276 at 2, 3, 5, 8), and has
                      also acknowledged that Mr. Bornstein "is surely in the best position to advance this
                      case without any more delay" (Doc. 276 at 2). Having now been appointed as CJA
                      counsel, Mr. Bornstein has over a week to review the Government's James
                      submission prior to its filing on 1/6/2023.

                      The Government's request to vacate the deadlines related to its James proffer and log
                      is therefore denied.

                      SO ORDERED by Judge Daniel D. Domenico on 12/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/28/2022)
   12/28/2022   288   MOTION for Order Appointing Separate Counsel by Michael Aaron Tew, Kimberley
                      Ann Tew. (Bornstein, Peter) (Entered: 12/28/2022)
   12/29/2022   289   ORDER GRANTING 288 Motion for Appointment of Separate Counsel as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter R. Bornstein is relieved of any further representation of Defendant
                      Kimberley Ann Tew, and the Clerk of Court is instructed to terminate Mr. Bornstein
                      as counsel of record for Ms. Tew. An attorney from the Criminal Justice Act panel
                      will be appointed to represent Ms. Tew. Defendant Michael Aaron Tew will continue
                      to be represented by Mr. Bornstein as appointed CJA counsel.

                      In light of the above, the deadlines for the Goverment's James proffer and log and the
                      defendants' response thereto, and the James Hearing set for 1/26/2023 are
                      CONTINUED pending further order of the Court.

                      Within one week of entry of appearance of new counsel for Ms. Tew, the parties
                      must file a Joint Status Report addressing: (1) the Speedy Trial Act implications of
                      the new representation, if any; (2) mutually agreeable proposed deadlines for further
                      James proceedings; and (3) any other issues the parties wish to bring to the Court's
                      attention.

                      SO ORDERED by Judge Daniel D. Domenico on 12/29/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/29/2022)
   01/03/2023   290   NOTICE OF ATTORNEY APPEARANCE: David Scott Kaplan appearing for
                      Kimberley Ann TewAttorney David Scott Kaplan added to party Kimberley Ann
                      Tew(pty:dft) (Kaplan, David) (Main Document 290 replaced on 1/21/2025) (lrobe, ).
                      (Entered: 01/03/2023)
   01/05/2023   291   MOTION to Unrestrict Document 2 Warrant Issued, 1 Complaint, by USA as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1
                      Proposed Order (PDF Only))(Fields, Bryan) (Entered: 01/05/2023)
   01/06/2023   292   ORDER granting 291 Motion to Unrestrict 291 . The Clerk of Court is directed to
                      unrestrict Documents 1 , 2 , 5 , and 6 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2), Jonathan K. Yioulos (3). SO ORDERED by Judge Daniel D. Domenico on
                      01/06/2023. Text Only Entry (dddlc5, ) (Entered: 01/06/2023)


                                                                                                               40
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        41 of 460



   01/10/2023   293   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 01/10/2023)
   01/11/2023   294   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 293 Status
                      Report filed by USA. By 1/17/2023, Mr. Bornstein and Mr. Kaplan must each submit
                      an ex parte filing describing their positions regarding any conflict of interest that
                      might prevent Mr. Bornstein from continuing to represent Mr. Tew and whether a
                      hearing is necessary to evaluate and resolve this issue. SO ORDERED by Judge
                      Daniel D. Domenico on 01/11/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/11/2023)
   01/13/2023   295   NOTICE OF ATTORNEY APPEARANCE: Nancy Lin Cohen appearing for
                      Movants Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc.Attorney Nancy Lin Cohen added to party Christopher J. Alf(pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Group, Inc. (pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Holdings,
                      Inc.(pty:mov) (athom, ) (Entered: 01/13/2023)
   01/13/2023   296   NOTICE OF ATTORNEY APPEARANCE: Eric S. Galler appearing for Movants
                      Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                      Inc.Attorney Eric S. Galler added to party Christopher J. Alf(pty:mov), Attorney Eric
                      S. Galler added to party National Air Cargo Group, Inc. (pty:mov), Attorney Eric S.
                      Galler added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, ) (Entered:
                      01/13/2023)
   01/13/2023   297   MOTION to Quash Subpoenas by Christopher J. Alf, National Air Cargo Group,
                      Inc., National Air Cargo Holdings, Inc. as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 01/13/2023)
   01/17/2023   298   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew (Bornstein, Peter) (Entered: 01/17/2023)
   01/17/2023   299   MOTION for Leave to Restrict by Michael Aaron Tew. (Bornstein, Peter) (Entered:
                      01/17/2023)
   01/17/2023   300   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Bornstein, Peter)
                      (Entered: 01/17/2023)
   01/17/2023   301   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 01/17/2023)
   01/26/2023   302   ORDER granting 299 Motion for Leave to Restrict as to Michael Aaron Tew (1). The
                      Clerk of Court is directed to maintain 300 at a LEVEL THREE RESTRICTION. SO
                      ORDERED by Judge Daniel D. Domenico on 1/26/2023. Text Only Entry (dddlc5, )
                      (Entered: 01/26/2023)
   01/29/2023   303   Unopposed MOTION to Modify Conditions of Release by Jonathan K. Yioulos as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 01/29/2023)
   01/30/2023   304   ORDER GRANTING 303 Unopposed Motion to Modify Conditions of Release as to
                      Jonathan K. Yioulos (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family
                      from 2/16/23 to 2/24/23. He must (1) provide documentation regarding his travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact his probation officer as directed during the time of approved travel, and (3)
                      promptly contact his probation officer upon return from his trip. SO ORDERED by

                                                                                                              41
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         42 of 460



                      Judge Daniel D. Domenico on 01/30/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/30/2023)
   01/30/2023   305   ORDER WITHDRAWING COUNSEL as to Michael Aaron Tew. Peter R. Bornstein
                      is WITHDRAWN as counsel to Defendant Michael Aaron Tew and relieved of all
                      further representation. The Clerk of Court is instructed to terminate Mr. Bornstein as
                      counsel of record, and to remove his name from the electronic certificate of mailing.
                      An attorney from the Criminal Justice Act panel will be appointed to represent
                      Defendant Michael Tew. Within one week of entry of appearance of new counsel for
                      Mr. Tew, the parties must file a Joint Status Report addressing: (1) the Speedy Trial
                      Act implications of the new representation, if any; and (2) any other issues the parties
                      wish to bring to the Court's attention. On or before 3/13/2023, the parties must file a
                      Joint Status Report with mutually agreeable proposed deadlines for further James
                      proceedings. By Judge Daniel D. Domenico on 01/30/2023. (athom, ) (Entered:
                      01/30/2023)
   01/30/2023   306   ORDER as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos.The
                      Motion of Third−Party Victims to Quash Subpoenas (Doc. 297 ) is GRANTED.The
                      defendants' third−party subpoenas dated 12/1/2022 are QUASHED. The defendants
                      may, if they wish, file a renewed motion for leave to serve third−party subpoenas that
                      fully complies with Federal Rule of Criminal Procedure 17. By Judge Daniel D.
                      Domenico on 01/30/2023. (athom, ) (Entered: 01/30/2023)
   01/30/2023   307   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 303 Unopposed MOTION to Modify Conditions of
                      Release filed by attorney Michael John Tallon. The format for the attorney's signature
                      block information is not correct. DO NOT REFILE THE DOCUMENT. Action to
                      take − future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d)
                      of the Electronic Case Filing Procedures (Criminal Cases). The document was
                      scanned and not converted directly to portable document format (PDF). DO NOT
                      REFILE THE DOCUMENT. Action to take − future documents must be filed
                      pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing
                      Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 01/30/2023)
   01/31/2023   308   NOTICE OF ATTORNEY APPEARANCE: Jason Dale Schall appearing for
                      Michael Aaron TewAttorney Jason Dale Schall added to party Michael Aaron
                      Tew(pty:dft) (Schall, Jason) (Entered: 01/31/2023)
   02/03/2023   309   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 02/03/2023)
   02/03/2023   310   ORDER re 309 Motion to Continue as to Michael Aaron Tew. The Court currently
                      does not have enough information to determine whether the ends−of−justice served
                      by the length of delay requested by the Defendant outweighs the best interests of the
                      defendant and public in a speedy trial. In light of the appointment of Mr. Tew's new
                      counsel and the suspension of the present time from the Speedy Trial Act given the
                      James proceeding is not yet under advisement, the eight−day jury trial set for 3/13/23
                      and Trial Preparation Conference set for 3/7/2023 are VACATED. The Motion to
                      Continue 309 is denied without prejudice. If Defendant wishes to file a renewed
                      Motion to Continue, he should do so concurrent with the status report due 3/13/2023.
                      SO ORDERED by Judge Daniel D. Domenico on 02/03/2023. Text Only Entry
                      (dddlc5, ) (Entered: 02/03/2023)
   02/07/2023   311


                                                                                                                 42
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        43 of 460



                      STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 02/07/2023)
   02/17/2023   312   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 02/17/2023)
   02/17/2023   313   ORDER granting 312 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(x)(w) is stricken from Defendant's Conditions of Release.
                      Defendant's supervising officer shall notify the Court if any issues arise from the
                      removal of this restriction. SO ORDERED by Judge Daniel D. Domenico on
                      2/17/2023. Text Only Entry (dddlc5, ) (Entered: 02/17/2023)
   03/13/2023   314   STATUS REPORT re James Hearing (Joint Status Report of all Parties) by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos (Fields, Bryan)
                      (Entered: 03/13/2023)
   03/13/2023   315   Unopposed MOTION for Order for an Ends of Justice (EOJ) Continuance Pursuant
                      to 18 U.S.C. 3161(h)(7) by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      03/13/2023)
   03/13/2023   316   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 03/13/2023)
   03/17/2023   317   ORDER as to Kimberley Ann Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 315 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Kimberley Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference RESET to 1/30/2024 at 1:30 p.m. in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 03/17/2023.
                      (athom, ) (Entered: 03/17/2023)
   03/17/2023   318   ORDER as to Michael Aaron Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 316 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Michael Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference is RESET to 1/30/2024 at 1:30 p.m. in Courtroom
                      A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on
                      03/17/2023. (athom, ) (Entered: 03/17/2023)
   03/20/2023   319   RESTRICTED PRESENTENCE REPORT as to Jonathan K. Yioulos (Attachments:
                      # 1 Exhibit A)(lgiac) (Entered: 03/20/2023)
   03/20/2023   320   RESTRICTED ADDENDUM to Presentence Report 319 as to Jonathan K. Yioulos
                      (lgiac) (Entered: 03/20/2023)
   03/22/2023   321   Unopposed MOTION to Continue adjourn sentencing and apply for,passport by
                      Jonathan K. Yioulos. (Tallon, Michael) (Entered: 03/22/2023)
   03/23/2023   322   ORDER granting 321 Motion to Continue as to Jonathan K. Yioulos (3). The
                      sentencing set for 3/29/2023 is VACATED and RESET for 3/5/2024 10:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico.


                                                                                                            43
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        44 of 460



                      Mr. Yioulos's motion to apply for a passport 321 is GRANTED. If a passport is
                      issued to Mr. Yioulos, his counsel must maintain control of it until specific
                      permission to travel is granted. Mr. Yioulos must separately request permission to
                      travel.

                      SO ORDERED by Judge Daniel D. Domenico on 3/23/2023. Text Only Entry
                      (dddlc5, ) (Entered: 03/23/2023)
   03/24/2023   323   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES: re: 321 Unopposed MOTION to Continue adjourn
                      sentencing and apply for,passport filed by attorney Michael John Tallon. The format
                      for the attorney's signature block information is not correct. DO NOT REFILE THE
                      DOCUMENT. Action to take − future documents must be filed pursuant to
                      D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing Procedures (Criminal
                      Cases). The document was scanned and not converted directly to portable document
                      format (PDF). DO NOT REFILE THE DOCUMENT. Action to take − future
                      documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the
                      Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                      (Entered: 03/24/2023)
   03/27/2023   324   Unopposed MOTION to Modify Conditions of Release for family travel to Florida
                      on March 30th by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 03/27/2023)
   03/27/2023   325   ORDER granting 324 Motion to Modify Conditions of Release as to Jonathan K.
                      Yioulos (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family from 3/30/23
                      to 4/6/23. He must (1) provide documentation regarding his travel plans to United
                      States Pretrial and Probation Services in advance of departure, (2) contact his
                      probation officer as directed during the time of approved travel, and (3) promptly
                      contact his probation officer upon return from his trip. SO by Judge Daniel D.
                      Domenico on 3/27/2023. (dddlc5, ) (Entered: 03/27/2023)
   03/28/2023   326   ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                      RULES/PROCEDURES re: 324 Unopposed Motion to Modify Conditions of Release
                      filed by attorney Michael John Tallon. The document was scanned and not
                      converted directly to portable document format (PDF). DO NOT REFILE THE
                      DOCUMENT. Action to take − future documents must be filed pursuant to
                      D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing Procedures (Criminal
                      Cases). (Text Only Entry) (jtorr, ) (Entered: 03/28/2023)
   05/01/2023   327   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 05/01/2023)
   05/01/2023   328   ORDER granting 327 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(q) of Mr. Tew's pre−trial release is removed. In lieu of 7(q) Mr.
                      Tew must report to U.S. Pre−trial Services/U.S. Probation by no later than 12:00 p.m.
                      MST every Monday. SO ORDERED by Judge Daniel D. Domenico on 5/1/2023.
                      Text Only Entry (dddlc5, ) (Entered: 05/01/2023)
   06/07/2023   329   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      06/07/2023)
   06/07/2023   330   ORDER granting 329 Motion to Travel as to Michael Aaron Tew (1). Mr. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. He must (1) provide documentation regarding his travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)

                                                                                                               44
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        45 of 460



                      contact his probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/7/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/07/2023)
   06/16/2023   331   Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Kaplan,
                      David) (Entered: 06/16/2023)
   06/16/2023   332   ORDER granting 331 Motion to Travel as to Kimberley Ann Tew (2). Ms. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. She must (1) provide documentation regarding her travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact her probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/16/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/16/2023)
   07/07/2023   333   NOTICE OF ATTORNEY APPEARANCE: Richard Kent Kornfeld appearing for
                      Jonathan K. YioulosAttorney Richard Kent Kornfeld added to party Jonathan K.
                      Yioulos(pty:dft) (Kornfeld, Richard) (Entered: 07/07/2023)
   07/07/2023   334   MOTION to Withdraw as Attorney by Michael J. Tallon by Jonathan K. Yioulos.
                      (Tallon, Michael) (Entered: 07/07/2023)
   07/20/2023   335   ORDER granting 334 Motion to Withdraw as Attorney. The Clerk of Court is
                      directed to terminate Attorney Michael John Tallon as counsel of record for Jonathan
                      K. Yioulos (3). Mr. Yioulos will continue to be represented by Richard K. Kornfeld.
                      SO ORDERED by Judge Daniel D. Domenico on 7/20/2023. Text Only Entry
                      (dddlc5, ) (Entered: 07/20/2023)
   09/12/2023   336   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 09/12/2023)
   09/12/2023   337   Unopposed MOTION for Extension of Time to File by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 09/12/2023)
   09/13/2023   338   ORDER GRANTING 337 Motion for Extension of Time to File as to Michael Aaron
                      Tew; and

                      GRANTING 336 Motion for Extension of Time to File as to Kimberley Ann Tew.

                      The motions deadline as to Mr. Tew and Ms. Tew is extended to October 13, 2023.
                      The government must file responses on or before October 20, 2023. SO ORDERED
                      by Judge Daniel D. Domenico on 9/13/2023. Text Only Entry (dddlc3, ) (Entered:
                      09/13/2023)
   10/13/2023   339   STATUS REPORT (Joint Status Report) by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Fields, Bryan) (Entered: 10/13/2023)
   10/26/2023   340   ORDER SETTING JAMES HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with an
                      accompanying brief, on or before December 5, 2023.


                                                                                                             45
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        46 of 460




                      The defendants must file their responses to the Government's James log and brief on
                      or before December 12, 2023. A James Hearing is SET for December 19, 2023 at
                      9:30 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 10/26/2023. Text Only Entry (dddlc3, ) (Entered:
                      10/26/2023)
   12/05/2023   341   Government's Proffer (Memorandum in Support of James Log) re: 340 Order,, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit 1 −
                      James Log, # 2 Exhibit 1001 − Bank Accounts, # 3 Exhibit 1002 − Scheme Invoice
                      Summary, # 4 Exhibit 1003 − Scheme Deposit Summary, # 5 Exhibit 1004 −
                      HSCPA, MCG & 5530JD Summary, # 6 Exhibit 1005 − PM Summary, # 7 Exhibit
                      1006 − GFL Summary, # 8 Exhibit 1007 − AMR Summary)(Fields, Bryan) (Entered:
                      12/05/2023)
   12/12/2023   342   MOTION to Withdraw as Attorney by Albert Buchman by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Buchman, Albert) (Entered:
                      12/12/2023)
   12/12/2023   343   ORDER GRANTING 342 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Albert Buchman as counsel of record, and to remove
                      this name from the electronic certificate of mailing. The government will continue to
                      be represented by attorney Bryan Fields. SO ORDERED by Judge Daniel D.
                      Domenico on 12/12/2023. Text Only Entry (dddlc3, ) (Entered: 12/12/2023)
   12/12/2023   344   MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer by USA
                      as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit List of
                      Authentic Business Records)(Fields, Bryan) (Entered: 12/12/2023)
   12/12/2023   345   RESPONSE by Michael Aaron Tew re: 341 Govt's Proffer, filed by USA (Schall,
                      Jason) (Entered: 12/12/2023)
   12/12/2023   346   RESPONSE by Kimberley Ann Tew re: 341 Govt's Proffer, filed by USA
                      (Attachments: # 1 Exhibit 1)(Kaplan, David) (Entered: 12/12/2023)
   12/13/2023   347   RESTRICTED DOCUMENT − Level 3: by Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 12/13/2023)
   12/18/2023   348   MOTION in Limine regarding post−trial release by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 12/18/2023)
   12/18/2023   349   ORDER as to Kimberley Ann Tew. Jamie Hubbard of Stimson LaBranche Hubbard,
                      LLC is to be appointed as co−counsel for Kimberley Ann Tew's trial pursuant to the
                      Criminal Justice Act, 18 U.S.C. § 3006A et. seq. SO ORDERED by Judge Daniel D.
                      Domenico on 12/18/2023. Text Only Entry (dddlc3, ) (Entered: 12/18/2023)
   12/18/2023   350   EXHIBIT LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/18/2023   351   WITNESS LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/19/2023   352   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      12/19/2023)
   12/19/2023   353


                                                                                                              46
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado              pg
                                        47 of 460



                      NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                      Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                      12/19/2023)
   12/19/2023   355   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: James
                      Hearing as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on 12/19/2023 re
                      344 MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer filed
                      by USA, 348 MOTION in Limine regarding post−trial release filed by Michael
                      Aaron Tew. Deferring ruling on 344 Motion in Limine as to Michael Aaron Tew (1),
                      Kimberley Ann Tew (2). Deferring ruling on 348 Motion in Limine as to Michael
                      Aaron Tew (1). James Proffer is TAKEN UNDER ADVISEMENT. Defendants shall
                      file responses to 344 Governments Motion in Limine for Ruling that Certain Exhibits
                      are Authentic and Covered by Business−Records Exception to the Hearsay Rule not
                      later than Friday, December 22, 2023. Bond is CONTINUED as to Defendants
                      Michael Aaron Tew and Kimberley Ann Tew. Court Reporter: Tammy Hoffschildt.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   356   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for James
                      Hearing held on 12/19/2023 with Clerk's notations as to date and time testified.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   357   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for
                      12/19/2023 James Hearing with Clerk's notations as to exhibits identified by the
                      witness. (rkeec) (Entered: 12/20/2023)
   12/20/2023   354   NOTICE OF ATTORNEY APPEARANCE: Jamie Hughes Hubbard appearing for
                      Kimberley Ann TewAttorney Jamie Hughes Hubbard added to party Kimberley Ann
                      Tew(pty:dft) (Hubbard, Jamie) (Entered: 12/20/2023)
   12/20/2023   358   ORDER GRANTING 352 Motion to Travel as to Michael Aaron Tew. Michael and
                      Kimberley Tew may travel out of state from on or about December 22 through
                      January 3 as requested so long as Mr. Tew provides completed travel itineraries to
                      the Probation Department once those travel plans are finalized. SO ORDERED by
                      Judge Daniel D. Domenico on 12/20/2023. Text Only Entry (dddlc3, ) (Entered:
                      12/20/2023)
   12/22/2023   359   RESPONSE in Opposition by Michael Aaron Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Schall, Jason) (Entered:
                      12/22/2023)
   12/22/2023   360   RESPONSE to Motion by Kimberley Ann Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Kaplan, David) (Entered:
                      12/22/2023)
   12/29/2023   361   ORDER REGARDING ADMISSIBILITY OF RULE 801(d)(2)(E) STATEMENTS
                      as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED by Judge
                      Daniel D. Domenico on 12/29/23. (rkeec) (Entered: 12/29/2023)
   01/08/2024   362   NOTICE OF ATTORNEY APPEARANCE: Lisa Marie Saccomano appearing for
                      Movant Atlantic Union Bank. (cmadr, ) (Entered: 01/09/2024)
   01/09/2024   363   MOTION to Quash Subpoena by Atlantic Union Bank as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                      2, # 3 Exhibit 3)(Saccomano, Lisa) (Entered: 01/09/2024)
   01/17/2024   364

                                                                                                              47
Case No. 1:20-cr-00305-DDD        Document 645-4         filed 01/24/25      USDC Colorado          pg
                                        48 of 460



                      RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 01/17/2024)
   01/18/2024   365   ORDER as to Michael Aaron Tew. An attorney selected from the District's Criminal
                      Justice Act Panel is to be appointed as co−counsel for Michael Aaron Tew's trial
                      pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A et seq. SO ORDERED by
                      Judge Daniel D. Domenico on 1/18/2024. Text Only Entry (dddlc3, ) (Entered:
                      01/18/2024)
   01/18/2024   366   RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann Tew re
                      363 MOTION to Quash Subpoena (Weiss, Sarah) (Entered: 01/18/2024)
   01/19/2024   367   ORDER granting in part and denying in part as outlined in the order 344 Motion in
                      Limine as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying as moot 363
                      Motion to Quash as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO
                      ORDERED by Judge Daniel D. Domenico on 1/19/2024. (rkeec) (Entered:
                      01/19/2024)
   01/19/2024   368   NOTICE OF ATTORNEY APPEARANCE: Kristen M. Frost appearing for Michael
                      Aaron TewAttorney Kristen M. Frost added to party Michael Aaron Tew(pty:dft)
                      (Frost, Kristen) (Entered: 01/19/2024)
   01/22/2024   369   Unopposed MOTION for Order to Produce Trial Exhibits via Electronic Means by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Fields, Bryan) (Entered: 01/22/2024)
   01/23/2024   370   MOTION in Limine regarding proffer agreements by Michael Aaron Tew.
                      (Attachments: # 1 Exhibit Defendant's Exhibits A and B)(Schall, Jason) (Entered:
                      01/23/2024)
   01/24/2024   371   CLERK'S NOTE: ORIGINAL GOVERNMENT EXHIBITS for the 355 MINUTE
                      ENTRY for James Hearing as to Michael Aaron Tew, Kimberley Ann Tew were
                      returned to the Government on January 24, 2024. Text only entry. (rkeec) (Entered:
                      01/24/2024)
   01/24/2024   372   ORDER as to Michael Aaron Tew re 370 Motion in limine regarding proffer
                      statements. The government must file a response to Mr. Tew's motion at or before
                      5:00 pm on Friday, January 26, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 1/24/2024. Text Only Entry (dddlc3, ) (Entered: 01/24/2024)
   01/24/2024   373   MOTION in Limine re Admissibility of Proffer Statements by Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   374   MOTION to Continue Trial and Motion for Ends of Justice Continuance of 90 Days
                      by Kimberley Ann Tew. (Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   375   Proposed Verdict Form as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Proposed Document Parties' Proposed Verdict Form)(Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/24/2024   376   TRIAL BRIEF by Kimberley Ann Tew (Attachments: # 1 Exhibit A, # 2 Exhibit
                      B)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024   377   TRIAL BRIEF by Michael Aaron Tew (Schall, Jason) (Entered: 01/24/2024)
   01/24/2024   378   NOTICE of Certifications of Authentic, Non−Hearsay Business Records by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit, # 2

                                                                                                           48
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        49 of 460



                      Exhibit)(Weiss, Sarah) (Entered: 01/24/2024)
   01/24/2024   379   TRIAL BRIEF by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/25/2024   380   Proposed Jury Instructions (Joint) by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Weiss, Sarah) (Entered: 01/25/2024)
   01/25/2024   381   ORDER re Kimberley Tew's 373 Motion in Limine and 374 Motion to Continue
                      Trial. The government must provide responses to these two motions at or before
                      11:59 pm on Friday, January 26, 2024. The government's response deadline for Mr.
                      Tew's 370 Motion in Limine is also extended to 11:59 pm on Friday, January 26,
                      2024. SO ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry
                      (dddlc3, ) (Entered: 01/25/2024)
   01/25/2024   382   ORDER GRANTING 369 Unopposed Motion to Produce Trial Exhibits Via
                      Electronic Means. The government must provide one original paper set of its
                      proposed exhibits for use at the upcoming trial. The government must provide
                      electronic copies of those exhibits to defense counsel on or before January 26, 2024.

                      The government must also provide three electronic copies (e.g., via three thumb
                      drives) of its proposed exhibits to the court on or before January 26, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, )
                      (Entered: 01/25/2024)
   01/25/2024   383   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos (Attachments: # 1 Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   384   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan
                      K. Yioulos (Attachments: # 1 Witness List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   385   NOTICE regarding proposed witness and exhibit lists by Michael Aaron Tew
                      (Schall, Jason) (Entered: 01/25/2024)
   01/25/2024   386   EXHIBIT LIST (Amended) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Amended Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   387   EXHIBIT LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Exhibit List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/25/2024   388   WITNESS LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document
                      Proposed Witness List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/26/2024   389   Proposed Voir Dire by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 01/26/2024)
   01/26/2024   390   Proposed Voir Dire by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/26/2024)
   01/26/2024   391   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 374 MOTION to
                      Continue Trial and Motion for Ends of Justice Continuance of 90 Days (Fields,
                      Bryan) (Entered: 01/26/2024)
   01/26/2024   392   Proposed Voir Dire by Michael Aaron Tew (Schall, Jason) (Entered: 01/26/2024)
   01/26/2024   393   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 373 MOTION in Limine re Admissibility of Proffer Statements and 370 Defendant
                      Michael Tew's Motion in Limine (Weiss, Sarah) (Entered: 01/26/2024)


                                                                                                              49
Case No. 1:20-cr-00305-DDD        Document 645-4         filed 01/24/25      USDC Colorado          pg
                                        50 of 460



   01/27/2024   394   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/27/2024   395   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Weiss, Sarah) (Entered: 01/27/2024)
   01/27/2024   396   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/29/2024   397   MOTION for Leave to File Reply in Support of Motion in Limine by Kimberley Ann
                      Tew. (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024   398   BRIEF in Support by Kimberley Ann Tew to 373 MOTION in Limine re
                      Admissibility of Proffer Statements (Reply) (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024   399   MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) by
                      Kimberley Ann Tew. (Kaplan, David) (Entered: 01/29/2024)
   01/29/2024   400   BAIL STATUS REPORT 10 as to Michael Aaron Tew. (lgiac) (Entered: 01/29/2024)
   01/29/2024   401   BAIL STATUS REPORT 107 as to Kimberley Ann Tew. (lgiac) (Entered:
                      01/29/2024)
   01/30/2024   403   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Trial
                      Preparation Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held
                      on 1/30/2024. Taking under advisement 374 Defendant Kimberly Ann Tews Motion
                      to Continue Trial and Motion for Ends of Justice Continuance of 90 Days. Taking
                      under advisement 370 Motion in Limine as to Michael Aaron Tew (1). Taking under
                      advisement 373 Motion in Limine as to Kimberley Ann Tew (2). Taking under
                      advisement 399 Motion to Exclude as to Kimberley Ann Tew (2); re 370 MOTION
                      in Limine regarding proffer agreements filed by Michael Aaron Tew, 373 MOTION
                      in Limine re Admissibility of Proffer Statements filed by Kimberley Ann Tew, 399
                      MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) filed
                      by Kimberley Ann Tew. Bond is CONTINUED as to Defendants Michael Aaron
                      Tew and Kimberly Ann Tew. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                      01/31/2024)
   01/31/2024   402   ORDER Denying 374 Motion to Continue as to Kimberley Ann Tew (2) by Judge
                      Daniel D. Domenico on 31 January 2024. The trial will proceed on February 5, 2024,
                      as scheduled. (cmadr, ) Modified to correct entry on 1/31/2024 (cmadr, ). (Entered:
                      01/31/2024)
   02/01/2024   404   ORDER REGARDING MOTIONS IN LIMINE AND PRE−TRIAL ISSUES as to
                      Michael Aaron Tew (1) and Kimberley Ann Tew (2) by Judge Daniel D. Domenico
                      on 1 February 2024. Defendants' motions, Docs. 370 and 373 , are GRANTED IN
                      PART and DENIED IN PART as outlined herein. Ms. Tew's motion, Doc. 399 , is
                      therefore DENIED. (cmadr, ) (Entered: 02/01/2024)
   02/02/2024   405   Unopposed MOTION for Order To Obtain Testimony Via Live Contemporaneous
                      Video Conference by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields,
                      Bryan) (Entered: 02/02/2024)


                                                                                                            50
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25     USDC Colorado           pg
                                        51 of 460



   02/02/2024   406   Order GRANTING 405 Unopposed Motion to Obtain Testimony Via Live
                      Contemporaneous Video Conference. The government is cautioned, however, that it
                      bears the risk of any technology malfunctions, whether on the Court's end or the
                      witness's end. SO ORDERED by Judge Daniel D. Domenico on 2/2/2024. Text Only
                      Entry (dddlc3, ) (Entered: 02/02/2024)
   02/02/2024   407   WITNESS LIST (Final Witness List) by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew (Attachments: # 1 Final Witness List)(Fields, Bryan) (Entered: 02/02/2024)
   02/02/2024   408   EXHIBIT LIST Final Exhibit List by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Attachments: # 1 Exhibit)(Weiss, Sarah) (Entered: 02/02/2024)
   02/04/2024   409   MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and
                      Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 02/04/2024)
   02/04/2024   410   MOTION for Reconsideration re 404 Order on Motion in Limine,, Order on Motion
                      to Exclude,,, by Michael Aaron Tew. (Schall, Jason) (Entered: 02/04/2024)
   02/04/2024   411   NOTICE of Submission of Alternative Version of Charges for Juror Notebooks by
                      Kimberley Ann Tew (Attachments: # 1 Attachment)(Hubbard, Jamie) (Entered:
                      02/04/2024)
   02/04/2024   412   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront
                      and Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing, 410 MOTION for Reconsideration re 404 Order on Motion in Limine,,
                      Order on Motion to Exclude,,, (Fields, Bryan) (Entered: 02/04/2024)
   02/05/2024   413   EXHIBIT LIST by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 02/05/2024)
   02/05/2024   414   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 1) held on 2/5/2024 as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      Denying 410 Motion for Reconsideration re 410 MOTION for Reconsideration re
                      404 Order on Motion in Limine,, Order on Motion to Exclude,,, filed by Michael
                      Aaron Tew, 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to
                      Confront and Cross−Examine Witnesses was Not Knowing or, in the Alternative,
                      Request for Hearing filed by Kimberley Ann Tew as to Michael Aaron Tew (1).
                      Denying 409 Motion for Order as to Kimberley Ann Tew (2). Bond continued as to
                      both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/06/2024)
   02/05/2024   415   Jury Strike Sheet − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/05/2024   416   Jury Strike Sheet with juror names redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/06/2024)
   02/05/2024   417   Jury Random List − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/06/2024   418   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 2) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/6/2024. Defendant
                      Kimberley Ann Tews oral motion for severance is TAKEN UNDER
                      ADVISEMENT. Bond is continued as to both defendants. Court Reporter: Tammy
                      Hoffschildt. (rkeec) (Entered: 02/07/2024)



                                                                                                           51
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        52 of 460



   02/07/2024   419   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 3) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/7/2024. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/08/2024)
   02/08/2024   420   Renewed MOTION to Sever Defendant by Michael Aaron Tew. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Frost, Kristen) (Entered: 02/08/2024)
   02/08/2024   421   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 4) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/8/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/09/2024)
   02/09/2024   423   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 5) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/9/2024. Defendant
                      Kimberley Ann Tews oral motion for mistrial is DENIED. Bond continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/12/2024)
   02/11/2024   422   RESPONSE in Opposition by USA as to Michael Aaron Tew re 420 Renewed
                      MOTION to Sever Defendant (Weiss, Sarah) (Entered: 02/11/2024)
   02/12/2024   424   ORDER DENYING 420 Michael Tew's Renewed Motion for Severance. By Judge
                      Daniel D. Domenico on 2/12/2024. (dddlc1, ) (Entered: 02/12/2024)
   02/12/2024   425   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 6) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/12/2024. 420
                      Defendant Michael Tews Renewed Motion for Severance is DENIED. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/13/2024)
   02/13/2024   426   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk of
                      Court shall provide lunch to the jury for the duration of their deliberations
                      commencing on Wednesday, February 14, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/13/2024. (rkeec) (Entered: 02/13/2024)
   02/13/2024   427   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 7) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/13/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/14/2024)
   02/14/2024   428   AMENDED MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The
                      Clerk of Court shall provide lunch to the jury, including the alternate juror, for the
                      duration of their deliberations commencing on Wednesday, February 14, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 2/14/2024. (rkeec) (Entered:
                      02/14/2024)
   02/14/2024   430   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 8) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/14/2024.
                      Defendant Kimberley Ann Tews oral motion for mistrial is DENIED. Defendant
                      Kimberley Ann Tews oral Rule 29 motion is DENIED. Defendant Kimberley Ann
                      Tews oral motion for severance is DENIED. Defendant Michael Aaron Tews oral
                      Rule 29 motion is DENIED. Defendant Michael Aaron Tews oral motion for
                      severance is DENIED. Bond continued as to both defendants. Court Reporter:
                      Tammy Hoffschildt. (rkeec) (Entered: 02/15/2024)
   02/14/2024   431

                                                                                                               52
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25     USDC Colorado          pg
                                        53 of 460



                      Jury Note with juror name − Unredacted − Restricted Doc. − Level 4 (rkeec)
                      (Entered: 02/15/2024)
   02/14/2024   432   Jury Note with juror name redacted as to Michael Aaron Tew, Kimberley Ann Tew.
                      (rkeec) (Entered: 02/15/2024)
   02/14/2024   433   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew with dates
                      and times testified. (rkeec) (Entered: 02/15/2024)
   02/14/2024   434   WITNESS LIST by Kimberley Ann Tew as to Michael Aaron Tew, Kimberley Ann
                      Tew. (rkeec) (Entered: 02/15/2024)
   02/14/2024   435   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew indicating
                      admitted exhibits. (rkeec) (Entered: 02/15/2024)
   02/14/2024   436   EXHIBIT LIST by Michael Aaron Tew, Kimberley Ann Tew indicating admitted
                      exhibits. (rkeec) (Entered: 02/15/2024)
   02/15/2024   429   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge
                      Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/15/2024)
   02/15/2024   438   Final Jury Instructions as to Michael Aaron Tew, Kimberley Ann Tew as read into
                      the record on 2/14/2024. (rkeec) (Entered: 02/16/2024)
   02/15/2024   439   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 9) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/15/2024. Jury
                      Verdict as to Michael Aaron Tew (1) Guilty on Count
                      1,1s,2,2s−40s,3,41s,42s,44s−56s,57s−60s and Kimberley Ann Tew (2) Guilty on
                      Count 1,21−22,25−26,31−32,41,43−44,47,56. Bond is continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on 2/16/2024 to
                      correct as to Count 48 (rkeec). (Entered: 02/16/2024)
   02/15/2024   440   Jury Note 1 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   441   Jury Note 2 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   442   Jury Note 3 (Verdict) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   443   Jury Note 1 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   444   Jury Note 2 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   445   Jury Note 3 (Verdict) with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) Modified on 2/16/2024 (rkeec, ). (Entered: 02/16/2024)
   02/15/2024   446   Court Response to Jury Notes 1 and 2 (Questions) as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   447   Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   448   JURY VERDICT with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/16/2024)

                                                                                                           53
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado            pg
                                        54 of 460



   02/15/2024   449   STIPULATION AND ORDER REGARDING CUSTODY OF EXHIBITS AND
                      DEPOSITIONS as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by
                      Judge Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/16/2024)
   02/16/2024   437   Unopposed MOTION to Continue Sentencing by Jonathan K. Yioulos. (Kornfeld,
                      Richard) (Entered: 02/16/2024)
   02/21/2024   450   MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing
                      by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1
                      Exhibit)(Weiss, Sarah) (Entered: 02/21/2024)
   02/21/2024   451   ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

                      Mr. Tew and Mrs. Tew must each file responses to the government's 450 Motion to
                      Detain on or before February 27, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/21/2024. Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/21/2024   452   ORDER GRANTING 437 Motion to Continue Sentencing as to Jonathan K. Yioulos.
                      The Sentencing set as to Mr. Yioulos for March 5, 2024 at 10:30 AM is VACATED
                      and RESET for September 17, 2024 at 10:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on 2/21/2024.
                      Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/27/2024   453   RESPONSE in Opposition by Michael Aaron Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Schall, Jason)
                      (Entered: 02/27/2024)
   02/27/2024   454   RESPONSE to Motion by Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Kaplan, David)
                      (Entered: 02/27/2024)
   03/12/2024   455   ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
                      government's motion questions whether Mr. and Mrs. Tew are still eligible for
                      CJA−appointed counsel for this case. There is sufficient evidence to call into
                      question their present eligibility under 18 U.S.C. § 3006A(c).

                      The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing
                      court−appointed counsel under Section 3006A(c) is therefore REFERRED to
                      Magistrate Judge Susan Prose. All other issues raised in the government's motion,
                      including the potential detention of Mr. and Mrs. Tew pending sentencing or the
                      potential un−sealing of any prior CJA affidavits, will be addressed at a detention
                      hearing before this Court as outlined below.

                      It is therefore ORDERED that a Hearing on the 450 Government's Motion is SET for
                      April 22, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico.
                      SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry
                      (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   456   ORDER as to Michael Aaron Tew. A Sentencing Hearing as to Michael Tew is SET
                      for August 8, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D.
                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   457


                                                                                                            54
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        55 of 460



                      ORDER as to Kimberley Ann Tew. A Sentencing Hearing as to Kimberley Tew is
                      SET for August 8, 2024 at 1:30 PM in Courtroom A1002 before Judge Daniel D.
                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/14/2024   458   SENTENCING STATEMENT by USA as to Michael Aaron Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/14/2024   459   SENTENCING STATEMENT by USA as to Kimberley Ann Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/15/2024   460   ORDER SETTING STATUS CONFERENCE as to Michael Aaron Tew, Kimberley
                      Ann Tew by Magistrate Judge Susan Prose on 3/15/2024. A 30−minute in−person
                      Status Conference is hereby set for 3/18/2024, at 4:00 PM in Courtroom C205 before
                      Magistrate Judge Susan Prose. The parties shall be prepared to discuss Defendant
                      Michael Tew's request for "an ex parte hearing... to determine whether Mr. Tew 'is
                      financially able to obtain counsel or to make partial payment for the representation'
                      pursuant to 18 U.S.C. § 3006A(c)." See ECF No. 453 at 3. Text Only Entry. (trvo, )
                      (Entered: 03/15/2024)
   03/18/2024   461   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew by Magistrate
                      Judge Susan Prose on 3/18/2024. At the request of the parties, the Status Conference
                      is RESET for 3/21/2024, at 04:00 PM in Courtroom C205 before Magistrate Judge
                      Susan Prose. Text Only Entry. (trvo, ) (Entered: 03/18/2024)
   03/21/2024   462   MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley
                      Ann Tew held before Magistrate Judge Susan Prose on 3/21/2024. Discussion
                      regarding issue referred to this court (see ECF No. 455). An ex parte hearing to
                      determine Michael Tew's entitlement to ongoing court−appointed counsel under 18
                      U.S.C. § 3006A(c) is SET for March 28, 2024, at 1:30 p.m. in Courtroom C205
                      before Magistrate Judge Susan Prose. Any documents to be submitted in connection
                      with this hearing shall be sent directly to Chambers, as discussed on the record, on or
                      before 10:00 a.m. March 27, 2024. An ex parte hearing to determine Kimberley Ann
                      Tew's entitlement to ongoing court−appointed counsel under 18 U.S.C. § 3006A(c) is
                      SET for April 15, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge
                      Susan Prose. Any documents to be submitted in connection with this hearing shall be
                      sent directly to Chambers, as discussed on the record, on or before 12:00 p.m. April
                      10, 2024. Hearing concluded. FTR: C205. (Total time: 1 hour and 8 minutes, Hearing
                      time: 3:57 p.m. − 5:05 p.m.) Text Only Entry.

                      APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the
                      Government, Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael
                      Aaron Tew and David Scott Kaplan on behalf of Defendant Kimberly Ann Tew.
                      (trvo, ) (Entered: 03/22/2024)
   03/21/2024   463   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Ex Parte In
                      Court Hearing set for 3/28/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/21/2024   464   Utility Setting/Resetting Deadlines/Hearings as to Kimberley Ann Tew: Ex Parte In
                      Court Hearing set for 4/15/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/27/2024   465   STATEMENT by Government Regarding Michael Tew's Eligibility for CJA−Funded
                      Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered: 03/27/2024)

                                                                                                                55
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         56 of 460



   03/27/2024   466   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      Flash Drive re 462 Status Conference, by Plaintiff USA. Location: 1st Floor Area,
                      Box D−5−9. Text Only Entry. (sphil, ) Modified on 4/15/2024 to add restriction
                      (trvo, ). (Entered: 03/27/2024)
   03/27/2024   467   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Michael Aaron Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry. (trvo, ) Modified on 4/15/2024 to add
                      restriction (trvo, ). (Entered: 03/28/2024)
   03/28/2024   468   MINUTE ENTRY for Ex Parte Hearing as to Michael Aaron Tew held before
                      Magistrate Judge Susan Prose on 3/28/2024. The Court finds that Defendant Michael
                      Tew remains eligible for court−appointed counsel. A separate public written order
                      will be issued. FTR: C205. (trvo, ) (Entered: 03/29/2024)
   04/01/2024   469   ORDER GRANTING 397 Motion for Leave to File Reply as to Kimberley Ann Tew.
                      By Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/01/2024   470   ORDER GRANTING 396 Motion for Leave to Restrict. The Clerk of Court is
                      directed to maintain Docs. 394 and 395 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/05/2024   471   ORDER REGARDING DEFENDANT MICHAEL TEW'S ELIGIBILITY FOR
                      ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan Prose on
                      4/5/2024. (trvo, ) (Entered: 04/05/2024)
   04/10/2024   472   STATEMENT by Government Regarding Kimberley Tew's Eligibility for
                      CJA−Funded Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered:
                      04/10/2024)
   04/15/2024   473   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Kimberley Ann Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry (trvo, ) Modified on 4/15/2024 to add
                      restriction (trvo, ). (Entered: 04/15/2024)
   04/15/2024   474   MINUTE ENTRY for Ex Parte Hearing as to Kimberley Ann Tew held before
                      Magistrate Judge Susan Prose on 4/15/2024. The Court finds that Defendant
                      Kimberley Ann Tew remains eligible for court−appointed counsel. A separate public
                      written order will be issued. FTR: C205. (trvo, ) (Entered: 04/16/2024)
   04/16/2024   475   Unopposed MOTION for Order Requiring the Parties to File Visual Presentations
                      into the Record by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 04/16/2024)
   04/16/2024   476   ORDER granting 475 Motion for Order Requiring the Parties to File Visual
                      Presentations into the Record. The parties are ordered to file all visual presentations
                      used during opening statements and closing arguments into the record. SO
                      ORDERED by Judge Daniel D. Domenico on 4/16/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/16/2024)
   04/18/2024   477   NOTICE OF CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Fields, Bryan) (Entered:
                      04/18/2024)
   04/18/2024   479


                                                                                                                56
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        57 of 460



                      Conventionally Submitted Material : USB exhibits to 477 NOTICE OF
                      CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by Plaintiff
                      USA − Material placed in the oversized area D−5−9 of the Clerk's Office. Text Only
                      Entry (angar, ) (Entered: 04/19/2024)
   04/19/2024   478   ORDER REGARDING DEFENDANT KIMBERLEY ANN TEW'S ELIGIBILITY
                      FOR ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan
                      Prose on 4/19/2024. (trvo, ) (Entered: 04/19/2024)
   04/21/2024   480   MOTION for Leave to Restrict by Kimberley Ann Tew. (Hubbard, Jamie) (Entered:
                      04/21/2024)
   04/21/2024   481   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)
   04/21/2024   482   RESTRICTED DOCUMENT − Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                      (Entered: 04/21/2024)
   04/22/2024   483   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Evidentiary Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      4/22/2024 re 450 MOTION to Detain Defendants Michael Tew & Kimberley Tew
                      Pending Sentencing filed by USA. 450 Motion to Detain as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2) is DENIED, but the Court will impose additional
                      conditions of bond. Court indicates that a written order shall follow. Bond is
                      continued as to Michael Aaron Tew and Kimberley Ann Tew. Court Reporter:
                      Tammy Hoffschildt. (Attachments: # 1 Government's witness list, # 2 Government's
                      exhibit list) (rkeec) (Entered: 04/22/2024)
   04/23/2024   484   NOTICE of Filing of Visual Presentation by Kimberley Ann Tew (Attachments: # 1
                      PowerPoint Closing Statement)(Hubbard, Jamie) (Entered: 04/23/2024)
   04/23/2024   485   Unopposed MOTION to Travel UNOPPOSED MOTION FOR DEFENDANT TO
                      TRAVEL OUT OF THE COUNTRY by Jonathan K. Yioulos. (Attachments: # 1
                      Waiver of Extradition)(Kornfeld, Richard) (Entered: 04/23/2024)
   04/23/2024   486   NOTICE Of Clarification Regarding Sentencing Statement by Michael Aaron Tew
                      (Frost, Kristen) (Entered: 04/23/2024)
   04/24/2024   487   ORDER granting 485 Motion to Travel as to Jonathan K. Yioulos. Mr. Yioulos may
                      travel to Montego Bay, Jamaica, from June 26 to July 2, 2024. He must (1) provide
                      documentation regarding his travel plans to United States Pretrial and Probation
                      Services in advance of departure, and (2) promptly contact his probation officer upon
                      return from each trip. SO ORDERED by Judge Daniel D. Domenico on 4/24/2024.
                      Text Only Entry (dddlc9, ) (Entered: 04/24/2024)
   04/24/2024   488   NOTICE Of Filing Of Visual Presentation by Michael Aaron Tew (Attachments: # 1
                      Closing Argument PowerPoint)(Frost, Kristen) (Entered: 04/24/2024)
   04/25/2024   489   ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley
                      Ann Tew. The following conditions are added to those already in effect:

                      1. Defendants shall disclose a complete list of all bank accounts and peer−to−peer
                      financial services accounts to which they have access no later than April 30, 2024.
                      Defendants shall further provide a statement for each of these accounts to their
                      supervising officer no later than the 5th of each following month, starting on May
                      5th, 2024.

                                                                                                              57
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        58 of 460




                      2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift
                      cards in a given day, and engaging in any cryptocurrency transaction without the
                      prior approval of the supervising officer.

                      3.The supervising officer may, in his discretion, share any information provided to
                      him by Defendants pursuant to these conditions with the government.

                      SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry
                      (dddlc9, ) (Entered: 04/25/2024)
   04/25/2024   490   ORDER denying as moot 348 Motion in Limine in light of 483 and 489 . SO
                      ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/25/2024)
   04/25/2024   491   ORDER granting 480 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 482 at Level 1 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 4/25/2024. Text Only Entry (dddlc9, ) (Entered: 04/25/2024)
   04/26/2024   492   NOTICE OF ATTORNEY APPEARANCE Martha Ann Paluch appearing for USA.
                      Attorney Martha Ann Paluch added to party USA(pty:pla) (Paluch, Martha) (Entered:
                      04/26/2024)
   04/26/2024   493   RESTRICTED DOCUMENT − Level 3: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   494   RESTRICTED DOCUMENT − Level 1: by USA as to Kimberley Ann Tew (Paluch,
                      Martha) (Entered: 04/26/2024)
   04/26/2024   495   MOTION for Leave to Restrict by USA as to Kimberley Ann Tew. (Attachments: # 1
                      Proposed Order (PDF Only))(Paluch, Martha) (Entered: 04/26/2024)
   04/26/2024   499   ORDER Updating Conditions of Release as to Michael Aaron Tew (1) $20,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)
   04/26/2024   500   ORDER Updating Conditions of Release as to Kimberley Ann Tew (2) $10,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)
   04/29/2024   496   Unopposed MOTION to Travel Out of State by Jonathan K. Yioulos. (Kornfeld,
                      Richard) (Entered: 04/29/2024)
   04/30/2024   497   ORDER granting 496 Motion to Travel as to Jonathan K. Yioulos. Instead of going to
                      Jamaica, Mr. Yioulos may travel to Miami, Florida from June 25 to July 1, 2024. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from the trip. SO ORDERED by Judge Daniel D.
                      Domenico on 4/30/2024. Text Only Entry (dddlc9, ) (Entered: 04/30/2024)
   04/30/2024   498   ORDER granting 495 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 493 at Level 3 restriction and to maintain Doc. 494 at Level 1
                      restriction. SO ORDERED by Judge Daniel D. Domenico on 4/30/2024. Text Only
                      Entry (dddlc9, ) (Entered: 04/30/2024)
   05/08/2024   501


                                                                                                            58
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado          pg
                                         59 of 460



                      ORDER denying 482 RESTRICTED DOCUMENT − Level 1: by Kimberley Ann
                      Tew. Having reviewed the pleadings on this issue and considered the relevant facts,
                      the motion is denied. SO ORDERED by Judge Daniel D. Domenico on 5/8/2024.
                      Text Only Entry (dddlc9, ) (Entered: 05/08/2024)
   05/31/2024   502   Unopposed MOTION to Continue Sentencing and Related Deadlines by Michael
                      Aaron Tew. (Schall, Jason) (Entered: 05/31/2024)
   06/04/2024   503   ORDER granting 502 Motion to Continue as to Michael Aaron Tew. Mr. Tew's
                      sentencing, which was set for 8/8/2024, is vacated and reset for 9/12/2024 at 10:30
                      AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 6/4/2024. Text Only Entry (dddlc9, ) (Entered:
                      06/04/2024)
   07/02/2024   504   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Kimberley Ann Tew (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 07/02/2024)
   07/09/2024   505   ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                      Court's calendar, and after consultation with counsel, the Sentencing set for
                      9/17/2024 is VACATED and RESET for 10/2/2024 at 03:30 PM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 7/9/2024. Text Only Entry (dddlc1, ) (Entered: 07/09/2024)
   07/15/2024   506   Unopposed MOTION for Extension of Time to File Objections to Presentence
                      Investigation Report by Kimberley Ann Tew. (Attachments: # 1 Proposed Order
                      (PDF Only) Proposed Order re: Motion for Extension of Time to Submit Objection to
                      Presentence Investigation Report)(Kaplan, David) (Entered: 07/15/2024)
   07/17/2024   507   ORDER granting 506 Motion for Extension of Time. Ms. Tew may file objections to
                      the PSIR on or before July 19, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 7/17/2024. Text Only Entry (dddlc9, ) (Entered: 07/17/2024)
   07/19/2024   508   OBJECTION/RESPONSE to Presentence Report by Kimberley Ann Tew
                      (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                      Exhibit Exhibit 3a, # 5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6,
                      # 8 Exhibit Exhibit 6a, # 9 Exhibit Exhibit 7, # 10 Exhibit Exhibit 7a)(Kaplan, David)
                      (Entered: 07/19/2024)
   07/19/2024   510   Conventionally Submitted Material : 1 Flash Drive re Objection/Response to
                      Presentence Report, 508 by Defendant Kimberley Ann Tew. Location of Stored
                      Items: Box D−5−5. Text Only Entry (cmadr, ) (Entered: 07/23/2024)
   07/22/2024   509   Unopposed MOTION for Leave to Restrict by Kimberley Ann Tew. (Attachments: #
                      1 Proposed Order (PDF Only) PO re Unopposed Motion to Restrict)(Kaplan, David)
                      (Entered: 07/22/2024)
   07/24/2024   511   ORDER granting 509 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 508 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 7/24/2024. Text Only Entry (dddlc9, ) (Entered: 07/24/2024)
   07/25/2024   512   NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                      Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                      07/25/2024)
   07/25/2024   513   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture by USA as
                      to Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd,


                                                                                                                 59
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        60 of 460



                      Laura) (Entered: 07/25/2024)
   07/25/2024   514   ORDER re 513 Motion for Preliminary Order of Forfeiture. If Ms. Tew opposes the
                      motion, she is ordered to file a response on or before August 2, 2024. SO ORDERED
                      by Judge Daniel D. Domenico on 7/25/2024. Text Only Entry (dddlc9, ) (Entered:
                      07/25/2024)
   07/25/2024   515   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Kaplan, David)
                      (Entered: 07/25/2024)
   07/26/2024   516   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Conventionally Submitted, # 2 Exhibit,
                      # 3 Exhibit)(Weiss, Sarah) (Entered: 07/26/2024)
   07/26/2024   519   Conventionally Submitted Material : One CD re Restricted Document − Level 2 516
                      by Plaintiff USA. Location of stored items: Sealed Room. Text Only Entry (cmadr, )
                      (Entered: 07/30/2024)
   07/29/2024   517   RESTRICTED PRESENTENCE REPORT as to Kimberley Ann Tew (Attachments:
                      # 1 Exhibit A)(agalv) (Entered: 07/29/2024)
   07/29/2024   518   RESTRICTED ADDENDUM to Presentence Report 517 as to Kimberley Ann Tew
                      (agalv) (Entered: 07/29/2024)
   08/01/2024   520   RESTRICTED DOCUMENT − Level 2: as to Kimberley Ann Tew. (Weiss, Sarah)
                      (Entered: 08/01/2024)
   08/01/2024   521   Unopposed MOTION for Order To Permit Virtual or Telephonic Attendance for
                      Co−Defendant's Sentencing Hearing by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 08/01/2024)
   08/02/2024   522   RESPONSE to Motion by Kimberley Ann Tew re 513 MOTION for Forfeiture of
                      Property for Preliminary Order of Forfeiture (Kaplan, David) (Entered: 08/02/2024)
   08/05/2024   523   ORDER as to Kimberley Ann Tew re 513 Motion for Preliminary Order of
                      Forfeiture. The Court will hold a hearing regarding forfeiture starting at 1:00 PM on
                      August 8, 2024 in Courtroom A1002. Sentencing will follow immediately afterward.
                      SO ORDERED by Judge Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9,
                      ) (Entered: 08/05/2024)
   08/05/2024   524   ORDER granting 521 Motion for Order as to Michael Aaron Tew to Permit Virtual
                      or Telephonic Attendance for Co−Defendant's Sentencing Hearing. Mr. Tew's
                      counsel is directed to contact the Courtroom Deputy via email
                      (robb_keech@cod.uscourts.gov) no later than 8/6/2024 for instructions on how to
                      proceed by telephone conference. All persons participating in court proceedings
                      remotely by VTC or teleconference are prohibited, under penalty of contempt, from
                      recording or broadcasting the proceeding in any manner. SO ORDERED by Judge
                      Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9, ) (Entered: 08/05/2024)
   08/06/2024   525   REPLY TO RESPONSE to Motion by USA as to Kimberley Ann Tew re 513
                      MOTION for Forfeiture of Property for Preliminary Order of Forfeiture UNITED
                      STATES REPLY TO KIMBERLEY TEWS NOTICE OF OBJECTION TO UNITED
                      STATES MOTION FOR PRELIMINARY ORDER OF FORFEITURE (ECF DOC.
                      522) (Hurd, Laura) (Entered: 08/06/2024)
   08/08/2024   526


                                                                                                              60
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         61 of 460



                      RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Michael Aaron Tew (Attachments: # 1 Exhibit A)(ntaka) (Entered: 08/08/2024)
   08/08/2024   527   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Forfeiture Hearing and Sentencing as to Kimberley Ann Tew (2) held on 8/8/2024.
                      Granting 513 Motion for Forfeiture of Property as to Kimberley Ann Tew (2).
                      Granting in part 515 Defendants Motion. Defendant sentenced as reflected on the
                      record. Bond continued. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on
                      8/8/2024 to include ruling on 515 Defendant's Motion. (rkeec). (Entered: 08/08/2024)
   08/13/2024   528   JUDGMENT as to defendant Kimberley Ann Tew (2), Count(s) 1, Defendant shall be
                      imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 16, Dismissed by Court during jury trial.; Count(s)
                      21−22, Defendant shall be imprisoned for a total term of forty−eight (48) months on
                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in
                      the total amount of $5,053,878.50.; Count(s) 25−26, Defendant shall be imprisoned
                      for a total term of forty−eight (48) months on each count to run concurrently, three
                      (3) years supervised release on each count to run concurrently, $100.00 special
                      assessment ($1,200 total), no fine, and restitution in the total amount of
                      $5,053,878.50.; Count(s) 31−32, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 41, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 43−44, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 47, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,053,878.50.; Count(s) 48, Defendant was found not guilty by jury at trial.;
                      Count(s) 56, Defendant shall be imprisoned for a total term of forty−eight (48)
                      months on each count to run concurrently, three (3) years supervised release on each
                      count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                      restitution in the total amount of $5,053,878.50. Entered by Judge Daniel D.
                      Domenico on 8/13/2024. (rkeec) (Entered: 08/13/2024)
   08/13/2024   529   STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec) (Entered:
                      08/13/2024)
   08/14/2024   530   Passport Receipt as to Kimberley Ann Tew (2). Forwarding passport to Dept. of
                      State; Passport Number 522213975 issued by USA. Sent certified mail; receipt
                      number 7019 2920 0001 1984 2431. (rkeec) (Entered: 08/14/2024)
   08/15/2024   531   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/15/2024)
   08/15/2024   532

                                                                                                                 61
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        62 of 460



                      RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (cmadr, )
                      (Entered: 08/15/2024)
   08/19/2024   533   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (rkeec) (Entered:
                      08/19/2024)
   08/19/2024   534   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Text Only
                      Entry. Sentencing reset for 11/12/2024, at 01:30 PM, in Courtroom A1002 before
                      Judge Daniel D. Domenico. (rkeec) (Entered: 08/19/2024)
   08/20/2024   535   NOTICE OF APPEAL by Kimberley Ann Tew. (Kaplan, David) (Entered:
                      08/20/2024)
   08/21/2024   536   Unopposed MOTION to Continue Second Unopposed Motion to Continue
                      Sentencing by Jonathan K. Yioulos. (Kornfeld, Richard) (Entered: 08/21/2024)
   08/21/2024   537   LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                      the 535 Notice of Appeal as to Kimberley Ann Tew to the U.S. Court of Appeals. (
                      CJA, Fee not paid and 1915 motion not filed,) (Attachments: # 1 Preliminary
                      Record)(cmadr, ) (Entered: 08/21/2024)
   08/21/2024   538   USCA Case Number as to Kimberley Ann Tew 24−1333 for 535 Notice of Appeal
                      filed by Kimberley Ann Tew. (cmadr, ) (Entered: 08/21/2024)
   08/22/2024   539   ORDER granting 536 Motion to Continue as to Jonathan K. Yioulos. Sentencing set
                      for 10/2/2024 is VACATED and RESET for 11/19/2024 at 10:30 AM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 8/22/2024. Text Only Entry (dddlc9, ) (Entered: 08/22/2024)
   08/26/2024   540   USPS Certified Mail Receipt Return re 530 Passport Receipt by Kimberley Ann Tew
                      (cmadr, ) (Entered: 08/27/2024)
   08/28/2024   541   TRANSCRIPT of Sentencing hearing as to Kimberley Ann Tew held on August 8,
                      2024 before Judge Domenico. Pages: 1−103.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 08/28/2024)
   08/28/2024   542   MOTION for Leave to Restrict by Michael Aaron Tew. (Schall, Jason) (Entered:
                      08/28/2024)
   08/28/2024   543   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/28/2024)
   08/28/2024   544   ORDER granting 542 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Docs. 531 , 532 , 533 , and 543 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 8/28/2024. Text Only Entry (dddlc9, ) (Entered:


                                                                                                              62
Case No. 1:20-cr-00305-DDD          Document 645-4         filed 01/24/25       USDC Colorado          pg
                                          63 of 460



                      08/28/2024)
   08/29/2024   545   ORDER to Surrender as to Kimberley Ann Tew; Defendant to surrender to Satellite
                      Prison Camp, FCI Phoenix, on 10/9/2024, at 12:00 PM, and will travel at her own
                      expense. SO ORDERED by Judge Daniel D. Domenico on 8/29/2024. (rkeec)
                      (Entered: 08/30/2024)
   09/04/2024   547   TRANSCRIPT ORDER FORM by Kimberley Ann Tew Transcript ordered for
                      proceedings held on 2/5/2024 through 2/15/2024, and 8/8/2024 re 535 Notice of
                      Appeal. (cmadr, ) (Entered: 09/05/2024)
   09/05/2024   546   MOTION for Order Extending the Time for her to Surrender to the Warden at
                      Satellite Prison Camp by Kimberley Ann Tew. (Attachments: # 1 Proposed Order
                      (PDF Only) Proposed Order re: Motion Requesting an Order Extending the Time for
                      her to Surrender to the Warden at Satellite Prison Camp)(Kaplan, David) (Entered:
                      09/05/2024)
   09/05/2024   548   ORDER of USCA as to Kimberley Ann Tew re 535 Notice of Appeal. (USCA Case
                      No. 24−1333). Upon consideration, the court grants the motion and appoints CJA
                      Panel member Justin A. Lollman to represent appellant Kimberley Ann Tew going
                      forward. See 18 U.S.C. § 3006A. On or before September 16, 2024, Mr. Lollman
                      shall file an entry of appearance in this appeal. The Clerk of the U.S. District Court
                      for the District of Colorado shall wait until at least September 26, 2024 before
                      transmitting the record on appeal to this court. (cmadr, ) (Entered: 09/05/2024)
   09/06/2024   549   ORDER denying 546 Motion Requesting Order Extending the Time for her to
                      Surrender to the Warden at Satellite Prison Camp. Mr. and Mrs. Tew have had
                      sufficient time to finalize childcare arrangements. The motion is DENIED. SO
                      ORDERED by Judge Daniel D. Domenico on 9/6/2024. Text Only Entry (dddlc9, )
                      (Entered: 09/06/2024)
   09/16/2024   550   MOTION for Order for Release Pending Appeal by Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only) Proposed Order re: Motion for
                      Release Pending Appeal)(Hubbard, Jamie) (Entered: 09/16/2024)
   09/17/2024   551   MINUTE ORDER as to Kimberley Ann Tew re: 550 Motion for Order for Release
                      Pending Appeal. The Government must respond by 9/27/2024. SO ORDERED by
                      Judge Daniel D. Domenico on 9/17/2024. Text Only Entry (dddlc1, ) (Entered:
                      09/17/2024)
   09/20/2024   552   RESPONSE in Opposition by USA as to Kimberley Ann Tew re 550 MOTION for
                      Order for Release Pending Appeal (Fields, Bryan) (Entered: 09/20/2024)
   09/25/2024   553   SUPPLEMENT Designation of Record by Kimberley Ann Tew (Attachments: # 1
                      Exhibit 1 Designation of Record − District Court Docket Sheet)(Lollman, Justin)
                      (Entered: 09/25/2024)
   09/25/2024   554   TRANSCRIPT ORDER FORM re 535 Notice of Appeal by Kimberley Ann Tew.
                      (Attachments: # 1 CJA Attachment CJA 24 Form)(Lollman, Justin) (Entered:
                      09/25/2024)
   09/26/2024   555   ORDER Denying 550 MOTION FOR RELEASE PENDING APPEAL as to
                      Kimberley Ann Tew (2) by Judge Daniel D. Domenico on 26 September 2024.
                      (cmadr, ) (Entered: 09/26/2024)
   10/08/2024   556


                                                                                                               63
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        64 of 460



                      REPORTER TRANSCRIPT ORDER FORM as to Plaintiff USA, Movants Atlantic
                      Union Bank, Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc., Defendants Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos, filed by Tamara Hoffschildt. Transcripts ordered 2−5−24 through 2−8−24;
                      2−9−24 through 2−16−24, JT and 8−8−24 Sentencing (thoff, ) (Entered: 10/08/2024)
   10/15/2024   557   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      10/15/2024)
   10/15/2024   558   ORDER granting 557 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona during the following windows:

                      1. October 25 through October 28, 2024;
                      2. November 1 through November 4, 2024; amd
                      3. November 8 through November 11, 2024.

                      Mr. Tew must (1) provide documentation regarding his travel plans to United States
                      Pretrial and Probation Services as directed in advance of departure, (2) contact his
                      probation officer as directed during approved travel, and (3) promptly contact his
                      probation officer upon return from travel as directed. SO ORDERED by Judge
                      Daniel D. Domenico on 10/15/2024. Text Only Entry (dddlc9, ) (Entered:
                      10/15/2024)
   10/20/2024   559   VOIR DIRE TRANSCRIPT of proceedings held on February 5, 2025 before Judge
                      Domenico. Pages: 1−119. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   560   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 5, 2024
                      before Judge Domenico. Pages: 1−95.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   561   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 6, 2024
                      before Judge Domenico. Pages: 96−350.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the


                                                                                                              64
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        65 of 460



                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   562   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024
                      before Judge Domenico. Pages: 351−554.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   563   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024
                      before Judge Domenico. Pages: 555−811.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   564   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 9, 2024
                      before Judge Domenico. Pages: 812−1018.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   565   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 12, 2024
                      before Judge Domenico. Pages: 1019−1249.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to


                                                                                                              65
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        66 of 460



                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   566   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 13, 2024
                      before Judge Domenico. Pages: 1250−1509.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   567   TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 14, 2024
                      before Judge Domenico. Pages: 1510−1662.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   568   TRANSCRIPT of Jury Trial, verdict as to Kimberley Ann Tew held on February 15,
                      2024 before Judge Domenico. Pages: 1663−1681.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on

                                                                                                              66
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        67 of 460



                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/20/2024   569   Amended TRANSCRIPT of Jury Trial, Day 3 as to Kimberley Ann Tew held on
                      February 7, 2024 before Judge Domenico. Pages: 351−554.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, incorrect date was entered. ) (Entered: 10/20/2024)
   10/20/2024   570   TRANSCRIPT of James hearing as to Kimberley Ann Tew held on December 19,
                      2023 before Judge Domenico. Pages: 1−140.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 10/20/2024)
   10/21/2024   571   OBJECTION/RESPONSE to Presentence Report 526 by Michael Aaron Tew (Schall,
                      Jason) (Entered: 10/21/2024)
   10/24/2024   572   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment Against Defendant Michael Aaron Tew by USA as to
                      Michael Aaron Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                      (Entered: 10/24/2024)
   10/24/2024   573   OBJECTION/RESPONSE to Presentence Report 571 by USA as to Michael Aaron
                      Tew (Fields, Bryan) (Entered: 10/24/2024)
   10/24/2024   574   ORDER as to Michael Aaron Tew re 572 Motion for Preliminary Order of Forfeiture.
                      If Mr. Tew opposes this motion, he is ordered to file a response on or before
                      November 1, 2024. SO ORDERED by Judge Daniel D. Domenico on 10/24/2024.
                      Text Only Entry (dddlc9, ) (Entered: 10/24/2024)
   10/29/2024   575   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Attachments: #
                      1 Exhibit Defendant's Exhibits)(Schall, Jason) (Entered: 10/29/2024)
   11/05/2024   576   RESTRICTED PRESENTENCE REPORT as to Michael Aaron Tew (Attachments:
                      # 1 Exhibit A − Revised Recommendation).(agalv) (Entered: 11/05/2024)
   11/05/2024   577


                                                                                                              67
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        68 of 460



                      RESTRICTED ADDENDUM to Presentence Report 576 as to Michael Aaron Tew
                      (Attachments: # 1 Exhibit A − Letters in Support). (agalv) (Entered: 11/05/2024)
   11/05/2024   578   MOTION for Non−Guideline Sentence by Jonathan K. Yioulos. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Kornfeld, Richard) (Entered: 11/05/2024)
   11/05/2024   579   MEMORANDUM in Opposition by USA as to Michael Aaron Tew re 575 Restricted
                      Document − Level 2 (Response in Opposition to Motion for Variant Sentence)
                      (Fields, Bryan) (Entered: 11/05/2024)
   11/05/2024   580   MOTION For Downward Departure Pursuant to 5K1.1 by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/05/2024)
   11/06/2024   581   ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                      Court's calendar, and after consultation with counsel, the Sentencing set for
                      11/19/2024 is VACATED and RESET for 12/3/2024 at 10:30 AM in Courtroom
                      A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                      Domenico on 11/6/2024. Text Only Entry (dddlc1, ) (Entered: 11/06/2024)
   11/10/2024   582   ORDER re Sentencing as to Michael Aaron Tew. Live witnesses will not be
                      permitted to testify at Tuesday's sentencing, though the defendant may speak on his
                      own behalf or may submit other support in writing if he wishes. Any victims will also
                      be given an opportunity to speak. SO ORDERED by Judge Daniel D. Domenico on
                      11/10/2024. Text Only Entry (dddlc9, ) (Entered: 11/10/2024)
   11/11/2024   583   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                      JUDGMENT as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 11
                      November 2024. (cmadr, ) (Entered: 11/12/2024)
   11/12/2024   584   MOTION for Victim Rights (Permission for Telephonic Participation) by USA as to
                      Michael Aaron Tew. (Fields, Bryan) (Entered: 11/12/2024)
   11/12/2024   585   ORDER granting 584 Motion for Victim Rights as to Michael Aaron Tew. While it is
                      unclear whether Fed. R. Crim. P. 32 requires the Court to permit victims not
                      physically present in the courtroom an opportunity to speak at sentencing, the Court
                      will allow any victims in this case an opportunity to speak telephonically at today's
                      sentencing. SO ORDERED by Judge Daniel D. Domenico on 11/12/2024. Text Only
                      Entry (dddlc9, ) (Entered: 11/12/2024)
   11/12/2024   586   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Sentencing held on 11/12/2024 as to defendant Michael Aaron Tew (1). Defendant
                      sentenced as reflected on the record. 575 Defendants Motion is GRANTED IN
                      PART. Bond continued. Court Reporter: Tammy Hoffschildt. (Attachments: # 1
                      Defendant Exhibit 1, # 2 Defendant Exhibit 2) (rkeec) (Entered: 11/12/2024)
   11/14/2024   587   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/14/2024)
   11/15/2024   588   ORDER granting 587 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona to visit his wife at FCI Pheonix between now and his
                      self−report date so long as he provides completed travel itineraries (including both
                      flight and lodging information) to probation at least two weeks prior to travel and
                      receives approval from U.S.P.O. Seth Junker. SO ORDERED by Judge Daniel D.
                      Domenico on 11/15/2024. Text Only Entry (dddlc9, ) (Entered: 11/15/2024)
   11/15/2024   589


                                                                                                              68
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        69 of 460



                      JUDGMENT as to defendant Michael Aaron Tew (1), Count(s) 1s, Defendant shall
                      be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,361,622.10.; Count(s) 2s−40s, Defendant shall be imprisoned for a total term of
                      forty−two (42) months. This term consists of forty−two (42) months on each of
                      Counts 1 through 42 and 44 through 56; and twelve (12) months on each of counts 57
                      through 60; all counts imposed concurrently. Three (3) years supervised release on
                      each count, to run concurrently., $5,600.00 special assessment, no fine, and
                      restitution in the total amount of $6,361,622.10.; Count(s) 41s, Defendant shall be
                      imprisoned for a total term of forty−two (42) months. This term consists of forty−two
                      (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                      months on each of counts 57 through 60; all counts imposed concurrently. Three (3)
                      years supervised release on each count, to run concurrently., $5,600.00 special
                      assessment, no fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      42s, Defendant shall be imprisoned for a total term of forty−two (42) months. This
                      term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10.; Count(s) 44s−56s, Defendant shall be imprisoned for
                      a total term of forty−two (42) months. This term consists of forty−two (42) months
                      on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on each
                      of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                      release on each count, to run concurrently., $5,600.00 special assessment,
                      $100,000.00 fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      57s−60s, Defendant shall be imprisoned for a total term of forty−two (42) months.
                      This term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10. Entered by Judge Daniel D. Domenico on
                      11/15/2024. (rkeec) Modified on 11/18/2024 to correct fine amount (rkeec). (Entered:
                      11/15/2024)
   11/15/2024   590   STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec) (Entered:
                      11/15/2024)
   11/18/2024   591   Passport Receipt as to Michael Aaron Tew (1). Forwarding passport to Dept. of State;
                      Passport Number 484644160 issued by USA. Sent via certified mail receipt number
                      7019 2970 0001 1984 2455. (rkeec) (Entered: 11/18/2024)
   11/21/2024   592   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/21/2024)
   11/22/2024   593   ORDER granting 592 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Marquette, Michigan between January 1, 2025 and his self−report date. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from the trip. SO ORDERED by Judge Daniel D.
                      Domenico on 11/22/2024. Text Only Entry (dddlc9, ) (Entered: 11/22/2024)


                                                                                                              69
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado           pg
                                        70 of 460



   11/22/2024   594   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment Against Defendant Jonathan K. Yioulos by USA as to
                      Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                      (Entered: 11/22/2024)
   11/22/2024   595   MOTION to Dismiss Counts Pursuant to Plea Agreement by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/22/2024   596   MOTION for Decrease for Acceptance of Responsibility by USA as to Jonathan K.
                      Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/25/2024   597   NOTICE OF APPEAL as to 589 Judgment,,,,,,,,,,, by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 11/25/2024)
   11/25/2024   598   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                      JUDGMENT as to Jonathan K. Yioulos (3) by Judge Daniel D. Domenico on 25
                      November 2024. (cmadr, ) (Entered: 11/25/2024)
   11/25/2024   599   DESIGNATION OF RECORD ON APPEAL re 597 Notice of Appeal by Michael
                      Aaron Tew. (Attachments: # 1 Exhibit A)(Frost, Kristen) (Entered: 11/25/2024)
   11/25/2024   600   MOTION to Proceed in Forma Pauperis by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 11/25/2024)
   11/26/2024   601   LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                      the 597 Notice of Appeal as to Michael Aaron Tew to the U.S. Court of Appeals. (
                      CJA, 1915 motion filed,) (Attachments: # 1 Preliminary Record)(cmadr, ) (Entered:
                      11/26/2024)
   11/26/2024   602   RESTRICTED PRESENTENCE REPORT as to Jonathan K. Yioulos (Attachments:
                      # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(mcfont) (Entered: 11/26/2024)
   11/26/2024   603   RESTRICTED SECOND ADDENDUM to Presentence Report 602 as to Jonathan K.
                      Yioulos (mcfont) (Entered: 11/26/2024)
   11/26/2024   604   USCA Case Number as to Michael Aaron Tew 24−1465 for 597 Notice of Appeal
                      filed by Michael Aaron Tew. (cmadr, ) (Entered: 11/27/2024)
   12/02/2024   605   MINUTE ORDER as to Jonathan K. Yioulos re: Sentencing set for 12/3/2024.
                      Members of the public may attend the hearing by teleconference at (571) 353−2301,
                      using guest code 478499919. All persons participating in court proceedings by
                      teleconference are prohibited, under penalty of contempt, from recording or
                      broadcasting the proceeding in any manner. SO ORDERED by Judge Daniel D.
                      Domenico on 12/2/2024. Text Only Entry (dddlc1, ) (Entered: 12/02/2024)
   12/03/2024   606   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Sentencing held on 12/3/2024 as to defendant Jonathan K. Yioulos (3). Granting in
                      part 578 Motion for Non−Guideline Sentence as to Jonathan K. Yioulos (3). Granting
                      580 Motion for Downward Departure Pursuant to 5K1.1 as to Jonathan K. Yioulos
                      (3). Granting 595 Motion to Dismiss Counts as to Jonathan K. Yioulos (3). Granting
                      596 Motion for Decrease for Acceptance of Responsibility as to Jonathan K. Yioulos
                      (3). Defendant sentenced as reflected on the record. Bond is continued. Court
                      Reporter: Kevin Carlin. (rkeec) (Entered: 12/03/2024)
   12/06/2024   607   JUDGMENT as to defendant Jonathan K. Yioulos (3), Count(s) 1, Defendant shall be
                      imprisoned for a total term of two (2) months on each count to run concurrently, three


                                                                                                               70
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        71 of 460



                      (3) years supervised release on each count to run concurrently, $200.00 special
                      assessment, no fine, and restitution in the total amount of $5,023,878.50.; Count(s)
                      2−38, 40, Dismissed on United States of Americas Motion to Dismiss Counts.;
                      Count(s) 39, Defendant shall be imprisoned for a total term of two (2) months on
                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $200.00 special assessment, no fine, and restitution in the total
                      amount of $5,023,878.50. Entered by Judge Daniel D. Domenico on 12/6/2024.
                      (rkeec) (Entered: 12/06/2024)
   12/06/2024   608   STATEMENT OF REASONS as to Jonathan K. Yioulos (3). (rkeec) (Entered:
                      12/06/2024)
   12/09/2024   609   USPS Certified Mail Receipt Return re 591 Passport Receipt as to Michael Aaron
                      Tew (cmadr, ) (Entered: 12/10/2024)
   12/10/2024   610   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   611   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   612   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/10/2024   613   TRANSCRIPT ORDER FORM re 597 Notice of Appeal by Michael Aaron Tew.
                      (Frost, Kristen) (Entered: 12/10/2024)
   12/13/2024   614   ORDER to Surrender as to Michael Aaron Tew (1). Defendant to surrender to FCI
                      Florence, located at 5880 CO−67, Florence, CO 81226 on 2/1/2025, by 2:00 p.m. and
                      will travel at their own expense. SO ORDERED by Judge Daniel D. Domenico on
                      12/13/2024. (rkeec) (Entered: 12/13/2024)
   12/13/2024   615   ORDER of USCA as to Michael Aaron Tew re 597 Notice of Appeal. (USCA Case
                      No. 24−1465). Kari Schmidt is appointed as counsel for Mr. Tew. Within 10 days of
                      the date of this order, Ms. Schmidt shall file an entry of appearance in this appeal.
                      (cmadr, ) (Entered: 12/16/2024)
   12/16/2024   616   ORDER as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 16
                      December 2024. Accordingly, it is ORDERED that Defendant Michael Aaron Tew's
                      Motion to Proceed In Forma Pauperis, Doc. 600 , is GRANTED. (cmadr, ) (Entered:
                      12/16/2024)
   12/23/2024   617   REPORTER TRANSCRIPT ORDER FORM as to Defendants Michael Aaron Tew,
                      Michael Aaron Tew, filed by Tamara Hoffschildt. Transcripts ordered 01−30−24;
                      4−22−24; 11−12−24 (thoff, ) (Entered: 12/23/2024)
   12/24/2024   618   REPORTER TRANSCRIPT ORDER FORM as to Defendants Michael Aaron Tew
                      filed by Julie Thomas. (nrich) (Entered: 12/24/2024)
   12/27/2024   619   REPORTER TRANSCRIPT ORDER FORM filed by Patterson Transcription
                      Company re 597 Notice of Appeal. Transcript due by 1/28/2025. (nrich) (Entered:
                      12/27/2024)
   01/03/2025   620   TRANSCRIPT of Sentencing Hearing as to Jonathan K. Yioulos held on 12/03/2024
                      before Judge Domenico. Pages: 1−25.



                                                                                                              71
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25       USDC Colorado          pg
                                        72 of 460



                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (kcarl, ) (Entered: 01/03/2025)
   01/07/2025   621   MINUTE ORDER re 589 Judgement as to Michael Aaron Tew. Upon review of the
                      Declaration of Victim Losses and supporting documentation submitted by victim
                      National Air Cargo, and consistent with the judgment imposed in the case of
                      codefendant Jonathan K. Yioulos, the Court finds the restitution owed in relation to
                      victim National Air Cargo is $5,023,878.50. Furthermore, the restitution payees are
                      the insurance companies that reimbursed National Air Cargo, pursuant to 18 U.S.C. §
                      3664(j). Assistant United States Attorney Bryan David Fields and the defendants
                      attorney, Jason Dale Schall, have advised the Probation Office that they have no
                      objection to the judgment being amended to update the restitution order as detailed
                      above. Therefore, the Court ORDERS the U.S. Probation Office to prepare an
                      Amended Judgment reflecting amendments to the restitution order, as detailed above.
                      SO ORDERED by Judge Daniel D. Domenico on 1/7/2025. Text Only Entry (dddlc9,
                      ) (Entered: 01/07/2025)
   01/07/2025   622   MINUTE ORDER re 528 Judgment as to Kimberley Ann Tew. Upon review of the
                      Declaration of Victim Losses and supporting documentation submitted by victim
                      National Air Cargo, and consistent with the judgment imposed in the case of
                      codefendant Jonathan K. Yioulos, the Court finds the restitution owed in relation to
                      victim National Air Cargo is $5,023,878.50. Furthermore, the restitution payees are
                      the insurance companies that reimbursed National Air Cargo, pursuant to 18 U.S.C. §
                      3664(j). Assistant United States Attorney Bryan David Fields and the defendants
                      attorney, David Scott Kaplan, have advised the Probation Office that they have no
                      objection to the judgment being amended to update the restitution order as detailed
                      above. Additionally, the judgment shall be amended to reflect forfeiture includes a
                      money judgment in the amount of proceeds obtained by the scheme and by the
                      defendants, $5,023,878.50, consistent with the Courts finding during the forfeiture
                      hearing on August 8, 2024. Therefore, the Court ORDERS the U.S. Probation Office
                      to prepare an Amended Judgment reflecting amendments to the restitution and
                      forfeiture orders, as detailed above. SO ORDERED by Judge Daniel D. Domenico on
                      1/7/2025. Text Only Entry (dddlc9, ) (Entered: 01/07/2025)
   01/07/2025   623   ORDER as to Michael Aaron Tew.

                      On 1/7/2025, my chambers received an email from Defendant Michael Tew
                      requesting that I consider an attached motion to extend his self−surrender date. Any
                      documents that require the Court's attention must be filed on the record as motions or
                      other appropriate filings. The parties in this case are ordered not to email my
                      chambers, and any such communications will be ignored in the future.

                      In addition, Mr. Tew is currently represented by counsel, and all motions and papers
                      on his behalf must be filed electronically by his attorney. His attorney may, if Mr.

                                                                                                               72
Case No. 1:20-cr-00305-DDD        Document 645-4           filed 01/24/25      USDC Colorado           pg
                                        73 of 460



                      Tew wishes, file a motion seeking appropriate relief after conferring with Mr. Tew.

                      SO ORDERED by Judge Daniel D. Domenico on 1/7/2025. Text Only Entry (dddlc1,
                      ) (Entered: 01/07/2025)
   01/08/2025   624   AMENDED JUDGMENT as to Michael Aaron Tew (1), Count(s) 1s, Defendant
                      shall be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,331,622.10.; Count(s) 2s−40s, Defendant shall be imprisoned for a total term of
                      forty−two (42) months. This term consists of forty−two (42) months on each of
                      Counts 1 through 42 and 44 through 56; and twelve (12) months on each of counts 57
                      through 60; all counts imposed concurrently. Three (3) years supervised release on
                      each count, to run concurrently., $5,600.00 special assessment, no fine, and
                      restitution in the total amount of $$6,331,622.10.; Count(s) 41s, Defendant shall be
                      imprisoned for a total term of forty−two (42) months. This term consists of forty−two
                      (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                      months on each of counts 57 through 60; all counts imposed concurrently. Three (3)
                      years supervised release on each count, to run concurrently., $5,600.00 special
                      assessment, no fine, and restitution in the total amount of $$6,331,622.10.; Count(s)
                      42s, Defendant shall be imprisoned for a total term of forty−two (42) months. This
                      term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently. $5,600.00 special assessment, no fine, and restitution in the total
                      amount of $$6,331,622.10.; Count(s) 44s−56s, Defendant shall be imprisoned for a
                      total term of forty−two (42) months. This term consists of forty−two (42) months on
                      each of Counts 1 through 42 and 44 through 56; and twelve (12) months on each of
                      counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                      release on each count, to run concurrently., $5,600.00 special assessment, no fine,
                      and restitution in the total amount of $6,331,622.10.; Count(s) 57s−60s, Defendant
                      shall be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,331,622.10. Entered by Judge Daniel D. Domenico on 1/8/2025. (rkeec) (Entered:
                      01/08/2025)
   01/08/2025   625   AMENDED STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec)
                      (Entered: 01/08/2025)
   01/08/2025   626   REASON FOR AMENDMENT as to Michael Aaron Tew (1). (rkeec) (Entered:
                      01/08/2025)
   01/08/2025   627   AMENDED JUDGMENT as to Kimberley Ann Tew (2), Count(s) 1, Defendant shall
                      be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 16, Dismissed by Court during jury trial. Count(s)
                      21−22, Defendant shall be imprisoned for a total term of forty−eight (48) months on


                                                                                                                73
Case No. 1:20-cr-00305-DDD         Document 645-4          filed 01/24/25       USDC Colorado           pg
                                         74 of 460



                      each count to run concurrently, three (3) years supervised release on each count to
                      run concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in
                      the total amount of $5,023,878.50.; Count(s) 25−26, Defendant shall be imprisoned
                      for a total term of forty−eight (48) months on each count to run concurrently, three
                      (3) years supervised release on each count to run concurrently, $100.00 special
                      assessment ($1,200 total), no fine, and restitution in the total amount of
                      $5,023,878.50.; Count(s) 31−32, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,023,878.50.; Count(s) 41, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 43−44, Defendant shall be imprisoned for a total term of
                      forty−eight (48) months on each count to run concurrently, three (3) years supervised
                      release on each count to run concurrently, $100.00 special assessment ($1,200 total),
                      no fine, and restitution in the total amount of $5,023,878.50.; Count(s) 47, Defendant
                      shall be imprisoned for a total term of forty−eight (48) months on each count to run
                      concurrently, three (3) years supervised release on each count to run concurrently,
                      $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount
                      of $5,023,878.50.; Count(s) 48, Defendant was found not guilty by jury at trial.;
                      Count(s) 56, Defendant shall be imprisoned for a total term of forty−eight (48)
                      months on each count to run concurrently, three (3) years supervised release on each
                      count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                      restitution in the total amount of $5,023,878.50. Entered by Judge Daniel D.
                      Domenico on 1/8/2025. (rkeec) (Entered: 01/08/2025)
   01/08/2025   628   AMENDED STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec)
                      (Entered: 01/08/2025)
   01/08/2025   629   REASON FOR AMENDMENT as to Kimberley Ann Tew (2). (rkeec) (Entered:
                      01/08/2025)
   01/13/2025   630   TRANSCRIPT of Motion Hearing as to Michael Aaron Tew, Kimberley Ann Tew,
                      Jonathan K. Yioulos held on March 18, 2021 before Judge Domenico. Pages: 1−27.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (nrich) (Entered: 01/13/2025)
   01/13/2025   631   NOTICE OF ATTORNEY APPEARANCE: Zachary Lee Newland appearing for
                      Michael Aaron TewAttorney Zachary Lee Newland added to party Michael Aaron
                      Tew(pty:dft) (Newland, Zachary) (Entered: 01/13/2025)
   01/13/2025   632   NOTICE OF ATTORNEY APPEARANCE: David C. Boyer, Jr appearing for


                                                                                                                 74
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        75 of 460



                      Michael Aaron TewAttorney David C. Boyer, Jr added to party Michael Aaron
                      Tew(pty:dft) (Boyer, David) (Entered: 01/13/2025)
   01/15/2025   633   ORDER to Surrender as to Jonathan K. Yioulos (3). Defendant to surrender to
                      Lewisburg Satellite Camp on January 21, 2025, by 12:00 pm. and will travel at their
                      own expense. SO ORDERED by Judge Daniel D. Domenico on 1/15/2025. (rkeec)
                      (Entered: 01/15/2025)
   01/16/2025   634   TRANSCRIPT of Trial Preparation Conference as to Michael Aaron Tew held on
                      January 30, 2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   635   TRANSCRIPT of Evidentiary hearing as to Michael Aaron Tew held on April 22,
                      2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   636   TRANSCRIPT of Sentencing hearing as to Michael Aaron Tew held on November
                      12, 2024 before Judge Domenico. Pages: 1−31.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)



                                                                                                              75
Case No. 1:20-cr-00305-DDD        Document 645-4          filed 01/24/25      USDC Colorado          pg
                                        76 of 460



   01/16/2025   637   TRANSCRIPT of Motion to Detain hearing as to Kimberley Ann Tew held on April
                      22, 2024 before Judge Domenico. Pages: 1−100.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/16/2025   638   TRANSCRIPT of Sentencing hearing for the codefendant as to Kimberley Ann Tew
                      held on 1−31 before Judge Domenico. Pages: 1−31.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court's public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (thoff, ) (Entered: 01/16/2025)
   01/17/2025   639   RESTRICTED DOCUMENT − Level 2: Defendant's Motion to Extend
                      Self−Surrender Date as to Michael Aaron Tew. (Attachments: # 1 Exhibit 1, # 2
                      Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Proposed Order (PDF Only))(Boyer,
                      David) Modified to change event type to a Motion on 1/21/2025 (ggill, ). (Entered:
                      01/17/2025)
   01/17/2025   640   MOTION for Leave to Restrict by Michael Aaron Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Boyer, David) (Entered: 01/17/2025)
   01/17/2025   641   RESTRICTED DOCUMENT − Level 2: Brief in Support of Motion to Restrict
                      Document No. 639 as to Michael Aaron Tew. (Boyer, David) Modified to update text
                      on 1/21/2025 (ggill, ). (Entered: 01/17/2025)
   01/17/2025   642   ORDER granting 640 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Dkt. 639 and 641 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 1/17/2025. Text Only Entry (dddlc9, ) (Entered: 01/17/2025)
   01/17/2025   643   ORDER granting in part Mr. Tew's 639 Motion to Extend Self−Surrender Date.
                      While the Court understands and regrets the extremely difficult situation Mr. Tew's
                      family members are in, that is one of the many unfortunate consequences of Mr. and
                      Mrs. Tew's criminal behavior. Recognizing the complications presented in the
                      motion, Mr. Tew's self−surrender date is extended to March 1, 2025. Otherwise, the
                      motion is denied. SO ORDERED by Judge Daniel D. Domenico on 1/17/2025. Text
                      Only Entry (dddlc9, ) (Entered: 01/17/2025)

                                                                                                              76
Case No. 1:20-cr-00305-DDD        Document 645-4         filed 01/24/25     USDC Colorado          pg
                                        77 of 460



   01/21/2025   644   NOTICE of Replacement due to Non−Compliant Files re 167 MOTION to Withdraw
                      as Attorney by Michael Hassard, 151 Notice of Attorney Appearance − Defendant,
                      157 Notice of Attorney Appearance − Defendant, 290 Notice of Attorney Appearance
                      − Defendant, 163 Restricted Document − Level 3, 165 Third MOTION to Continue ,
                      [204−6] Attachment to Response in Opposition,, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou, 162 MOTION to Withdraw as Attorney by Tor Ekeland :
                      The aforelisted documents have been converted to PDF/A standard and replaced on
                      the docket due to a non−compliant PDF file type which prevents creation of a Record
                      on Appeal. (lrobe) (Entered: 01/21/2025)




                                                                                                            77
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   1 of 26        pg
                                   78 of 460

                                                                              1

    1                       UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
    2

    3   UNITED STATES OF AMERICA,   .         Case No. 20-cr-00305-DDD
                                    .
    4              Plaintiff,       .
                                    .
    5   vs.                         .
                                    .
    6   MICHAEL AARON TEW,          .         901 19th Street
        KIMBERLEY ANN TEW, also     .         Denver, CO 80294
    7   known as Kimberley          .
        Vertanen, and JONATHAN K.   .
    8   YIOULOS,                    .
                                    .
    9              Defendants.      .
                                    .         February 10, 2021
   10   . . . . . . . . . . . . . . .         2:31 p.m.

   11         TRANSCRIPT OF PROCEEDINGS HELD BEFORE THE HONORABLE
                 KRISTEN L. MIX, UNITED STATES MAGISTRATE JUDGE
   12
        APPEARANCES:
   13
        For the Plaintiff:                  United States Attorney
   14                                       By: Matthew T. Kirsch*
                                            By: Hetal J. Doshi*
   15                                       1801 California Street
                                            Suite 1600
   16                                       Denver, CO 80202
                                            (303) 454-0100
   17
        For the Defendant,                  Stimson Stancil LaBranche &
   18   Kimberley A. Tew:                     Hubbard
                                            By: Jamie L. Hubbard*
   19                                       1652 North Downing Street
                                            Denver, CO 80218
   20                                       (720) 689-8909

   21   Also Present:                       Kimberley A. Tew
                                            Tommie Anderson
   22
        Court Recorder:                     Clerk's Office
   23                                       U.S. District Court
                                            901 19th Street
   24                                       Denver, CO 80294

   25   *All appearances telephonic.




                                                                                       78
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   2 of 26        pg
                                   79 of 460

                                                                              2

    1   Appearances continued:

    2   Transcription Service:              AB Litigation Services
                                            216 16th Street, Suite 600
    3                                       Denver, CO 80202
                                            (303) 296-0017
    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24
        Proceedings recorded by electronic sound recording;
   25   transcript produced by transcription service.




                                                                                       79
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   3 of 26        pg
                                   80 of 460

                                                                              3

    1                          (Time noted:    2:31 p.m.)

    2                THE COURT:    Case number 20-cr-00305, United States

    3   of America versus Kimberley Ann Tew.

    4                Let's have counsel enter appearances, please.

    5                MR. KIRSCH:    Good afternoon, Your Honor.        Matthew

    6   Kirsch and Hetal Doshi appearing for the United States.

    7                THE COURT:    Mr. Kirsch, Ms. Doshi, good afternoon.

    8                Counsel for the Defendant present?

    9                MS. HUBBARD:     Good afternoon, Your Honor.       This is

   10   Jamie Hubbard appearing on behalf of Ms. Tew, who appears by

   11   video conference from her apartment in Denver.

   12                As I indicated to the Court in email earlier

   13   today, I'm here entering a special appearance, because I had

   14   represented Ms. Tew pre-indictment.         So I wanted to kind of

   15   get her started on the right foot, but I do not have a

   16   current agreement.

   17                THE COURT:    All right.     So to the extent that this

   18   is a motion for a special appearance by Ms. Hubbard, it is

   19   granted.

   20                And we'll proceed.

   21                MS. HUBBARD:     Thank you, Your Honor.

   22                THE COURT:    Ms. Tew, can you hear me?

   23                MS. TEW:    I can, Your Honor.

   24                THE COURT:    All right.     Ms. Tew, you're here for

   25   an initial appearance, but we're going to take care of a




                                                                                       80
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   4 of 26        pg
                                   81 of 460

                                                                              4

    1   number of matters today.

    2                The purpose of this initial appearance is for me

    3   to inform you of the charges against you and make sure you

    4   understand them, and understand what your rights are.

    5                You've been accused of 1 count of conspiracy to

    6   commit wire fraud, 4 counts of wire fraud, 1 count of

    7   conspiracy to commit money laundering, 5 counts of engaging

    8   in monetary transactions in property derived from specified

    9   unlawful activity.

   10                On the conspiracy to commit wire fraud count, the

   11   penalty is not more than 20 years imprisonment, not more than

   12   a $250,000.00 fine, or two times gain or loss, whichever is

   13   greater, or both imprisonment and a fine, not more than three

   14   years of supervised release, and a $100.00 special assessment

   15   fee.

   16                On the wire fraud counts, the penalty for each

   17   count is not more than 20 years imprisonment, not more than a

   18   $250,000.00 fine, or two times the gain or loss, whichever is

   19   greater, or both imprisonment and a fine, not more than three

   20   years of supervised release, and a $100.00 special assessment

   21   fee.

   22                On the conspiracy to commit money laundering

   23   count, the penalty is not more than 20 years imprisonment,

   24   not more than a $500,000.00 fine, or two times the amount

   25   laundered, or both imprisonment and a fine, not more than




                                                                                       81
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   5 of 26        pg
                                   82 of 460

                                                                              5

    1   three years of supervised release, and a $100.00 special

    2   assessment fee.

    3                And on the engaging in monetary transactions in

    4   property derived from specified unlawful activity counts, for

    5   each count the penalty is not more than 10 years

    6   imprisonment, not more than a $250,000.00 fine, or two times

    7   the amount laundered, whichever is greater, or both

    8   imprisonment and a fine, not more than three years of

    9   supervised release, and a $100.00 special assessment fee.

   10                Ma'am, do you understand the general nature of the

   11   charges against you?

   12                MS. TEW:    Yes, Your Honor.

   13                THE COURT:    You have the right to remain silent.

   14   You do not need to speak to anyone about the circumstances

   15   that brought you to Court today.

   16                If you do choose to speak to someone other than

   17   your attorney about those circumstances, what you say can and

   18   probably will be used against you in Court.

   19                If you are questioned by the police or law

   20   enforcement, you have the right to refuse to answer

   21   questions.

   22                You also have the right to insist that a lawyer be

   23   present with you during questioning.

   24                If you choose to remain silent, your silence

   25   cannot be used against you in Court.




                                                                                       82
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   6 of 26        pg
                                   83 of 460

                                                                              6

    1                Do you understand your right to remain silent?

    2                MS. TEW:    Yes, Your Honor.

    3                THE COURT:    You also have the right to an

    4   attorney.    And if you cannot afford an attorney, I will

    5   appoint one for you at no cost to you.

    6                Ms. Hubbard has entered a special appearance to

    7   represent you today.

    8                Are you asking me to appoint free counsel for you

    9   today, or not?

   10                MS. TEW:    No, I am not, Your Honor.

   11                THE COURT:    All right, thank you.       Then I think

   12   we're ready to proceed to arraignment and discovery and

   13   detention issues.

   14                Is the Government ready to proceed, Mr. Kirsch,

   15   Ms. Doshi?

   16                MR. KIRSCH:    We are ready, Your Honor.

   17                THE COURT:    Thank you.     And, Ms. Hubbard, are you

   18   ready, as well?

   19                MS. HUBBARD:     I am.

   20                THE COURT:    All right.     With respect to the

   21   arraignment, Ms. Hubbard, how does your client plead?

   22                MS. HUBBARD:     She would enter not guilty pleas to

   23   all charges.

   24                THE COURT:    Thank you.     Does she waive any further

   25   formal reading of the charges and advisement of rights?




                                                                                       83
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   7 of 26        pg
                                   84 of 460

                                                                              7

    1                MS. HUBBARD:     Yes, Your Honor.

    2                THE COURT:    Thank you.     The not guilty pleas are

    3   received.

    4                Speedy trial dates, counsel:        30 days is March 12,

    5   2021; 70 days is April 22, 2021.

    6                I do have the discovery conference memorandum and

    7   order.   I note that counsel have been through this.           They

    8   have signed it and provided disclosure dates, so I'll sign it

    9   and make it an order of the Court effective today.

   10                With respect to the issue of detention, I've

   11   received and reviewed the pre-trial services report, and I

   12   take judicial notice of it.

   13                Is the Government seeking detention here?

   14                MR. KIRSCH:    Your Honor, we are not seeking

   15   detention.    However, we are seeking some additional

   16   conditions that are not reflected in the proposed bond that

   17   we received from the pre-trial services office.

   18                THE COURT:    All right, thank you.       I'll hear from

   19   you first, then, Mr. Kirsch, with respect to the Government's

   20   position on bond.

   21                MR. KIRSCH:    Thank you, Your Honor.       I'll just

   22   move down the list in terms of the bond paperwork for

   23   conditions of release.

   24                The first condition that we're seeking, which I

   25   suspect is an oversight, is that Ms. Tew surrender her




                                                                                       84
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   8 of 26        pg
                                   85 of 460

                                                                              8

    1   passport.    As the pre-trial services report indicates, she

    2   does have a valid passport, and we believe that it should be

    3   a condition that that be surrendered.

    4                The second that we're seeking is under 7(g), as we

    5   have with respect to the other Defendants in this case.               We

    6   would ask the Court to enter a no-contact order with other

    7   witnesses or Defendants in this case.

    8                Again, as we did with Mr. Tew, we would except her

    9   spouse from that rule, but otherwise we would ask for that

   10   provision to be a part of the bond paperwork, as well.

   11                With respect to the other issue that we're --

   12   well, there are two other issues that we're seeking to

   13   change.

   14                The first has to do with home detention and/or

   15   electronic monitoring or a curfew.

   16                The Government's position is that there are

   17   additional reasons to think that Ms. Tew poses a potential

   18   flight risk in this matter.

   19                As the bond report indicates, her only ties to the

   20   community come from her husband and two children.            She

   21   doesn't have other family here.        She doesn't have employment

   22   here.   And she hasn't lived here for a particularly long

   23   time.

   24                What's more concerning to the Government, however,

   25   is the information that's been revealed during the




                                                                                       85
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         130 filed
                                               Filed
                                                   01/24/25
                                                     05/13/21 USDC
                                                               PageColorado
                                                                   9 of 26        pg
                                   86 of 460

                                                                              9

    1   investigation of this case, which is that Ms. Tew has both

    2   substantial experience with and has engaged over the course

    3   of the past few years with a number of transactions on the

    4   dark net and transactions involving exchange and arbitrage of

    5   Bitcoin and other sorts of crypto-currency.

    6                As the Court is aware, those forms of currency are

    7   difficult for the Government and the probation officer to

    8   monitor and track, and the fluctuation in the value of those

    9   can allow her substantial profits to be generated in

   10   relatively short periods of time.

   11                So we're concerned that Ms. Tew might have a means

   12   financially that we simply aren't able to track.

   13                And with the return of this indictment and the

   14   serious charges that she's no facing, she has an incentive

   15   for that flight, as well.

   16                So we are asking, in order to address that risk,

   17   that the Court either impose a curfew with electronic

   18   monitoring, just as has been imposed on her husband, or, in

   19   the alternative, that the Court impose a home detention

   20   condition.

   21                And we think that either of those conditions would

   22   reasonably assure her appearance.         But we don't think that we

   23   can be sure of that without those conditions.

   24                The final set of additions that we would request,

   25   again, are the same additional conditions of release that we




                                                                                       86
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     10 of 26    pg
                                   87 of 460

                                                                                10

    1   tend to request in financial cases, and that we requested

    2   them and the Court imposed with respect to co-Defendant, Mr.

    3   Yioulos.

    4                 So in terms of the additional conditions of

    5   release, those would be conditions T through Z, and then also

    6   condition AA, again, on the sort of standard bond paperwork.

    7                 I'm happy to answer any questions that the Court

    8   has about any of those now.

    9                 THE COURT:    The only question I have is because of

   10   my declining hearing.       Did you say conditions T through V

   11   like Victory, or T through Z like Zoo?

   12                 MR. KIRSCH:    I said Z like Zoo, Your Honor, and as

   13   well as AA.    Thank you.

   14                 THE COURT:    All right, thank you.       Ms. Hubbard, do

   15   you want to address the Government's position on additional

   16   conditions?

   17                 MS. HUBBARD:    Yes, Your Honor.      I find myself in

   18   the rare position of just asking the Court to follow the

   19   experts in the case, and impose the conditions of whatever is

   20   recommended by the pre-trial office.

   21                 I'm usually the one fighting their recommended

   22   conditions, but here I agree with them.

   23                 I have been working with Ms. Tew since August of

   24   this year.    She has been responsive to me.          She has known

   25   she's under investigation.       She has known the potential




                                                                                      87
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     11 of 26    pg
                                   88 of 460

                                                                                11

    1   penalties for the charges.

    2                These charges are not a surprise to her, Your

    3   Honor.   It's similar to what her husband has been facing, and

    4   she has known since her husband's arrest that she was

    5   potentially going to be named as a co-conspirator.

    6                She hasn't tried to flee.        And, to me, that is the

    7   very best evidence that she's not going to try to flee.

    8                I also question -- or I take issue with the idea

    9   that only having a husband and two children in the Denver

   10   area is not enough of a tie to the community.

   11                She is a stay-at-home mom to her kids.           They live

   12   in Denver.    Their one six year old attends Denver Public

   13   Schools.    Your Honor, the other six year old has significant

   14   special needs that Mrs. Tew is the caretaker for.

   15                She has ties to the community.         Yes, she's not

   16   born and raised here, but very few of us who live here are.

   17                So I don't think that the fact that she doesn't

   18   have extended family here is a strong indicator that she

   19   doesn't have ties to the community.

   20                She's a mom.     She has little kids.       They are

   21   integrated into the community, and she is integrated into the

   22   community.

   23                I also take issue with the fact that anybody who

   24   has access to resources, whether that is yacht currency,

   25   which I will tell Your Honor that's a new term for me that




                                                                                      88
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     12 of 26    pg
                                   89 of 460

                                                                                12

    1   I've learned in the case, or Bitcoin or crypto-currency.

    2                Just because people have access to money doesn't

    3   mean that they are likely to flee.

    4                As the Court knows, there are plenty of criminal

    5   Defendants in this case who have access to money and are not

    6   placed on GPS monitoring or home detention.

    7                Again, to me, the best evidence that she is not a

    8   flight risk is that we're on now month seven or eight of her

    9   knowing that this case was coming down the pipeline, and she

   10   has not fled.

   11                So I take issue with the fact that just because

   12   someone has potential access to money means that they are

   13   likely to flee.

   14                It's my understanding -- and just, Your Honor, I

   15   meant to start with this, and I apologize for not.

   16                Mrs. Tew has no objection to surrendering her

   17   passport.    She understands that's going to be a condition of

   18   pre-trial release.

   19                She also has no objection to the no-contact order,

   20   with the exception of allowing her to have contact with her

   21   husband.

   22                So I had talked with those that I told her were

   23   going to be conditions, and we have no objection to those.

   24                Again, I would just ask the Court to follow the

   25   guidance of the pre-trial services office here.             I don't




                                                                                      89
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     13 of 26    pg
                                   90 of 460

                                                                                13

    1   believe there are any other conditions that are necessary to

    2   ensure that she's going to stay and fight this case.

    3                 She has been consistent with me that she intends

    4   to fight this case, and actually fighting this case is very

    5   important.

    6                 THE COURT:    All right, thank you.       Mr. Kirsch, I

    7   have a question for you with respect to home detention.

    8                 In many previous circumstances where the Court has

    9   considered home detention, I've gotten a quizzical look from

   10   the United States Probation Office about what's the point of

   11   ordering home detention without some enforcement mechanism

   12   like GPS monitoring.

   13                 Am I to understand that the Government in this

   14   case is willing to suggest home detention without electronic

   15   monitoring?

   16                 MR. KIRSCH:   Your Honor, my understanding is that

   17   home detention would have a monitoring component that is

   18   still done through a land line.         It may be that that's a

   19   function of it being a while since I've done a case where

   20   home detention was really an option.

   21                 Our preference is to have some sort of electronic

   22   monitoring system.      And, frankly, I think GPS monitoring is

   23   superior, because it works all the time.

   24                 So that's the Government's first preference.

   25                 THE COURT:    All right, thank you.




                                                                                      90
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     14 of 26       pg
                                   91 of 460

                                                                                14

    1                MS. HUBBARD:     And, Your Honor, I apologize.             I

    2   just forgot this in my notes, as well.

    3                But I was instructed to tell the Court that if you

    4   are inclined to believe that Ms. Tew's physical presence

    5   needs to be monitored in some way, her preference would be

    6   for home detention.

    7                Ms. Tew, for a number of reasons that aren't worth

    8   going into here, rarely leaves her home.           Again, one of the

    9   children she has, has significant special needs, and then she

   10   has her own reasons.      But leaving home is difficult for her.

   11                So it is her express preference for home

   12   detention, if the Court believes that condition is necessary.

   13   It is still our position that that condition is not necessary

   14   to ensure she will show up.

   15                THE COURT:    All right, thank you for the

   16   clarification.

   17                And let me ask the United States Probation Officer

   18   who is present to enter his appearance for us, and then I

   19   have a question for him.

   20                MR. ANDERSON:     Yes, Your Honor.       Officer Anderson

   21   from the United States Probation Department.

   22                THE COURT:    All right, Officer Anderson, thank

   23   you.   Why don't you clear up -- maybe try to clear up my

   24   confusion on this point once and for all.

   25                I think my confusion derives from the fact that




                                                                                         91
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     15 of 26        pg
                                   92 of 460

                                                                                15

    1   the standard bond additional conditions of release form has

    2   separate paragraphs for participating in one of the following

    3   location restriction programs, which can include home

    4   detention, and submitting to location monitoring, as if those

    5   are two separate and distinct conditions that the Court can

    6   order.

    7                But every time that I've discussed home detention

    8   in the past with officers from the United States Probation

    9   Office, my understanding is that their preference is that if

   10   a person is placed on home detention that there be some

   11   enforcement mechanism, like GPS or radio frequency

   12   monitoring, to enforce that the home detention condition is

   13   being complied with.

   14                Is my understanding in that regard correct?                Is

   15   that the Probation Office's preference?

   16                MR. ANDERSON:     Yes, Your Honor, I believe that is

   17   correct.

   18                THE COURT:    All right.      And the difference between

   19   the GPS monitoring and the radio frequency monitoring, again

   20   is what?

   21                MR. ANDERSON:     So with the GPS, we always have

   22   reportage.    And the radio frequency, we can just pretty much

   23   look up and find out where they are.

   24                THE COURT:    Okay.

   25                MR. ANDERSON:     If that makes sense, Your Honor.




                                                                                          92
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     16 of 26    pg
                                   93 of 460

                                                                                16

    1                THE COURT:    All right, thank you.

    2                MR. KIRSCH:    Your Honor, I don't know if my

    3   understanding is still correct.

    4                But the understanding that I've always had is that

    5   the radio frequency monitoring allowed the Probation Office

    6   to determine whether or not the Defendant was actually at

    7   home.   It doesn't operate outside of the home.

    8                The GPS monitoring, in contrast, operates 24/7 and

    9   allows the probation officer to determine any location, not

   10   just the sort of binary at-home, or not.

   11                MR. ANDERSON:     That is correct.

   12                THE COURT:    All right, thank you.        So let me ask a

   13   practical question, Mr. Anderson.

   14                If the Defendant is placed on home detention with

   15   radio frequency monitoring, the home detention condition has

   16   a lot of exceptions.

   17                For example:     Exceptions for attorney visits, and

   18   exceptions for religious services, et cetera.

   19                So, if by radio frequency monitoring you can only

   20   tell whether the Defendant is at home, or not, I assume that

   21   if the Defendant plans to leave her home, if placed on home

   22   detention, to go to one of the excepted, you know, exceptions

   23   -- that's a complicated phrase, permitted, like medical

   24   treatment, Court and attorney visits, et cetera.

   25                Does she have to receive permission from the




                                                                                      93
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     17 of 26    pg
                                   94 of 460

                                                                                17

    1   probation officer to do that in advance?

    2                 MR. ANDERSON:    Yes, Your Honor.       And then we could

    3   put that time in when she's allowed to leave.            So if it's for

    4   a hour, we can have a hour time slot where she can leave and

    5   come back.

    6                 THE COURT:   And the radio frequency monitoring

    7   would not tell you that she exactly went to whatever

    8   appointment you gave her permission to attend, but it would

    9   tell you whether she returned to the home in time.              Is that

   10   right?

   11                 MR. ANDERSON:    That's correct, Your Honor.

   12                 THE COURT:   All right, thank you.

   13            (Pause)

   14                 THE COURT:   All right.      The Court has jurisdiction

   15   over the subject matter of the action, and over the parties.

   16                 Venue is proper in the District of Colorado, and

   17   each party has been given a fair opportunity to be heard on

   18   the issue of detention.

   19                 Ms. Tew, there are certain factors under the law

   20   that I must examine in determining whether there are

   21   conditions of release that will reasonably assure your

   22   appearance in Court, as required, and the safety of the

   23   community.

   24                 And those conditions include:

   25                 The nature and circumstances of the offenses




                                                                                      94
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     18 of 26    pg
                                   95 of 460

                                                                                18

    1   charged, and the weight of the evidence against you.

    2                I must also consider your history and

    3   characteristics, including your character, your physical and

    4   mental condition, your family ties, your employment, your

    5   financial resources, your length of residence in the

    6   community and community ties, your past conduct, your history

    7   related to drug or alcohol abuse, your criminal history, your

    8   record concerning appearances at Court proceedings, whether

    9   you were on any type of release at the time of commission of

   10   the alleged incidents and offense, and the nature and

   11   seriousness of the danger to any person or to the community

   12   that would be posed by your release.

   13                I have carefully reviewed the pre-trial services

   14   report, and I take judicial notice of it.

   15                I note several things from the pre-trial services

   16   report:

   17                I note that this 39-year old Defendant became a

   18   naturalized citizen in the United States in 1981, and that

   19   she is financially reliant on her husband, because she does

   20   not work.

   21                I note that she does take care of six year old

   22   twins full-time, including one who has special needs.

   23                I note that the Defendant was diagnosed with

   24   depression when she was 12 years old, and she has mostly

   25   taken medication for that condition at -- throughout her life




                                                                                      95
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     19 of 26    pg
                                   96 of 460

                                                                                19

    1   since that time.

    2                The United States Probation Office has recommended

    3   that the Defendant be released on a personal recognizance

    4   bond, and that she surrender her passport.            And she, of

    5   course, does not object to those conditions.

    6                The Government is asserting that due to the nature

    7   of the offenses, and due to the Defendant's familiarity, for

    8   lack of a better word, and experience with transactions on

    9   the dark net, and alternative forms of currency, like Bitcoin

   10   and crypto-currency, that that warrants some additional

   11   restrictions on the Defendant.

   12                I note for the record that these are very serious

   13   charges, of course, that the Defendant is facing.

   14                I also note that one of the co-Defendants in this

   15   case is her husband, and that the conditions of release

   16   relating to her husband require her husband to submit to

   17   electronic monitoring.

   18                I'm very familiar with the file on this matter.

   19   It does appear to me that Mr. Tew is the primary Defendant in

   20   the case, but that really doesn't matter.           This is a husband

   21   and wife team, both of whom are facing extremely serious

   22   charges, and who live together, and who will continue to live

   23   together and to care for two children.

   24                Now, in light of the particular circumstances at

   25   issue here, and in light of the Government's allegation of




                                                                                      96
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     20 of 26    pg
                                   97 of 460

                                                                                20

    1   Ms. Tew's substantial experience with transactions conducted

    2   on the dark net, that include alternative currency forms, and

    3   the Court's understanding and acknowledgment that familiarity

    4   with those types of transactions can, in fact, result in an

    5   accrual of significant wealth under the radar, so to speak,

    6   and outside of the knowledge or ability to obtain knowledge

    7   of the Government.

    8                 The Court will find that there is a combination of

    9   conditions that I can impose that will reasonably assure the

   10   appearance of this Defendant in Court in the future, and the

   11   safety of the community.

   12                 This will be an unsecured bond in the amount of

   13   $10,000.00.

   14                 The conditions of release will be as follows:

   15                 The Defendant must submit to supervision and

   16   report for supervision to the United States Probation Office.

   17                 The Defendant must surrender any passport to the

   18   Clerk of the Court within two business days, and may not

   19   obtain a new passport or other international travel document.

   20                 Ms. Tew, your travel will be restricted to

   21   Colorado, unless you get permission from the Court to go

   22   elsewhere.

   23                 And you must avoid all contact, directly or

   24   indirectly, with any person who is or who may be a victim or

   25   witness in this investigation or prosecution, except your




                                                                                      97
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     21 of 26    pg
                                   98 of 460

                                                                                21

    1   husband.

    2                You may not possess a firearm or destructive

    3   device, or another weapon.

    4                You may not use alcohol excessively.

    5                You may not use or unlawfully possess narcotic

    6   drugs or other controlled substances, and that includes

    7   marijuana.

    8                You must participate in a program of home

    9   detention, which means you're restricted to your residence at

   10   all times, except for employment, education, religious

   11   services, medical, substance abuse, or mental health

   12   treatment, attorney visits, Court appearances, Court ordered

   13   obligations, or other activities approved in advance by the

   14   pre-trial services officer, or the supervising officer.

   15                You'll submit to location monitoring by radio

   16   frequency, and you must pay all or any part of the costs of

   17   that program based on your ability to pay.

   18                You must report as soon as possible to the pre-

   19   trial services officer.

   20                If you have any contact with law enforcement while

   21   you are on release, and that includes even a minor traffic

   22   stop, you may not act as an informant for any law enforcement

   23   agency without permission from the Court.

   24                Your employment, if you have any, must be approved

   25   in advance by your supervising officer.




                                                                                      98
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130   filed
                                                Filed01/24/25
                                                      05/13/21 USDC
                                                                Page Colorado
                                                                     22 of 26    pg
                                   99 of 460

                                                                                22

    1                You must provide verification of any income or

    2   funds received.

    3                You must provide access to any financial records

    4   requested by the supervising officer.

    5                You may not commingle personal and business funds.

    6                You shall not register any business entities

    7   without prior disclosure to the supervising officer.

    8                You must notify the supervising officer of the

    9   registration of any business entities by your family members.

   10                You shall notify third parties of any risks that

   11   may be occasioned by your personal history or

   12   characteristics, and you must permit the probation officer to

   13   make those notifications and to confirm your compliance with

   14   the notification requirement.

   15                You must not conduct any financial transactions

   16   through the financial account of any business entity not

   17   previously disclosed to the supervising officer or through

   18   any other individual's financial account, and you may not

   19   solicit or receive money from third parties without prior

   20   approval by the supervising officer.

   21                Of course, you must always -- you must also not

   22   commit any violation of Federal, State, or local law while on

   23   release.

   24                You must cooperate in the collection of a DNA

   25   sample, if that is authorized by the law.




                                                                                      99
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130 filed
                                              Filed01/24/25
                                                    05/13/21 USDC
                                                              Page Colorado
                                                                   23 of 26    pg
                                   100 of 460

                                                                              23

    1                You must advise the Court or the Pre-Trial

    2   Services Office or the supervising officer, in writing,

    3   before you make any change in your residence or your

    4   telephone number.

    5                And, of course, you must appear in Court as you

    6   are directed to appear in the future.

    7                Ma'am, do you understand the conditions of your

    8   release?

    9                MS. TEW:    I'm sorry.    I just wanted to clarify,

   10   ma'am.   Bitcoin is not in the dark web.         I am not on the dark

   11   web.   I don't necessarily understand that.

   12                And I have lived her since 2015.        I moved here on

   13   July 6th, Fourth of July weekend, in 2015.

   14                I will be there.

   15                THE COURT:    I understand.     And what I've taken

   16   into account is the Government's suggestion that you have a

   17   familiarity with and experience with the dark web.            It

   18   doesn't matter so much to me in deciding a condition of bond

   19   as to whether that experience is recent, or not.           But I

   20   understand what you're saying.

   21                MS. TEW:    Thank you.

   22                THE COURT:    Do you understand your conditions of

   23   release?

   24                MS. TEW:    Yes.

   25                THE COURT:    All right.     And do you promise to obey




                                                                                    100
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130 filed
                                              Filed01/24/25
                                                    05/13/21 USDC
                                                              Page Colorado
                                                                   24 of 26    pg
                                   101 of 460

                                                                              24

    1   all conditions of release, to appear as directed, and to

    2   surrender to serve any sentence imposed?

    3                MS. TEW:    Yes, ma'am.

    4                THE COURT:    All right.     And are you authorizing me

    5   to sign this bond paperwork on your behalf, acknowledging

    6   that you understand these conditions and you promise to obey

    7   them?

    8                MS. TEW:    Yes, Your Honor.

    9                THE COURT:    All right.     I will do that then.

   10                MR. ANDERSON:     Excuse me, Your Honor.      Can we have

   11   the Defendant report to the Probation Office tomorrow at

   12   10:00 a.m. so we can get her set up?

   13                THE COURT:    Yes.   Ms. Tew, you will have to report

   14   to the Probation Office.       The probation officer is requesting

   15   that you report tomorrow at 10:00 a.m.

   16                That will be for the purpose of setting up your

   17   radio frequency monitoring.

   18                Any problem with that, Ms. Hubbard, that you're

   19   aware of?

   20                MS. HUBBARD:     Your Honor, other than that Ms. Tew

   21   is primarily responsible for supervising kindergarten between

   22   the hours of 9:00 and noon, so I would just ask the pre-trial

   23   officer if they could make it 1:00 or 2:00 o'clock.

   24                But otherwise, I'm confident that she can find a

   25   way to make it work, but it would just be the afternoon




                                                                                    101
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130 filed
                                              Filed01/24/25
                                                    05/13/21 USDC
                                                              Page Colorado
                                                                   25 of 26    pg
                                   102 of 460

                                                                              25

    1   typically is much easier.

    2                THE COURT:    Could we do it, Mr. Anderson, in the

    3   afternoon, as opposed to at 10:00 a.m.?

    4                MR. ANDERSON:     Yes, Your Honor, 1:00 o'clock would

    5   be fine.

    6                THE COURT:    All right, thank you.       Then I'll

    7   modify my order, Ms. Tew, and ask you to report to the United

    8   States Probation Office at 1:00 p.m. tomorrow for purposes of

    9   getting set up for the radio frequency monitoring.

   10                And I was in the process of signing the bond, and

   11   let me return to that.

   12          (Pause)

   13                MS. HUBBARD:     Your Honor, I'm happy to continue

   14   being a conduit until another attorney enters an appearance

   15   on behalf of Ms. Tew, if your staff or anybody wants to shoot

   16   me any documents that need to get sent to us by email.

   17                THE COURT:    All right, that's fine.       You know, I'm

   18   going to leave it to the United States Attorney's Office to

   19   keep in touch with you, Ms. Hubbard, with respect to what's

   20   going on in the case.      I appreciate that.

   21          (Pause)

   22                THE COURT:    All right.     I have signed the bond

   23   paperwork.

   24                Ms. Tew has received her instructions for

   25   reporting to the United States Probation Office.




                                                                                    102
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         130 filed
                                              Filed01/24/25
                                                    05/13/21 USDC
                                                              Page Colorado
                                                                   26 of 26    pg
                                   103 of 460

                                                                              26

    1                 Is there anything further from the Government with

    2   respect to Ms. Tew this afternoon, Mr. Kirsch?

    3                 MR. KIRSCH:    No, thank you, Your Honor.

    4                 THE COURT:    Thank you.    And anything further from

    5   the Defendant, Ms. Hubbard?

    6                 MS. HUBBARD:    No, thank you.     Thank you for

    7   letting me make a special appearance on this case, Your

    8   Honor.    I do appreciate that.

    9                 THE COURT:    You are welcome.     And we will be in

   10   recess.    Thank you.

   11                          (Time noted:    2:59 p.m.)

   12                                  * * * * *

   13                                 CERTIFICATE

   14            I, RANDEL RAISON, certify that the foregoing is a

   15   correct transcript from the official electronic sound

   16   recording of the proceedings in the above-entitled matter, to

   17   the best of my ability.

   18

   19

   20   ______________________________                  May 13, 2021

   21   Randel Raison

   22

   23

   24

   25




                                                                                    103
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   1 of 20        pg
                                  104 of 460

                                                                              1

    1                       UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
    2

    3   UNITED STATES OF AMERICA,   .         Case No. 20-cr-00305-DDD-2
                                    .
    4              Plaintiff,       .
                                    .
    5   vs.                         .
                                    .
    6   MICHAEL AARON TEW,          .         901 19th Street
        KIMBERLEY ANN TEW, also     .         Denver, CO 80294
    7   known as Kimberley          .
        Vertanen, and JONATHAN K.   .
    8   YIOULOS,                    .
                                    .
    9              Defendants.      .
                                    .         July 15, 2021
   10   . . . . . . . . . . . . . . .         11:08 a.m.

   11         TRANSCRIPT OF PROCEEDINGS HELD BEFORE THE HONORABLE
                 KRISTEN L. MIX, UNITED STATES MAGISTRATE JUDGE
   12
        APPEARANCES:
   13
        For the Plaintiff:                  United States Attorney
   14                                       By: Matthew T. Kirsch
                                            By: Hetal J. Doshi
   15                                       By: Andrea L. Surratt
                                            1801 California Street
   16                                       Suite 1600
                                            Denver, CO 80202
   17                                       (303) 454-0100

   18   For the Defendant:                  Tor Ekeland Law, PLLC
                                            By: Tor B. Ekeland
   19                                       By: Michael Hassard
                                            30 Wall Steet, 8th Floor
   20                                       New York, NY 10005
                                            (718) 737-2764
   21
        Also Present:                       Kimberly A. Tew
   22                                       Carlos Morales

   23   Court Recorder:                     Clerk's Office
                                            U.S. District Court
   24                                       901 19th Street
                                            Denver, CO 80294
   25




                                                                                       104
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   2 of 20        pg
                                  105 of 460

                                                                              2

    1   Appearances continued:

    2   Transcription Service:              AB Litigation Services
                                            216 16th Street, Suite 600
    3                                       Denver, CO 80202
                                            (303) 296-0017
    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24
        Proceedings recorded by electronic sound recording;
   25   transcript produced by transcription service.




                                                                                       105
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   3 of 20        pg
                                  106 of 460

                                                                              3

    1                         (Time noted:     11:08 a.m.)

    2                 THE COURT CLERK:    All rise.     Court is in session.

    3                 THE COURT:    Thank you.    Please be seated.

    4                 Good morning.    This is case number 20-cr-00305,

    5   United States of America versus Kimberley Ann Tew, et al.

    6                 Let's have counsel enter appearances, please,

    7   starting with counsel for the Government.

    8                 MR. KIRSCH:    Good afternoon, Your Honor.       Matthew

    9   Kirsch, Hetal Doshi, and Andrea Surratt, here for the

   10   Government.

   11                 THE COURT:    Good morning.

   12                 MR. EKELAND:    Good morning, Your Honor.       I'm Tor

   13   Ekeland appearing for the Defendant.

   14                 THE COURT:    Good morning.    We're here on the

   15   Defendant's motion to modify the terms of her pre-trial

   16   release.

   17                 I have received and reviewed the motion.

   18                 I'll hear from defense counsel first.        Mr.

   19   Ekeland?

   20                 MR. EKELAND:    May I proceed?

   21                 THE COURT:    You may.

   22                 MR. EKELAND:    Thank you, Your Honor.      So I think

   23   we've stated clearly, Your Honor, our argument in our motion

   24   papers, and we'll stand on those papers.          I'm just asking

   25   that we can reply to anything that the Government may raise.




                                                                                       106
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   4 of 20        pg
                                  107 of 460

                                                                              4

    1                It is my understanding that Mr. Morales, who is

    2   the PO for both of the Tews is in Court today, and I think he

    3   can inform the Court as to what he thinks are necessary

    4   conditions for Mrs. Tew.

    5                But basically we're asking for the same conditions

    6   of release that co-Defendant, Jonathan Yioulos has, who is

    7   facing 25 more felony counts than Ms. Tew.

    8                And we would just submit to the Court that there

    9   is no evidence in the record, and the Government has the

   10   burden here, as the Court knows, by the preponderance of the

   11   evidence, to establish that she's a flight risk.           And there

   12   is nothing in the record that indicates she's any type of

   13   flight risk.

   14                Pre-trial's original recommendation was that she

   15   be freed on her own recognizance.

   16                And I'd note that the Government raised the issue

   17   that she had access to Bitcoin cryptocurrency, but financial

   18   means by itself is not dispositive of somebody being a flight

   19   risk.   You need something more, because Mr. Yioulos has the

   20   same resources.

   21                And if the seriousness of the charges is

   22   determinative of the flight risk here, then Mr. Yioulos

   23   should be on home confinement with an ankle bracelet, as

   24   well, because his cooperation with the Government is not a

   25   factor under the BRA.




                                                                                       107
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   5 of 20        pg
                                  108 of 460

                                                                              5

    1                THE COURT:    All right.     Thank you.    Well, let me

    2   address one issue relating to the so-called "record" and the

    3   repeated statements in the motion and statements by counsel

    4   this morning about the lack of any evidence in the record

    5   justifying the conditions of release that were previously

    6   imposed on the Defendant.

    7                I know, Mr. Ekeland, that you probably don't

    8   practice in the District of Colorado much, and I don't know

    9   how they do things in the Eastern District of New York.

   10                But I want to make sure that you understand that

   11   the statements that were made by Government counsel at the

   12   time of the initial detention hearing are considered evidence

   13   in the record.     There is no transcript of that hearing on the

   14   Court's electronic docket because a transcript was not

   15   ordered by counsel.

   16                Nevertheless, those statements and the recording

   17   that was made of that proceeding are considered to be part of

   18   the record in this case.

   19                So to the extent that you're suggesting that there

   20   is no record that supports the Court's order with respect to

   21   the conditions of release that were placed on your client,

   22   that's just incorrect.      There is no transcript of the hearing

   23   that was held, but there was, indeed, a record made with

   24   respect to the Government's statements.

   25                My other concern relates to, of course, the




                                                                                       108
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   6 of 20        pg
                                  109 of 460

                                                                              6

    1   Statutory requirement for reopening the proceeding.            And, as

    2   you know, under 18 U.S.C. section 3142(f)(2), the Court may

    3   reopen the detention hearing if:

    4                 "[I]nformation exists that was not known to the

    5   movant at the time of the hearing and that has a material

    6   bearing on the issue whether there are conditions of release

    7   that will reasonably assure the appearance of the person as

    8   required and the safety of any other person and the

    9   community."

   10                 That's the Statutory requirement.

   11                 Now, I understand that the parties may have

   12   reached some agreement with respect to modification of the

   13   conditions of this Defendant's release.          The Government may

   14   not have reached an agreement with the Defendant on that.

   15   The Government may have a different proposal from what the

   16   Defendant is proposing.

   17                 But as far as I'm concerned, this is the Statutory

   18   threshold that must be met for the hearing to even be

   19   reopened.    And I haven't heard any suggestion from the

   20   Defendant that there is information that exists that was not

   21   known to the Defendant at the time of the original detention

   22   hearing.

   23                 But to the extent that such information exists, I

   24   think you have the burden of establishing what it is.            What

   25   is it?




                                                                                       109
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   7 of 20        pg
                                  110 of 460

                                                                              7

    1                MR. EKELAND:     Your Honor, we're not arguing new

    2   information, but we are arguing that this detention is un-

    3   Constitutional and arbitrary under the Bail Reform Act, and

    4   that when you compare Ms. Tew's conditions of confinement to

    5   Mr. Yioulos, the disparity becomes clear.

    6                And, Your Honor, to the extent that there is

    7   evidence in a transcript that hasn't been ordered, we will

    8   review that.     And I apologize to the Court because it is not

    9   our intention to say that the Court has done something wrong.

   10                But our main argument as stated in our papers is

   11   that the current conditions of release are un-Constitutional

   12   under the Fifth Amendment of the United States Constitution,

   13   because they appear to have been punitively imposed in order

   14   to coerce a plea, and that what we've seen of the evidence,

   15   and it's my understanding that the law is the same in the

   16   Eastern District as it is in the District of Colorado, seems

   17   to indicate that there is not -- the least restrictive means

   18   have not been imposed, and there seems to be an arbitrary

   19   disparity that we are unaware of a rationale for between Mr.

   20   Yioulos' conditions and Ms. Tew's.

   21                THE COURT:    All right.     Well, I understand what

   22   you're arguing.     I'll hear from the Government with respect

   23   to this, as well.

   24                Let me just say that, you know, it would not have

   25   been difficult for the Defendant and defense counsel to do a




                                                                                       110
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   8 of 20        pg
                                  111 of 460

                                                                              8

    1   little homework about this matter and to discover two things:

    2                First, that motions to modify conditions of

    3   release are assigned to the Magistrate Judge who placed the

    4   Defendant on release in the first place.

    5                The motion, the written motion in this case, has a

    6   tone which appears to me to be under the false impression

    7   that the District Judge assigned to the case, Judge Domenico,

    8   would be rehearing this motion.

    9                If you had done your homework and had understood

   10   how things work in the District of Colorado, you would know

   11   that this motion would come back to this Magistrate Judge,

   12   because I'm the person who put Ms. Tew on the conditions of

   13   release in the first place.

   14                The other thing which I cannot let go without

   15   commenting on are the repeated assertions in the written

   16   motion that this Court is racist, in that the Court imposed

   17   conditions on this Defendant due to her status as an Asian-

   18   American.

   19                Again, had you done any research whatsoever into

   20   this Judge, I think you would have learned easily, clearly,

   21   and definitively, that that is not who I am and that is not

   22   who I have ever been.

   23                And to the extent that you are suggesting that the

   24   Court somehow imposed conditions because of the color of your

   25   client's skin, the Court is deeply offended.           And I have to




                                                                                       111
Case No.
      Case
         1:20-cr-00305-DDD
            1:20-cr-00305-DDDDocument
                               Document
                                      645-4
                                         144 filed
                                               Filed
                                                   01/24/25
                                                     08/20/21 USDC
                                                               PageColorado
                                                                   9 of 20        pg
                                  112 of 460

                                                                              9

    1   make that statement for the record.

    2                All right.    I'll hear from the Government counsel,

    3   please, Mr. Kirsch.

    4                MR. KIRSCH:    Thank you, Your Honor.       First of all,

    5   the Government agrees with the Court with respect to the

    6   relevant standard here under 3142(f).

    7                The Defendant, in order to have a hearing in the

    8   first place, the Defendant needs to have alleged not only

    9   material that was not available at the time of the original

   10   hearing, but that information has to be material.

   11                As we read the Defendant's motion as favorably as

   12   possible, you could characterize the -- you could

   13   characterize the information that she -- that the Defendant

   14   temporarily suffered from bruising --

   15                THE COURT:    Bruising.

   16                MR. KIRSCH:    -- somewhere on her leg, that there

   17   is no evidence that's actually connected to the ankle

   18   monitor, that is arguably new evidence.          It's the only

   19   arguable new evidence, and it is not material to the question

   20   before the Court about whether or not what is the combination

   21   of conditions that would reasonably satisfy her appearance.

   22                To the extent that the Court is entertaining the

   23   argument that this constitutes a due process violation,

   24   because there is no valid interest in seeking her detention,

   25   the Government would refer the Court back to all of the




                                                                                       112
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   10 of 20    pg
                                   113 of 460

                                                                              10

    1   arguments and evidence that the Government presented at the

    2   initial detention hearing.

    3                The Government believes there is obvious and

    4   adequate justification for seeking detention of Ms. Tew.

    5                I would also make sure that the Court is aware

    6   that there has, in fact, been a transcript prepared of those

    7   original proceedings.      It's at docket number 128.        And as far

    8   as the Government is aware, it had been prepared at the time

    9   Ms. Tew's motion was filed.

   10                Finally, I would -- I want to make, on behalf of

   11   the United States Attorney's Office, a similar statement to

   12   the one that the Court made with respect to the allegation

   13   that there is a racial animus that's motivating the

   14   Government's position in this case.         That's not true.

   15                As the Court is aware, the Government has sought

   16   and obtained different conditions of release with respect to

   17   each of the Defendants.

   18                THE COURT:    From different Judges, right?        I don't

   19   think I was the one who put Mr. Yioulos, or whatever the

   20   other Defendant's name is, on release.          I believe it was

   21   Judge Hegarty, wasn't it?       Maybe not.    I don't remember.        But

   22   anyway, go ahead.

   23                MR. KIRSCH:    It was -- I believe it was you.

   24                THE COURT:    Was it me?     Okay.

   25                MR. KIRSCH:    Yes, Your Honor.




                                                                                     113
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   11 of 20    pg
                                   114 of 460

                                                                              11

    1                THE COURT:    Okay.    Fair enough.

    2                MR. KIRSCH:    But there are different bond amounts

    3   in each cases.     The Government put forth different evidence

    4   with respect to Mr. Yioulos and Ms. Tew.

    5                And, in particular, two things that bear on the

    6   issue of flight risk:

    7                One, that Mr. Yioulos had begun cooperating

    8   immediately, and had continued to cooperate, and, therefore,

    9   had an additional interest to appear.

   10                And second, that he doesn't have the substantial

   11   experience with cryptocurrency and/or the dark net that --

   12                THE COURT:    Or a degree in accounting.

   13                MR. KIRSCH:    That's also true.      The last thing

   14   that I feel like I have to point out on that point, Your

   15   Honor, and, again, the Court probably remembers this already.

   16                But at that hearing, there was actually a question

   17   about whether or not Ms. Tew should get a curfew and have a

   18   GPS monitor, or whether she should be subject to home

   19   detention.

   20                The Government actually expressed as its first

   21   preference that she get GPS monitoring with a curfew.            It's

   22   was Ms. Tew's attorney who said her client had asked her to

   23   ask for home detention instead.

   24                And so the idea that after she requested that,

   25   that that could somehow be used as evidence of racial animus,




                                                                                    114
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   12 of 20    pg
                                   115 of 460

                                                                              12

    1   is shocking.

    2                So the Government's position is there is no

    3   evidence to justify the new hearing here in the first place,

    4   but to be absolutely fair, the Government's position before

    5   was that GPS monitoring with a curfew was fine.           The

    6   Government hasn't changed its position about that.

    7                And if the Court, despite the lack of proper

    8   procedural status to be able to make that modification, if

    9   the Court wanted to do that, the Government wouldn't object.

   10                THE COURT:    So let's talk about that.       And I will,

   11   of course, allow defense counsel to address that, as well.

   12                That is my recollection that the Government sought

   13   GPS monitoring and curfew at the time of the initial hearing,

   14   that defense counsel suggested that Defendant preferred radio

   15   frequency monitoring and home confinement.

   16                But to the extent that the Government is now

   17   saying the Government has no objection to changing the

   18   conditions of release to electronic monitoring and a curfew,

   19   does the Government have a position with respect to the

   20   timing of the curfew?

   21                I understand from the pre-trial services report

   22   that Ms. Tew does not drive, and, therefore, my thinking is

   23   that a curfew, you know, with two small children, of around

   24   7:00 p.m. would probably work for the Defendant.

   25                What is the Government's position with respect to




                                                                                    115
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   13 of 20    pg
                                   116 of 460

                                                                              13

    1   the curfew?

    2                 MR. KIRSCH:    I didn't discuss this with the

    3   probation officer in advance.        I'm sorry.    7:00 p.m. would be

    4   completely reasonable to the Government under those

    5   circumstances.

    6                 Our memory is that Mr. Tew's curfew is 9:00 p.m.

    7   If the Court were to find that it made sense for them to have

    8   the same curfew, the Government wouldn't object to that

    9   either.

   10                 And if Officer Morales has a suggestion for a

   11   different time, then we would be likely to defer to that

   12   suggestion.

   13                 THE COURT:    Okay.   And I'll let you talk, Mr.

   14   Ekeland.    I promise I will.

   15                 But Mr. Morales, as I understood it, you don't

   16   have a particular preference with respect to a curfew 7:00

   17   p.m., 9:00 p.m.?

   18                 MR. MORALES:    No, Your Honor.

   19                 THE COURT:    All right.    Thank you.    And I

   20   understand also from Mr. Morales that Ms. Tew has done very

   21   well on her release to-date.        There is no dispute with

   22   respect to that.     There is no allegation of violations of the

   23   conditions of her release whatsoever.         I am taking judicial

   24   notice of that, as well.

   25                 All right, Mr. Ekeland, what is your position with




                                                                                    116
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   14 of 20    pg
                                   117 of 460

                                                                              14

    1   respect to a potential modification that would include

    2   electronic monitoring instead of radio frequency monitoring,

    3   and a curfew of 8:00 a.m. to 9:00 p.m.?

    4                 MR. EKELAND:    Your Honor, we would obviously like

    5   no ankle monitoring, as we've argued before, release on

    6   personal recognizance.

    7                 But if there was to be a curfew that ends at 9:00

    8   p.m., is acceptable.       And if we could eliminate the home

    9   confinement, that's excellent, as well, Your Honor.

   10                 THE COURT:    All right.    Well, we're in a bit of a

   11   procedural quandary here because of the language of the Bail

   12   Reform Act.

   13                 But I am inclined to construe loosely the language

   14   requiring information exists that was not known to the movant

   15   at the time of the hearing, and to give her the benefit of

   16   the doubt with respect to the bruising that was caused by the

   17   radio frequency monitor.

   18                 Arguably, that is information that was not --

   19   certainly was not known to the movant at the time of the

   20   hearing.

   21                 And so for that reason, the Court will find that

   22   it is appropriate to reopen the hearing to address the issue

   23   of the conditions of release.

   24                 I do take judicial notice of the fact that the

   25   Defendant has performed well on the conditions of the release




                                                                                    117
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   15 of 20    pg
                                   118 of 460

                                                                              15

    1   to-date.    I also take notice of her affidavit with respect to

    2   the bruising from the radio frequency monitoring.

    3                 I do agree with the Government that given the

    4   unique circumstances of this Defendant's background, there is

    5   a reason to impose some conditions that will not be overly

    6   restrictive, but will guarantee her appearance in Court in

    7   the future.

    8                 I am well aware of the Defendant's

    9   responsibilities for her two children, including one of whom

   10   is a special needs child.       I am aware of the Defendant's

   11   husband's bond conditions at this time.

   12                 And the Court finds that the bond conditions

   13   should be modified, in part, to remove the condition of home

   14   confinement, to replace the radio frequency monitoring with

   15   electronic monitoring, and to also impose a curfew of 8:00

   16   a.m. to 9:00 p.m., so that the Defendant's movements will be

   17   monitored between 8:00 a.m. and 9:00 p.m. pursuant to the GPS

   18   monitoring, but she won't be dealing with the radio frequency

   19   monitoring, which sets off every time she wants to take the

   20   kids to the pool, or anything like that.

   21                 Mr. Morales, is there something you wanted to add?

   22                 MR. MORALES:    No, Your Honor.     I just wanted it to

   23   be clear it's going to be GPS monitoring with a curfew from

   24   8:00 to 9:00 p.m.?

   25                 Could there be some discretion also to allow for




                                                                                    118
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   16 of 20    pg
                                   119 of 460

                                                                              16

    1   changes in that?

    2                THE COURT:    I was just going to get to that.

    3                MR. MORALES:     Okay.

    4                THE COURT:    So, you know, we're fortunate that

    5   we're dealing with a very experienced United States Probation

    6   Officer, who is responsible for Ms. Tew's monitoring while

    7   she's on her conditions of release.

    8                And in the past, I have modified the authority of

    9   the United States Probation Officer to provide essentially

   10   exceptions for emergency circumstances, for leisure

   11   circumstances, when, in the judgment of the United States

   12   Probation Officer, it is appropriate to do that.

   13                And I will do that here, as well.         In other words,

   14   to the extent that some exception would like to be -- the

   15   Defendant would like some exception to her curfew to be made

   16   for purposes of leisure activities or anything else, she may

   17   ask the United States Probation Officer to authorize that

   18   exception, and I'll allow him to do that in his judgment.

   19                And there will be no second guessing of that by

   20   the Court.    So the United States Probation Officer will have

   21   the authority to speak to the Defendant and/or her counsel

   22   with respect to modifications of the curfew on an as-needed

   23   basis, and to make a decision as to whether it's appropriate

   24   based on the circumstances that arise.

   25                Does that make sense?




                                                                                    119
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   17 of 20    pg
                                   120 of 460

                                                                              17

    1                 MR. EKELAND:    Yes, Your Honor.     Thank you.

    2                 THE COURT:   All right.     You're welcome.

    3                 THE COURT CLERK:    Would Your Honor like to execute

    4   an amended order setting the conditions?

    5                 THE COURT:   I think we can cover this, frankly, in

    6   the minutes of today's proceeding.         I want to make sure I

    7   have the Defendant's statement on the record that she

    8   understands the modification of the conditions of her

    9   release.

   10                 The motion, for the record, is granted in part and

   11   denied in part.

   12                 The Defendant's conditions of release are modified

   13   to remove the home confinement condition, to remove the radio

   14   frequency monitoring condition, to add a condition for GPS

   15   monitoring.    That's going to have to be put in place, of

   16   course, by the United States Probation Officer.           To add a

   17   curfew of 8:00 a.m. to 9:00 p.m., and to allow the U.S.

   18   Probation Officer to have discretion to allow exceptions to

   19   the curfew when requested by the Defendant on the judgment of

   20   the United States Probation Officer, as appropriate.

   21                 Do you understand those conditions, or

   22   modification of your conditions, Ms. Tew?

   23                 MS. TEW:   Yes.

   24                 THE COURT:   All right.     Then the minutes will

   25   reflect the modifications, and the minutes will reflect that




                                                                                    120
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   18 of 20    pg
                                   121 of 460

                                                                              18

    1   the Defendant understands the modifications of the

    2   conditions.

    3                 And, of course, you also agree to comply with

    4   these modified conditions, Ms. Tew.

    5                 MS. TEW:   I wasn't aware that I would have to be

    6   switched to a GPS monitor, which is unfortunately much

    7   heavier than the RF monitor, and it also has a separate

    8   battery attachment.      And to my knowledge, there's only one

    9   unit available.

   10                 And previously, the first time, and that was on-

   11   line, but I believe my former attorney had worked out an

   12   agreement where there would be home confinement with a land

   13   line, not even an RF ankle monitor, which is how I ended up

   14   here.   There was just some confusion there.         But I never once

   15   elected for the GPS location just because of the size, and

   16   it's just -- it's not a great fit for my current situation

   17   with two children.

   18                 THE COURT:   I mean, I understand that you'd prefer

   19   not to have monitoring.       I get that.    You know, I understand

   20   that there -- it's difficult, especially in the summertime,

   21   to have monitoring because they are visible on a person's

   22   leg.

   23                 For example, going to the pool is a perfect

   24   example of a time when a monitor is visible.           And there is a

   25   stigma, and it can be an issue of embarrassment and all of




                                                                                    121
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   19 of 20    pg
                                   122 of 460

                                                                              19

    1   that stuff.

    2                 But the fact of the matter is that based on the

    3   record before the Court, the Court is going to impose some

    4   kind of monitoring requirement.        The GPS monitoring allows

    5   you greater freedom, because you can leave your home.            You'll

    6   still be monitored, but never -- and I understand it's

    7   heavier and maybe more cumbersome to you, but generally the

    8   GPS monitoring is a better situation in terms of your ability

    9   to move around and to move around with your children if you

   10   wish to do that.

   11                 So, you know, it's sort of a -- the Court is going

   12   to impose it.     And I understand your objection to it.         I

   13   understand your concerns about it.

   14                 What I need to know from you is that you

   15   understand that that's going to be imposed, and that you

   16   agree that you're going to abide by the conditions that I am

   17   imposing.

   18                 MS. TEW:   Yes, Your Honor.     Thank you for your

   19   time.

   20                 THE COURT:    All right, thank you.      So the minutes

   21   will reflect the modification of the conditions, the partial

   22   granting of the motion to modify.

   23                 Is there anything else that we need to address

   24   today from the Government's point of view.

   25                 MR. KIRSCH:   No, thank you, Your Honor.




                                                                                    122
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         144 filed
                                              Filed01/24/25
                                                    08/20/21 USDC
                                                              Page Colorado
                                                                   20 of 20    pg
                                   123 of 460

                                                                              20

    1                THE COURT:    Thank you.     Anything else from the

    2   Defendant?

    3                MR. EKELAND:     No, Your Honor, thank you.

    4                THE COURT:    Thank you.     We're in recess.

    5                THE COURT CLERK:     All rise.     Court is in recess.

    6                         (Time noted:     11:30 a.m.)

    7                                  * * * * *

    8                                 CERTIFICATE

    9          I, RANDEL RAISON, certify that the foregoing is a

   10   correct transcript from the official electronic sound

   11   recording of the proceedings in the above-entitled matter, to

   12   the best of my ability.

   13

   14

   15   ______________________________                  August 20, 2021

   16   Randel Raison

   17

   18

   19

   20

   21

   22

   23

   24

   25




                                                                                    123
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   1 of 234   pg
                                   124 of 460




      1                    IN THE UNITED STATES DISTRICT COURT

      2                        FOR THE DISTRICT OF COLORADO

      3
          Criminal Action No. 20-cr-00305-DDD
      4

      5     UNITED STATES OF AMERICA,

      6              Plaintiff,

      7              vs.

      8     KIMBERLY ANN TEW and MICHAEL AARON TEW,

      9              Defendants.

     10   --------------------------------------------------------------

     11                            REPORTER'S TRANSCRIPT
                                       MOTION HEARING
     12
          --------------------------------------------------------------
     13
                   Proceedings before the HONORABLE DANIEL D. DOMENICO,
     14   Judge, United States District Court for the District of
          Colorado, commencing at 9:37 a.m. on the 12th day of
     15   October, 2022, in Courtroom A1002, Alfred A. Arraj United
          States Courthouse, Denver, Colorado.
     16
                                         APPEARANCES
     17
          For the Plaintiff:
     18   BRYAN D. FIELDS and ALBERT C. BUCHMAN, Assistant U.S.
          Attorneys, UNITED STATES ATTORNEY'S OFFICE, 1801 California
     19   Street, Suite 1600, Denver, CO 80202

     20   For the Defendants:
          PETER BORNSTEIN, Attorney at Law, THE LAW OFFICES OF
     21   PETER R. BORNSTEIN, 6060 Greenwood Plaza Blvd., Suite 500,
          Greenwood Village, CO 80111
     22

     23

     24        JULIE H. THOMAS, RMR, CRR, 901 19th Street, Room A256,
                 Denver, CO 80294, (303)296-3056 (CA CSR No. 9162)
     25

                   Proceedings reported by mechanical stenography;
                         transcription produced via computer.

                                                                                   124
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   2 of 234   pg
                                   125 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022    2


      1                                    I N D E X

      2
            GOVERNMENT'S WITNESSES                                            PAGE
      3
            ANTHONY ROMERO
      4        Direct - Mr. Fields                                              54
               Cross - Mr. Bornstein                                            75
      5        Redirect - Mr. Fields                                           100
            SARAH ANDERSON
      6        Direct - Mr. Fields                                             108
               Cross - Mr. Bornstein                                           119
      7     LISA PALMER
               Direct - Mr. Fields                                             144
      8        Voir Dire - Mr. Bornstein                                       150
               Direct (Resumed) - Mr. Fields                                   154
      9        Cross - Mr. Bornstein                                           162
               Redirect - Mr. Fields                                           172
     10

     11                     GOVERNMENT'S
                            EXHIBITS                        RECEIVED
     12
                            6                                    154
     13
                            6:2-3                                 59
     14
                            7                                    155
     15
                            8                                    158
     16
                            8:34-35                               64
     17

     18
                            DEFENDANTS'
     19                     EXHIBITS                        RECEIVED

     20                     A                                     85

     21                     B                                     87

     22

     23

     24

     25


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    125
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   3 of 234   pg
                                   126 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022       3


      1     MOTIONS                                                           PAGE

      2     Defendant Kimberly Ann Tew’S Motion for Severance
            [218]
      3        Mr. Bornstein                                                        6
               Mr. Fields                                                           8
      4        Mr. Bornstein                                                       11
               Mr. Fields                                                          15
      5        Mr. Bornstein                                                       17
               Mr. Fields                                                          18
      6        Mr. Bornstein                                                       19
               Taken Under Advisement                                              20
      7
            Defendants’ Motion for Franks Hearing [215]
      8        Mr. Bornstein                                                       21
               Mr. Fields                                                          25
      9        Mr. Bornstein                                                       41
               Ruling of the Court                                                 51
     10
            Defendants' Motion to Suppress Evidence From
     11     Search of 3222 East First Avenue, Apartment 224
            [221]
     12        Mr. Fields                                                      175
               Mr. Bornstein                                                   178
     13        Taken Under Advisement                                          193

     14     Defendants' Motion to Suppress the Use of
            Statements [216]
     15        Mr. Fields                                                      183
               Mr. Bornstein                                                   187
     16        Taken Under Advisement                                          193

     17     Defendants' Motion to Suppress [200]
               Mr. Bornstein                                                   193
     18        Mr. Fields                                                      200
               Mr. Bornstein                                                   210
     19        Mr. Fields                                                      213
               Taken Under Advisement                                          215
     20
            Defendants' Motion for Sanctions for Violating
     21     Communication Privileges [214]
               Mr. Bornstein                                                   215
     22        Mr. Fields                                                      221
               Mr. Bornstein                                                   229
     23
            Defendants' Motions for James Hearing [219] [220]
     24        Mr. Fields                                                      228
               Mr. Bornstein                                                   230
     25        Taken Under Advisement                                          233


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    126
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   4 of 234    pg
                                   127 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   4


      1        (Proceedings commenced 9:37 a.m.,

      2        October 12, 2022.)

      3               THE COURT:      Good morning.     Please take your seats.

      4               This is a motions hearing in Case No. 20-cr-305,

      5   United States versus Michael Aaron Tew and Kimberley Ann Tew.

      6   We have a number of motions.

      7               Before we begin, I just want to let everyone know

      8   that last night I started feeling a little unwell, got a bit

      9   of a slight fever and some aches, so I took some medicine,

     10   took a COVID test last night and another one this morning,

     11   negative.    Just thought I would let everybody know.          I'm

     12   feeling better today.        The fever is gone.     If anybody wants to

     13   wear a mask, you're certainly welcome to, but I just thought I

     14   would let everyone know about that little scare I had last

     15   night, but I think I can make it through today, if anybody has

     16   a problem with that.

     17               Why don't I, with that, ask everyone to -- counsel to

     18   enter their appearances and introduce the folks that they have

     19   brought with them today.        For the Government?

     20               MR. FIELDS:     Good morning, Your Honor.     Bryan Fields

     21   for the United States, and I'm joined at counsel table by

     22   Al Buchman.       In the audience are Special Agent Lisa Palmer

     23   with the IRS, Special Agent Sarah Anderson with the FBI, and

     24   Special Agent Anthony Romero with the IRS.

     25               THE COURT:      All right.    Thank you all for being here.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    127
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   5 of 234      pg
                                   128 of 460

          20-cr-00305-DDD                     Motion Hearing              10/12/2022    5


      1              For the defense?

      2              MR. BORNSTEIN:      Good morning, Your Honor.         Peter

      3   Bornstein appearing on behalf of the defendants.              With me at

      4   counsel table is Kimberley Tew and Michael Tew.

      5              I would also, just as the Court mentioned its health

      6   issue, they have a sick child, and their sick child is also

      7   their child who has got special needs.               There's a nurse

      8   watching them, but they wanted me to alert the Court that if

      9   they got an emergency phone call, that the Court would know

     10   that from the beginning.

     11              THE COURT:       Okay.    I appreciate that.      And I think --

     12   I mean, I really kind of want to get through all this, so

     13   obviously I totally understand.              If someone needs to leave,

     14   they can waive their appearance here, and we can just proceed,

     15   but I certainly understand that.              And thank you, and welcome.

     16              So Miss Dodds, I think, sent out an e-mail kind of

     17   letting you know the structure of how I wanted to proceed

     18   today.    Part of the reason I wanted to start with the

     19   severance motion, frankly, was I just want -- there are a

     20   couple things about that motion that made me want to make

     21   sure, Mr. Bornstein, that there's not a conflict with your

     22   joint representation.        And we had this hearing -- we had a

     23   hearing.    I know that you weren't -- that wasn't with you, but

     24   the Tews had to make sure they understood the risks of joint

     25   representation, but the severance motion makes a couple of


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                       128
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   6 of 234   pg
                                   129 of 460

          20-cr-00305-DDD                     Motion Hearing           10/12/2022        6


      1   points that concern me a little bit about making sure there's

      2   not a conflict in your representation of both defendants.                And

      3   so I just thought I would let you address that, make sure you

      4   have thought through whether severance is in both defendants'

      5   interest.    I know it was filed only on behalf of Miss Tew.              Is

      6   there any reason I should be concerned about whether severing

      7   the case would potentially be in one of your client's

      8   interests but not the other?

      9               MR. BORNSTEIN:     Should I come to the podium?

     10               THE COURT:      Either way is fine, but for this part it

     11   might be easier if you just stay where you are.

     12               MR. BORNSTEIN:     My analysis of the severance issue is

     13   that if the Court were to grant a severance, that that would

     14   not prejudice Miss Tew.        In fact, it would avoid prejudice to

     15   Miss Tew.    And I don't see how that would prejudice Mr. Tew

     16   other than it would raise some evidentiary issues in which

     17   some evidence, as I mentioned, about potential statements that

     18   the Government might use that implicate each other, but that

     19   would have to be worked through somehow by the Court in terms

     20   of what would be admissible and what would not be admissible.

     21   But in terms of my professional role in representing both of

     22   them, I don't see the severance issue as raising that badly.

     23               THE COURT:      Okay.    I mean, I just -- I think there's

     24   a line in there about needing to cross-examine Mr. Tew.

     25   Cross-examining your own client is obviously problematic


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                     129
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   7 of 234   pg
                                   130 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   7


      1   potentially, but that may have been just kind of a

      2   misstatement about the way the process would work.            I just

      3   want to make sure you've kind of fully thought through what

      4   that would look like.

      5              And I guess my other question was would it -- part of

      6   the motion is based on this idea that the jury would have

      7   difficulty separating the two of them out given their

      8   relationship.     Does having one lawyer representing them both,

      9   doesn't that potentially exacerbate that risk?

     10              MR. BORNSTEIN:      Your Honor, yes, it does, and that's

     11   why I have to -- I have professionally advised both clients,

     12   independently of each other, of the risks that are involved in

     13   having joint representation, told them that there are risks,

     14   suggested to them that two lawyers are better than one and

     15   that that would be preferable for them to have two lawyers

     16   rather than one.      However, their decision is to go with one

     17   lawyer.    Maybe some of that is financial, maybe some of that

     18   is related to some other issues between them, but I think I've

     19   advised them that it's a problem and that I would prefer to

     20   have another lawyer, but that's their decision.

     21              THE COURT:       All right.    Thank you, Mr. Bornstein.

     22              Mr. Fields, Mr. Buchman, does the Government want to

     23   weigh in on this at all?

     24              MR. FIELDS:      Yes, Your Honor.      May I -- is speaking

     25   from here okay?


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    130
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   8 of 234       pg
                                   131 of 460

          20-cr-00305-DDD                    Motion Hearing                 10/12/2022   8


      1              THE COURT:       Yes.

      2              MR. FIELDS:      So, Your Honor, we would reiterate all

      3   the arguments we made about joint representation.                It's

      4   extremely problematic in this case.                 And if Mr. Bornstein, as

      5   he just commented, thinks that two lawyers would be

      6   appropriate, one could be appointed by the Court.                So

      7   financial, sort of, means should not play into that analysis.

      8              In terms of the severance motion, the Government

      9   believes that a joint trial is good for reasons of judicial

     10   economy, but if there was a severance, a trial against

     11   Kimberley Tew by herself would actually be much easier.                 She

     12   would be much more prejudiced by a separate trial, and the

     13   reason for that is that Michael Tew proffered.                In his

     14   proffer, he provided extensive text messages detailing the

     15   conspiracy.       Those text messages might not be admissible in a

     16   joint trial.      They would almost certainly be admissible

     17   against Miss Tew in a separate trial.                So at that point, if

     18   you have a separate trial, Miss Tew is going to be confronted

     19   with text messages by her husband outlining her involvement in

     20   the scheme as a coconspirator as well as his own involvement

     21   and the involvement of Jonathan Yioulos.                So a severance in

     22   that case actually does prejudice Miss Tew, and I was actually

     23   surprised to actually see a severance motion in this case for

     24   exactly that reason.

     25              You also have the problem of if the Court is inclined


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                         131
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         285 filed
                                              Filed01/24/25
                                                    12/27/22 USDC
                                                              Page Colorado
                                                                   9 of 234   pg
                                   132 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   9


      1   to grant any of these motions to suppress, some of the --

      2   Fourth Amendment rights are personal rights.            So the fact

      3   that, let's say, Miss Tew is using one of the e-mail accounts;

      4   Michael Tew is using one of the others.            You suppress one of

      5   those accounts.     If you suppress Michael Tew's account because

      6   he has a right to privacy in it and he's using it, that

      7   evidence could still be used against Kimberley Tew at a

      8   separate trial.

      9              Severance here presents all sorts of problems, and I

     10   think that actually this motion has just highlighted a lot of

     11   the issues the Government has previously presented.             So we

     12   would again reiterate that a trial here or going forward in

     13   this case both clients should have independent representation

     14   that guarantees a fair trial and that also prevents a 2255 or

     15   appellate issues down the road.           And so I don't see any good

     16   reason here to allow joint representation, especially when the

     17   Court could appoint independent counsel.

     18              THE COURT:       Well, so I appreciate that, Mr. Fields,

     19   and we went through this once before.             I understand all the

     20   arguments.     I get it.     On the other hand -- and I should

     21   reiterate that if it's truly a financial issue, Mr. Fields is

     22   right, depending -- obviously there are kind of limits and

     23   requirements for getting appointed counsel, but if it's truly

     24   a financial issue, there may be ways to solve that.             I don't

     25   think that should drive the decision.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     132
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 10
                                                                    Colorado
                                                                       of 234   pg
                                  133 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   10


      1              I do think they have -- there are potential other

      2   benefits to -- as I mentioned when we first went through this,

      3   there are potential benefits to being able to have joint

      4   representation and act jointly.           It is risky in a number of

      5   ways, as Mr. Fields pointed out.           I, like everyone, urge the

      6   Tews to really think through whether this is the best way to

      7   handle this case for both of them and for each of them, but at

      8   this point, given Mr. Bornstein's having thought it through,

      9   having discussed it with them, their having decided again to

     10   continue running those risks, I'm not going to require that

     11   they have separate counsel at this time, but I do urge

     12   Mr. Bornstein to keep an eye on whether it goes beyond just

     13   thinking it would be preferable to have joint -- separate

     14   counsel to being truly necessary, because it could certainly

     15   tip over into that.

     16              All right.       So thank you for addressing that, both of

     17   you.

     18              Then we might as well -- Mr. Fields got a little bit

     19   into the merits of the severance motion.            I'll just say both

     20   of these first -- both Franks and the severance issue I want

     21   to give you a chance to make your case.             I'm pretty skeptical

     22   on both of them, Mr. Bornstein, that you have met the burden

     23   or that you can meet the burden that you have to justify

     24   either of those things, but I did want to give you a chance to

     25   make the argument this morning.           So why don't you go ahead and


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     133
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 11
                                                                   Colorado
                                                                      of 234   pg
                                  134 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022   11


      1   explain to me why you think -- and I've read all the briefs.

      2   I've read some of the cases.        Explain to me why you think

      3   severance is appropriate in this case, and then we can go from

      4   there.    So Mr. Bornstein.

      5              MR. BORNSTEIN:     Your Honor, let me first address the

      6   Bruton issue with respect to the severance.            At the time that

      7   I wrote the motion and I wrote in that motion, as far as

      8   Bruton was concerned, that there was statements made by

      9   Michael Tew that would implicate and incriminate his wife,

     10   Kimberley Tew, and I was not particularly specific about those

     11   statements, and the Government called me on that and said in

     12   their response that I wasn't specific.

     13              So since that time I have tried to -- there was a

     14   particular set of telephone calls that were made on July 7th

     15   of 2020.    On July 7th of 2020, the FBI and the IRS had

     16   contacted Mr. Jonathan Yioulos in Buffalo, New York.             They had

     17   indicated they were going to arrest him, that he was going to

     18   be charged in a case here in Denver, and he decided to

     19   cooperate.     And in terms of his cooperation that day on

     20   July 7th, the Government agents arranged for a pretext call in

     21   which Mr. Yioulos would, with the Government listening in,

     22   make a pretext call to Michael Tew and try to get him to make

     23   incriminating statements on the telephone that the Government

     24   could use against him at the trial.

     25              At the time we had one hour and 13 minutes worth of


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    134
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 12
                                                                   Colorado
                                                                      of 234   pg
                                  135 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   12


      1   audiotapes of these conversations -- well, maybe not that long

      2   with that one, but we had audiotapes, and the Government had

      3   not provided me with a transcript of those audios.             So we

      4   had -- we used a program, software program that's not very

      5   good, to produce some transcripts that I could then use to

      6   bolster my argument that there is a Bruton problem in the

      7   case.

      8              I now have these bad transcripts, but they are able

      9   for me then to point out to the Court that in several specific

     10   parts of the case -- parts of the conversation, Mr. Yioulos

     11   would ask Mr. Tew something about his wife and thereby elicit

     12   from him that -- and his incriminating statements,

     13   incriminating statements about his wife, and he would -- from

     14   what I've read in these transcripts, at least four or five

     15   times he moves the conversation -- I don't know if the agents

     16   were, you know, behind there saying what to do, but -- we

     17   don't know that yet, but anyway I can tell from the

     18   transcripts that he would move the conversation and say, Well,

     19   didn't Mrs. Tew do X, Y, and Z, and didn't she participate

     20   this way, and didn't she participate that way?

     21              THE COURT:       But isn't the Government's point that

     22   they will redact any statements like that and they won't get

     23   to use those in a joint trial, and potentially if it's

     24   separate then they would be used against her in a separate

     25   trial?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    135
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 13
                                                                    Colorado
                                                                       of 234   pg
                                  136 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   13


      1               MR. BORNSTEIN:      Well, I would like to hear from the

      2   Government on how they are going to do that with these since

      3   they're audio, since they're audio statements and not written

      4   statements or otherwise written by Mr. Yioulos and adopted by

      5   him as a statement.         They're mixed in.     I foresee that there's

      6   a big problem.     I don't know how the Government can do that.

      7   I don't know how -- yes, that's what the law says you can do

      8   to avoid the Bruton problem, but I think, as a practical

      9   matter, I think the Government has a big problem here.

     10               THE COURT:      Fair enough.     I'll be curious about

     11   exactly how they plan, and what they plan to redact is a good

     12   question, and I will expect them to address that.

     13               MR. BORNSTEIN:      And then the second part that I

     14   raised in my motion, other than the Bruton issue, is what

     15   either is called the spillover issue.             And, again, this all --

     16   there's a lot of spillover in this case involving Mr. Yioulos

     17   talking about the two of them acting together or not acting

     18   together.     At one point he says, I don't want to talk to you

     19   anymore, and says, I don't want to have any more conversations

     20   with Mrs. Tew, and yet again sometime later the Government

     21   claims that there was a conversation, at least by text, that

     22   we say is not hers.         It's not her text message.      It's Michael

     23   Tew's text message.         And so we have a lot of spillover.

     24               And then, finally, my third part of my argument

     25   relates to the issue of whether -- when there's a trial


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     136
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 14
                                                                      Colorado
                                                                         of 234   pg
                                  137 of 460

          20-cr-00305-DDD                     Motion Hearing              10/12/2022   14


      1   involving a husband and wife and the allegations are that

      2   they're in it together -- I mean, that's the allegations in

      3   the case; it's a conspiracy that, you know, they're obviously

      4   involved together, according to the Government's theory --

      5   will the jury be able to give her a separate, independent

      6   evaluation of the evidence and not taint her with the evidence

      7   against her husband.

      8              Those are the three parts of my argument.              The

      9   Court's read it, and that's how I present the severance issue.

     10              THE COURT:       All right.

     11              MR. BORNSTEIN:      I have one more thing.

     12              THE COURT:       Go ahead.      Go ahead.

     13              MR. BORNSTEIN:      One more thing.         The other reason I

     14   file severance motions in cases such as this is just in case

     15   something happens in the middle of trial.              And so if I've

     16   alerted the Court to the fact that there could be a big

     17   problem, that evidence could come in that would taint one or

     18   the other, that something might be that the jury would have

     19   big trouble following an instruction, I've preserved that

     20   issue.

     21              THE COURT:       Okay.    Thank you.

     22              Mr. Fields, go ahead and respond however you want,

     23   especially with how you plan to do redactions, how we can

     24   maybe -- how much of that can be dealt with before trial so we

     25   don't run into this issue that he just raised.


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       137
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 15
                                                                   Colorado
                                                                      of 234   pg
                                  138 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022      15


      1              MR. FIELDS:      Absolutely, Your Honor.      So first with

      2   that July 7th telephone call, that July 7th telephone call

      3   wouldn't be covered by Bruton anyways.            That July 7th

      4   telephone call would involve coconspirator statements which

      5   are classically non-Brutoned.          There's no confrontation clause

      6   issue related to those because they're nontestimonial.               That's

      7   black-letter law.      It's United States versus Clark, 717 F.3d

      8   790.    It's a Tenth Circuit case from 2013.         So nothing in that

      9   pretextual call would need to be redacted.

     10              THE COURT:       So those would come in, either way,

     11   unredacted in a joint trial, a separate trial.            That's your --

     12   okay.

     13              MR. FIELDS:      Correct, Your Honor.      The redactions

     14   would come into play -- and this is actually maybe the more

     15   difficult issue -- if Mr. Bornstein decides to violate the

     16   proffer agreements and present a defense, which would be

     17   inconsistent from what the Tews told us in their proffers.

     18              So let's talk about the proffers for a second.             Both

     19   of these defendants have proffered with the Government.              That

     20   means they've come in, they've talked about their role in the

     21   scheme in some detail.        Both have admitted that they're

     22   guilty.    If during the trial they present a defense that's

     23   inconsistent with those proffer statements, then those

     24   proffers can potentially come in.            Those would be testimonial,

     25   and those would be potential Bruton statements.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                       138
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 16
                                                                     Colorado
                                                                        of 234    pg
                                  139 of 460

          20-cr-00305-DDD                  Motion Hearing                10/12/2022       16


      1              Those are audiorecorded.          I think that those

      2   redactions can be done if the defense does intend to breach

      3   the proffer agreements.        One of those proffer meetings with

      4   Michael Tew, the first one, was sort of cabined in a way so

      5   that he was not talking about Kimberley Tew.              So that one is

      6   very easy to redact, because he's mostly talking about his own

      7   complicity in the scheme, and we would just play the tape.

      8              Kimberley Tew's proffer, her proffer and Michael

      9   Tew's second proffer are not so cabined, but even in those

     10   cases it would be pretty easy to do the redactions if

     11   redactions were even necessary.           So there are times where in,

     12   for instance, Kimberley Tew's proffer where she just says, I'm

     13   guilty, and then talks about why she alone is guilty.                  So you

     14   don't have to redact anything there.              She's not implicating a

     15   coconspirator.

     16              The reason that that might become problematic is

     17   depending on, sort of, how the case goes.             If Mr. Bornstein

     18   does breach the proffers in the middle of the trial, that

     19   could create a severance issue in the middle of trial, and

     20   also we again end up with this issue involving their joint

     21   representation.      So I think it is important for Mr. Bornstein

     22   to, sort of, make a representation that he does not intend to

     23   breach the proffer agreements.

     24              THE COURT:       What do you mean -- what is your take on

     25   what would breach the proffer, in your view?              When you say


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                          139
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 17
                                                                    Colorado
                                                                       of 234   pg
                                  140 of 460

          20-cr-00305-DDD                     Motion Hearing            10/12/2022   17


      1   that, you mean presenting some sort of evidence, rather than

      2   just requiring you to prove your -- I'm curious what your

      3   position on -- what would -- what could they do besides just

      4   say there's insufficient evidence and not present a defense

      5   that, in your view, would not breach the proffers?

      6              MR. FIELDS:      Our position is that they are limited to

      7   presenting a defense that basically says the Government's

      8   evidence is insufficient, so a complete reasonable doubt

      9   defense.    If they try to present evidence, testimony, argument

     10   that they did not participate in this scheme, then the proffer

     11   agreement is breached, and those proffer statements can come

     12   in.

     13              We can redact them at that point to avoid any Bruton

     14   issues if the Court wants to hold a joint trial.             If the Court

     15   is inclined to grant the severance, then both of those proffer

     16   agreements can come in.

     17              THE COURT:       Okay.    Thank you, Mr. Fields.

     18              MR. BORNSTEIN:      Your Honor, may I address one thing

     19   that Mr. Fields raised that I disagree with?

     20              THE COURT:       Yes, please.

     21              MR. BORNSTEIN:      He began -- Mr. Fields began his

     22   argument by saying that the July 7th telephone conference is a

     23   statement by coconspirators.            However, my understanding of the

     24   law is that once Mr. Yioulos had given it up and was working

     25   with the Government, he was no longer a conspirator, and that


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     140
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 18
                                                                    Colorado
                                                                       of 234   pg
                                  141 of 460

          20-cr-00305-DDD                     Motion Hearing            10/12/2022     18


      1   telephone call was not made in furtherance of the conspiracy.

      2   And so under 801(d)(2)(3) [sic] it has to be done both by a

      3   conspirator and made in furtherance of the conspiracy, and if

      4   that telephone call was made in furtherance of helping the FBI

      5   or the IRS, it doesn't count.

      6              THE COURT:       So his statements you might be right

      7   about, but aren't we talking about Mr. Tew's statements?               And

      8   he was still, at least thought he was, trying to further the

      9   conspiracy.

     10              MR. BORNSTEIN:      I think it's the conversation,

     11   whether that conversation was made in furtherance of the

     12   conspiracy, not whether one person was -- erroneously thought

     13   that he was still involved in it and was wrong.

     14              THE COURT:       Okay.    Thank you, Mr. Bornstein.

     15              Mr. Fields -- and Mr. Bornstein, I'll give you a

     16   chance to answer this too -- this issue about the proffers

     17   seems to me to be potentially -- not necessarily -- I mean, I

     18   guess it plays into, obviously, into the severance question,

     19   but it, sort of, seems to me that it might behoove all of us

     20   to try to kind of fight that out before we have a jury sitting

     21   around and a trial going on.            Do you see any way we could

     22   handle that before a trial, like figuring out exactly what

     23   they can and can't do, or do we just have to, sort of, see how

     24   the trial goes?

     25              MR. FIELDS:      Your Honor, I have a proposal.        I think


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                       141
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 19
                                                                     Colorado
                                                                        of 234   pg
                                  142 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022    19


      1   there are -- do you want me to take --

      2              THE COURT:       Either.     It doesn't matter to me.

      3              MR. FIELDS:      So I think there are two options.          The

      4   first option would be for Mr. Bornstein to represent here

      5   today that he has no intention of breaching the proffer

      6   agreements.       If that's the case, then we, sort of, know

      7   exactly what trial is going to be like.              It's going to be a

      8   reasonable doubt defense.           He will cross-examine, he will

      9   impeach, he will do what he needs to do, but that's the trial.

     10              On the other hand, if he thinks there are

     11   circumstances where he would need to breach the proffer

     12   agreements, at that point we would handle it through a motion

     13   in limine, which I can file relatively quickly, and we can set

     14   a, sort of, pretrial hearing on the motion in limine, which

     15   usually wouldn't be granted because motions in limine, but

     16   that's a pure issue of law, and I think it's one that could be

     17   teed up easily before the trial.

     18              THE COURT:       Okay.    I guess -- well, why don't I ask

     19   Mr. Bornstein.

     20              Mr. Bornstein, is your view of the proffer agreements

     21   consistent with Mr. Fields' view that you're, sort of, limited

     22   to a reasonable doubt defense and -- unless you want to

     23   potentially allow those proffers in, or do you disagree with

     24   his take on that?

     25              MR. BORNSTEIN:      I disagree with his take.         I think


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                       142
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22       USDC
                                                                  Page 20
                                                                       Colorado
                                                                          of 234   pg
                                  143 of 460

          20-cr-00305-DDD                     Motion Hearing               10/12/2022    20


      1   it -- let me try it this way.             It is possible for my clients

      2   to take the stand and testify consistent with the proffer but

      3   add facts or discuss facts that were not either dealt with in

      4   the proffer or were misunderstood in the proffer.                 It's

      5   walking a fine line.        I don't know if I would do it or not.

      6   That's a tactical decision.            I haven't made that tactical

      7   decision.     I probably wouldn't make that tactical decision

      8   until the middle of trial.           But I have thought through that

      9   fact that that is a line that could be walked.

     10               THE COURT:      But in that case you would -- they would

     11   take the stand, but the proffers would also come in.                 Is that

     12   right?

     13               MR. BORNSTEIN:      No.     As I understand the terms of the

     14   proffer, they have to deny something that they told the

     15   Government in the proffer, and then the proffers come in.

     16               THE COURT:      Okay.    All right.       Well, I guess we'll

     17   see if we can work that out beforehand, but I guess you're

     18   probably right, Mr. Bornstein, it may just -- we may just have

     19   to see how it goes.         All right.       Thank you.

     20               So I should say on most of these things I'm probably

     21   going to issue a written order as quickly as I can.                 I'm not

     22   inclined right now to sever.            I'll go back and look through a

     23   little bit and issue a written order.                I do want to make sure

     24   we kind of clarify how redaction would work.                So I'll probably

     25   issue a written order.


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                         143
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 21
                                                                   Colorado
                                                                      of 234   pg
                                  144 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022        21


      1              If there's nothing else on that, I would like to turn

      2   to the Franks issue.        And, to be clear, what I want to do

      3   right now is figure out if a Franks hearing is necessary.                 My

      4   inclination, as I said before, is that it's not.            It's a high

      5   burden, as the Government has pointed out.           I did sense -- in

      6   the reply there were affidavits attached.           I wanted to give

      7   Mr. Bornstein an opportunity to explain his view of why those

      8   meet the very high burden under Franks for a hearing.

      9              So, Mr. Bornstein, why don't you go ahead and make

     10   your argument on that, on why we should have a hearing.

     11              MR. BORNSTEIN:      As the Court pointed out, in my

     12   motion for the Franks hearing I indicated in the motion that

     13   it's related to the search warrants, the multiple search

     14   warrants that were issued in the case, some four or five of

     15   them, each of which had an affidavit attached to it by one of

     16   the -- IRS agent or the FBI agent.           And we have found in those

     17   affidavits many omissions and misstatements of fact.             And the

     18   Government filed their response, and they essentially said,

     19   Well, we don't think that you have the right to a Franks

     20   hearing just because you've set forth in detail in paragraph 4

     21   A through Q or O what it is that you thought was misstatements

     22   of fact or things that were left out, for example, the fact

     23   that Mr. Yioulos had engaged in embezzlement of funds from

     24   National Air Cargo before any transactions that involved

     25   Mr. Tew, and that that was a serious fact, for example, that


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                         144
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 22
                                                                      Colorado
                                                                         of 234   pg
                                  145 of 460

          20-cr-00305-DDD                  Motion Hearing                 10/12/2022   22


      1   the magistrate should have known about Mr. Yioulos and what he

      2   was saying and why the agents were using his statements to

      3   attempt to obtain a search warrant from the magistrates.

      4              The Government said that the case law required some

      5   sort of an offer of proof.        Or some cases talked about

      6   affidavits; some cases talked about testimony.               I'm prepared

      7   to put my clients on the stand to deal with each one of the

      8   issues A through O under the doctrine of the Simmons case,

      9   which says that if you are testifying in order to preserve a

     10   constitutional issue, you don't waive your Fifth Amendment

     11   rights and that can't be used against you.

     12              So I didn't know that I needed to put my clients on,

     13   so I got affidavits, and I had them each sign a declaration

     14   with those materials in it.         I don't know how to meet this

     15   burden without doing that.        That seems to me, reading the case

     16   law, that if I provide declarations, set forth specifics about

     17   what it is that we are saying are omissions or misstatements,

     18   that that should be sufficient to get a Franks hearing.                 If

     19   the case law says that I have a higher burden than that, I

     20   don't know how to meet it other than to put my clients on the

     21   stand, as I'm willing to do, as I say, this morning.

     22              THE COURT:       Well, I agree with you; I don't think

     23   it's necessary to put them on the stand.              I think the

     24   affidavits probably were necessary.               But my reading of the

     25   case law and my understanding of the Franks doctrine is it's


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       145
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 23
                                                                    Colorado
                                                                       of 234   pg
                                  146 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   23


      1   not enough to just say here are some things in the search

      2   warrant applications that weren't true.             You have to show that

      3   they were knowingly and recklessly untrue and that, even if I

      4   believe everything in the affidavits, that taking those out

      5   would mean there was no probable cause.             And I'm not sure you

      6   have met either of those burdens of showing knowing or

      7   reckless disregard for the truth or that even accepting all of

      8   these declarations that that defeats probable cause.

      9              MR. BORNSTEIN:      The only way I can answer the Court's

     10   question about that is I can present the omissions and the

     11   misstatements from the perspective of what the defense knows.

     12   I cannot call the agent and ask them, Why did you say this,

     13   you know, What belief did you have in saying this?              That's

     14   beyond my ability either to call the agents and ask them for

     15   information to support my motion, or at this hearing I don't

     16   know if I could call them to establish that.

     17              So the issue is, okay, there's a burden, there's a

     18   bar, and it's a fairly high bar, and I have to meet that

     19   fairly high bar, but I don't know how I can meet this first

     20   part you mentioned without the agents testifying themselves.

     21              THE COURT:       Well, it's always -- I mean, you're

     22   right, it's a very difficult burden for the defense to meet.

     23   I mean, that's just the law.         And the problem is, though, that

     24   we often, in the law -- the prosecution in many cases has to

     25   show that actions -- the defendants' actions were taken


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     146
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 24
                                                                   Colorado
                                                                      of 234   pg
                                  147 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   24


      1   knowingly.     They can't force the defendants to testify.           So we

      2   have to use, sort of, our view of all the evidence, and does

      3   that add up to a suggestion that these misstatements, these

      4   false facts, were a knowing and reckless -- or reckless effort

      5   to mislead the magistrate judge or -- so I think that's your

      6   burden.

      7              And then, secondarily, you still have to show that

      8   there wasn't probable cause without these things, and I'm just

      9   not sure that, even accepting everything that's said in the

     10   affidavits, even accepting your clients' statements as true,

     11   that defeats probable cause.         And that is more of a, kind of,

     12   straight legal question.

     13              MR. BORNSTEIN:      Now, that straight legal question, as

     14   I understand it, Your Honor, would involve perhaps taking the

     15   affidavit, striking those parts of the affidavit that relate

     16   to the matters that are either misstatements or omissions, and

     17   then doing an analysis to determine if the balance is

     18   sufficient or not.

     19              THE COURT:       I think that's right.

     20              MR. BORNSTEIN:      All I -- at this stage of the

     21   proceeding, my analysis of the affidavit is that it's no

     22   longer necessarily one that a magistrate ought to consider

     23   anymore.    The Government has not done that exercise either.             I

     24   guess neither of us have actually taken the exercise, excised

     25   everything that relates to the matters A through O of


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    147
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 25
                                                                   Colorado
                                                                      of 234   pg
                                  148 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   25


      1   paragraph 4 of the motion, and see what's left.

      2              THE COURT:       All right.    Thank you.   Why don't I give

      3   Mr. Fields a chance to respond.

      4              MR. FIELDS:      Thank you, Your Honor.      So first I want

      5   to dispel the notion that Franks is impossible to meet.              The

      6   usual Franks scenario is you are dealing with, let's say, a

      7   drug case, and you have a confidential informant or a witness

      8   who tells the agent something or at least the agents recount

      9   it in the affidavit.        Usually in the Franks context what will

     10   happen is defense counsel or a private investigator for

     11   defense counsel interview that witness, and the witness will

     12   say, I didn't tell the cops that; that was completely false.

     13   That's where you end up with a Franks hearing, because then

     14   you have got a witness who is going to say the agents lied in

     15   their affidavit.

     16              The reason it's so difficult to meet the burden here

     17   is that this is not that case.           It did not involve

     18   confidential informants.        It is an incredibly

     19   document-intensive fraud case where every aspect of the fraud,

     20   from the invoices to the bank records, is laid out in paper

     21   and described in the affidavits.           That makes a Franks

     22   challenge in this particular context really difficult to meet.

     23              THE COURT:       Let me ask you, really quickly, why is it

     24   at least not sort of like your hypothetical?            We have sworn

     25   statements that the defendants, at least for a number of these


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     148
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 26
                                                                     Colorado
                                                                        of 234   pg
                                  149 of 460

          20-cr-00305-DDD                 Motion Hearing                 10/12/2022    26


      1   things, would have personal knowledge about whether the

      2   statement in the warrant affidavit is true, that say that's

      3   not true.     So why is that not, at least in some ways, similar

      4   to your hypothetical?

      5               MR. FIELDS:     So in this particular case -- it's a

      6   demonstrative exhibit we haven't gone through yet, but if you

      7   look through the exhibit book here, Government Exhibit 43 lays

      8   out each of the false allegations and then, sort of, where in

      9   the search warrant it was.

     10               What we have here is a situation where these

     11   defendants have submitted post hoc affidavits, right, but they

     12   don't describe what the agents knew at the time.              And there's

     13   no allegation that at the time the agents knew all of these

     14   things.    That's what's required for Franks.            And, as Your

     15   Honor pointed out, you know, the Government is required to do

     16   this all the time when we accuse someone of a crime, what was

     17   your mens rea, what did you intend.              In this case defense

     18   counsel has access to all the discovery, sort of, when -- you

     19   know, a chronicle of the investigation, and has made no effort

     20   to try to actually use all of that to craft this narrative

     21   that the agents had certain evidence at the time and

     22   recklessly omitted it or that they had evidence at the time

     23   and just lied about it.       That's what's required in Franks.             So

     24   they don't meet the intent prong.

     25               The materiality prong here is also really


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                       149
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 27
                                                                      Colorado
                                                                         of 234   pg
                                  150 of 460

          20-cr-00305-DDD                     Motion Hearing               10/12/2022   27


      1   significant, Your Honor.        So, first of all, Mr. Bornstein says

      2   neither party has really done that analysis.               It's not the

      3   Government's analysis to do here, Your Honor.               He's the one

      4   who is saying that this affidavit is so deficient that, you

      5   know, there are these lies, and they are material, therefore,

      6   a magistrate judge was hoodwinked.               Usually in a Franks

      7   motion, every one I've handled in every District Court that I

      8   have ever been in across the United States, what you will get

      9   is defense counsel will submit an affidavit, and they will

     10   actually black out the portions that they think are false,

     11   right, so you can actually see it.               Then there will be a

     12   detailed analysis in the motion of how -- if you look at, sort

     13   of, all those black boxes in the warrant, Your Honor, all

     14   those, sort of, gaps, that's now their missing PC.

     15               That wasn't done here, and there's good reason for

     16   that.    Most of these are relatively, like, nitpicky things.

     17   So if you look at Government's Exhibit 43, one of the

     18   allegations they are saying is false is that National Air

     19   Cargo was a Florida corporation.

     20               THE COURT:      Does Mr. Bornstein have a copy of your

     21   exhibits?

     22               MR. FIELDS:     He does.

     23               THE COURT:      Okay.    Thank you.      Go ahead.

     24               MR. FIELDS:     I am prepared to go through each of

     25   them, sort of, piece by piece to talk about how they are


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                        150
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 28
                                                                     Colorado
                                                                        of 234    pg
                                  151 of 460

          20-cr-00305-DDD                 Motion Hearing                  10/12/2022      28


      1   immaterial, but I don't think we need to do that now.                  I will

      2   just use an example.

      3              So this Florida corporation.            Right?    First of all,

      4   the affidavit never says "Florida corporation."               So what they

      5   are saying is false isn't actually in there.                What it says is

      6   "a Florida company."        National Air Cargo was headquartered in

      7   Florida, had operations in Florida.              Its executives were in

      8   Florida.    And even if it wasn't a Florida corporation or a

      9   Florida company, it's hard to see how that would materially

     10   affect whether or not there's probable cause to believe that

     11   this company, outside the state of Colorado, was being fleeced

     12   out of millions of dollars through all these fake invoices.

     13              Similarly, you get some quibbling over did they have

     14   multiple joint accounts or just one account.                If you look at

     15   the affidavits in their totality, they are describing Michael

     16   Tew and Kimberley Tew each had lots of different bank

     17   accounts, and they were all using those bank accounts to, sort

     18   of, funnel the money that they were taking from National Air

     19   Cargo.    Whether one was joint or multiple were joint does not

     20   make a material difference as to whether or not there's

     21   probable cause.      Remember, that's a fair probability.              Reading

     22   the warrant in a holistic, nonhypertechnical way, could a

     23   magistrate judge have decided there's probable cause?                  Yes.

     24              I mean, for each of these warrants, each of the, sort

     25   of, e-mail accounts, basically the structure of it is:                 Here


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                          151
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 29
                                                                    Colorado
                                                                       of 234   pg
                                  152 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022   29


      1   is the scheme as laid out by a coconspirator and also as

      2   corroborated by all these bank records.             National Air Cargo,

      3   they, as a corporation, retain their e-mails.             You look

      4   through those e-mails, and you see an e-mail coming in from

      5   Meyers Consulting Group, Inc., with an invoice.             So they have

      6   already got that e-mail.        They know that e-mail account was

      7   used to submit the false invoices.            We have a fair probability

      8   to believe that that account was used to commit a crime.

      9   That's all you need to issue a warrant here.

     10              And all of these allegations they are making, even if

     11   they were false, would be relatively immaterial to that

     12   entire, sort of, calculation.

     13              But going back to it, none of them are recklessly

     14   false.    And there's no evidence here that these agents, who

     15   lay all this out thoroughly, lied or were intentionally trying

     16   to, sort of, hoodwink a magistrate judge to get a warrant they

     17   otherwise didn't think they were entitled to.

     18              THE COURT:       So let me just, sort of, ask you to

     19   expand on -- I mean, how do we -- I think you're right, a lot

     20   of these are nitpicky, and sort of individually none of them

     21   would undermine probable cause, in my view.             I think I agree

     22   with you that overall they don't undermine probable cause

     23   probably, but can't we, sort of -- if there's a long list of

     24   things that were wrong, isn't that generally how we do go

     25   about proving -- well, if over and over again statements are


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     152
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 30
                                                                   Colorado
                                                                      of 234   pg
                                  153 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022    30


      1   wrong, they tend generally to be statements that are more

      2   incriminating than -- if the mistakes all go in one direction,

      3   I guess, does that suggest -- isn't that how, at least

      4   mentally, we would go about deciding if something was done

      5   knowingly or recklessly?

      6              MR. FIELDS:      I think that could be one piece of it,

      7   Your Honor.       You're right, if there's, sort of, a litany of

      8   mistakes, that might be a piece of evidence showing that there

      9   was something intentional here, but it would only be one

     10   piece, and I'm not sure that that by itself would be enough to

     11   warrant a Franks hearing.        Mere negligence isn't enough.        We

     12   are talking about intentional, like, these agents got together

     13   and decided that, like, we need to lie to get a search

     14   warrant.    That is what Franks is all about.          Or a reckless

     15   disregard for the truth:       We don't actually care whether they

     16   committed a crime.      We are just throwing all this stuff in the

     17   affidavit and hoping we get a search warrant so we can gather

     18   the evidence.

     19              That is not what happened here, and none of these

     20   supposed false statements would even go to meet that

     21   threshold.

     22              And here I'll point out if we do the exercise, if we

     23   go through Government's Exhibit 43, a lot of what they are

     24   alleging as false, those statements aren't actually in the

     25   warrant.    So the Florida corporation, that's one example.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     153
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 31
                                                                    Colorado
                                                                       of 234   pg
                                  154 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022    31


      1   Another particular example is this --

      2              THE COURT:       Why don't we just go ahead and do it.

      3   Let's look at Exhibit 43.

      4              COURTROOM DEPUTY:      Your Honor, this is up on the

      5   screen too.

      6              THE COURT:       All right.    Thank you.

      7              MR. BORNSTEIN:      It's on the screen, though.        Yes.

      8              MR. FIELDS:      So we'll go through Government's

      9   Exhibit 43, and then we'll focus -- some of these only apply

     10   to some warrants; some apply to others.             So let's actually

     11   look at the ones that are in each of the affidavits.              Right?

     12              So statement 4(b) here is that Jonathan Yioulos

     13   engaged in embezzlement of funds from National Air Cargo

     14   before engaging in transactions with Mr. or Ms. Tew.              That is

     15   true, Your Honor.      The agents didn't know that at the time --

     16              DEFENDANT K. TEW:      Yes, they did.

     17              MR. FIELDS:      -- and there's no allegation that they

     18   did.

     19              THE COURT:       Miss Tew, you are going to have to remain

     20   silent, please.

     21              Go ahead, Mr. Fields.

     22              MR. FIELDS:      And they have presented no evidence that

     23   that was true.

     24              Even if it was true, the affidavit lays out the fact

     25   that Mr. Yioulos was defrauding National Air Cargo.              That's


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      154
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 32
                                                                   Colorado
                                                                      of 234   pg
                                  155 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022     32


      1   laid out in multiple paragraphs.          He's described as a

      2   coconspirator.     So the magistrate judge is already, sort of,

      3   on notice that this person who is making these statements is a

      4   fraudster.     So there's no intent to sort of deceive or mislead

      5   there.

      6              Jonathan Yioulos was threatened with a loss of

      7   employment if he refused to pay fraudulent invoices.             That

      8   statement in its precise form -- in that precise form is not

      9   in the affidavit.      If you go to paragraph 23 of Government's

     10   Exhibit 1, which is the kley@me, what you get here is that

     11   Mr. Yioulos stated that M. Tew and K. Tew threatened to alert

     12   NAC about Mr. Yioulos's prior payment of fraudulent invoices

     13   and that such disclosure could threaten Mr. Yioulos's

     14   continued employment.

     15              So you get sort of a paraphrase of that here.             They

     16   are alleging that that's false.          Even if that threat wasn't in

     17   there or there was some, like, issue involving Mr. Yioulos,

     18   it's hard to see how that fundamentally affects probable

     19   cause.    Remember, like, that doesn't actually say that there's

     20   no scheme going -- you take that out, it doesn't actually,

     21   sort of, reflect on whether or not a scheme was actually

     22   happening and whether or not kley@me.com was used to

     23   perpetrate this scheme.       So even if you take that out, it's

     24   still immaterial.

     25              4(d), that Michael Tew made the suggestion to use


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                      155
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 33
                                                                   Colorado
                                                                      of 234    pg
                                  156 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022    33


      1   phony invoices -- phony companies for invoices to NAC when it

      2   was Jonathan Yioulos who determined the mechanics.             So a

      3   dispute among the conspirators about who came up with the

      4   mechanisms to defraud National Air Cargo, again, doesn't

      5   fundamentally affect whether or not the scheme was actually

      6   taking place.      Instead, what you have got is a lot of finger

      7   pointing over this coconspirator was the one who did it, no,

      8   it was this one, or maybe actually just a confused

      9   recollection over who initially came up with the idea.               Again,

     10   immaterial to whether there was actually a fraud scheme and

     11   whether or not kley@me.com was used to perpetrate it.

     12              4(e).    Kimberley Tew said she wanted to take

     13   responsibility for the NAC fraud at the meeting held July 28,

     14   2020, at Yeti.     So in Government's Exhibit 1 that's paragraph

     15   65.   So, first of all, the statement that they are saying is

     16   false, again, isn't in there.         So the meeting at Yeti was

     17   actually on July 29th, not July 28th.            And what's actually

     18   stated in the affidavit is not, sort of, the verbatim

     19   allegation there but instead kind of in the middle of this

     20   paragraph -- this is on Government's Exhibit 1, and it's Bates

     21   labeled at the bottom SW 80.        So the actual statement in the

     22   affidavit is:      K. Tew also made statements indicating that the

     23   intent of her action was to take responsibility for the

     24   fraudulent payments originating at NAC in order to allow

     25   M. Tew to remain out of custody in order for him to parent


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     156
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 34
                                                                   Colorado
                                                                      of 234   pg
                                  157 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   34


      1   their children.      The exact statement that they are saying is

      2   false isn't in the affidavit.          What you have here is a classic

      3   agent paraphrase of a meeting at Yeti on July 29th, 2020.

      4   Even if you took that out that M. Tew indicated she wanted to

      5   take responsibility, okay, that actually shows that she's

      6   involved with the scheme, but there's other evidence,

      7   including the rest of the warrant describing the fact that

      8   she's getting a lot of the money into her accounts, describing

      9   her involvement in the scheme.          So, again, even if you strike

     10   that, we are still left with a situation where there's plenty

     11   of probable cause in the warrant.

     12               I would add, and actually I will do this at each

     13   point, if you eliminated each of these statements that I have

     14   been talking about, you would still have probable cause

     15   because you'd still have all of the evidence that National Air

     16   Cargo was not paying millions of dollars to the Tews for

     17   services that weren't being rendered and that they were

     18   getting the money.      Right?    That's fundamentally the fraud

     19   here.    And those bank accounts, a lot of them had kley@me.com

     20   as a contact address, showing that it's involved in the

     21   scheme.    That's all you need is a fair probability that a

     22   crime occurred and a fair probability that the evidence would

     23   be there.

     24               And so if we -- the next one is that Kimberley Tew

     25   communicated with Jonathan Yioulos about paying fraudulent


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    157
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 35
                                                                   Colorado
                                                                      of 234    pg
                                  158 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022    35


      1   invoices when it was actually he who insisted on only talking

      2   to Michael Tew.      So that's not in the affidavit, so that's an

      3   alleged omission.      If that was added to the affidavit, it

      4   actually would have made the affidavit stronger.            It would

      5   have shown that Kimberley Tew was communicating about paying

      6   fraudulent invoices.        So that is a particular one where if you

      7   added it to the affidavit, it would just make probable cause

      8   stronger.     So that's certainly not a basis for granting a

      9   Franks hearing.

     10               If we go to the next page, 4(g), you have:          Jonathan

     11   Yioulos received small amounts of Bitcoin for his part of the

     12   fraud.    That is in the affidavit.         The Tews in their affidavit

     13   sort of assert that they know he was getting more about that.

     14   When the agents proffered the Tews, they didn't say anything

     15   about that.       The evidence available at the time to the agents

     16   showed that he would get some Bitcoin from the Tews, and

     17   that's described in the affidavit, but he would often

     18   immediately give it back, usually because Kimberley Tew would

     19   say, I need it back, because she had a gambling debt or

     20   something else that she needed the money for.

     21               So this is also a statement where even if it turns

     22   out that Jonathan Yioulos was getting more money as part of

     23   the scheme, again, it doesn't fundamentally affect the

     24   probable cause to believe that there was a scheme.             Also

     25   doesn't fundamentally affect the probable cause to believe


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     158
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 36
                                                                    Colorado
                                                                       of 234   pg
                                  159 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022        36


      1   that kley@me.com was used to further the scheme.             So, again,

      2   immaterial.       All that would do is sort of assign relative

      3   culpability among the coconspirators, again, not really

      4   affecting probable cause.

      5               4(h), that Kimberley Tew had accounts and was on

      6   forms -- I think that should be "forums" -- on the Dark Net.

      7   That's not in the affidavit.        Also hard to see how whether or

      8   not she is or is not on the Dark Net really affects probable

      9   cause.

     10               4(i), so Kimberley Tew shared bank accounts (plural)

     11   with Michael Tew.      This is in paragraph 40 of Government's

     12   Exhibit 1.     And it's only in this one.         And so it's -- down at

     13   the bottom it's SW 74.       And it's in this, sort of,

     14   parenthetical just before the agent lists all of the various

     15   accounts.     It says, Some of the accounts listed are jointly

     16   held with M. Tew.      The idea, I guess, being since that -- only

     17   one of these accounts is actually joint.            It's the one ending

     18   8486.    The other ones are actually held by Kimberley Tew.                So

     19   the idea, I guess, is that this statement is false because

     20   it's "accounts (plural)" when only one is actually a joint

     21   account.

     22               Again, hard to see how that's material especially

     23   since at other points in the affidavit it's clearly described

     24   that both were using these accounts.             So, for instance, if you

     25   go to SW 70, paragraph 16 of Government's Exhibit 1, the agent


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                          159
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 37
                                                                    Colorado
                                                                       of 234   pg
                                  160 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022        37


      1   makes it very clear that this is a scheme where ACH payments

      2   from National Air Cargo were made into accounts owned and

      3   controlled by M. Tew and sometimes also by his wife, K. Tew.

      4   And then it talks about some of the accounts were personal

      5   accounts belonging to one or the other.             Hard to see how one,

      6   sort of, arguable misstatement about whether or not they had

      7   more than one joint account really affects probable cause

      8   under these circumstances.        And, again, add up each of these,

      9   and we're still not even close to, sort of, piercing the

     10   fundamentals here, which is was there a scheme, were they

     11   involved, and is evidence at kley@me.

     12              4(j).    Michael Tew's bank deposits came from the

     13   National Air Cargo fraud.        That statement is not in any of the

     14   affidavits, so I guess that would be an alleged omission.                  If

     15   the agents had added that, it would have increased probable

     16   cause, not decreased it.       But fundamentally here the agents

     17   were never alleging that every deposit into their bank

     18   accounts was from the fraud.        Most were, because we are

     19   talking about $5 million, which is a lot of money, but not all

     20   of them.    He had -- he was doing, sort of, other -- this was a

     21   side hustle.      He did have a real job, and the agents have

     22   never argued otherwise, and nothing in the affidavit says

     23   otherwise.

     24              4(k) is sort of similar to 4(c).           It's that thing

     25   about the threats, so I have already addressed that.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                          160
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 38
                                                                    Colorado
                                                                       of 234   pg
                                  161 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022   38


      1              4(l).    Kimberley Tew accessed fraudulent payments

      2   from NAC in a variety of bank accounts.             That exact statement

      3   is not in any of the warrants, but sort of being charitable, I

      4   have pointed out where you might actually, if you, sort of,

      5   read it generally, find sort of a paraphrase of that

      6   sentiment.

      7              So, again, Government's Exhibit 1, this is the

      8   closest one to it:      He advised that both he and K. Tew

      9   accessed the fraudulent proceeds from National Air Cargo in a

     10   variety of bank accounts.        So they are arguing that that's

     11   false.    If you go through, you can see how the agents in the

     12   next -- in the next one, next part of Government's Exhibit 1,

     13   paragraphs 42 through 56, actually describe in some detail

     14   exactly the, sort of, flow of money.             The bank records

     15   themselves sort of bear that out.           And even if, again, you

     16   strike that -- let's assume that it's false for purposes of

     17   this affidavit -- does it affect materiality?             And the answer

     18   to that is no, because you still get specific instances where

     19   bank accounts associated with the kley@me.com address are used

     20   to access funds derived from National Air Cargo which were not

     21   authorized to be paid by National Air Cargo.             So still scheme,

     22   participants, fair probability that there's evidence here.

     23              The next page.     The next page, page 3.        Just if you

     24   scroll down.      I can actually pull it up on the document camera

     25   if it's easier.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     161
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 39
                                                                    Colorado
                                                                       of 234   pg
                                  162 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022    39


      1               So the next one is 4(m).        This is the Florida

      2   corporation.      I have already addressed that one.

      3               Then 4(n) and 4(o).     4(n) is:     Invoices submitted to

      4   National Air Cargo were from unapproved vendors.             And 4(o) is:

      5   The payments via ACH were not approved.

      6               So, first of all, neither of these statements in

      7   those exact terms are in the affidavit.             What the affidavit

      8   does describe, instead, is the process by which Jonathan

      9   Yioulos would pay the sham companies set up by the Tews.               So

     10   it does talk about how those companies were not approved to be

     11   paid by National Air Cargo.

     12               Or Payments via ACH were not approved.          That

     13   statement -- what they are getting at here is Jonathan

     14   Yioulos, a coconspirator, would approve the payments, but

     15   that's different than National Air Cargo saying that they are

     16   approved.     So that's sort of a weird quibbling about the

     17   evidence, but doesn't -- if you read these paragraphs in their

     18   entirety -- so in Government's Exhibit 1 it's paragraphs 15,

     19   16, and 17 -- these are paragraphs sort of summarizing what

     20   the Tews told the agents in their proffers, so that they have

     21   already admitted to be true, what Jonathan Yioulos said, and

     22   also what happened on that pretextual call.

     23               So the way the scheme worked is that an insider,

     24   Jonathan Yioulos, would approve payments to these sham

     25   companies.     Now, National Air Cargo did not have good internal


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      162
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 40
                                                                    Colorado
                                                                       of 234   pg
                                  163 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022    40


      1   controls.     The coconspirators were basically exploiting all

      2   those internal controls.       So I think what they are getting at

      3   here is that National Air Cargo didn't really have a system

      4   for approving vendors.       And National Air Cargo when it comes

      5   to, sort of, ACH payments was sort of loose about them.               But

      6   this is not a false statement.         And even if it was, even if we

      7   are talking about, sort of, internal controls by National Air

      8   Cargo, again, that doesn't fundamentally affect the probable

      9   cause here, which is:       Was National Air Cargo being fleeced by

     10   these coconspirators?       Yes.   Millions of dollars were leaving

     11   National Air Cargo for services that were never rendered, and

     12   it ended up in the Tews' bank accounts, and those bank

     13   accounts were associated with kley@me.com.

     14               Or, in other instances, now if we look at the other

     15   warrants, Michael Mora, the Political Media, or the Chris

     16   Rincon account, those were e-mail accounts set up to further

     17   the scheme.       So those accounts send false invoices to give the

     18   scheme the appearance of legitimacy.             And that's all laid out

     19   in the affidavits.

     20               All of this is to say, Your Honor, that, again, even

     21   if you assumed that the agents were just lying because they

     22   were trying to get a warrant they otherwise weren't entitled

     23   to, none of these would be material.             And the Tews here are

     24   not really quibbling with a vast majority of the affidavit

     25   which lays out in detailed terms how this fraud took place.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      163
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 41
                                                                   Colorado
                                                                      of 234   pg
                                  164 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   41


      1   So for a Franks hearing you need both of those prongs, and the

      2   Government's contention is that they haven't met either of

      3   those.

      4              THE COURT:       All right.    Thank you, Mr. Fields.

      5              Mr. Bornstein, why don't I give you a chance to

      6   respond.

      7              MR. BORNSTEIN:      Thank you.

      8              Let me begin by saying that, as the affidavit spells

      9   out, and we don't argue, that Mr. Tew worked for National Air

     10   Cargo for many years.        He was essentially their controller or

     11   their financial officer, even though -- for many of those

     12   years.    So the matters that are being stated here for a large

     13   part are based on his knowledge, which is why he submitted the

     14   affidavit about what occurred.           And the actual issue about

     15   whose bank accounts were involved in terms of Miss Tew, she

     16   would know that information because that's within her purview,

     17   within her knowledge.

     18              But let me deal with this, because "materiality" is a

     19   word that is amorphous.        I mean, what's material to one person

     20   may not be material to another.           But my position is that there

     21   are so many of these things that build on top of each other

     22   and are repeated in warrant after warrant, affidavit after

     23   affidavit.     As the Government says, for example, in number

     24   4(c) this appears in paragraph 14 of three separate

     25   affidavits, paragraph 23 of a fourth affidavit, and paragraph


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    164
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 42
                                                                   Colorado
                                                                      of 234    pg
                                  165 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022       42


      1   35 of a fifth affidavit, that Jonathan Yioulos was threatened

      2   with the loss of employment.         Now, the point of that that I

      3   make -- the point of that being pointed out as a

      4   misstatement -- and, again, I want -- it doesn't have to be

      5   intentional; it doesn't have to be lying; it can be reckless

      6   disregard for the truth -- is that the Government found out or

      7   should have found out and apparently did find out eventually

      8   that Jonathan Yioulos was not telling them the truth.                He was

      9   embellishing statements that he made to them at the beginning

     10   of the case.      And he told them that the reason he was involved

     11   in this was that he was being threatened -- that's the word,

     12   "threatened" -- that he would be turned in to NAC and would

     13   lose his employment.

     14              THE COURT:       Right, but they didn't know that at the

     15   time of these affidavits, right, the agents, when they wrote

     16   these warrant applications?

     17              MR. BORNSTEIN:      Well, maybe not at the first one, but

     18   by the time they -- by the time they got to the ones that were

     19   in September -- not the ones in July -- the ones that were in

     20   September and the one that was in December, they should have

     21   known that by that time, because eventually -- we know that

     22   eventually it shows up in their statements, um, the, uh, the

     23   statement to the Court in advance of plea for Mr. Yioulos,

     24   that he was not threatened.         He was a willing participant in

     25   this fraud of NAC.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                        165
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 43
                                                                   Colorado
                                                                      of 234   pg
                                  166 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022   43


      1              Excuse me for a minute, Your Honor.

      2              THE COURT:       Mm-hmm.

      3        (The defendants and counsel confer.)

      4              MR. BORNSTEIN:       So that Mr. Yioulos tried to tell the

      5   agents at the beginning in July of 2020 that, Oh, I did this

      6   because whatever I did I was being threatened by Mr. Tew or

      7   Mrs. Tew, and that's the reason I was involved, and that they

      8   would get me fired unless I kept going on this.            Well, that

      9   turns out to not be true.        He was -- number one, had devised

     10   this ability to steal from NAC all by himself way before these

     11   events started.      And, number two, if you listen, and we have

     12   listened, to the telephone conversations which the Government

     13   had, for example, like the telephone conversation that

     14   occurred on July 7th, the pretext call, there's nothing in

     15   that pretext call that would suggest to an agent that

     16   Mr. Yioulos was acting because he was threatened with his loss

     17   of employment.     That's number 4(b) and 4(k).

     18              4(a), let's go to 4(a).         4(a) appears in -- they have

     19   put down here GX 5.         I'm not sure, reading their exhibit,

     20   which search warrant GX 5 is offhand, but whatever it is it's

     21   probably one of the later ones.           I could go look it up, if it

     22   makes a difference.

     23              THE COURT:       I don't think it does.     My guess is it's

     24   the -- what is the date on this one -- July 31st, 2021, search

     25   warrant.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    166
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 44
                                                                      Colorado
                                                                         of 234   pg
                                  167 of 460

          20-cr-00305-DDD                  Motion Hearing                 10/12/2022   44


      1              MR. BORNSTEIN:      Is that a 2021, which is --

      2              THE COURT:       Or, I'm sorry, 2020.

      3              MR. BORNSTEIN:      Okay.    The issue in this is that

      4   Mr. Yioulos was trying to tell the agents, erroneously, that

      5   as far as July 1st of 2020 he was still getting text messages

      6   from Kimberley Tew to participate in this.              It turns out that

      7   that text message was not from her.               It wasn't from her

      8   account, and it wasn't from her phone number.               And that was

      9   something that the agents could easily have determined that

     10   Mr. Yioulos misled the agents.

     11              So part of the issue is Mr. Yioulos is misleading the

     12   agents about some facts.        They, in turn, give it to the

     13   magistrate and mislead the magistrate as to some of the facts

     14   necessary to establish probable cause.

     15              4(d).    Michael Tew made the suggestion to use the

     16   phony companies.      It turns out that we know that Mr. Yioulos

     17   used phony companies to embezzle money for himself before

     18   2018, before the alleged fraud started.              So that he was the

     19   one who had determined, as a CPA, which he is, and the

     20   Government knew that, and the Government knew that he was in

     21   charge of paying the invoices and that he was the financial

     22   officer at that time of the company and had taken Mr. Tew's

     23   place as the financial officer of that company, that he had

     24   used phony invoice matters.         We have an e-mail from the agents

     25   in which they are asking NAC, Please look up these different


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       167
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 45
                                                                   Colorado
                                                                      of 234   pg
                                  168 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022   45


      1   invoices that predate the fraud, and they come from

      2   Mr. Yioulos.      So the agents at some point knew that there was

      3   phony invoices that predated Mr. Yioulos's explaining to

      4   Mr. Tew, according to the Government, how to do this fraud

      5   with the phony invoices for phony companies.            The magistrate

      6   should have known that.       That might have made a difference.

      7   Maybe any one of these wouldn't make a difference, but when

      8   you add them all up and accumulate them, that's where we say

      9   they do make a difference.

     10              4(e).    At the time of this meeting at Yeti, which is

     11   a store, I guess, in Cherry Creek, Miss Tew shows up at the

     12   meeting, and she makes the statement, which is misinterpreted

     13   by the agents.     The statement they interpret says that she

     14   wanted to take responsibility for the NAC fraud.            Well, at

     15   that point in time she did not even know what the agents were

     16   investigating.     She couldn't take responsibility for the NAC

     17   fraud because she didn't know that that's what the agents were

     18   talking about.     In fact, she thought that the agents were

     19   talking about an issue with American Express cards, that had

     20   nothing to do with this particular part of the NAC fraud, or

     21   the agents were talking about a meeting that she had had with

     22   government agents previously, the prior January, with regard

     23   to her transactions in Bitcoin, which relates to another

     24   matter which is the Government knew, should have known,

     25   because the agents had interviewed her in January of '20, well


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    168
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 46
                                                                    Colorado
                                                                       of 234    pg
                                  169 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022    46


      1   before these matters came to arrest, that she had been

      2   interviewed about what her knowledge was with dealing with

      3   various individuals on the Bitcoin cryptocurrency market and

      4   that she had been recruited to potentially be an informant for

      5   the government on Bitcoin transactions for people that they

      6   were investigating.         The Government should have known that

      7   because there is a e-mail from the agent who had interviewed

      8   her, and the e-mail back to the agent, saying, Leave this

      9   alone; we're investigating her now for something new.                 And the

     10   agent sends a e-mail that says, Good, we're going to cease all

     11   operations and contact with Miss Tew, and we're going to not

     12   use her as a possible informant or government cooperator.

     13              Which then goes back to another one of these issues,

     14   number 4(l) -- h, i, j, k, l -- 4(l).             Kimberley Tew accessed

     15   fraudulent payments from NAC in a variety of bank accounts.

     16   What the agents never said was that she had been involved and

     17   had this Bitcoin business in which she made a substantial

     18   amount of money that went into these bank accounts from a

     19   legitimate Bitcoin business that she had and that she was

     20   working on over the course of many years that provided money

     21   that went into bank accounts and that was in addition to any

     22   employment that Michael Tew had that also had money going into

     23   these bank accounts.        The affidavit would lead the magistrate

     24   to believe that these bank accounts were filled with fraud

     25   money, that's all that was in there was fraud money, and,


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      169
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 47
                                                                   Colorado
                                                                      of 234   pg
                                  170 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022   47


      1   therefore, anything that came out of these bank accounts was

      2   fraud money.      And that's how they misled the magistrate,

      3   because that was not a true fact or a true set of

      4   circumstances.

      5              Number 4(f), the Government calls that an omission,

      6   that Kimberley Tew communicated with Jonathan Yioulos about

      7   paying fraudulent invoices. . .          They got this -- they made

      8   a -- they didn't understand this.           What we meant in 4(f) was

      9   that the agents said that Yioulos and Kimberley Tew

     10   communicated about paying fraudulent invoices.            What the fact

     11   is is that at a very early point in time Mr. Yioulos cut

     12   Miss Tew off from any contact by phone and insisted that the

     13   only person he would talk to was Michael Tew.            And so for

     14   significant periods of time there is no communication with

     15   Jonathan Yioulos except there was some -- some communication

     16   in 2018.    In 2018 they cut her off -- or he cut her off, and

     17   so that statement is a misunderstanding and, therefore, a

     18   misrepresentation of the relationship between Yioulos and

     19   Kimberley Tew.

     20              Again, materiality is if you take all of these and

     21   you present them to the magistrate, does the magistrate start

     22   to say:    I'm not sure I should issue this search warrant.

     23   These matters are material to me.           They do change the

     24   calculus, and, therefore, I'm not going to issue a search

     25   warrant if you tell me these matters.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    170
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 48
                                                                   Colorado
                                                                      of 234   pg
                                  171 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022   48


      1              That's speculation.      I understand that's speculation.

      2   I can't speak for what's in the magistrate's mind or what the

      3   magistrate would or would not have done, but we're left after

      4   the fact to go over these matters, and then Your Honor makes

      5   the determination of materiality one way or the other.

      6              For example, the Government makes it sound like all

      7   of Mr. Tew's bank deposits came from fraud.            That's 4(j).

      8   That's not a true fact.       As even the Government admits now, he

      9   had income, separate income.        Miss Tew had separate income.

     10   So to tell the magistrate, well, all this money, bank

     11   deposits, came from the fraud is misleading.

     12              Kimberley Tew shared bank accounts with Michael Tew.

     13   This is an attempt by the affidavit writer to say that they

     14   are working hand in glove, they're working absolutely together

     15   on this fraud, therefore, issue the warrant for her Apple

     16   account because they shared these bank accounts, and any money

     17   that came to Michael Tew was shared with Kimberley Tew.              Well,

     18   the fact is that the primary accounts that were done during

     19   2018 and up to some date in 2019 were a bunch of variety of

     20   banks.

     21              The true fact is that Mr. Tew was working for a

     22   company that was in the cannabis industry.           And whenever a

     23   bank found out that he was getting money that was related to a

     24   company called Cannasys, in the banking industry, as we know,

     25   banks got scared and stopped those accounts, so he had to find


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    171
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 49
                                                                    Colorado
                                                                       of 234   pg
                                  172 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022   49


      1   another account.      Eventually, as the Government says, they had

      2   an account at Navy Federal Credit Union.            In that one the only

      3   account that they shared was one, one checking account, not a

      4   multiple set of accounts.        So the magistrate may have thought,

      5   well, these people are working together with all these

      6   accounts when that's not true.

      7               Where else am I here?      With regards to Payments via

      8   ACH were not approved, the point about that is, Your Honor,

      9   that under the NAC bookkeeping system, if they paid by check,

     10   they had to have two signatures.          So Mr. Yioulos would not pay

     11   by check.     Mr. Yioulos was allowed, under the system, if he

     12   paid with an ACH payment, that he could do it solo, by

     13   himself.    And that was how he did that.           He was the financial

     14   officer of the company.       If he sent an ACH payment, literally

     15   that was an approved payment from the company even if it

     16   turned out to be to a vendor that didn't exist.

     17               Which is then 4(n), that Invoices submitted to NAC

     18   were from unapproved vendors.         There was no way in -- there

     19   was no system in National Air Cargo for this vendor is

     20   approved, this vendor isn't approved.            And that should have

     21   been learned early on because in July, around July 4th or 5th

     22   of 2020, the agents went to Buffalo, New York.             There they met

     23   with the accountant for the company named Abby Schwartz, they

     24   met with the president of the company, and they had an

     25   opportunity to learn the bookkeeping system and how the


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     172
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 50
                                                                   Colorado
                                                                      of 234   pg
                                  173 of 460

          20-cr-00305-DDD                 Motion Hearing               10/12/2022   50


      1   bookkeeping system worked.

      2              So basically I think I've gone through all of them,

      3   but putting them all together you see exactly where they --

      4   where we are now.

      5              I'm looking at a search warrant affidavit.           I'm not

      6   sure which one it is in the list, but at paragraph 35, and it

      7   says, According to Mr. Yioulos, M. Tew, and at times K. Tew as

      8   well, continued to ask and demand that he process fraudulent

      9   invoices even after M. Tew's employment at NAC was terminated.

     10   Mr. Yioulos described that between June of 2018 and early July

     11   of 2020 K. Tew contacted him via phone and/or text messages on

     12   multiple occasions.

     13              Well, back in July 7th when Mr. Yioulos was

     14   interviewed, they got his phone.          They asked for his phone; he

     15   gave up his phone.      They looked in his phone, and they well

     16   could have seen and should have seen that between June 2018

     17   and early July '20 Kimberley Tew did not contact him via phone

     18   or text messages on multiple occasions.

     19              They then say, Mr. Yioulos described telling Michael

     20   Tew that he had attempted to block Kimberley Tew on his phone

     21   but that she still was able to get through by using other

     22   phone numbers.     That's not a true statement either.

     23              Paragraph 36 of this particular affidavit says,

     24   Mr. Yioulos also stated that while he exchanged various

     25   cryptocurrencies with M. Tew and/or K. Tew at various points


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    173
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 51
                                                                     Colorado
                                                                        of 234   pg
                                  174 of 460

          20-cr-00305-DDD                  Motion Hearing                10/12/2022        51


      1   during the scheme, he only retained a few Bitcoin for his own

      2   personal benefit.      We've gone back and looked, and the

      3   agents -- from the agents obtaining his bank records, that he

      4   had hundreds of thousands of dollars worth of Bitcoin, not,

      5   quote, retained a few for his own personal benefit.

      6               All I can say is, you know, the Court will make its

      7   own determination.       That's why we submitted this motion.

      8   That's why we believe that there is substantial evidence that

      9   shows that there were misstatements.              My understanding of the

     10   law is that if we meet the hurdle, then we get a hearing.                   At

     11   that hearing I could call the agents.             At that hearing I could

     12   call them as adverse witnesses, and I could go through these

     13   with them and demonstrate why they should have known that this

     14   was false at an earlier stage and why they put it into their

     15   warrant -- or affidavit for the warrant anyway.

     16               So just to go back, we're asking for a hearing, and

     17   that's what the issue is for the Court.             Do we get a hearing?

     18   If we have that hearing, I intend to subpoena the agents and

     19   fill in the other material with respect to why it was

     20   reckless.     It doesn't have to be intentional.           It can be a

     21   reckless matter.      But that's what I would do if the Court

     22   granted me a hearing.        Thank you.

     23               THE COURT:      Thank you, Mr. Bornstein.

     24               So I have reviewed the briefs.           I appreciate

     25   everyone's arguments.        I appreciate going through the


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                           174
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 52
                                                                    Colorado
                                                                       of 234   pg
                                  175 of 460

          20-cr-00305-DDD                 Motion Hearing                10/12/2022        52


      1   affidavits.       I don't believe that a hearing is appropriate in

      2   this case.     As everyone recognizes, it's a very high bar to

      3   even get the hearing.       I understand that the defendants have

      4   put forward a number of statements that are false.              As the

      5   Government pointed out, though, a number of those are only

      6   false in a very technical way that don't really affect the

      7   statements as they are included in the affidavits.

      8              In addition, a lot of the statements are things that

      9   apparently Mr. Yioulos, according to the defendants, lied to

     10   the investigators.      And the investigators, I suppose, could

     11   have done more to follow that up, as Mr. Bornstein points out,

     12   but that is not enough to meet this fairly high standard.                  As

     13   the Colkley case points out, requiring that sort of thing

     14   before a search warrant is obtained would sort of put us in an

     15   endless loop.      And so the fact that Mr. Yioulos may have been

     16   misleading investigators at times I don't think suggests that

     17   there was knowing, intentional, or reckless disregard for the

     18   truth with most of these statements.             I do think there are a

     19   few things in there that seem to have been mistakes or

     20   overstatements.      Most of them are quite technical.          Even if I

     21   removed all of the statements that the defense pointed to,

     22   though, these are lengthy, detailed -- lengthy, detailed

     23   affidavits, and to me they don't undermine the probable cause.

     24   The discussion of threats or that sort of thing, these are

     25   not -- these were not extortion or anything.             The search


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                          175
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 53
                                                                      Colorado
                                                                         of 234    pg
                                  176 of 460

          20-cr-00305-DDD                  Motion Hearing                 10/12/2022    53


      1   warrants weren't based on threats.            They were based on

      2   potential fraud investigation.           And so, in my view, there

      3   remains probable cause, so under, sort of, both prongs of this

      4   test I don't think a Franks hearing is necessary.

      5              So, with that, I think we need to take a bit of a

      6   break at this time.         Why don't we try to come back at 11:20 to

      7   at least get started on -- and I would like to at least get

      8   started on the motions to suppress.               I know I suggested an

      9   order.    My usual practice with a motion to suppress, since the

     10   burden is, sort of, on the Government, is to let the

     11   Government go first, and then let you cross-examine any

     12   witnesses, and we'll have a bit of an argument on each one.

     13   So that will be my plan.

     14              Mr. Fields, I guess my intention was to start with

     15   200, but we can start with another one if you prefer.                   But for

     16   now why don't we take a break until, say, 11:20.

     17        (Proceedings recessed 11:04 a.m. to 11:22 a.m.)

     18              THE COURT:       All right.    Let's take our seats.

     19              As I indicated, I think we should turn now to the

     20   motions to suppress.        I've read the motions and the briefing

     21   on them, so you don't need to reiterate the arguments, but,

     22   Mr. Fields, which do you think we should start with?

     23              MR. FIELDS:       Your Honor, my proposal is that we start

     24   with the motion to suppress the statements and then the

     25   photographs of the apartment, and we start by, sort of, laying


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                        176
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 54
                                                                   Colorado
                                                                      of 234   pg
                                  177 of 460

          20-cr-00305-DDD                  Romero - Direct             10/12/2022   54


      1   down that testimony, and then we can have argument on all the

      2   motions.    ECF 200 I think is mostly legal because it's about

      3   the reach of Carpenter, so we don't need to, sort of, start

      4   with that.

      5              THE COURT:       All right.    That works for me.    Why don't

      6   you go ahead, then, with your evidence.

      7              MR. FIELDS:      Thank you, Your Honor.      The United

      8   States called Anthony Romero.

      9              COURTROOM DEPUTY:       Please raise your right hand.

     10         (The witness was sworn.)

     11              COURTROOM DEPUTY:       Please be seated.

     12              Please state your name, and spell your first and last

     13   names for the record.

     14              THE WITNESS:      My name is Anthony Romero.

     15   A-n-t-h-o-n-y, R-o-m-e-r-o.

     16        ANTHONY ROMERO, GOVERNMENT'S WITNESS, DIRECT EXAMINATION

     17   BY MR. FIELDS:

     18   Q.    It's still the morning, so good morning.

     19   A.    Good morning.

     20   Q.    Mr. Romero, or Special Agent Romero, where do you work?

     21   A.    I work at the Denver Field Office for the Internal Revenue

     22   Service.

     23   Q.    Do you work in a particular part of the Internal Revenue

     24   Service?

     25   A.    Criminal investigation.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    177
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 55
                                                                   Colorado
                                                                      of 234   pg
                                  178 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   55


      1   Q.   What is your title?

      2   A.   Special agent.

      3   Q.   What are your current responsibilities?

      4   A.   I work on an organized crime strike force with the FBI.

      5   Q.   Did you have those same responsibilities back in 2020?

      6   A.   I did not.

      7   Q.   What did you do then?

      8   A.   I worked criminal tax cases and money laundering cases.

      9   Q.   Have you received training in interviewing witnesses?

     10   A.   I have.

     11   Q.   What kind of training?

     12   A.   The training was at FLETC, Federal Law Enforcement

     13   Training Center.      And basically it just dealt with how to talk

     14   to people, how to ask questions, and how to hopefully get

     15   answers that are truthful.

     16   Q.   Do you get training on when to issue what's called a

     17   Miranda warning?

     18   A.   I am, yes.    I do.

     19   Q.   Describe that to us.

     20   A.   Typically when someone is being detained, you want to read

     21   them the Miranda warning once somebody is being arrested.

     22   Q.   In your mind, what does it mean for somebody to be

     23   detained?

     24   A.   When they are no longer free to move about.           When their

     25   freedom has been curtailed, I guess you could say.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    178
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 56
                                                                   Colorado
                                                                      of 234   pg
                                  179 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   56


      1   Q.   During your years in the IRS, approximately how many

      2   interviews would you say you have done?

      3   A.   Hundreds.

      4   Q.   Sometimes when you are doing those interviews, are there

      5   safety concerns?

      6   A.   There are, absolutely.

      7   Q.   How do those come up?

      8   A.   When you don't know the situation.           When tensions are

      9   high.    When somebody becomes erratic, so to say.          Typically if

     10   you are unfamiliar with the surroundings, say a closed door or

     11   something like that, that could be agent safety, agent safety

     12   issue.

     13   Q.   When you have those safety concerns, what do you do to

     14   address them while you are conducting an interview?

     15   A.   Typically what I try to do is I try to keep the situation

     16   calm, and the individual in question I try to keep them with

     17   me at all times.

     18   Q.   When you say "keep them with you," do you detain them?

     19   A.   Oh, no.      I don't have the right to detain them, no.

     20   Q.   So how do you keep them with you?

     21   A.   I ask them.

     22   Q.   Are you familiar with an investigation of Michael Aaron

     23   Tew and Kimberley Tew?

     24   A.   I am, yes.

     25   Q.   How did you become familiar with it?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    179
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 57
                                                                    Colorado
                                                                       of 234   pg
                                  180 of 460

          20-cr-00305-DDD                 Romero - Direct               10/12/2022   57


      1   A.   I became familiar with it on July 8, 2020.            I was asked to

      2   respond to an address in Cherry Creek, Denver.             At that point

      3   I knew nothing about the case, but I did know that there was

      4   concern at the time that Mr. and Mrs. Tew were going to flee

      5   the country.

      6   Q.   Who asked you to do that?

      7   A.   Special Agent Lisa Palmer and Supervisor Special Agent

      8   Emil Stark.

      9   Q.   Lisa Palmer, what was her role in the investigation?

     10   A.   She is one of the two case agents.

     11   Q.   What is a case agent?

     12   A.   Case agent is typically somebody who is in charge of the

     13   case.    They delegate things to be done.           They write up

     14   affidavits and such.        They are the main person on a case.

     15   Q.   So when you were asked to go to this address, were you

     16   asked to do anything in particular?

     17   A.   Basically, I was asked to go and surveil.            They wanted to

     18   know if they were there.       So my objective was to find if they

     19   were there, and, if so, I was to basically maintain

     20   surveillance on the location.

     21   Q.   When you say "maintain surveillance," what does it mean to

     22   conduct surveillance in a situation like this?

     23   A.   Watch the comings and goings of who is coming into the

     24   building, who is leaving the building, specifically if the

     25   Tews were coming or going.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     180
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 58
                                                                    Colorado
                                                                       of 234   pg
                                  181 of 460

          20-cr-00305-DDD                 Romero - Direct               10/12/2022   58


      1   Q.   What was the identified address for Michael Tew?

      2   A.   It was 3222 East First Avenue, Denver, Colorado.

      3   Q.   All right.

      4                MR. FIELDS:    And if we could, let's see if we can

      5   pull up Government's Exhibit 6, page 2.             That's not in

      6   evidence.

      7   A.   I'm sorry.    What was that again?

      8   BY MR. FIELDS:

      9   Q.   Government's Exhibit 6, page 2.

     10   A.   Okay.    I have that.

     11   Q.   Let's see.

     12                MR. FIELDS:    Just two digits, 06, and then page 2.

     13                May I have just a moment, Your Honor, to do some

     14   troubleshooting?

     15   BY MR. FIELDS:

     16   Q.   Do you recognize this photograph?

     17   A.   I do.

     18   Q.   What is it?

     19   A.   That is the apartment complex where the Tews were living

     20   at the time.

     21   Q.   Now, if we go to page 2 or, sorry, page 3, just down one,

     22   what is that?

     23   A.   That's going to be entrance, I believe, to the lobby of

     24   the apartment complex they lived in, the Steele Creek

     25   Apartments.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     181
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 59
                                                                   Colorado
                                                                      of 234   pg
                                  182 of 460

          20-cr-00305-DDD                  Romero - Direct             10/12/2022   59


      1               MR. FIELDS:     Your Honor, at this time I'd move for

      2   the admission of Government's Exhibit 6, pages 2 and 3.

      3               THE COURT:      Any objection, Mr. Bornstein?

      4               MR. BORNSTEIN:     No objection for this hearing.

      5               THE COURT:      All right.    It's admitted.

      6        (Government's Exhibit 6:2-3 admitted.)

      7   BY MR. FIELDS:

      8   Q.   Is there a lobby area to the building, or was there at the

      9   time?

     10   A.   There was.

     11   Q.   Where were the residences located?

     12   A.   The residence was located on the second -- I believe there

     13   are seven or eight floors in that building -- second of the

     14   seven or eight floors.

     15   Q.   Approximately what time did you arrive at the apartment

     16   building?

     17   A.   1 o'clock.

     18   Q.   Who was with you?

     19   A.   I was with four other agents:           Agents Stark, Tweet,

     20   Garrett, and -- it's difficult to spell --

     21   M-o-d-o-l-t-s-t-o-v [sic].

     22   Q.   Is that Molotsov?

     23   A.   I believe so, yes.

     24   Q.   How were you all dressed?

     25   A.   Casually.    I believe I had a long shirt on.         Everyone else


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    182
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 60
                                                                      Colorado
                                                                         of 234   pg
                                  183 of 460

          20-cr-00305-DDD                  Romero - Direct                10/12/2022   60


      1   had a long shirt on.

      2   Q.   Were you armed?

      3   A.   We were.

      4   Q.   Where were your firearms?

      5   A.   Concealed underneath our shirts.

      6   Q.   Why were they concealed?

      7   A.   By IRS it's policy not to show your weapons when you are

      8   working, period.

      9   Q.   What did each of you do when you arrived at the apartment

     10   building?

     11   A.   It was our objective to determine whether the Tews were

     12   there, so we looked at the garage first, and we did locate

     13   their vehicle.

     14   Q.   Then what did you do?

     15   A.   At that point we positioned two agents in the lobby by the

     16   elevator, and myself and two additional agents went up to the

     17   second floor, and we positioned ourself by unit 224, which was

     18   their residence.

     19   Q.   What did you do after you positioned yourself?

     20   A.   Really nothing.        We just waited.        We had determined, to

     21   the best of our knowledge, that they were there, so our

     22   objective was not to make contact.             It was, rather, to follow

     23   them if they went somewhere and, again, to observe comings and

     24   goings.

     25   Q.   What happened at approximately 2:50 p.m.?


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       183
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 61
                                                                      Colorado
                                                                         of 234    pg
                                  184 of 460

          20-cr-00305-DDD                 Romero - Direct                 10/12/2022     61


      1   A.   A gentleman walked out, who I believed to be Michael Tew,

      2   of unit 224.

      3   Q.   As you sit in the courtroom today, do you see that same

      4   gentleman?

      5   A.   I do.

      6   Q.   Where is he seated?

      7   A.   He's seated at the defense table there to my left.

      8   Q.   Did you approach that person?

      9   A.   I did.

     10   Q.   Describe this first interaction for us.

     11   A.   I identified myself as a special agent with the IRS-CI.                  I

     12   asked him if he was Michael Tew.           He said he was.       I said that

     13   there was an FBI agent, Sarah Anderson, that was on her way at

     14   the time to talk with him.        And I asked him if there was

     15   someplace we could talk privately, we could meet privately.

     16   Q.   What did he say in response to that?

     17   A.   He was agreeable to that.        He said, yes, there was.           He

     18   had to inform his wife of what was going on.               And he

     19   recommended that we meet in the common area behind his

     20   apartment.

     21   Q.   Where is that common area?

     22   A.   It's on the second floor.        It's visible from First Avenue.

     23   It's a common area that's open-air.               It's directly behind the

     24   Tews' apartment, and basically they can enter the common area

     25   from the back of their apartment.


          Julie H. Thomas, RMR, CRR                                           (303)335-2111


                                                                                        184
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 62
                                                                   Colorado
                                                                      of 234   pg
                                  185 of 460

          20-cr-00305-DDD                  Romero - Direct             10/12/2022     62


      1   Q.   So after this first encounter in the hallway, where did

      2   Mr. Tew go?

      3   A.   He went back into his residence.

      4   Q.   Where did you go?

      5   A.   I went, per his direction, around the hall to the common

      6   area.    There was an exit on the east side of the hallway.

      7   Q.   Why did you let him go back in his residence?

      8   A.   I had no reason to believe that there was a concern at

      9   that time, that there was danger at that time.            We had just

     10   contacted him.     He was being very -- he was being very

     11   cooperative.      So I let him go back into his apartment.           Plus

     12   we didn't have any authority to detain him at that time.

     13   Q.   So did you go out to that common area?

     14   A.   I did.

     15   Q.   What happened when you got to that common area?

     16   A.   We were joined shortly by Mr. Tew and -- Mr. and Mrs. Tew.

     17   Q.   Can you describe for us this common area?           What does it

     18   look like?

     19   A.   What I would say is I believe there was three residences

     20   that back up to it.         It's an open-air common area.      There's a

     21   fire pit there, and there are chairs and sofas surrounding the

     22   fire pit.

     23               MR. FIELDS:      Let's look at Government's Exhibit 8, if

     24   we can go to page 34.        So if you type in 08-034.

     25   BY MR. FIELDS:


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                      185
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22       USDC
                                                                  Page 63
                                                                       Colorado
                                                                          of 234    pg
                                  186 of 460

          20-cr-00305-DDD                  Romero - Direct                   10/12/2022   63


      1   Q.    Do you recognize this photograph?

      2   A.    I do.

      3   Q.    Or I'll give you a second.         Do you need it on the monitor,

      4   or you can pull it up?

      5   A.    I can see it on the monitor, yes.

      6   Q.    Okay.    Do you see a door right there?

      7   A.    Yes, I do.

      8   Q.    Where does that door go?

      9   A.    That's an exit.       I believe it goes back into the hall area

     10   that's on the west side of the structure.

     11   Q.    If we go to the next page, what do you see here?

     12   A.    What I can see is the common area -- well, I guess the

     13   back patio for the Tews.        And you can see the fire pit also

     14   with the sofas I have mentioned previously and the chairs

     15   mentioned previously.        That's the common area I was referring

     16   to.

     17   Q.    Can you -- on your screen there if you just sort of use

     18   your finger, you can circle the fire pit area.                Can you circle

     19   that for us?

     20   A.    Sure.    It's right there.

     21                 MR. FIELDS:    At this time I'd move for the admission

     22   of Government's Exhibit 8, page 34 and 35.

     23                 MR. BORNSTEIN:    I'm sorry.         Exhibit what?

     24                 MR. FIELDS:    It's 8.

     25                 THE COURT:    Just those two pages; is that right?


          Julie H. Thomas, RMR, CRR                                            (303)335-2111


                                                                                          186
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22      USDC
                                                                 Page 64
                                                                      Colorado
                                                                         of 234   pg
                                  187 of 460

          20-cr-00305-DDD                  Romero - Direct                10/12/2022   64


      1               MR. FIELDS:     Just those two pages for now, Your

      2   Honor.

      3               MR. BORNSTEIN:     Which two pages, please?

      4               MR. FIELDS:     34 and 35.

      5               THE COURT:      Any objection?

      6               MR. BORNSTEIN:     No objection.

      7               THE COURT:      All right.    I'll admit those.

      8        (Government's Exhibit 8:34-35 admitted.)

      9   BY MR. FIELDS:

     10   Q.   So we will stay here on page 35.              Can you describe for us

     11   where you were and where the Tews were during your encounter?

     12   A.   Yes.   From what I recall, the Tews were sitting on the

     13   sofa that's not facing us.         It's facing towards the open area.

     14   I have circled that.

     15               I was seated right here in this chair marked by an X.

     16               There was an agent on the far sofa also marked by an

     17   X.

     18               And then there was also a chair to the right where

     19   the third agent was.

     20   Q.   And you have mentioned the Tews' residence.              In this

     21   photograph where is the Tews' residence?

     22   A.   If you look to the right, there's a door opening right

     23   there.    That goes into the residence right there.

     24   Q.   And this patio area where we see two chairs, is that their

     25   patio area?


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       187
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 65
                                                                   Colorado
                                                                      of 234   pg
                                  188 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   65


      1   A.   It is.

      2   Q.   And so this common area, do you also see a door right

      3   there?

      4   A.   I do.

      5   Q.   And then doors right there?

      6   A.   Yes.

      7   Q.   Does one of those doors lead into the common hallway?

      8   A.   It does, yes.

      9   Q.   These doors, were any of them locked?

     10   A.   Not to my knowledge.

     11   Q.   And during your encounter with the Tews, were they able to

     12   get up and move around?

     13   A.   They were.

     14   Q.   Did they?

     15   A.   They did, yes.

     16   Q.   Where did they move around to?

     17   A.   They moved around in the patio area.           They moved around

     18   where you can see the sofa, the fire pit.           Their children were

     19   also there as well.

     20   Q.   Now, when you were asked to go out to this apartment

     21   building, were you asked to look for both Mr. Tew and

     22   Mrs. Tew?

     23   A.   It was Mr. Tew.

     24   Q.   So when he showed up here with Mrs. Tew, was that a

     25   surprise to you?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    188
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 66
                                                                    Colorado
                                                                       of 234   pg
                                  189 of 460

          20-cr-00305-DDD                 Romero - Direct               10/12/2022    66


      1   A.     Uh, I didn't know that she was home at the time.            I didn't

      2   know she was home until he had told me.             I guess it was a

      3   surprise, yes.

      4   Q.     So if you were there for just Mr. Tew, why did you allow

      5   Miss Tew to join this conversation?

      6   A.     Because I wasn't there necessarily to interview them, to

      7   have them answer questions.        I was basically there to -- to

      8   observe until Special Agent Anderson arrived.

      9   Q.     So at this point when you had made an encounter with

     10   Mr. Tew and he was there and Special Agent Anderson hadn't

     11   arrived yet, what was your plan?

     12   A.     My plan was just to engage him in small talk, just

     13   conversation.     Again, I knew nothing about the case.            I just

     14   wanted to make them at ease, and so we just talked about

     15   pretty much whatever they wanted to talk about.             Just

     16   background questions, you know.          I believe I asked them about

     17   their kids or something like that.

     18   Q.     Did you have a plan if they had declined to speak with

     19   you?

     20   A.     Well, if they had declined to speak with me, there was

     21   nothing I could have done.        They weren't being detained, so

     22   they were free not to engage with me.

     23   Q.     What would you have done at that point?

     24   A.     Nothing.

     25   Q.     How would you describe the demeanor of the Tews when they


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      189
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22    USDC
                                                               Page 67
                                                                    Colorado
                                                                       of 234   pg
                                  190 of 460

          20-cr-00305-DDD                 Romero - Direct               10/12/2022    67


      1   first came out?

      2   A.   They were very calm.      Mr. Tew was very calm.        I would say

      3   Mrs. Tew was maybe, uh, concerned, and that went up and down

      4   as we -- as we spoke.

      5   Q.   Now, you said at some point the Tews got up and they were

      6   able to move around?

      7   A.   Yes.

      8   Q.   At one point in time did Mr. Tew get up to walk back

      9   inside his apartment?

     10   A.   He did.

     11   Q.   What did you do at that point?

     12   A.   I asked if he could please stay in the area where I could

     13   see him.

     14   Q.   Why did you ask him that?

     15   A.   It goes back to the agent safety.            I believe during that

     16   point in the conversation tensions were high.             I believe

     17   Mrs. Tew was acting erratic at that time.            And I was

     18   concerned, based on what I was seeing, that not only was there

     19   a danger to myself and my fellow agents but also to Mr. Tew

     20   and the children.      So I didn't know what was inside the house,

     21   and that's why I asked him to stay visible to me.

     22   Q.   What did he do?

     23   A.   He complied.

     24   Q.   After that, what happened?

     25   A.   The tensions I would say subsided.           I only talked to them


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                     190
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 68
                                                                   Colorado
                                                                      of 234   pg
                                  191 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   68


      1   about 20 minutes before Special Agent Anderson arrived.

      2   Q.   During this 20 minutes, did they ever decline to answer

      3   any of your questions?

      4   A.   They declined to answer the questions, but they did have

      5   questions of their own.

      6   Q.   And what happened when they declined to answer questions?

      7   A.   I didn't -- I didn't press the issue.

      8   Q.   Why not?

      9   A.   Because, again, I had no set interview questions for them.

     10   I knew nothing about the case, and the issues that I was

     11   attempting to speak with them about was simply background

     12   information, how long they had lived in Colorado, information

     13   about their kids, things like that.

     14   Q.   I think you said you were there for about 20 minutes

     15   before Special Agent Anderson arrived.

     16   A.   Correct.

     17   Q.   Approximately what time do you think she arrived?

     18   A.   Approximately 3:12 p.m.

     19   Q.   You say approximate and 3:12.          That's pretty specific.

     20   Why are you so specific on the time?

     21   A.   It's in the memorandum.

     22   Q.   Did you review that memorandum --

     23   A.   I did.

     24   Q.   -- before your testimony?

     25              How was Special Agent Anderson dressed?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    191
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 69
                                                                   Colorado
                                                                      of 234   pg
                                  192 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   69


      1   A.   Very casually.     I would say she's dressed like she is

      2   today.    Business coat, business slacks.

      3   Q.   Was she armed?

      4   A.   I couldn't tell you, but I'd assume she was, yes.

      5   Q.   How would you describe her demeanor?

      6   A.   Very calm, very professional, very relaxed.

      7   Q.   What did she do when she arrived?

      8   A.   She basically -- she identified herself.           She said she was

      9   there to ask questions of them related to employment with NAC.

     10   Specifically, there were questions concerning, I believe, gift

     11   card transactions and also credit card transactions.

     12   Q.   How did Kimberley respond when Special Agent Anderson

     13   started asking questions?

     14   A.   She was erratic.       She really didn't want to answer

     15   questions at that time.

     16   Q.   Did Special Agent Anderson ask to record the conversation?

     17   A.   She did.

     18   Q.   What happened when she made that request?

     19   A.   Mrs. Tew said she did not want the conversation to be

     20   recorded.

     21   Q.   How did Special Agent Anderson respond when Kimberley said

     22   she didn't want it recorded?

     23   A.   That was well within Mrs. Tew's rights.           There wasn't any

     24   kind of confrontation.       She was fine with that.

     25   Q.   At some point during this conversation after Special Agent


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    192
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 70
                                                                   Colorado
                                                                      of 234   pg
                                  193 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022       70


      1   Anderson arrived, did Kimberley Tew accuse the IRS agents of

      2   having done something?

      3   A.   Yes.

      4   Q.   What was the accusation?

      5   A.   She accused me of grabbing her husband Michael when I

      6   first encountered him in the hallway outside of his apartment.

      7   Q.   Did you grab him?

      8   A.   I did not.

      9   Q.   What happened after she made the accusation?

     10   A.   I turned to Mike, and I asked him if that was true, if I

     11   did grab him.     And he said, no, it wasn't true.

     12   Q.   Did you ever put your hands on him?

     13   A.   I didn't, no.

     14   Q.   Did you ever, sort of, get up into his personal space or

     15   something like that?

     16   A.   No.

     17   Q.   So at that point who took the lead in asking questions?

     18   A.   Special Agent Anderson did.

     19   Q.   And how did the Tews respond to Special Agent Anderson's

     20   questions?

     21   A.   I do know that they answered some of the questions Special

     22   Agent Anderson was asking.        They also volunteered information.

     23   They were making a mention of, I believe, an individual back

     24   in New York was the cause of them moving out to Colorado.                 I

     25   believe Mrs. Tew said that they had been set up, something


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                        193
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 71
                                                                   Colorado
                                                                      of 234   pg
                                  194 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   71


      1   like that.

      2   Q.   At some point did Kimberley ask Michael not to provide any

      3   more information?

      4   A.   Yes.

      5   Q.   And what happened at that point?

      6   A.   At that point Special Agent Anderson served the Tews with

      7   a grand jury subpoena.

      8   Q.   Did Special Agent Anderson ask if they wanted to meet at

      9   another time?

     10   A.   Yes.

     11   Q.   So what happened when she made that request?

     12   A.   They did want to meet at another time.          I think there was

     13   issues with the children and some kind of appointment, but

     14   they did agree to meet a few days later.

     15   Q.   How did they set up that meeting?

     16   A.   The meeting was set up initially as Special Agent Anderson

     17   asked for a phone number, but Mrs. Tew declined to provide

     18   that.    She didn't want to.      So they agreed upon Mrs. Tew

     19   providing an e-mail address.

     20   Q.   Did Mrs. Tew say that she would send an e-mail to Special

     21   Agent Anderson?

     22   A.   Yes.

     23   Q.   Did she send an e-mail?

     24   A.   As far as I know, she did, yes.

     25   Q.   Did you note the time of that in your report?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    194
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 72
                                                                   Colorado
                                                                      of 234   pg
                                  195 of 460

          20-cr-00305-DDD                 Romero - Direct              10/12/2022   72


      1   A.   I believe the time was 3:42.

      2   Q.   So between the time Special Agent Anderson got there and

      3   the time this e-mail was sent, approximately how much time had

      4   elapsed?

      5   A.   Approximately half an hour.

      6   Q.   And what did Kimberley do after saying she sent the

      7   e-mail?

      8   A.   She went back into the apartment with the kids.

      9   Q.   Anyone stop her?

     10   A.   No.

     11   Q.   You have mentioned these children.

     12   A.   Yes.

     13   Q.   Where were they during this interview?

     14   A.   I believe they were in the common area -- or not the

     15   common area, the patio for the Tews at the time.            I believe

     16   Mrs. Tew had closed the gate so she could observe them, but

     17   they were kind of in a confined area.

     18   Q.   When Kimberley went back into the apartment, did anyone

     19   stop her?

     20   A.   No.

     21   Q.   Why not?

     22   A.   It wasn't within our right to stop her.

     23   Q.   So at that point was Michael Tew by himself?

     24   A.   He was.

     25   Q.   What did he do?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    195
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 73
                                                                   Colorado
                                                                      of 234   pg
                                  196 of 460

          20-cr-00305-DDD                  Romero - Direct             10/12/2022   73


      1   A.   He made some small talk.         He asked if there was a problem.

      2   He, I believe, also asked if I could be present at the next

      3   interview when that did occur, but --

      4   Q.   Did he explain why he wanted you present at the next

      5   interview?

      6   A.   He didn't, but I think it was because there was a good

      7   rapport between him and I.         He felt comfortable with me.

      8   Q.   So at some point did Michael go back inside the apartment?

      9   A.   He did.

     10   Q.   What happened at that point?

     11   A.   At that point there was a brief period of time where the

     12   back door was open.         We could observe them.     We were still in

     13   the area.     After a couple minutes, though, they closed the

     14   door to their apartment and closed the blinds as well.

     15   Q.   Anyone stop him from going inside the apartment?

     16   A.   No.

     17   Q.   Why not?

     18   A.   It wasn't within our right.

     19   Q.   And after they closed the door and closed the blinds, what

     20   happened at that point?

     21   A.   After that happened, it was approximately -- I believe it

     22   was approximately 3:49, and we were still awaiting further

     23   notice, I believe, Special Agent Anderson was, so we remained

     24   in the area, in that common area.

     25   Q.   Did Special Agent Anderson come back and give you


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    196
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22         USDC
                                                                    Page 74
                                                                         Colorado
                                                                            of 234   pg
                                  197 of 460

          20-cr-00305-DDD                    Romero - Direct                 10/12/2022       74


      1   instructions?

      2   A.   She did.     She said that a warrant had been issued for

      3   Michael's arrest.      That was at approximately 4:11 p.m.

      4   Q.   So how long were you waiting outside without the Tews

      5   present?

      6   A.   Approximately 20 minutes.

      7   Q.   After that 20 minutes, what did you do?

      8   A.   Once the warrant for his arrest came about, contacted

      9   them.    I knocked on the back door, myself and the other

     10   agents.    Michael answered the door.                He came to the back.       I

     11   asked him to come outside.           I told him he was under arrest,

     12   had him turn around.        I cuffed him.            I searched him quickly,

     13   and then I read him his rights, to which he -- I asked him did

     14   he understand them, and he said, yes, he did.

     15   Q.   Is that the first time you had read him his rights?

     16   A.   It is, yes.

     17   Q.   Why did you only read him his rights at that point?

     18   A.   Because he wasn't detained before that.

     19   Q.   Even before you had read him his rights, did he decline to

     20   answer some of your questions?

     21   A.   He did.

     22              MR. FIELDS:      Your Honor, may I have just a moment?

     23              THE COURT:       Yes.

     24   BY MR. FIELDS:

     25   Q.   Just one final question, Mr. Romero.                 During the course


          Julie H. Thomas, RMR, CRR                                            (303)335-2111


                                                                                              197
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 75
                                                                   Colorado
                                                                      of 234   pg
                                  198 of 460

          20-cr-00305-DDD                  Romero - Cross              10/12/2022   75


      1   of -- you know, you were there talking to the Tews for a

      2   little bit.       Special Agent Anderson arrived.       And then they

      3   went back.     How would you describe the sort of tone and tenor

      4   of the conversation throughout the encounter?

      5   A.   You know, I'd say with Mr. Tew it was very calm and

      6   collected.     There was good rapport, and there was calm

      7   conversation.      I would say there were times, though, when

      8   during this interaction Mrs. Tew became very erratic, and

      9   that's when tensions seemed to rise.

     10   Q.   When you say "erratic," what do you mean by that?

     11   A.   Just making loud statements, again, about accusing someone

     12   in New York about setting them up.            Again, the accusation to

     13   me as far as touching her husband, laying hands on her

     14   husband.    And it seemed to go up and down emotionally like

     15   that.

     16              MR. FIELDS:      Your Honor, no further questions at this

     17   time.

     18              THE COURT:       Thank you, Mr. Fields.

     19              Mr. Bornstein, cross-examination?

     20                                CROSS-EXAMINATION

     21   BY MR. BORNSTEIN:

     22   Q.   Mr. Romero, hi.

     23   A.   Hello, sir.

     24   Q.   I'm Peter Bornstein.       I represent Mr. and Mrs. Tew.

     25   A.   Nice to meet you.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    198
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 76
                                                                   Colorado
                                                                      of 234   pg
                                  199 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   76


      1   Q.   We've never met before?

      2   A.   I don't believe so, no.

      3   Q.   Okay.    So, as I understand it, on July 8th of 2020 Emil

      4   Stark was your supervisor?

      5   A.   That's correct, yes.      No, he wasn't my supervisor.          He was

      6   a supervisor in the office.

      7   Q.   Okay.    He wasn't your supervisor, but he was a supervisor?

      8   A.   Correct.     Correct.

      9   Q.   Because this report that I believe you looked at is

     10   written by him.

     11   A.   It is.

     12   Q.   And Lisa Palmer is a lawyer with the IRS?

     13   A.   No.

     14   Q.   She's a special agent?

     15   A.   Correct.

     16   Q.   And you work with her?

     17   A.   I do.

     18   Q.   Which one of them contacted you about going to the

     19   apartment?

     20   A.   I believe it was Supervisor Special Agent Stark.

     21   Q.   Stark, okay.

     22   A.   Yes.

     23   Q.   And they said that they had information that the Tews were

     24   going to flee; right?

     25   A.   Correct.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    199
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 77
                                                                   Colorado
                                                                      of 234   pg
                                  200 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022    77


      1   Q.   Flee what?

      2   A.   Flee the country.

      3   Q.   Why?

      4   A.   I have no idea.

      5   Q.   Well, as an agent, you said, Well, they're going to flee.

      6   What did they do?      Right?    You asked Stark, What did they do?

      7   Why would they flee?

      8   A.   No.

      9   Q.   Mr. Romero, are you saying that you received a request

     10   that some people might be fleeing the country, and that the

     11   IRS wanted to stop them from fleeing, and they wanted four

     12   agents with guns to go to the apartment?            Right?

     13   A.   I was asked to respond to that address, yes.

     14   Q.   No, you were asked -- four agents were asked to go.             Did

     15   you go in four cars?

     16   A.   I believe so, yes.

     17   Q.   And who was in charge?

     18   A.   Supervisor Special Agent Stark.

     19   Q.   Okay.    And you positioned yourself in the garage, in the

     20   lobby, and on the second floor; right?

     21   A.   No.

     22   Q.   I thought you said two agents went to the garage to

     23   determine if the car was there.

     24   A.   We positioned ourselves in the lobby of the first floor by

     25   the elevator, and the rest were in the hallway on the second


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     200
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 78
                                                                   Colorado
                                                                      of 234   pg
                                  201 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   78


      1   level.    There was no agents in the garage.

      2   Q.     You didn't determine if the car was there?

      3   A.     When we got there, we did, yes, but there was no one

      4   positioned there.

      5   Q.     I'm sorry?

      6   A.     I said initially when we first went there we went to the

      7   garage to determine the cars were there.

      8   Q.     Yes.

      9   A.     Then after that point there were no agents in the garage.

     10   Q.     Okay.   How did you know what cars to look for?

     11   A.     We were instructed by the case agent what cars to look

     12   for.

     13   Q.     Uh-huh.    And you were given pictures of Mr. Tew?

     14   A.     I was given a description of Mr. Tew.

     15   Q.     By who?

     16   A.     I believe it was Supervisor Special Agent Stark.

     17   Q.     All right.   And do you know, was it a mugshot?

     18   A.     I don't believe it was a mugshot.         No, I don't believe so.

     19   Q.     Was it a photograph?

     20   A.     I believe it was a DMV photograph.

     21   Q.     So apparently Agent Stark had a DMV photograph to show

     22   you.    Right?

     23   A.     I believe he did, yes.

     24   Q.     And he showed all the agents in case any of the agents

     25   would see Mr. Tew?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    201
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 79
                                                                   Colorado
                                                                      of 234   pg
                                  202 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   79


      1   A.   I don't know what he did with the other agents.

      2   Q.   So if Mr. Tew was going to flee the country, you were

      3   going to let him flee the country?

      4   A.   Well, at that point, again, it was within his rights to go

      5   wherever he wanted to go.        My objective at that time was to,

      6   A, determine if he was there and to, B, follow him if he went

      7   anywhere.

      8   Q.   Is that really correct, Agent Romero, that you would have

      9   let him flee the country?

     10   A.   Would I have let him flee the country?

     11   Q.   Would you let him flee Denver?

     12   A.   Well, what I would have done is I would have followed him.

     13   Q.   You would have followed him to the airport?

     14   A.   Wherever, wherever he went.

     15   Q.   Would you have gotten on the airplane with him?

     16   A.   I can't answer that.      I don't know.

     17   Q.   And your other agents, they were also instructed to say

     18   that he should not be allowed to flee the country; right?

     19   A.   No.    That was never -- that was never said.

     20   Q.   Didn't you have knowledge that there was, quote, PC,

     21   standing for probable cause, to stop him from fleeing?

     22   A.   No.

     23               DEFENDANT K. TEW:     Hmm.

     24   BY MR. BORNSTEIN:

     25   Q.   While you were going to the apartment, what were you told


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    202
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 80
                                                                   Colorado
                                                                      of 234   pg
                                  203 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   80


      1   Agent Anderson was doing?

      2   A.   I was told she was on her way.

      3   Q.   Now, the report says that Anderson explained Title 18

      4   United States Code 1001.       Do you know what that is?

      5   A.   False statements given to federal officers.

      6   Q.   All right.    Let's -- let me ask you this.         This was

      7   July 8th; right?

      8   A.   Yes, sir.

      9   Q.   Two days earlier, on July 6th, did you send a e-mail to

     10   Daniel at Bustabit with a copy to Lisa Palmer?

     11   A.   I don't recall that.

     12              DEFENDANT K. TEW:      Hmm.

     13              MR. BORNSTEIN:     What exhibit is that?

     14              MR. FIELDS:      I haven't marked it.

     15              DEFENDANT K. TEW:      It was submitted in discovery.

     16              MR. BORNSTEIN:     Oh.

     17   BY MR. BORNSTEIN:

     18   Q.   You don't remember sending an e-mail?

     19   A.   I don't, no.

     20              DEFENDANT K. TEW:      Hmm.

     21   BY MR. BORNSTEIN:

     22   Q.   Do you remember saying -- who is Daniel@bustabit?

     23   A.   I have no idea.

     24   Q.   Do you remember saying, Please find the attached letter of

     25   request and two attachments for Bustabit account holder


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    203
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22     USDC
                                                                Page 81
                                                                     Colorado
                                                                        of 234   pg
                                  204 of 460

          20-cr-00305-DDD                    Romero - Cross              10/12/2022   81


      1   information?

      2   A.    I don't recall that, sir.

      3              MR. BORNSTEIN:      Can I have this marked and your staff

      4   give it to the witness?

      5              THE COURT:       Yes.   You can give it to Mr. Keech,

      6   please.

      7              COURTROOM DEPUTY:        What do you want it marked as?

      8              MR. BORNSTEIN:      Defense Exhibit 10 --

      9              COURTROOM DEPUTY:        A?

     10              MR. BORNSTEIN:      I think the Judge wants only numbers.

     11              THE COURT:       For this we can do it however.        A is

     12   fine.    I'm not sure which number we would be on.

     13              COURTROOM DEPUTY:        Do you want to use the Elmo so

     14   everyone can see it or --

     15              MR. BORNSTEIN:      Uh, yes.        Yes, let me do that so

     16   that -- I don't have a lot of copies.

     17              Can the witness see it without anybody else seeing

     18   it?

     19              COURTROOM DEPUTY:        No, it's all or --

     20              MR. BORNSTEIN:      All or nothing?

     21              THE COURT:       That's all right.       I'm not a jury.    I can

     22   clear my mind of it if I decide not to admit it.              Go ahead.

     23   BY MR. BORNSTEIN:

     24   Q.    Can you see what's now been marked as Exhibit A?

     25   A.    Yes, I can.


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      204
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 82
                                                                   Colorado
                                                                      of 234   pg
                                  205 of 460

          20-cr-00305-DDD                  Romero - Cross              10/12/2022    82


      1   Q.   And do you see that the date is July 6th of 2020?

      2   A.   I do.

      3   Q.   And do you see that it's an e-mail from you?

      4   A.   Yes, I do.

      5   Q.   Do you remember it now?

      6   A.   I do not.

      7                DEFENDANT K. TEW:    Hmm.

      8   A.   I mean, obviously that's my e-mail address.           I'm not

      9   disputing that I sent that, but I have no idea what this

     10   pertains to.

     11   BY MR. BORNSTEIN:

     12   Q.   And Lisa Palmer gets a carbon copy or a copy of it?

     13   A.   Yes.

     14   Q.   In fact, isn't it a fact that this involved Kimberley Tew?

     15   Right?

     16   A.   Again, I do not recall this.

     17   Q.   Well, do you know who Bustabit is?

     18   A.   I do not, no.     I deal in many, many hundreds of e-mails,

     19   and I deal with many, many cyber-related activities.             This is

     20   just one of many hundreds.        I have no idea.

     21   Q.   Do you know why this is in the discovery provided to the

     22   defense by the Government?

     23   A.   I do not.

     24   Q.   Did you provide this to the Government?

     25   A.   No.    Did I provide this to the Government?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     205
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 83
                                                                   Colorado
                                                                      of 234   pg
                                  206 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   83


      1   Q.   Yes.

      2   A.   Well, it's part of a record as a federal employee.

      3   Q.   Did you provide this to the United States Attorney

      4   handling this case?

      5   A.   No, I did not.

      6   Q.   Are you aware that in July of 2020 that the IRS had made

      7   contact with Kimberley Tew?

      8   A.   Am I aware now that that happened?

      9   Q.   Well, are you aware now?

     10   A.   I am aware now, yes.

     11   Q.   Were you aware then?

     12   A.   No.

     13   Q.   What are you aware now?

     14   A.   I'm aware now of everything that, you know, that I'm

     15   learning as part of this process, but, again, I wasn't the

     16   case agent for this case.

     17   Q.   Well, were you the case agent for Operation Honest

     18   Cocaine?

     19   A.   I was one of the agents involved in that case, yes.

     20   Q.   And are you aware that the agents in Honest Cocaine had

     21   interviewed Kimberley Tew in January of 2020?

     22   A.   I do know that agents from the Phoenix field office

     23   interviewed her.

     24   Q.   What were their names?

     25   A.   I don't recall I think one was Special Agent Fleischman,


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    206
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 84
                                                                   Colorado
                                                                      of 234   pg
                                  207 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   84


      1   possibly.

      2   Q.     But you were part of Honest Cocaine?

      3   A.     Uh, we -- at the time I was assigned to an HSI task force.

      4   Honest Cocaine was one of many hundreds of leads that we had.

      5   Q.     What kind of a task force?

      6   A.     It was an HSI Dark Net task force.

      7   Q.     I'm sorry.   Maybe the court reporter got that, but I can't

      8   understand.

      9   A.     Homeland Security Investigations Dark Net task force.

     10   Q.     Okay.

     11   A.     Yeah.

     12   Q.     And what is a Dark Net task force?

     13   A.     You know, I could talk about it all day, but what I will

     14   say is it was a task force that was designed to go after Dark

     15   Net market vendors and marketplaces selling illegal drugs.

     16   Q.     And was Daniel@bustabit somebody who was on the Dark Net?

     17   A.     I don't recall.

     18   Q.     Based on being part of this, do you know what Bustabit is?

     19   A.     I don't recall.

     20   Q.     Do you know that it's an online gambling site?

     21   A.     You know what, now that you mention it, yes, it may be

     22   something like that, but I don't recall specifically what this

     23   was.

     24   Q.     And online gambling sites is something that Homeland

     25   Security was interested in back in 2020?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    207
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 85
                                                                   Colorado
                                                                      of 234   pg
                                  208 of 460

          20-cr-00305-DDD                  Romero - Cross              10/12/2022   85


      1   A.   I can't speak to that.       I don't know.

      2   Q.   Well, okay, what was Honest Cocaine then?

      3   A.   Honest Cocaine was a cocaine vendor.           He sold cocaine on

      4   the Dark Net.

      5   Q.   So Honest Cocaine is a person, not a code name for an

      6   investigation.

      7   A.   Honest Cocaine is a person.          It's a moniker.

      8   Q.   Oh, a monitor?

      9   A.   Yes, a moniker.

     10   Q.   A moniker?

     11   A.   It's like a slang.       It's, uh, a nickname.

     12              MR. BORNSTEIN:      Offer the exhibit, Your Honor,

     13   Exhibit A.

     14              THE COURT:       Mr. Fields, any objection?

     15              MR. FIELDS:      No objection, Your Honor.

     16              THE COURT:       All right.    I'll admit it.    Go ahead.

     17        (Defendant's Exhibit A admitted.)

     18   BY MR. BORNSTEIN:

     19   Q.   All right.    So there was no statement to the officers or

     20   the agents that there was information sufficient to get a PC

     21   arrest, in other words, a warrantless arrest of Mr. Tew;

     22   right?

     23   A.   I didn't know the specifics of why we were there that day.

     24   I simply responded to conduct surveillance.

     25              MR. BORNSTEIN:      Can I have another exhibit marked,


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    208
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 86
                                                                   Colorado
                                                                      of 234   pg
                                  209 of 460

          20-cr-00305-DDD                    Romero - Cross            10/12/2022   86


      1   Your Honor?

      2                THE COURT:     Yes.

      3                MR. BORNSTEIN:    Can I put it on the Elmo?

      4                THE COURT:     Sure, yeah.

      5                MR. BORNSTEIN:    Or do you want Mr. Keech to do that?

      6                THE COURT:     No, if you can do it, go ahead.

      7   BY MR. BORNSTEIN:

      8   Q.   Can you see Exhibit B, Mr. Romero?

      9   A.   I can't see the exhibit tag, sir, but I can see the arrest

     10   report in front of me.

     11   Q.   Okay.    You see -- let me see if I can --

     12   A.   Yes, I see it now.

     13   Q.   Do you see that Exhibit B is dated July 9th of 2020?

     14   A.   I do.

     15   Q.   And do you see that Emil Stark signed it?

     16   A.   I do.

     17   Q.   And do you see -- is this a form that the IRS uses?

     18   A.   Can you pull it down a little bit?

     19   Q.   This way?

     20   A.   The other way.

     21   Q.   Form 1327-A?

     22   A.   Yes.

     23   Q.   This way?

     24   A.   That's good, yes.

     25   Q.   That's an IRS form?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    209
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 87
                                                                   Colorado
                                                                      of 234   pg
                                  210 of 460

          20-cr-00305-DDD                  Romero - Cross              10/12/2022   87


      1   A.   Yes.

      2   Q.   You use that for arrests.

      3   A.   Yes.

      4   Q.   All right.      Do you see that Mr. Stark, who wrote the same

      5   report that you used to refresh your memory, wrote this

      6   report?     Right?

      7   A.   It's a form, yes.

      8   Q.   And it says on July 8th, 2020 --

      9               MR. BORNSTEIN:     Well, let me offer the exhibit,

     10   Exhibit B, please, before I read it.

     11               THE COURT:      Any objection, Mr. Fields?

     12               MR. FIELDS:     Yes, Your Honor.      This is another

     13   agent's report.      I'm not sure it's particularly relevant here,

     14   so I would object on those grounds.

     15               THE COURT:      I will admit it, and you can -- we can

     16   discuss its relevance.        Go ahead.

     17        (Defendant's Exhibit B admitted.)

     18   BY MR. BORNSTEIN:

     19   Q.   Do you see on box section 17 it says that the special

     20   agent who was the arresting officer is yourself?

     21   A.   Yes, I do.

     22   Q.   Do you see that the box 15 says that the arrest is on

     23   July 8th of 2020?

     24   A.   Yes, I see that.

     25   Q.   All right.      So this is the Internal Revenue Service form


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    210
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 88
                                                                   Colorado
                                                                      of 234   pg
                                  211 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   88


      1   for your arrest of Mr. Tew; right?

      2   A.   Yes.

      3   Q.   It wasn't Agent Anderson's arrest or Agent Palmer's

      4   arrest?

      5   A.   It was my arrest, yes.

      6   Q.   It was your arrest?

      7   A.   Yes.

      8   Q.   Why were you the arresting person if it was Agent Anderson

      9   who was coming to speak to Mr. Tew?

     10   A.   I was the person delegated to make the arrest.

     11   Q.   By who?

     12   A.   By Special Agent Anderson, Special Agent Palmer, Special

     13   Agent Stark.

     14   Q.   All three of them?

     15   A.   From what I recall, yes.

     16   Q.   It says in box 23 that the special agent filing the

     17   affidavit is Agent Palmer; right?

     18   A.   That is correct.

     19   Q.   Do you know why she is filing the affidavit rather than

     20   Agent Stark or yourself?

     21   A.   Again, she was the case agent.          I can't speak to more than

     22   that.

     23   Q.   It says, July 8th of 2020, AUSA Doshi informed FBI special

     24   agent to conduct a PC arrest of Michael Tew at his residence.

     25               What's a PC arrest?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    211
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 89
                                                                   Colorado
                                                                      of 234   pg
                                  212 of 460

          20-cr-00305-DDD                 Romero - Cross                10/12/2022   89


      1   A.   Probable cause.

      2   Q.   So that's a nonwarrant arrest?

      3   A.   Yes --

      4   Q.   Warrantless arrest?

      5   A.   There was sufficient evidence to make an arrest.

      6   Q.   Is that a warrantless arrest when you say "PC arrest"?

      7   A.   I believe, yes.

      8   Q.   Because otherwise, if it wasn't a warrantless arrest, you

      9   would have said conduct an arrest pursuant to a warrant issued

     10   by a magistrate; right?

     11   A.   Correct.

     12   Q.   He was placed in custody, and then you said, Later the

     13   same day IRS-CI special agent swore out a criminal complaint

     14   of Tew for Title 18 United States Code 1956(h).

     15               That's money laundering; right?

     16   A.   Yes.

     17   Q.   A memo of activity and a memo of interview were completed

     18   and are referenced to this report.           Is that right?

     19   A.   Yes.

     20   Q.   You wrote a memo of interview, didn't you?

     21   A.   I don't recall.

     22   Q.   So when Exhibit B says that you wrote a memo of interview,

     23   what does that mean?

     24   A.   Well, I think what you are -- I think what you are

     25   referring to is the memo that Special Agent Stark wrote that I


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     212
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 90
                                                                   Colorado
                                                                      of 234   pg
                                  213 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   90


      1   witnessed.

      2   Q.     On July 8th there was an arrest warrant issued, wasn't

      3   there?

      4   A.     Yes.

      5   Q.     And who sought the arrest warrant that day?

      6   A.     I believe it was AUSA Hetal Doshi and FBI Special Agent

      7   Sarah Anderson.

      8   Q.     So while the IRS was keeping an eye on Mr. Tew at the

      9   apartment, the AUSA and a FBI special agent were seeking an

     10   arrest warrant; right?

     11   A.     I can't speak to what they were doing at that time.           I can

     12   only speak to what I was doing.

     13   Q.     Well, you knew -- you were told that while you were doing

     14   what you were doing the FBI Agent Anderson, working with an

     15   AUSA, was seeking an arrest warrant for Michael Tew, weren't

     16   you?

     17   A.     Well, I know that, again, there was concern with him

     18   fleeing the country.        I know that I was tasked to keep an eye

     19   on him, if you would.       I believe that there was conversation

     20   between the FBI special agent and the AUSA as to what to do

     21   were that to occur, but I was not privy to those

     22   conversations.

     23   Q.     Well, was Emil Stark privy to those conversations?

     24   A.     Again, I don't know.     I'm not Emil Stark.

     25   Q.     Well, you talked to him.     Fellow agents speak to each


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    213
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 91
                                                                   Colorado
                                                                      of 234   pg
                                  214 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   91


      1   other, don't they?

      2   A.     Well, in that instance on that day, sir, we were focused

      3   on the task at hand, which is making sure that we knew where

      4   Mr. Tew was -- Mr. and Mrs. Tew were.

      5   Q.     And making sure he wouldn't flee the country; right?

      6   A.     Well, again, I didn't have the authority to prevent him

      7   from going anywhere.

      8   Q.     You said there's -- you had warrantless arrest authority

      9   for a PC arrest; right?

     10   A.     That was after the fact, sir.        I'm talking about when I

     11   dealt with Mr. Tew prior to the arrest.

     12   Q.     Okay.   When you did arrest him, you were told that

     13   Anderson and -- AUSA Doshi and Agent Anderson had obtained an

     14   arrest warrant; right?

     15   A.     I was told an arrest warrant had been obtained.

     16   Q.     Who told you?

     17   A.     I believe it was Supervisor Special Agent Stark.

     18   Q.     You guys are in constant communication during this, aren't

     19   you?

     20   A.     Say that again?

     21   Q.     You agents are in constant communication with each other

     22   during this, aren't they?

     23   A.     I don't know, sir.    Again, I can only speak to what I was

     24   doing.

     25   Q.     You weren't in contact using communication devices?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    214
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 92
                                                                   Colorado
                                                                      of 234   pg
                                  215 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   92


      1   A.   Myself?      No.

      2   Q.   Agent Stark?

      3   A.   I can't speak to what he was doing at the time.

      4   Q.   Who was with you on the second floor?

      5   A.   Agent Stark, Agent Garrett, Agent Anderson.

      6   Q.   They had communication devices, cell phones, didn't they?

      7   A.   I was watching a door.       I wasn't watching them.

      8   Q.   So you were the one who said that Agent Anderson was on

      9   her way and that she would like to speak to Michael Tew; is

     10   that right?

     11   A.   Yes, sir.

     12   Q.   And then you said, Is there a place we could speak

     13   privately; right?

     14   A.   Yes.

     15   Q.   All right.     Now, actually you arrived not at 1 o'clock,

     16   but about 11:55; right?

     17   A.   I believe that's when Special Agent Stark arrived.

     18   Q.   Okay.    How about if that was when Special Agent Stark was

     19   asked to --

     20   A.   Actually, you know what, correct, you're right, he was

     21   asked to, and he arrived about 1 o'clock, I believe.             All of

     22   us arrived at the same time.

     23   Q.   So then you took Michael Tew to this back area of the

     24   apartment; right?

     25   A.   No.    I actually met him there.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    215
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 93
                                                                   Colorado
                                                                      of 234   pg
                                  216 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   93


      1   Q.   I thought you met him in the hallway coming out of the

      2   front door.

      3   A.   Both.    I met him in the hallway coming out the front door.

      4   Then he went back inside his apartment to tell his wife what

      5   was going on, and we went and met in the back.

      6   Q.   It says here that you asked if there was a place to speak

      7   privately.

      8   A.   Yes.

      9   Q.   Why did you want to speak privately to Michael Tew?

     10   A.   Well, I wanted a place where we could meet privately.

     11   And, again, it was for her -- it was for his -- I didn't want

     12   him to be embarrassed.       It was for his, I guess, privacy, if

     13   you would.

     14   Q.   What would embarrass him?

     15   A.   Four individuals meeting with somebody, you know,

     16   overhearing something like that.

     17   Q.   Four individuals who were getting ready to arrest him;

     18   right?

     19   A.   At that point I had no knowledge of that, sir.

     20   Q.   Well, you knew that FBI Agent Anderson was coming to speak

     21   to him; right?

     22   A.   Yes, I did.

     23   Q.   And you knew that FBI Agent Anderson, working with an

     24   Assistant United States Attorney, was also seeking an arrest

     25   warrant too?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    216
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 94
                                                                   Colorado
                                                                      of 234   pg
                                  217 of 460

          20-cr-00305-DDD                   Romero - Cross             10/12/2022   94


      1   A.   I had no knowledge of that.

      2   Q.   How did you know Anderson was coming?

      3   A.   I was told by Special Agent Stark.

      4   Q.   Now, let's talk about this common area a minute.

      5   A.   Okay.

      6                MR. BORNSTEIN:      Could we have the photograph back up,

      7   please.     It's Exhibit --

      8                MR. FIELDS:    8.

      9                MR. BORNSTEIN:      -- 8, and pages 3 and 4, I believe.

     10                MR. FIELDS:    34 and 35.

     11                MR. BORNSTEIN:      34 and 35.

     12   BY MR. BORNSTEIN:

     13   Q.   Okay.    Let's start with this page.

     14   A.   Okay.

     15   Q.   So you see the page that's displayed?

     16   A.   Yes, I do.

     17   Q.   Do you see the children's toys?

     18   A.   I do.

     19   Q.   All right.    So, now, that's the door on the left into the

     20   house; right?

     21   A.   Yes.

     22   Q.   And on the right there's a door for this patio area?

     23   A.   It's a gate, yes, sir.

     24   Q.   Where were the children?

     25   A.   From what I recall, I believe the children were in this


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    217
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 95
                                                                   Colorado
                                                                      of 234   pg
                                  218 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   95


      1   area right here, the patio area.

      2   Q.   And you talked to them, didn't you?

      3   A.   I don't recall.

      4   Q.   You made nice to the children?

      5   A.   You know what, I like kids.         Maybe I did.    Possibly.

      6   Q.   Okay.    You made nice to the children.        Did you tell one of

      7   the girls -- they're two young girls; right?

      8   A.   I believe so, yes.

      9   Q.   All right.    And did you tell one of the girls that you

     10   were not there to arrest their daddy?

     11   A.   I don't recall that.

     12   Q.   Don't recall that.

     13   A.   No.

     14   Q.   All right.    So then there's this door up here.          What's

     15   that door to?

     16   A.   That's the exit right there, or one of the two exits.

     17   Q.   Exit to what?

     18   A.   Back to the hall area.

     19   Q.   All right.    And that door was closed when you were in the

     20   hall area; right?

     21   A.   I don't recall that.      I never went out that door or

     22   exited -- I never used that door right there.

     23   Q.   Okay.    Then how did you get to this patio?

     24   A.   There's a door behind this photo.           So we are looking west

     25   right now.     The other door is on the east side of that common


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    218
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 96
                                                                   Colorado
                                                                      of 234   pg
                                  219 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022   96


      1   area.    That's the door that we used to get into the -- into

      2   the common area.

      3   Q.   Okay.    The patio; right?

      4   A.   Patio, common area, yes.

      5   Q.   Well, it wasn't common to the whole building, was it?

      6   A.   I believe anybody that is a resident of that building was

      7   able to use that common area.

      8   Q.   What makes you think that?        What makes you think it wasn't

      9   only for the people on that floor?

     10   A.   I don't know.

     11   Q.   You don't know that; right?

     12   A.   I know it was a common area that was available to at

     13   least, you know, people -- a certain amount of people that

     14   rented apartments there.

     15   Q.   And the door to the hallway is locked, isn't it?

     16   A.   I believe it was locked.

     17   Q.   And you were in the hallway.         There was a locked door to

     18   get to this common patio area.         Who unlocked the door for you?

     19   A.   I believe it was Mr. or Mrs. Tew.

     20   Q.   So in terms of a locked door, that would indicate that it

     21   was not available to anybody in the building; right?

     22   A.   I don't know.

     23                MR. BORNSTEIN:   Could we have the other photo,

     24   please.

     25   BY MR. BORNSTEIN:


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    219
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 97
                                                                   Colorado
                                                                      of 234   pg
                                  220 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022    97


      1   Q.   Okay.    So this is looking the other direction; correct?

      2   A.   Yes, that's looking towards the east.

      3   Q.   And so is this the door you went out of?

      4   A.   I believe it is, yes.

      5   Q.   And what is this?

      6   A.   I believe that's another unit.

      7   Q.   Ah.    How many units per floor?

      8   A.   No idea.

      9   Q.   Well, you were out in the hallway.          You could count.

     10   A.   My job wasn't to count the units on the floor.            It was to

     11   keep an eye on one specific unit.

     12   Q.   All right.    While you were out there, you talked to

     13   Michael Tew about his employment at National Air Cargo; right?

     14   A.   I believe -- I don't recall the specifics of what I spoke

     15   to him about before Special Agent Anderson got there, but I do

     16   know that once she got there, NAC was brought up.

     17   Q.   And you were privy to that conversation.

     18   A.   Yes.

     19   Q.   And once she got there, NAC was brought up.           So it was

     20   brought up that he had worked for National Air Cargo; right?

     21   A.   I believe so, yes.

     22   Q.   And that he was no longer working for National Air Cargo;

     23   right?

     24   A.   Yes.

     25   Q.   And she asked questions about what he had done with


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     220
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 98
                                                                   Colorado
                                                                      of 234   pg
                                  221 of 460

          20-cr-00305-DDD                  Romero - Cross              10/12/2022   98


      1   National Air Cargo; right?

      2   A.     I don't recall if she had asked what he had done with

      3   National Air Cargo.         I just know that National Air Cargo was

      4   brought up.

      5   Q.     Well, she explained 18 United States Code 1001 to him, so

      6   that it was an explanation that says please don't lie to an

      7   FBI agent; right?

      8   A.     Again, she explained that code, but I wouldn't say that

      9   she used that -- that wording right there.

     10   Q.     No, but she said 1001 would get you in a lot of trouble;

     11   right?

     12   A.     Never said that.

     13   Q.     She said it's a felony, isn't it?

     14   A.     Never said that.

     15   Q.     What did she say?

     16   A.     Again, I believe she explained the nuances of 1001.           I

     17   don't believe she used that language right there.

     18   Q.     She essentially said don't lie to an FBI agent, didn't

     19   she?

     20   A.     She explained 1001.

     21   Q.     Isn't that don't lie to an FBI agent?        Isn't that -- isn't

     22   that what that's all about?

     23   A.     She explained 1001.

     24   Q.     All right.

     25               MR. BORNSTEIN:      Excuse me, Your Honor.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    221
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       285 Filed
                                             filed 01/24/25
                                                   12/27/22   USDC
                                                              Page 99
                                                                   Colorado
                                                                      of 234   pg
                                  222 of 460

          20-cr-00305-DDD                 Romero - Cross               10/12/2022    99


      1   BY MR. BORNSTEIN:

      2   Q.   Well, Mr. Romero, then what triggered the fact that you

      3   asked Michael Tew to come outside and be arrested?

      4   A.   I was informed that a warrant for his arrest had been

      5   issued.

      6   Q.   All right.    And you knocked on the door.

      7   A.   I did.

      8   Q.   And he opened the door?

      9   A.   He did.

     10   Q.   And you placed him under arrest.

     11   A.   I did.

     12   Q.   And he was barefoot?

     13   A.   I don't recall.

     14   Q.   You don't recall the fact that he needed to have his shoes

     15   put on?

     16   A.   Yes, he did have to have his shoes put on, yes.

     17   Q.   Do you recall his wife putting his shoes on because he

     18   couldn't do it with the handcuffs?

     19   A.   I believe that happened.

     20   Q.   And you believe that while his wife was putting on the

     21   shoes and he was handcuffed, one of his daughters was crying

     22   and screaming, Don't take my daddy, Don't take my daddy.              Do

     23   you remember that?

     24   A.   No.

     25   Q.   Do you remember the daughter saying, You promised that you


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     222
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC100
                                                                     Colorado
                                                                        of 234   pg
                                223 of 460

          20-cr-00305-DDD                 Romero - Redirect             10/12/2022    100


      1   would not arrest my daddy?

      2   A.   I do not recall that.

      3               MR. BORNSTEIN:     No further questions.

      4               THE COURT:      All right.    Thank you, Mr. Bornstein.

      5               MR. BORNSTEIN:     Where should I put Exhibit A and B,

      6   Your Honor?

      7               THE COURT:      You can give them to Mr. Keech for now.

      8               MR. BORNSTEIN:     Here's A.       What did I do with B?

      9               THE COURT:      It might still be on the overhead.

    10                COURTROOM DEPUTY:      It's over here.

    11                THE COURT:      Mr. Fields, any redirect?

    12                MR. FIELDS:     Very briefly, Your Honor.

    13                THE COURT:      All right.    Go ahead.

    14                              REDIRECT EXAMINATION

    15    BY MR. FIELDS:

    16    Q.   Special Agent Romero, do agents work in teams?

    17    A.   They do.

    18    Q.   Are there, sort of, separate IRS teams?

    19    A.   Yes.

    20    Q.   Sometimes will one team ask another team to perform tasks?

    21    A.   Yes.

    22    Q.   Why?

    23    A.   Depending on the volume of the workload, aspects of the

    24    case, it's simpler for someone to -- one team to perform

    25    surveillance while the other team is working on another aspect


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      223
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC101
                                                                  Colorado
                                                                     of 234   pg
                                224 of 460

          20-cr-00305-DDD                Romero - Redirect           10/12/2022    101


      1   of the case.

      2   Q.   So you weren't the case agent on this case, were you?

      3   A.   No, I was not, no.

      4   Q.   Have you been the case agent on other cases?

      5   A.   I have.

      6   Q.   When you have been the case agent on other cases, have you

      7   asked other agents to help you?

      8   A.   Yes, I have delegated the responsibility to other agents.

      9   Q.   When you have asked other agents to help you, what do you

    10    tell them?

    11    A.   Just the basics.       I don't give them a full background on

    12    the case.    I just tell them what they need to know to be

    13    successful with that specific task.

    14    Q.   Do you remember being shown that e-mail to someone on

    15    Bustabit?

    16    A.   I do.

    17    Q.   Are agents sometimes asked to serve process?

    18    A.   They are.

    19    Q.   What does that mean?

    20    A.   That means basically they are asked to serve subpoenas or

    21    summonses to third-party companies for information.

    22    Q.   So, as the case agent, sometimes on your own cases have

    23    you asked other agents to serve process?

    24    A.   Yes.

    25    Q.   When you do that, what do you tell them?


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   224
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC102
                                                                 Colorado
                                                                    of 234   pg
                                225 of 460

          20-cr-00305-DDD               Romero - Redirect           10/12/2022    102


      1   A.   Please serve this for me --

      2   Q.   Do you --

      3   A.   -- the attachment.     Thank you very much.

      4   Q.   Do you tell them anything else?

      5   A.   No.

      6   Q.   Why not?

      7   A.   Because they don't need to know.

      8   Q.   Have you asked other agents to do surveillance for you?

      9   A.   I have.

    10    Q.   When you ask them to do surveillance for you, what do you

    11    tell them?

    12    A.   Basically the specifics of the surveillance, maybe a

    13    description of the individuals involved, the cars in question,

    14    possibly small background on the case, but not the details.

    15    Q.   So in this particular case when you were asked to do

    16    surveillance, did you ask any questions about the case?

    17    A.   No.

    18    Q.   Why not?

    19    A.   Because I didn't need to know the case, the specifics, to

    20    be successful at the job I was asked to do.

    21    Q.   Now, you were asked a lot of questions about a PC arrest,

    22    et cetera.     Was this all a ruse to arrest Michael Tew?

    23    A.   No, it was not.

    24    Q.   Why did you go to the apartment that day?

    25    A.   To perform surveillance.       To identify whether Mr. Tew was


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  225
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC103
                                                                 Colorado
                                                                    of 234   pg
                                226 of 460

          20-cr-00305-DDD               Romero - Redirect           10/12/2022    103


      1   there.     And if he were to leave the apartment, to follow him.

      2   Q.   Who were the case agents on the case?

      3   A.   Special Agent Sarah Anderson and Special Agent Lisa

      4   Palmer.

      5   Q.   So we talked a little bit about a PC arrest.         What does it

      6   mean to make a PC arrest?

      7   A.   Have probable cause to basically initiate an arrest

      8   without a warrant being available.

      9   Q.   Does that mean that an agent would have to have sufficient

    10    information based on their, sort of, personal knowledge of a

    11    case to decide to make an arrest?

    12    A.   Yes.

    13    Q.   Did you have sufficient, sort of, information about the

    14    case to arrest Michael Tew?

    15    A.   No.

    16    Q.   Who would have?

    17    A.   Special Agent Palmer.     Special Agent Anderson.

    18    Q.   And what would they have done, based on your experience as

    19    an IRS agent, before making any determination like that?

    20    A.   They would have consulted with the U.S. Attorney's Office.

    21    Q.   You have been an IRS agent for how long?

    22    A.   25 years.

    23    Q.   In your experience, will agents sometimes try to interview

    24    a subject before making an arrest?

    25    A.   Yes.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  226
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC104
                                                                  Colorado
                                                                     of 234   pg
                                227 of 460

          20-cr-00305-DDD               Romero - Redirect            10/12/2022    104


      1   Q.   Why?

      2   A.   Typically more information would be available at that

      3   point before someone would be arrested.           People would be more

      4   inclined to speak at that point.

      5   Q.   And sometimes do you want to get your subject's side of

      6   the story before you make an arrest?

      7   A.   Yes.

      8   Q.   Why?

      9   A.   It's important to the case.        You have to know all aspects

    10    of the case.

    11    Q.   Is it typical when that happens, when you interview a

    12    subject before making an arrest or before making any

    13    decisions, are they detained?

    14    A.   No.

    15    Q.   Why not?

    16    A.   Because there is no PC developed at that point.           If there

    17    was, they would be arrested.        And there is no warrant that has

    18    been issued.

    19    Q.   All right.    Let's just talk about this timeline again so

    20    it's clear.

    21                When you first got there, what did you do?

    22    A.   1 o'clock we determined that the Tews' vehicle was in the

    23    garage.

    24    Q.   What did you do after that?

    25    A.   We then put two agents in the lobby guarding the -- not


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    227
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC105
                                                                 Colorado
                                                                    of 234   pg
                                228 of 460

          20-cr-00305-DDD               Romero - Redirect           10/12/2022    105


      1   guarding, but basically watching the elevator.          Then myself

      2   and two other agents were on the second floor where unit 224

      3   was located, and we just basically kept eyes on the unit.

      4   Q.   Did Michael Tew eventually come out?

      5   A.   He did.

      6   Q.   Okay.   Then, after that, was that the discussion out on

      7   the common area?

      8   A.   You mean as far as what we talked about?

      9   Q.   Yeah.

    10    A.   From what I recall, we didn't talk about anything

    11    specific.    I think, uh, talked about his children.         Uh, his

    12    wife was volunteering information as far as she asked if I

    13    knew about cryptocurrency, and she made some other statements.

    14    But as far as specifics of the case, nothing was asked at that

    15    point.

    16    Q.   Then Special Agent Anderson arrived?

    17    A.   Yes.

    18    Q.   Who took the lead at that point?

    19    A.   Special Agent Anderson did.

    20    Q.   Did that portion of the interview conclude?

    21    A.   My portion of the interview?

    22    Q.   Yeah.

    23    A.   Yes, it did.

    24    Q.   Then the portion with Special Agent Anderson, did it

    25    eventually conclude?


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  228
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC106
                                                                   Colorado
                                                                      of 234   pg
                                229 of 460

          20-cr-00305-DDD                 Romero - Redirect           10/12/2022    106


      1   A.   It did, yes.

      2   Q.   What happened at the conclusion of that portion?

      3   A.   She served a subpoena to Mr. Tew for Sand Hill LLC.

      4   Q.   Did he go back in his residence?

      5   A.   She did first.       She went, I believe it was 3:42, and he

      6   went in about 7 minutes later.

      7   Q.   Then after all of that had taken place, when was the

      8   decision made to make an arrest?

      9   A.   4:11.

    10    Q.   Who made that decision?

    11    A.   The decision was made by the case agent upon consultation

    12    with the U.S. Attorney's Office, the AUSA.

    13                 MR. FIELDS:    Your Honor, may I have just a moment?

    14                 THE COURT:     Sure.

    15    BY MR. FIELDS:

    16    Q.   One final subject matter.         You were shown all those

    17    reports.

    18    A.   Yes.

    19    Q.   Do you remember seeing that?

    20    A.   I do.

    21    Q.   Do you remember seeing the report from Emil Stark about an

    22    arrest?

    23    A.   I do.

    24    Q.   Based on your experience as an IRS agent, would that have

    25    been written before the arrest or after?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    229
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC107
                                                                     Colorado
                                                                        of 234   pg
                                230 of 460

          20-cr-00305-DDD                 Romero - Redirect             10/12/2022    107


      1   A.   After.

      2   Q.   Why?

      3   A.   Because you can't necessarily state all the facts as they

      4   are occurring.     You have to wait until time has passed.

      5   Typically we have a certain set time, but I think this was

      6   written within a day or so.         But you have to gather all the

      7   facts before you can memorialize it in your reports.

      8               MR. FIELDS:     No further questions, Your Honor.

      9               THE COURT:      All right.    Thank you, Mr. Fields.

    10                Agent Romero, you may step down.          Thank you.

    11                THE WITNESS:     Thank you.

    12                THE COURT:      All right.    It's 12:30.     Why don't we

    13    take a one-hour lunch break and return at 1:30 to continue.

    14    Thank you.

    15         (Proceedings recessed 12:30 p.m. to 1:34 p.m.)

    16                THE COURT:      Please take your seats.

    17                Welcome back.     Mr. Fields, I understand you have more

    18    witnesses.

    19                MR. FIELDS:     Yes, Your Honor.        Two more witnesses.

    20                THE COURT:      All right.    Go ahead.

    21                MR. FIELDS:     The United States calls Sarah Anderson

    22    to the stand.

    23         (The witness was sworn.)

    24                COURTROOM DEPUTY:      Please be seated.

    25                Please state your full name, and spell your first and


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      230
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC108
                                                                     Colorado
                                                                        of 234   pg
                                231 of 460

          20-cr-00305-DDD                 Anderson - Direct             10/12/2022    108


      1   last names for the record.

      2                THE WITNESS:    Sarah Anderson.        S-a-r-a-h,

      3   A-n-d-e-r-s-o-n.

      4                MR. FIELDS:    May I begin, Your Honor?

      5                THE COURT:     Yes, go ahead.

      6        SARAH ANDERSON, GOVERNMENT'S WITNESS, DIRECT EXAMINATION

      7   BY MR. FIELDS:

      8   Q.    Where do you work?

      9   A.    I work at the FBI Denver division.

    10    Q.    What is your title?

    11    A.    Special agent.

    12    Q.    Were you a special agent in 2020?

    13    A.    Yes.

    14    Q.    Where were you assigned?

    15    A.    I was assigned to a white collar financial crimes squad.

    16    Q.    How long have you been a special agent?

    17    A.    Since 2008.

    18    Q.    Have you had training in interviewing witnesses?

    19    A.    Yes.

    20    Q.    Describe that training for us.

    21    A.    I had new agent training at Quantico, Virginia, and then

    22    I've had just on-the-job training in interviewing.

    23    Q.    As part of that training, are you given instructions on

    24    when to issue something called a Miranda warning?

    25    A.    Yes.


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      231
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC109
                                                                 Colorado
                                                                    of 234   pg
                                232 of 460

          20-cr-00305-DDD               Anderson - Direct           10/12/2022    109


      1   Q.   Generally speaking, when would an agent give such a

      2   warning?

      3   A.   When an individual is in custody and you are attempting to

      4   interview them.

      5   Q.   What does that mean?

      6   A.   So when you have detained an individual, when they are no

      7   longer voluntarily with you.

      8   Q.   During your years in the FBI, approximately how many

      9   interviews would you say you have done?

    10    A.   Hundreds.

    11    Q.   Are you familiar with an investigation of Michael Aaron

    12    Tew and Kimberley Tew?

    13    A.   Yes.

    14    Q.   How are you familiar with it?

    15    A.   I'm the assigned case agent from the FBI for that case.

    16    Q.   Were you working on the case with any other agencies?

    17    A.   I was working with a co-case agent from IRS criminal

    18    investigation.

    19    Q.   Who is she?

    20    A.   Special Agent Lisa Palmer.

    21    Q.   On July 8th, 2020, did you receive information indicating

    22    that Michael Tew might be trying to flee?

    23    A.   Yes.

    24    Q.   Describe how that happened.

    25    A.   I was aware of a text communication that indicated he was


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  232
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC110
                                                                      Colorado
                                                                         of 234   pg
                                233 of 460

          20-cr-00305-DDD                Anderson - Direct               10/12/2022    110


      1   concerned Jonathan Yioulos was working with law enforcement, I

      2   think the FBI in particular, and was indicating he might need

      3   to get away, get out of the country.

      4   Q.   Where were you when you got this information that Michael

      5   Tew might be trying to flee?

      6   A.   Um, I can't recall specifically, but earlier that day I

      7   was in court on another proceeding.

      8   Q.   After you found out about the possibility that he might

      9   flee, what were you asked to do?

    10    A.   To go over to attempt to interview Michael Tew.               And I

    11    also had a subpoena that had been prepared, to serve him with

    12    a subpoena.

    13    Q.   Were you able to make it to Mr. Tew's residence right

    14    away?

    15    A.   Not immediately.       So initially the court proceeding, I

    16    thought, was anticipated to be done before lunch.               It ran

    17    long, so we came back in.       And that was after I was notified

    18    it would be good if I could go conduct an interview.                So after

    19    that was finished for the afternoon session, I went back to my

    20    office in order to get the subpoena.               I didn't have it with me

    21    at the time, and I wanted to print it and take it.

    22    Q.   Were you able to make it to the Tew residence that

    23    afternoon?

    24    A.   Yes.

    25    Q.   Around what time?


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       233
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC111
                                                                  Colorado
                                                                     of 234   pg
                                234 of 460

          20-cr-00305-DDD                Anderson - Direct           10/12/2022    111


      1   A.   Late afternoon.

      2   Q.   Where was the residence?

      3   A.   It was on East First Avenue in the Cherry Creek area.

      4   Q.   What did you do when you arrived?

      5   A.   When I arrived, I notified the IRS agents who were already

      6   located at the residence that I was -- I had just gotten

      7   there.   I think they were awaiting my arrival.          I met with one

      8   agent, and then I -- I walked with him up to the residence,

      9   where the residence area was.

    10    Q.   Describe the residence area for us.

    11    A.   So I was taken outside into, like, a courtyard area, what

    12    I'd describe as a courtyard area.           It was a common area that

    13    various apartments seemed to back up to.           And as I went out

    14    there, Mr. and Mrs. Tew were in a -- sort of a cordoned off

    15    area on their property.       It wasn't like a deck, but it was

    16    like a patio for their property.

    17    Q.   Let me pull up Government's Exhibit 8, page 35.           It's

    18    already in evidence.

    19                MR. FIELDS:     So just type in 08-035.

    20    BY MR. FIELDS:

    21    Q.   Do you recognize this photograph?

    22    A.   Yes.

    23    Q.   What do you see there?

    24    A.   Um, so you see the area I described as the patio area for

    25    the Tews' residence, and then beyond that there's like a


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   234
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC112
                                                                  Colorado
                                                                     of 234   pg
                                235 of 460

          20-cr-00305-DDD               Anderson - Direct            10/12/2022    112


      1   retaining wall and then more of an open courtyard area with a

      2   fire pit and some seating around it.

      3   Q.   So when you got to this area, could you point out for

      4   us -- you can actually draw on the monitor -- where did you

      5   see the Tews?

      6   A.   Behind the patio wall here.

      7   Q.   Where were the agents?

      8   A.   Spread around the courtyard area beyond that patio wall.

      9   Q.   How were you dressed?

    10    A.   I was dressed like much like I am today.

    11    Q.   Business casual?

    12    A.   Um, I was in a suit, I believe.          I had just come from

    13    court.

    14    Q.   Suit, with a jacket?

    15    A.   Yes, with a jacket.

    16    Q.   Were you armed?

    17    A.   Yes.

    18    Q.   Where was your firearm?

    19    A.   It was on my -- it was on my waist.

    20    Q.   In a holster?

    21    A.   Yes.

    22    Q.   Was it visible?

    23    A.   Not evidently visible.      I can't say it was never visible,

    24    depending on clothing movement, but it was concealed under a

    25    jacket.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   235
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC113
                                                                 Colorado
                                                                    of 234   pg
                                236 of 460

          20-cr-00305-DDD               Anderson - Direct           10/12/2022    113


      1   Q.   All right.    So when you got into this common area, what

      2   did you do?

      3   A.   So I spoke with Mr. and Mrs. Tew and told Mr. Tew I'd like

      4   to ask him some questions regarding his previous employment at

      5   National Air Cargo.

      6   Q.   How did he respond?

      7   A.   He indicated that he'd be willing to answer some

      8   questions.

      9   Q.   Did you ask him some questions?

    10    A.   I did.

    11    Q.   And so what happened as you proceeded to ask him

    12    questions?

    13    A.   So we proceeded over towards the fire pit area and then

    14    sat around on the sofa at the fire pit area.          Just Mr. Tew

    15    came over to that location and was seated.         I began to ask him

    16    questions about National Air Cargo and his employment there.

    17    Q.   Did he answer your questions?

    18    A.   Yes.

    19    Q.   At some point during this initial part of the encounter

    20    did you ask to record the interview?

    21    A.   Yes.

    22    Q.   What happened when you asked?

    23    A.   So Mrs. Tew, she was not seated with us at the courtyard

    24    area.   She was at the retaining wall area of the patio, but

    25    she could hear what was going upon and sort of participating


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  236
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC114
                                                                  Colorado
                                                                     of 234   pg
                                237 of 460

          20-cr-00305-DDD               Anderson - Direct            10/12/2022    114


      1   in an offset area.     But she yelled over not to record, that

      2   they did not want to allow the interview to be recorded.

      3   Q.   How did you respond to that request?

      4   A.   I didn't engage the recorder.         I didn't turn it on.

      5   Q.   So during the course of your interview, were there any

      6   times where Mr. Tew declined to answer questions?

      7   A.   Yes.

      8   Q.   Describe that for us.

      9   A.   So there were pauses in the interview where he would say,

    10    um, you know, I don't want to answer the question, or rather

    11    than answering the question ask a question of us, sort of, um,

    12    what we were doing, what this was all about.           And at times

    13    during the interview Mrs. Tew would interject and sometimes

    14    volunteer information that I wasn't soliciting, that wasn't in

    15    response to the question I was asking.

    16    Q.   At some point during the interview did you give him

    17    something called a 1001 warning?

    18    A.   Yes.

    19    Q.   What is that?

    20    A.   So during the interview it became apparent -- it became

    21    apparent to me in at least one occurrence that I was receiving

    22    an answer that wasn't being forthright.           So after that

    23    occurred, I just told him that it's a federal offense to lie

    24    to a federal officer.

    25    Q.   How did he respond to that?


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   237
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC115
                                                                    Colorado
                                                                       of 234   pg
                                238 of 460

          20-cr-00305-DDD               Anderson - Direct              10/12/2022    115


      1   A.   Just acknowledged.

      2   Q.   Did he stop the interview?

      3   A.   Um, no.      And at the time I provided that, the interview

      4   was effectually over already.

      5   Q.   At some point during the interview did Kimberley give

      6   instructions to Michael?

      7   A.   Yes.   She -- she told him that he shouldn't answer any

      8   further questions and should revisit the interview at a later

      9   time.

    10    Q.   After she gave that instruction, what did you do?

    11    A.   I said:      I'd be happy to do that.        I just want to set up a

    12    date and time that we could do it.

    13    Q.   What happened when you tried to set up a date and time?

    14    A.   So initially I just asked for a phone number so that I

    15    could recontact them to -- to set up the appointment, but I

    16    wasn't provided a telephone number.           So I asked for another

    17    form of communication, like an e-mail, that I could

    18    communicate with them.

    19    Q.   Were you given an e-mail?

    20    A.   Yes.

    21    Q.   Now, during this interview, was -- do you see this door

    22    here on the right-hand side of this photograph, Government's

    23    Exhibit 35?

    24    A.   Yes.

    25    Q.   Where does that lead to?


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     238
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC116
                                                                    Colorado
                                                                       of 234   pg
                                239 of 460

          20-cr-00305-DDD               Anderson - Direct              10/12/2022    116


      1   A.   That goes into the Tews' residence.

      2   Q.   Was it open during the entire interview?

      3   A.   To the best of my recollection, it was open, and I -- it

      4   was open, but concealed because I think there were window

      5   coverings kind of hanging down.         So it was -- the residence

      6   itself seemed obscure.

      7   Q.   Were there children present during the interview?

      8   A.   Yes.

      9   Q.   Where were they?

    10    A.   They were in different locations.            They were in and out of

    11    the unit from time to time.       I can't recall if they were

    12    frequently on the other side of the retaining wall, like the

    13    patio wall, but I know they were -- the majority of the time

    14    they spent on that patio area.

    15    Q.   Did the Tews themselves move around during the interview?

    16    A.   Yes.

    17    Q.   Describe that for us.

    18    A.   Well, Mr. Tew, at one point during the interview when he

    19    agreed to answer questions he sat along the fire pit area.

    20    Then subsequent to a few questions being asked, he got up and

    21    returned to the area behind the retaining wall.

    22    Q.   All right.    Could you describe to us how the interview

    23    came to an end?

    24    A.   It ended, um, after I made the attempt to get the e-mail

    25    address and obtain that, and then at the conclusion of the


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     239
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC117
                                                                   Colorado
                                                                      of 234    pg
                                240 of 460

          20-cr-00305-DDD               Anderson - Direct             10/12/2022     117


      1   interview I provided a subpoena for records to Mr. Tew related

      2   to his entity Sand Hill.

      3   Q.   What happened at that point?

      4   A.   I just told him I have a subpoena for records I'd like to

      5   give to him he took from me.        Typically when I give someone a

      6   subpoena, I just show them that the contact information for

      7   the U.S. Attorney's Office and the AUSA handling the matter is

      8   on the front and explain that there's a second page to the

      9   subpoena about how to comply with it and where to send the

    10    records to so there's no questions.

    11    Q.   How would you describe the tone of the interview?

    12    A.   Um, I would say that it was not a very fruitful interview

    13    in that many of the questions I asked were just not answered.

    14    I didn't think that they were going to be forthright.                I think

    15    they were more just trying to figure out what I was there for

    16    specifically.

    17    Q.   Were any voices raised?

    18    A.   Um, Mr. Tew was pretty quiet.         Kimberley Tew sometimes,

    19    um, became a little more irritable during the course of the

    20    interview.

    21    Q.   At the end of the interview where did Michael Tew go?

    22    A.   Um, I -- I believe when I left the interview area he was

    23    in the courtyard, like his patio area.            And I departed the

    24    area prior to him actually going back inside his residence.

    25    Q.   What did you do when you left the interview?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     240
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC118
                                                                 Colorado
                                                                    of 234   pg
                                241 of 460

          20-cr-00305-DDD               Anderson - Direct           10/12/2022    118


      1   A.   I had a phone call coming in, and so I took a phone call,

      2   but I went back inside the corridor of the apartment complex

      3   itself.

      4   Q.   Who was the phone call with?

      5   A.   It was with AUSA Hetal Doshi.

      6   Q.   Was a decision made as a result of that phone call?

      7   A.   Yes.   I spoke with AUSA Doshi and just told her what had

      8   happened during the course of the interview, and then she gave

      9   me a green light, if you will, to go ahead and execute a

    10    probable cause arrest on Mr. Tew.

    11    Q.   What is a probable cause arrest?

    12    A.   It's an arrest based on knowledge of the case without

    13    having a warrant issued, a physical warrant.

    14    Q.   Did you have probable cause to make an arrest before you

    15    went to the apartment that day?

    16    A.   I believed I did.

    17    Q.   But had you decided to make an arrest before you went to

    18    the apartment that day?

    19    A.   No.

    20    Q.   Why not?

    21    A.   Um, one basic reason was I had never made a probable cause

    22    arrest prior to this incident, so it was unusual for me to do

    23    so in any of my cases.      And at the time I really just wanted

    24    to solicit information to see if he would cooperate in our

    25    investigation and also just to see what kind of answers or


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  241
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25         Page
                                                                  USDC119
                                                                       Colorado
                                                                          of 234   pg
                                242 of 460

          20-cr-00305-DDD                     Anderson - Cross            10/12/2022    119


      1   confessions I might be able to get from him.

      2   Q.     So when you got back into that courtyard, where was

      3   Michael Tew?

      4   A.     He was inside the residence.

      5   Q.     Describe how he was arrested.

      6   A.     So we remade contact with him.             And I actually can't

      7   recall if we called him out, if there was still an open

      8   doorway, or if we called him out and said, Mr. Tew, we need

      9   you to step outside, or we knocked and then told him he needed

    10    to step outside.     But he stepped outside into that courtyard

    11    area, and then we informed him he was under arrest, and then

    12    he was handcuffed.

    13                 MR. FIELDS:    Your Honor, may I have a moment?

    14                 THE COURT:     Sure.

    15                 MR. FIELDS:    Your Honor, I have no further questions.

    16                 THE COURT:     All right.        Thank you, Mr. Fields.

    17                 Mr. Bornstein, cross-examination?

    18                 MR. BORNSTEIN:    Thank you.

    19                                 CROSS-EXAMINATION

    20    BY MR. BORNSTEIN:

    21    Q.     Good afternoon, Agent Anderson.

    22    A.     Good afternoon.

    23    Q.     I'm Peter Bornstein.     I represent Michael and Kimberley

    24    Tew.    We have not met before; right?

    25    A.     No.


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                        242
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC120
                                                                   Colorado
                                                                      of 234   pg
                                243 of 460

          20-cr-00305-DDD                Anderson - Cross             10/12/2022    120


      1   Q.   Okay.   Let me walk a little backwards here.          We're talking

      2   about July 8th, 2020.       When was a complaint filed in the

      3   court?

      4   A.   On July 8, 2020.

      5   Q.   And that complaint was filed by AUSA Doshi?

      6   A.   Yes.

      7   Q.   Was that complaint -- was there an affidavit attached to

      8   that complaint?

      9   A.   Yes.

    10    Q.   And were you the author of that affidavit?

    11    A.   No.

    12    Q.   Who was the author of that affidavit?

    13    A.   My co-case special agent, Lisa Palmer.

    14    Q.   Okay.   When was the affidavit prepared?

    15    A.   I can't say specifically, but I believe it was prepared

    16    when the decision was made to arrest Michael Tew.

    17    Q.   So do you think it was prepared late in the afternoon?

    18    A.   I do.

    19    Q.   And you had a -- but you had a subpoena that was signed

    20    that was issued for Sand Hill.

    21    A.   Yes.    I actually had two subpoenas, one for Sand Hill and

    22    one for a different entity, that were both prepared in advance

    23    of a potential interview with Mr. Tew.            I only served one

    24    subpoena.

    25    Q.   Not the other one?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    243
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC121
                                                                  Colorado
                                                                     of 234   pg
                                244 of 460

          20-cr-00305-DDD                 Anderson - Cross           10/12/2022    121


      1   A.   I served the other one to the registered agent, which was

      2   a company located in the Denver Tech Center, later on.

      3   Q.   Okay.   So was this subpoena signed by an AUSA, or was it

      4   an administrative subpoena issued by the IRS?

      5   A.   It wasn't an administrative subpoena.

      6   Q.   It was or not?

      7   A.   It was not.

      8   Q.   So it was one that was signed by an AUSA?

      9   A.   Yes.

    10    Q.   And had you met with -- was that AUSA Doshi?

    11    A.   Yes.

    12    Q.   Okay.   Had you met with her to physically obtain the

    13    subpoena?

    14    A.   I had not.

    15    Q.   Had Agent Palmer met with her to physically obtain the

    16    subpoena?

    17    A.   I can't say for certain, but I don't think so, because I

    18    believe she was still in Buffalo, New York, around the time

    19    that the subpoena was being prepared.

    20    Q.   Okay.   So the subpoena -- this wasn't a subpoena that you

    21    were faxed or e-mailed.

    22    A.   I received it via e-mail after it was, I guess, um, after

    23    it was prepared.

    24    Q.   All right.    All right.     So do you know about -- were you

    25    in verbal contact or e-mail contact with the AUSA Doshi that


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   244
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC122
                                                                  Colorado
                                                                     of 234    pg
                                245 of 460

          20-cr-00305-DDD               Anderson - Cross             10/12/2022     122


      1   day?

      2   A.     I was in telephonic contact.

      3   Q.     All right.   So she was the one who called you and said,

      4   Arrest him?

      5   A.     No, she didn't call me to say, Arrest me [sic].         She

      6   called to ask how the contact with him went, how the interview

      7   went.

      8   Q.     Right.

      9   A.     Yes.

    10    Q.     And you said, Not well, and then she said, Arrest him?

    11    A.     I told them his responses to some of the questions I

    12    received, and I told them my opinion that he wasn't being

    13    forthright with some of his responses.           And then she told me,

    14    based upon the scheme that we had uncovered previously, that

    15    it would be advisable to arrest him under probable cause.

    16    Q.     All right.   Now, I was under the impression, having just

    17    talked with Agent Romero -- and you were listening to that

    18    colloquy; right?

    19    A.     Yes.

    20    Q.     He seemed to indicate that he was arrested pursuant to a

    21    warrant that afternoon.

    22    A.     Yes.

    23    Q.     Is he wrong?

    24    A.     I think he was mistaken, yes.

    25    Q.     Now, usually there's a warrant that goes along with a


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    245
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC123
                                                                      Colorado
                                                                         of 234   pg
                                246 of 460

          20-cr-00305-DDD                     Anderson - Cross           10/12/2022     123


      1   complaint filed in this court for a arrest pursuant to -- or a

      2   case that's beginning by a complaint before a grand jury.                    Do

      3   you -- do you know if there was a warrant issued out of this

      4   court?

      5   A.   I'm a little confused on what you are asking, but I know

      6   there was a warrant issued.             It was -- a complaint was filed

      7   later that evening, and I did receive a copy of the warrant

      8   that evening, but he was already booked into the downtown

      9   detention center.

    10    Q.   So you are aware that, in terms of procedure, if the

    11    AUSA -- if the U.S. Attorney's Office is proceeding with a

    12    complaint, as opposed to an indictment, they always get a

    13    warrant to go along with it.

    14    A.   Yes.

    15    Q.   Okay.    But you think that the warrant in this case was

    16    issued after he was arrested.

    17    A.   Yes.

    18                 MR. BORNSTEIN:    Your Honor, is the warrant in the

    19    case file?

    20                 THE COURT:     Yeah.

    21                 MR. BORNSTEIN:    And with a timestamp on it?

    22                 THE COURT:     Well, let me look.

    23                 DEFENDANT K. TEW:        I have the return of the warrant.

    24    They tried to get it signed.

    25                 THE COURT:     I don't see any time information on the


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                            246
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25            Page
                                                                     USDC124
                                                                          Colorado
                                                                             of 234   pg
                                247 of 460

          20-cr-00305-DDD                     Anderson - Cross               10/12/2022    124


      1   docket, no.

      2               MR. BORNSTEIN:     So the file just indicates the

      3   warrant itself?

      4               THE COURT:      Right.

      5               MR. BORNSTEIN:     Okay.

      6               THE COURT:      And the day, but not the time.

      7               COURTROOM DEPUTY:         Your Honor, was that a warrant in

      8   this case or the underlying MJ case?

      9               THE COURT:      Oh, the arrest warrant, which I think is

    10    document 2 on the docket.            I think that's what we're talking

    11    about.   Right?    The arrest warrant for Mr. Tew --

    12                MR. BORNSTEIN:     That's what I --

    13                THE COURT:      -- on July 8th?            That's what we're

    14    talking about?

    15                MR. BORNSTEIN:     That's what we're talking about.

    16                THE COURT:      That's what I have.           I don't see a time.

    17                MR. BORNSTEIN:     Okay.        Thank you for looking.

    18                THE COURT:      Sure.     Go ahead.

    19    BY MR. BORNSTEIN:

    20    Q.   All right.    So now let me go back -- I started at the end.

    21    Let me go back a bit.

    22                That morning you believe that your co-agent Lisa

    23    Palmer was in Buffalo, New York?

    24    A.   Yes.

    25    Q.   And you understood that she was interviewing Jonathan


          Julie H. Thomas, RMR, CRR                                             (303)335-2111


                                                                                           247
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC125
                                                                    Colorado
                                                                       of 234   pg
                                248 of 460

          20-cr-00305-DDD                Anderson - Cross              10/12/2022    125


      1   Yioulos.

      2   A.    Or was in Buffalo because in the preceding days she had

      3   interviewed him.     I don't have a recollection if she met with

      4   him on the 8th or not.      I know she had traveled out there to

      5   conduct an interview.

      6   Q.    All right.    I mean, I know we have an audio of an

      7   interview on the 7th.       I just was interested if there was also

      8   a follow-up meeting on the 8th.

      9   A.    Yes, I don't recall if there was or not.

    10    Q.    But, anyway, she was the source of the information that

    11    the Tews were going to flee.

    12    A.    Yes.    She had received, I believe, a text message

    13    forwarded on to her from Mr. Yioulos.             So she was the, I

    14    guess, the go-between.      I think the source was Mr. Yioulos.

    15    Q.    Okay.   So Yioulos had a text message.          He showed it to

    16    Agent Palmer.      Agent Palmer relayed to you the contents.

    17    A.    Yes.

    18    Q.    And the contents of that text message was both Mr. and

    19    Mrs. Tew were going to flee the country.

    20    A.    Without looking at it again, I couldn't say if it was

    21    inclusive, or if it was one of them, or if you could determine

    22    if it was indicating both or one would want to flee.              I'd have

    23    to look at it again, but it was indicating that he wanted to

    24    flee the country or was -- I think, it was best for him to do

    25    so.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     248
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC126
                                                                   Colorado
                                                                      of 234   pg
                                249 of 460

          20-cr-00305-DDD                  Anderson - Cross           10/12/2022    126


      1   Q.   Did it indicate what they were going to do with their

      2   children?

      3   A.   No.

      4   Q.   You knew they had children.

      5   A.   Yes.

      6   Q.   And you took that seriously.

      7   A.   The text message?

      8   Q.   Yes.

      9   A.   Yes.

    10    Q.   And that would be normal FBI procedure to say if you have

    11    word that a suspect under investigation was going to flee the

    12    country, to stop them -- to stop them from doing so; correct?

    13    A.   It's a concern.        I wouldn't necessarily say it falls under

    14    any specific procedure.

    15    Q.   In your experience, there have been many instances where

    16    individuals under investigation get stopped at one or another

    17    airport about to board a plane and taken off the plane and

    18    said, You're not leaving, and put under arrest; right?

    19    A.   I don't have a lot of personal experience with it, with

    20    those -- that type of cases where individuals are attempting

    21    to flee.    I don't think it's outside the realm of reason, but

    22    I don't have a lot of experience with it.

    23    Q.   All right.    At least you have read reports or even media

    24    reports about the FBI stopping people at the airport or even

    25    taking them off of a plane before it leaves; correct?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    249
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC127
                                                                   Colorado
                                                                      of 234    pg
                                250 of 460

          20-cr-00305-DDD                  Anderson - Cross           10/12/2022     127


      1   A.   Um, yes.

      2   Q.   In your mind, you were not going to let the Tews, one or

      3   both, leave this country; right?

      4   A.   Well, I was concerned that they were attempting to flee.

      5   It wasn't a steadfast, um, hard line that they wouldn't flee.

      6   I didn't have any preconceived notions about what they were

      7   going to do.

      8   Q.   Let me ask you.        This came from Jonathan Yioulos.         At that

      9   point in time did you believe Mr. Yioulos?

    10    A.   Yes, I had no reason to doubt the -- the text that he had

    11    received.

    12    Q.   And you don't remember the contents of that text.

    13    A.   I remember the generalization of it, but I don't unless I

    14    saw it specifically again to refresh my memory.

    15    Q.   In any event, you were sufficiently concerned that you

    16    contacted not FBI agents but you contacted IRS agents to

    17    assist; is that right?

    18    A.   No, I didn't make any contact with the IRS agents.

    19    Q.   That came from Buffalo.

    20    A.   I think it came just from the IRS office itself.

    21    Q.   Was there a specific request from Agent Palmer sitting in

    22    Buffalo saying do something, take some action?

    23    A.   I don't know specifically who gave the overall order to

    24    contact him immediately.

    25    Q.   All right.    But you knew about that order.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     250
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC128
                                                                     Colorado
                                                                        of 234   pg
                                251 of 460

          20-cr-00305-DDD                Anderson - Cross               10/12/2022     128


      1   A.   Yes.

      2   Q.   How did you find out?

      3   A.   When I was in court earlier that day, I think we had a

      4   lunch recess, so I went out and checked my phone in my car and

      5   saw voicemails or -- I'm not sure if it was a voicemail, but

      6   it might have had a voicemail to return a call.              So I called

      7   Hetal Doshi, or perhaps I took a call while I was out on the

      8   recess.     I can't specifically remember, but I spoke with her,

      9   and she asked me if I could go over to the Tews' residence

    10    because there was IRS agents gonna stand by to try to

    11    interview him and get a subpoena served.             I just informed her

    12    that I couldn't immediately do that, I had an obligation I had

    13    to continue with.      And then when that was over, then I

    14    proceeded over there.

    15    Q.   So I'm -- listening to your testimony, I'm beginning to

    16    get an idea that AUSA Doshi was in the middle of all of this.

    17    A.   Yes.

    18    Q.   So that she would be the one who would receive information

    19    from Agent Palmer.      She would relay information to you.            You

    20    would relay information back to her.              And she was kind of the

    21    captain of the ship.

    22    A.   In part.     She was engaged.

    23    Q.   Okay.

    24                 Okay.   So she told you that at least four, maybe

    25    five, IRS agents had been dispatched to the apartment on


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                       251
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC129
                                                                 Colorado
                                                                    of 234   pg
                                252 of 460

          20-cr-00305-DDD                Anderson - Cross           10/12/2022    129


      1   Second [sic] Avenue.

      2   A.   I don't remember her specifying a number, but she did

      3   indicate IRS agents had gone to his residence and that they

      4   were expecting me to arrive to conduct an interview.

      5   Q.   And AUSA Doshi knew this, but you don't know how she knew

      6   this.

      7   A.   Not specifically, no.

      8   Q.   All right.      But she did tell you IRS agents were over at

      9   the -- coming over to the apartment.

    10    A.   Yes.

    11    Q.   And did she tell you that one of their operational

    12    instructions was, Don't let Mr. Tew leave?

    13    A.   No.

    14    Q.   What did you know about the instructions to the IRS

    15    agents?

    16    A.   The instructions that I knew was they were standing by

    17    because it was thought prudent to try to conduct an interview

    18    of Mr. Tew.       But because the co-case agent was not in the area

    19    at the time, none of the IRS agents who were asked to go to

    20    assist with interviews would have had any knowledge of the

    21    case, so they were standing by for my arrival, because I would

    22    have had the case -- historic case knowledge.

    23    Q.   When you arrived, you found at least two agents in the

    24    first floor by the elevator where anybody would leave?

    25    A.   I can't remember how many.        It was a little bit of a


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  252
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC130
                                                                    Colorado
                                                                       of 234   pg
                                253 of 460

          20-cr-00305-DDD               Anderson - Cross               10/12/2022    130


      1   whirlwind when I first arrived, but I did arrive.             I met one

      2   agent from the IRS in the parking lot, and he then walked me

      3   up.   And I can't remember even walking through the lobby at

      4   that time.      There was also some, like, interior stairwells.

      5   So I don't know if we went up through the elevator in the

      6   lobby or if we just went in one of the stairwells and walked

      7   up to the second floor --

      8   Q.    This --

      9   A.    -- that they had already had access to.

    10    Q.    This parking lot was attached to the building.            It was for

    11    tenants.

    12    A.    It was adjacent to the building.           It was a surface lot.

    13    Q.    Okay.   Was it open or closed?

    14    A.    It was open.    There is a closed lot under the building I

    15    think you might need a pass code or keycard to get into, but I

    16    just parked in a lot behind the building that I considered to

    17    be probably overflow or maybe for the residences there.

    18    Q.    All right.    And an agent met you there in the parking lot.

    19    A.    Yes.

    20    Q.    And he directed you up to the second floor, whether it was

    21    by elevator or stairs.

    22    A.    Yes.

    23    Q.    So when you got up to the second floor, was the

    24    apartment [sic] to 222 open or closed?            Or 224.

    25    A.    I think it was -- it's Apartment 224, but I don't -- I


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     253
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC131
                                                                   Colorado
                                                                      of 234   pg
                                254 of 460

          20-cr-00305-DDD                  Anderson - Cross           10/12/2022    131


      1   didn't go to the front of the apartment unit, the one that

      2   would be -- the entrance that would let out into the common

      3   interior hallway.     I was escorted by the IRS agent to the

      4   courtyard area.

      5   Q.   Okay.   And was that door locked at that time, or was that

      6   door left open?

      7   A.   I don't recall.        We -- the two of us, without anyone

      8   opening it for us, were able to make entry into the courtyard.

      9   So I don't know if it was propped open or if he had a card.               I

    10    don't remember.     We just went into the courtyard area.

    11    Q.   When you went into the courtyard area, you found the rest

    12    of the IRS agents already there.

    13    A.   Yes.

    14    Q.   And I believe, from Agent Romero, that would be Agent

    15    Stark, Agent Romero, and one other agent.

    16    A.   Um --

    17    Q.   I'm trying to remember the name he gave us --

    18    A.   Yes, um --

    19    Q.   -- but I don't remember it.

    20    A.   Agent Molotov or --

    21    Q.   Okay.   So those three were already there in the rear of

    22    the apartment area that is either a patio or a common area or

    23    whatever name we are going to give it.

    24    A.   Yes.

    25    Q.   Were those agents around the fire pit?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    254
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC132
                                                                 Colorado
                                                                    of 234   pg
                                255 of 460

          20-cr-00305-DDD               Anderson - Cross            10/12/2022    132


      1   A.   Um, no, I wouldn't say they were around the fire pit.

      2   They were throughout that courtyard area.         I think one might

      3   have been leaning against a wall.          They weren't seated, um,

      4   but they were just in that general area.

      5   Q.   Okay.   Was there an agent watch -- making surveillance in

      6   the hallway leading to the main door to the apartment?

      7   A.   Yeah, I don't think I was aware of it at the time, but I

      8   later learned there were additional IRS agents located in the

      9   vicinity of the apartment.

    10    Q.   Okay.   They were located and positioned in a way that if

    11    Mr. Tew had tried to bolt out of the front door of the

    12    apartment, he would be stopped by an agent.

    13    A.   I don't know what their intentions were.         I wasn't even

    14    sure -- I didn't know they were there until after we executed

    15    an arrest.

    16    Q.   Well, I'm sure you'd noticed these males standing around

    17    who looked like agents.      I mean, you knew they were there.

    18    A.   The three that were on the courtyard, but the way we made

    19    entry to the courtyard from the parking lot, there were two

    20    other IRS agents there, but I didn't know they were there

    21    until after --

    22    Q.   Okay.

    23    A.   -- we made contact with Mr. Tew.

    24    Q.   But now you know that there was one waiting in the hallway

    25    so that if Mr. Tew were to try to bolt and leave via the main


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  255
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC133
                                                                    Colorado
                                                                       of 234   pg
                                256 of 460

          20-cr-00305-DDD                 Anderson - Cross             10/12/2022     133


      1   door, he could be stopped.

      2   A.   I'm not sure what -- what they were standing out there for

      3   or where they were located during that period of time.

      4   Q.   All right.    Well, then let me ask you this.          You certainly

      5   were not surprised, when you walked into the outdoors, to see

      6   three agents out there with -- waiting for you.

      7   A.   Initially I was a little surprised.            I just thought I'd --

      8   when I went up, I initially thought I'd have a moment before

      9   making contact with Mr. Tew myself initially to kind of get a

    10    little handoff or this is what's going on.            I didn't realize

    11    they were already in contact with Mr. and Mrs. Tew when I went

    12    out there initially.        In fact, I probably would have liked to

    13    have gotten the recorder on and done an intro into the

    14    recorder, and then I was caught cold out in the courtyard and

    15    began to engage with Mr. and Mrs. Tew.

    16    Q.   And at that point you said he was sitting on a couch.                 She

    17    was behind the wall.

    18    A.   No, he wasn't sitting on the couch.            I think he came over

    19    to the couch when he agreed to answer some questions, and then

    20    we thought let's sit down, and it turned into a conversation.

    21    I can't remember exactly where he was.             He might have been in

    22    the courtyard.     He might have been on the patio initially.

    23    Q.   All right.    So I'm looking at the report that Agents Stark

    24    and Romero prepared, and they say that At approximately

    25    3:12 p.m. FBI Special Agent Sarah Anderson arrived.              Is that


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                       256
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC134
                                                                  Colorado
                                                                     of 234   pg
                                257 of 460

          20-cr-00305-DDD                Anderson - Cross            10/12/2022    134


      1   accurate?

      2   A.   That sounds about accurate.

      3   Q.   Okay.   And it said the first -- She confirmed with Michael

      4   and Kimberley that there were no weapons in the residence.

      5   A.   Yes.

      6   Q.   Okay.   Now, that's standard procedure, is it not, to

      7   determine that your safety is secured because there's no

      8   weapons in the residence?

      9   A.   Typically.    I like to feel a little safe, and because of

    10    the location where we were and not being able to see into the

    11    residence, I just wanted to kind of make sure that our safety

    12    wasn't, um, at risk.

    13    Q.   All right.    Now, would you agree with me that when one of

    14    the first things out of the mouth of an FBI agent -- I mean,

    15    I'm sure you identified yourself.           Maybe you showed your

    16    badge, or I don't know if you did or not, but as soon as you

    17    identify yourself, I'm Sarah Anderson, I'm with the FBI, are

    18    there any weapons around, that that would alert the suspect

    19    that something is afoot; right?

    20    A.   It might.

    21    Q.   Okay.   All right.     And then you told Mr. Tew that you were

    22    there because of his previous employment with National Air

    23    Cargo and some credit card and gift card activities.            Is that

    24    accurate?

    25    A.   That is accurate.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                    257
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC135
                                                                  Colorado
                                                                     of 234   pg
                                258 of 460

          20-cr-00305-DDD                 Anderson - Cross           10/12/2022    135


      1   Q.   All right.    And Mrs. Tew responded that they didn't want

      2   to answer any questions about, what, credit card and gift

      3   cards?   Is that what she said?

      4                It says here that she -- She responded they didn't

      5   want to answer any questions and then stated multiple times

      6   they had filed IC3 reports two years ago on Craig LN -- last

      7   name unknown.

      8   A.   Yes.

      9   Q.   And at that point in time you knew who Craig last name

    10    unknown was, Craig Fiken; right?

    11    A.   I did know who she was referring to, yes.

    12    Q.   And an IC3 report is an FBI internet report of what?

    13    A.   It's -- we call it IC3.gov report, but it's a report that

    14    someone submits when they want to file a complaint on an

    15    internet-based crime.       It goes to a portal so they can be

    16    sorted and allocated properly.

    17    Q.   But it's an FBI portal?

    18    A.   Yes.

    19    Q.   Okay.    And then one of the Tews explained that the IC3 is

    20    for internet crimes.        And you already knew that, but they were

    21    telling you that?

    22    A.   Yes.    I didn't actually ask about that, but they

    23    volunteered that they had submitted those reports.

    24    Q.   And then you said, I want to record this conversation, and

    25    Mrs. Tew said, We don't consent.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   258
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC136
                                                                  Colorado
                                                                     of 234   pg
                                259 of 460

          20-cr-00305-DDD               Anderson - Cross             10/12/2022    136


      1   A.   Correct.

      2   Q.   And you honored that.

      3   A.   Yes.

      4   Q.   But you also know that once you take out your recording

      5   and say, I want to record the statement, that alerts the

      6   suspect that the FBI is serious about this.

      7   A.   I can't say what they thought when I asked to record it,

      8   but they declined.

      9   Q.   Then, according to this, Mrs. Tew said -- asked why were

    10    the agents there and why had they come.           Is that right?

    11    A.   Yes.

    12    Q.   And then at that point she wondered why somebody had

    13    grabbed Michael, and they went through this issue about

    14    whether Michael was grabbed or not grabbed.

    15    A.   I don't recall a lot of that conversation.          I know it's in

    16    the report, but I don't -- I didn't have a context for it when

    17    I showed up as to what was being talked about, so I really

    18    didn't, um -- that didn't register with me at the time.

    19    Q.   Did you ever get a report from Mr. -- Agent Romero about

    20    what he had learned prior to your arrival?

    21    A.   No.

    22    Q.   Did you ever ask him, What did you ask and what did you

    23    learn prior to my arrival?

    24    A.   No.

    25    Q.   All right.    But at the time of your arrival and your


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   259
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC137
                                                                 Colorado
                                                                    of 234   pg
                                260 of 460

          20-cr-00305-DDD               Anderson - Cross            10/12/2022     137


      1   questions, you were still not going to Mirandize Mr. Tew.

      2   A.   No.

      3   Q.   But then you did ask him that you wanted to ask him about

      4   his previous employment at National Air Cargo.

      5   A.   Yes.

      6   Q.   And then he told you facts.        Like, he said, I was referred

      7   for employment by an older gentleman that worked for National

      8   Air Cargo by a contract through his company Sand Hill.             And

      9   those were facts that you learned.

    10    A.   Yes.

    11    Q.   And then you learned that Chris Alf is the owner of NAC,

    12    but you already knew that?

    13    A.   Yes.

    14    Q.   Okay.    And then Mrs. Tew jumped in and said that Chris

    15    owns NAC, but his spouse Lori Alf fired Michael.          Is that

    16    accurate?

    17    A.   Yes.

    18    Q.   And then you learned that before Michael was fired,

    19    somebody was in communication with Chris Alf, and then

    20    communication just stopped.       And then you talked about Michael

    21    getting a letter from NAC that he was no longer employed.               He

    22    wasn't told why.

    23                 Those are all accurate parts of your conversation

    24    with him; right?

    25    A.   Yes.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                       260
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC138
                                                                      Colorado
                                                                         of 234   pg
                                261 of 460

          20-cr-00305-DDD                 Anderson - Cross               10/12/2022    138


      1   Q.   Okay.    And you were told this all went back to 2018, which

      2   would be about -- almost two years before.

      3   A.   Yes.

      4   Q.   And Mr. Tew went on.       He told you that he was close to

      5   Mr. Chris Alf and that he wished he was still working for NAC.

      6                Did he say that?

      7   A.   I don't recall it at this point, but I have reviewed the

      8   MOI and read it in there.        But I don't remember him

      9   specifically saying that he wished he still worked at NAC.

    10    Q.   Who was taking notes?       You weren't?

    11    A.   I wasn't.    There was an IRS agent taking notes.             I think

    12    the individual who prepared the MOI.

    13    Q.   Was that Mr. Stark?

    14    A.   I believe so.

    15    Q.   I mean, this is pretty detailed.              That's why I -- somebody

    16    must have been taking notes.

    17    A.   Sure.

    18    Q.   But you could see an agent taking notes.

    19    A.   Yes.

    20    Q.   Mr. Tew also told you that he had helped Chris Alf from

    21    going bankrupt.     And that's factual; right?

    22    A.   Yes.

    23    Q.   And she -- Mrs. Tew said that her last contact with Lori

    24    was in November of 2018, and that Michael worked for Lori, and

    25    that Lori had fired Richie Schaeffer because Michael -- before


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       261
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC139
                                                                    Colorado
                                                                       of 234   pg
                                262 of 460

          20-cr-00305-DDD                   Anderson - Cross           10/12/2022    139


      1   Michael.       That's accurate?

      2   A.     Yes.    At the time I didn't know who Richard Schaeffer was.

      3   So some of the information I had no frame of reference for,

      4   but it was volunteered.

      5   Q.     Okay.    Oh, so you -- some of this was new.        Some of it was

      6   old.

      7   A.     Correct.

      8   Q.     All right.    Michael referred to himself as a fixer during

      9   his employment with NAC, and he also told you he had an M.B.A.

    10    Was that new or old?

    11    A.     I was aware he had an M.B.A.

    12    Q.     But not that he was a fixer?

    13    A.     I mean, I had never thought of his employment there in

    14    that term on my own before, but --

    15    Q.     You thought he was like a financial officer.

    16    A.     Of some sort, and he was involved -- I did know he was

    17    involved in helping sort through the bankruptcy proceedings

    18    for National Air Cargo.

    19    Q.     So you knew all that before you interviewed him?

    20    A.     Yes.

    21    Q.     Okay.    You asked Michael if he still talked to anyone at

    22    National, and that time neither one answered.

    23    A.     Correct.

    24    Q.     Did that send little alarm bells in your head?

    25    A.     A little bit, yes.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     262
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC140
                                                                    Colorado
                                                                       of 234   pg
                                263 of 460

          20-cr-00305-DDD               Anderson - Cross               10/12/2022    140


      1   Q.   Because you really wanted to know if they were talking to

      2   Yioulos; right?

      3   A.   I expected if they were going to be answering truthfully,

      4   they would indicate they had made contact with him.              That was

      5   my -- what I anticipated.

      6   Q.   And then Michael -- you pressed.            You pressed on that a

      7   little bit, and Michael said that Jacob last name unknown was

      8   telling him what was going on at NAC.

      9   A.   Yes.

    10    Q.   Do you know who this Jacob is now?

    11    A.   No, I do not.

    12    Q.   So you learned all of -- as far as this report is

    13    concerned, those are all things that you learned from

    14    interviewing him.

    15    A.   Yes.

    16    Q.   Would you consider that to be incriminating evidence in

    17    terms of your preparing a case?

    18    A.   I think the -- the thing that I thought was most

    19    incriminating was just the, um, the failure to acknowledge he

    20    had been in recent contact with some employees at National Air

    21    Cargo.

    22    Q.   Were you -- so when you -- let's go through this a minute.

    23                When you got the phone call or the message from AUSA

    24    Doshi to make the arrest, describe what happened.

    25    A.   So I received a phone call, and so I took -- took my phone


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      263
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC141
                                                                   Colorado
                                                                      of 234   pg
                                264 of 460

          20-cr-00305-DDD               Anderson - Cross              10/12/2022    141


      1   and went inside where I could speak with her more privately.

      2   And I think I gave her a synopsis of what had occurred, that I

      3   had been able to serve the subpoena, attempted interview

      4   questions, they wanted to potentially meet at another time to

      5   answer questions further, and just gave her an overview of

      6   what the interaction had been.

      7   Q.     All right.   And then she said, Arrest him.

      8   A.     She said we could proceed with a, um -- we could -- I

      9   think there was enough probable cause with the text message

    10    and the information we had gleaned from the investigation thus

    11    far to proceed with the probable cause arrest.

    12    Q.     You communicated that to Romero?

    13    A.     I did.

    14    Q.     Because he was the actual arresting officer?

    15    A.     Yes.   And I don't know if I communicated to Romero

    16    initially or Agent Stark with the IRS.           I can't specifically

    17    say.    I would have known I would have communicated to them we

    18    had been given the go-ahead to make a probable cause arrest of

    19    Mr. Tew or to -- and I can't say I told them it was a probable

    20    cause, but to go ahead and arrest Mr. Tew.

    21    Q.     Did you watch?

    22    A.     Yes, I was present for the arrest.         I just didn't handcuff

    23    him.

    24    Q.     Did he come out with his bare feet and had to get arrested

    25    in -- barefooted?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    264
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC142
                                                                 Colorado
                                                                    of 234   pg
                                265 of 460

          20-cr-00305-DDD               Anderson - Cross            10/12/2022    142


      1   A.   I don't know if he had socks on or barefoot.         I do know we

      2   later got him shoes, so I don't think he had footwear on at

      3   the time.

      4   Q.   And his wife helped him put the shoes on?

      5   A.   Yes.   Not on the courtyard, but after he was in cuffs, we

      6   proceeded to an interior hallway area just so it wasn't so out

      7   in the open, and then at that point we tried to prepare him

      8   for the, like, transport, so . . .

      9   Q.   When did you Mirandize him?

    10    A.   He was Mirandized when he was still in the courtyard as

    11    soon as he was informed he was under arrest.

    12    Q.   Was that done in writing or just orally?

    13    A.   Orally.

    14    Q.   You didn't ask him to sign a Miranda form?

    15    A.   No.

    16    Q.   And do you remember one or more of the children crying?

    17    A.   No, I don't recall the children crying.

    18    Q.   You don't remember one of the children saying, You

    19    promised not to arrest my daddy?

    20    A.   No.

    21    Q.   Where were the children when you watched the arrest?

    22    A.   When Michael was actually in custody, to the best of my

    23    recollection the children were inside the residence.           I can't

    24    say they didn't appear or they didn't -- they weren't at the

    25    window and couldn't see into the courtyard, but I don't


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                   265
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC143
                                                                   Colorado
                                                                      of 234   pg
                                266 of 460

          20-cr-00305-DDD                  Anderson - Cross           10/12/2022    143


      1   remember them in the courtyard at that time.            I do -- I do

      2   know one of the reasons we moved him into the interior hallway

      3   of the apartment complex was because I think Mrs. Tew had

      4   expressed concern that she didn't want her children to see him

      5   arrested or handcuffed, so we walked back into the interior

      6   where --

      7   Q.   And so --

      8   A.   -- it would be less visible.

      9   Q.   She brought out shoes for him?

    10    A.   Yes.

    11    Q.   And those were put on while he was in the hallway?

    12    A.   Correct.

    13    Q.   What were the other agents doing while Mr. -- Agent Romero

    14    and you were effectuating an arrest?

    15    A.   They were -- they were colocated with us.           They were

    16    assisting and preparing him to transport.

    17                MR. BORNSTEIN:     No further questions.      Thank you.

    18                THE COURT:      Thank you, Mr. Bornstein.

    19                Redirect?

    20                MR. FIELDS:     No, Your Honor.

    21                THE COURT:      All right.     Thank you.

    22                You may step down, Agent Anderson.

    23                You can call your next witness, Mr. Fields.

    24                MR. FIELDS:     Thank you, Your Honor.      The United

    25    States calls Lisa Palmer.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    266
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC144
                                                                  Colorado
                                                                     of 234   pg
                                267 of 460

          20-cr-00305-DDD                  Palmer - Direct           10/12/2022    144


      1              COURTROOM DEPUTY:       Please raise your right hand.

      2        (The witness was sworn.)

      3              COURTROOM DEPUTY:       Please be seated.

      4              Please state your name, and spell your first and last

      5   names for the record.

      6              THE WITNESS:      My name is Lisa Palmer.     L-i-s-a,

      7   P-a-l-m-e-r.

      8              MR. FIELDS:      May I --

      9              THE COURT:       Go ahead.

    10         LISA PALMER, GOVERNMENT'S WITNESS, DIRECT EXAMINATION

    11    BY MR. FIELDS:

    12    Q.   Miss Palmer, where do you work?

    13    A.   I work for the IRS in the criminal investigation division.

    14    Q.   What's your title?

    15    A.   Special agent.

    16    Q.   What are your current responsibilities?

    17    A.   The primary responsibility is to investigate allegations

    18    of basically tax fraud, money laundering, and other related

    19    financial crimes.

    20    Q.   Did you have those same responsibilities back in 2020?

    21    A.   I did.

    22    Q.   How long have you been an IRS agent?

    23    A.   I started with the agency in 2017, and I graduated the

    24    academy in 2018.

    25    Q.   Did you get training on executing search warrants?


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   267
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC145
                                                                   Colorado
                                                                      of 234   pg
                                268 of 460

          20-cr-00305-DDD                Palmer - Direct              10/12/2022    145


      1   A.   I did.

      2   Q.   Describe that training for us.

      3   A.   We received a mix of training.          Some was, I will say,

      4   theoretical, so like the legal framework that underlines an

      5   agent and an agency's ability to execute a search warrant, and

      6   some of it was practical.      So we would have mock search

      7   warrants with role players who were on site to act as either

      8   attorneys or subjects or observers, and we would then -- once

      9   we had executed these, you know, mock search warrants, we

    10    received feedback on what we did well, what we did poorly.

    11               And then there's also practical on-the-job training

    12    when you get out of the academy where you start going on

    13    warrants, and it's a constant process of continual feedback

    14    and what can we do better, that sort of stuff.

    15    Q.   There's standard procedures you follow when you are

    16    executing a search warrant?

    17    A.   There are.

    18    Q.   What are they?

    19    A.   So the first thing we do when we make entry is we knock

    20    and announce:     Police with a warrant.         Open the door.

    21               The building is then made clear, meaning that the

    22    agents who have made entry are looking for threats and for

    23    people.    Once entry has been made and the site has been

    24    secured, the entire warrant location will be photographed.

    25    Then once the photographs have been made, the search will be


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    268
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC146
                                                                 Colorado
                                                                    of 234    pg
                                269 of 460

          20-cr-00305-DDD                Palmer - Direct            10/12/2022      146


      1   executed.    Evidence is then photographed in place and then

      2   also separately to give an idea of scale and details.              Once

      3   the warrant is complete and there's no further places to be

      4   searched, the residence or the premises will be photographed

      5   again to document the state it was left in.          And the site has

      6   to be secured.     And definition of "secure" can vary depending

      7   on the particulars of the site, but generally it means that

      8   the building cannot be reentered if it is private.

      9   Q.   So it sounds like there are three sets of photographs.

    10    A.   Correct.

    11    Q.   That's a lot of photographs.         Why do you take so many

    12    photographs?

    13    A.   Two reasons.    One is to protect the government, and the

    14    other is to protect the subjects of the investigation.             In the

    15    case of protecting the government, it's to show, hey, here is

    16    what was at the site when it was searched and what we found.

    17    And to protect the subjects, basically to show this is what

    18    happened while we were there, this is what it was like before,

    19    what it was after.     It makes it very difficult for agents to

    20    behave improperly.

    21    Q.   Do those photographs also sometimes have independent

    22    evidentiary value?

    23    A.   They do.

    24    Q.   How so?

    25    A.   For example, today in identifying the apartment building.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                    269
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC147
                                                                 Colorado
                                                                    of 234    pg
                                270 of 460

          20-cr-00305-DDD                Palmer - Direct            10/12/2022     147


      1   Sometimes we might have -- there might be something where it

      2   is not on a list of items to be seized, but it is still of

      3   interest.    Maybe we didn't know something was there

      4   beforehand.       We will take a photograph of it to save for

      5   later, potentially for another warrant.

      6   Q.   Let's talk about the search warrant in this case.             Did you

      7   prepare a warrant for -- or was a warrant prepared to search

      8   3222 First Avenue, Apartment 204 [sic]?

      9   A.   It was.

    10    Q.   What was the objective of that warrant?

    11    A.   The objective was to obtain Kimberley Tew's cell phone as

    12    well as two money bags.

    13    Q.   When you say "money bag," what do you mean by that?

    14    A.   In surveillance footage we saw that there was, like, a

    15    cloth zippered pouch that had the name of a bank on it.             We

    16    discovered through the proffer with Mr. Tew that those money

    17    bags were given to him by the bank when he would go and

    18    withdraw cash from the bank.        He would then take the cash and

    19    go to various locations, including Bitcoin ATMs, and deposit

    20    the proceeds.

    21    Q.   Approximately when was the search warrant executed?

    22    A.   I believe it was executed the afternoon of July 31st,

    23    2020.

    24    Q.   Were you part of the execution team?

    25    A.   I was part of the search warrant team, yes.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                   270
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC148
                                                                   Colorado
                                                                      of 234    pg
                                271 of 460

          20-cr-00305-DDD                Palmer - Direct              10/12/2022     148


      1   Q.   How many agents were on the search?

      2   A.   I believe there were approximately ten personnel.               Not all

      3   of them were agents, though.        I think seven or eight of them

      4   were agents.

      5   Q.   Why did you need seven or eight agents?

      6   A.   Standard procedure.     Um, when we execute a search warrant,

      7   we bring a fairly large team with us.            We never know exactly

      8   what we are going to encounter, so we want to make sure that

      9   we have enough personnel to kind of overcome the unknowns.

    10    And then also, from a safety perspective, we find that things

    11    tend to be de-escalated and calmer when there are a lot of

    12    agents around instead of just one or two.

    13    Q.   So when the search warrant was executed, did you make

    14    initial entry?

    15    A.   I did not.

    16    Q.   What did you do?

    17    A.   I waited in the hallway for the entry team to complete

    18    their sweep and securing the residence.

    19    Q.   What happened after the sweep?

    20    A.   We began documenting the scene, in this case, the photos.

    21    And then I entered the residence, and I believe it was Special

    22    Agent Anderson and myself made contact with Mr. Tew.

    23    Q.   What did you tell him?

    24    A.   That we were executing a search of the residence, and we

    25    told him we were looking for Mrs. Tew's phone and the two


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     271
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC149
                                                                  Colorado
                                                                     of 234   pg
                                272 of 460

          20-cr-00305-DDD                  Palmer - Direct           10/12/2022    149


      1   money bags.

      2   Q.   What did he say about the phone?

      3   A.   He said that Kimberley Tew was no longer at the residence,

      4   she had her phone with her, and the phone wasn't there.

      5   Q.   What did he say about the money bags?

      6   A.   He showed us where to find the money bags.

      7   Q.   Were photographs taken during the search?

      8   A.   They were.

      9   Q.   Did you review those photographs before your testimony

    10    today?

    11    A.   I did.

    12                 MR. FIELDS:    Let's look at Government's Exhibit 6.

    13    BY MR. FIELDS:

    14    Q.   Are these the photographs taken before the search?

    15    A.   This particular photo is just -- it's done at kind of the

    16    start of every search showing the location that's being

    17    searched, who is the photographer, that sort of stuff, so yes.

    18    Q.   Yeah.    So if we go through each of these, is this the

    19    tranche of photographs sort of documenting the beginning of

    20    the search?

    21    A.   Yes.

    22                 MR. FIELDS:    Your Honor, at this time I'd move for

    23    the admission of Government's Exhibit 6.

    24                 THE COURT:     Any objection, Mr. Bornstein?

    25                 MR. BORNSTEIN:    Can I voir dire a little bit, because


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   272
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC150
                                                                    Colorado
                                                                       of 234   pg
                                273 of 460

          20-cr-00305-DDD                 Palmer - Voir Dire           10/12/2022    150


      1   this exhibit seems to have 30 pages.

      2              THE COURT:       Sure, briefly.

      3                            VOIR DIRE EXAMINATION

      4   MR. BORNSTEIN:

      5   Q.   Ms. Palmer -- Agent Palmer, does this exhibit have 30

      6   pages?

      7   A.   I would have to double-check if -- I'm not sure without

      8   scrolling through the pages myself at this moment.

      9   Q.   Did you review it before the hearing today?

    10    A.   I did.

    11    Q.   Do you remember approximately how many pages there were?

    12    A.   I believe it would be approximately 30 pages, yes.

    13    Q.   And what do those pages show?            I mean, Mr. Fields just

    14    showed us a couple of the first ones.

    15    A.   They show photographs that were taken during the search.

    16    Q.   All right.    So, um, you don't have the ability to maneuver

    17    that.

    18               MR. BORNSTEIN:      Would you do 21?

    19               MR. FIELDS:      Do you want page 21?

    20               MR. BORNSTEIN:      Page 21.

    21               THE COURT:       You do have a paper copy of it, too, I

    22    think --

    23               THE WITNESS:      Oh, thank you.

    24               THE COURT:       -- if that's easier.

    25               THE WITNESS:      I'm so sorry.


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     273
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC151
                                                                     Colorado
                                                                        of 234   pg
                                274 of 460

          20-cr-00305-DDD                 Palmer - Voir Dire            10/12/2022    151


      1                THE COURT:     That's okay.

      2                MR. BORNSTEIN:     Ah.   Okay.      Thank you, Your Honor.

      3   That makes things a lot easier.

      4   BY MR. BORNSTEIN:

      5   Q.   All right.    Page 21 shows a children's room?

      6   A.   Correct.

      7   Q.   It shows little children's toys?

      8   A.   Correct.

      9   Q.   It looks like a children's bed, two beds.

    10    A.   Correct.

    11    Q.   What's the evidentiary value for that photograph?

    12    A.   We --

    13                 MR. FIELDS:     Your Honor, I object.       This is more of a

    14    cross-examination and not the voir dire.

    15                 MR. BORNSTEIN:     Okay.    I'll -- let me just identify.

    16    I won't go into it.         I'll --

    17                 THE COURT:     All right.

    18                 MR. BORNSTEIN:     I'll leave that alone.

    19                 THE COURT:     Thank you.

    20    BY MR. BORNSTEIN:

    21    Q.   Look at page 23.        Is that a children's room with two beds?

    22    A.   It appears to be.

    23    Q.   Page 24 looks like a children's closet.

    24    A.   Correct.

    25    Q.   Same with 25?


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      274
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC152
                                                                  Colorado
                                                                     of 234   pg
                                275 of 460

          20-cr-00305-DDD               Palmer - Voir Dire           10/12/2022    152


      1   A.     Agreed.

      2   Q.     27, looks like a photograph of at least one child, maybe

      3   two.

      4   A.     Correct.

      5   Q.     28.    What's shown in 28?

      6   A.     28 appears to be the same room and the same individuals as

      7   the previous photo.

      8   Q.     Is that an adult or a child?

      9   A.     It looks like there are two adults and one child -- or,

    10    sorry, two children and one adult.

    11    Q.     What's picture 30?

    12    A.     Is 30 the closet with the white hangers?

    13    Q.     Yes.

    14    A.     It appears to be a closet with white hangers.

    15    Q.     Go back, if you would, please, to picture 13.        What's 13?

    16    A.     Is 13 what is showing right now?

    17    Q.     Yes.

    18    A.     That appears to be the main room and a little bit of the

    19    kitchen area of the Tews' residence.

    20    Q.     What's 12?   I'm going backwards.

    21    A.     12 appears to be a utility closet.

    22    Q.     11?

    23    A.     That appears to be another photograph of the utility

    24    closet.

    25    Q.     To, what, a washing machine and a dryer?


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   275
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25          Page
                                                                   USDC153
                                                                        Colorado
                                                                           of 234   pg
                                276 of 460

          20-cr-00305-DDD                 Palmer - Voir Dire               10/12/2022    153


      1   A.   It appears that way.

      2   Q.   Picture 7, what's in 7?

      3   A.   That appears to be -- it's a room with a lot of bookcases

      4   and a desk.

      5   Q.   Where was that in the apartment?

      6   A.   I believe that was just off of the kitchen, but I would

      7   have to check a floor plan to be sure.

      8   Q.   All right.    What's in picture 17?

      9              MR. FIELDS:      Your Honor, I object.           This is going

    10    beyond voir dire.     The pictures are what they purport to be.

    11               THE COURT:       I'll go ahead, but --

    12               MR. BORNSTEIN:      I believe a record should be made of

    13    what this exhibit really is.          That's why I'm trying to -- I

    14    want this in the record.        That's why I'm making it.

    15               THE COURT:       Okay.   I mean, this is a suppression

    16    hearing.    You don't have a jury.          You're just trying to get

    17    stuff in front of me so I can decide --

    18               MR. BORNSTEIN:      Correct.

    19               THE COURT:       -- what's what.          But you can go ahead for

    20    a little bit.

    21               MR. BORNSTEIN:      And for purposes of my

    22    cross-examination, I just wanted to get subject matter

    23    established in the record.

    24    BY MR. BORNSTEIN:

    25    Q.   The last question.       What's 17?


          Julie H. Thomas, RMR, CRR                                           (303)335-2111


                                                                                         276
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25            Page
                                                                     USDC154
                                                                          Colorado
                                                                             of 234   pg
                                277 of 460

          20-cr-00305-DDD                     Palmer - Direct                10/12/2022        154


      1   A.   17 appears to be a bathroom.

      2              MR. BORNSTEIN:      Thank you.             No further voir dire.

      3              No objection.

      4              THE COURT:       Okay.     So that's admitted.

      5        (Government's Exhibit 6 admitted.)

      6              THE COURT:       Go ahead, Mr. Fields.

      7                       DIRECT EXAMINATION (Resumed)

      8   BY MR. FIELDS:

      9   Q.   You mentioned three tranches of photographs earlier.                       We

    10    were just looking at the photographs taken before the search.

    11    Let's look at Government's Exhibit 7.

    12               MR. FIELDS:      And if we go to page 35.

    13               MR. BORNSTEIN:      What page?

    14               MR. FIELDS:      35.

    15    BY MR. FIELDS:

    16    Q.   Is this the tranche of photographs taken after the search?

    17    A.   I believe so, yes.

    18               MR. FIELDS:      Your Honor, at this time I'd move for

    19    the admission of Government's Exhibit 7.

    20               MR. BORNSTEIN:      Is that a one-page exhibit?

    21               MR. FIELDS:      No.     It's approximately 30 pages.

    22               MR. BORNSTEIN:      Excuse me.             Let me look at this, Your

    23    Honor, if I might.

    24               THE COURT:       Okay.

    25               MR. BORNSTEIN:      My problem is I think I'm looking at


          Julie H. Thomas, RMR, CRR                                             (303)335-2111


                                                                                               277
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC155
                                                                   Colorado
                                                                      of 234   pg
                                278 of 460

          20-cr-00305-DDD                  Palmer - Direct            10/12/2022    155


      1   Exhibit 7, and something else is on the screen.

      2               MR. FIELDS:     This is page 35 of Government's

      3   Exhibit 7.

      4               MR. BORNSTEIN:     Oh, I'm sorry.      Okay.

      5               No objection.

      6               THE COURT:      All right.    It's admitted.

      7        (Government's Exhibit 7 admitted.)

      8               THE COURT:      When you said "before and after the

      9   search," could you just get the witness to clarify what you

    10    mean by "before and after the search" in these two different

    11    exhibits?

    12                MR. FIELDS:     Yeah, sure.      Let's talk about that

    13    again.   First of all, let's take that down.

    14    BY MR. FIELDS:

    15    Q.   So you described for us earlier in your testimony the

    16    procedure that's used when you're executing warrants.

    17    A.   Mm-hmm.

    18    Q.   Describe for us the three parts of a warrant where

    19    photographs are taken.

    20    A.   So the first part is after the residence or the premises

    21    has been secured.     A photographer will go and they will take

    22    photographs of the entire location to be searched, including

    23    interior and exterior photos, to document the state of the

    24    premises when we entered.

    25    Q.   What's the second time they take photographs?


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    278
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC156
                                                                 Colorado
                                                                    of 234   pg
                                279 of 460

          20-cr-00305-DDD                 Palmer - Direct           10/12/2022    156


      1   A.   The second time that they take photographs is whenever

      2   evidence is found.     So say an agent is searching the bedroom,

      3   and they find a cell phone or a pile of drugs.          They'll call

      4   the photographer over and have them photograph the evidence,

      5   first, in place where it was found and then, secondly, kind of

      6   in detail.     So if it's a cell phone, they will flip it over so

      7   you can see, you know, the serial number on the back,

      8   something like that, or hold a ruler up to it so they can

      9   actually see the size and have some context for what the photo

    10    is of.

    11    Q.   So Government's Exhibit 6 was before the search.

    12    Government's Exhibit 7 was after the search.          Now let's look

    13    at Government's Exhibit 8.

    14                 MR. FIELDS:    And if we could, please, go to page 20.

    15    BY MR. FIELDS:

    16    Q.   Now, in this photograph do you see a little yellow

    17    placard?

    18    A.   I do.

    19    Q.   What does that yellow placard indicate?

    20    A.   That yellow placard indicates that evidence was found at

    21    that location.

    22    Q.   So is this tranche of photographs that's Government's

    23    Exhibit 8, are these the photographs that were taken during

    24    the search?

    25    A.   Yes.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  279
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC157
                                                                     Colorado
                                                                        of 234   pg
                                280 of 460

          20-cr-00305-DDD                     Palmer - Direct           10/12/2022    157


      1   Q.   So this would be that third tranche of photographs?

      2   A.   Yes.   I think you said the third tranche was after, so --

      3   Q.   So, yeah, before, during, after.

      4   A.   Correct.      This would be the photos taken during the

      5   search.

      6               MR. FIELDS:     Your Honor, at this time I'd move for

      7   the admission of Government's Exhibit 8.

      8               THE COURT:      Mr. Bornstein?

      9               MR. BORNSTEIN:     Your Honor, I'm going to object to 8,

    10    because it's represented that this is what was found in the

    11    search that has evidence or documents, what they seized that

    12    was pursuant to the court warrant, and I don't believe that

    13    that's what these photographs are.

    14                THE COURT:      Why don't you go ahead and respond,

    15    Mr. Fields.

    16                MR. FIELDS:     Your Honor, the agent just testified

    17    that that little placard there, which shows a 1, is where they

    18    found evidence pursuant to the search.

    19                THE COURT:      Okay.

    20                MR. BORNSTEIN:     Yes, but this is 40 pages of

    21    photographs, and only one page is what they found in the

    22    search.

    23                THE COURT:      All right.       So I guess is that right,

    24    Mr. Fields?       Does just this one photograph have the placard?

    25    Is that right?


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      280
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC158
                                                                  Colorado
                                                                     of 234   pg
                                281 of 460

          20-cr-00305-DDD                  Palmer - Direct           10/12/2022        158


      1               MR. FIELDS:     That is right, Your Honor.     For purposes

      2   of this motion to suppress, as I understand their motion, they

      3   are saying there were an excessive amount of photographs.                I

      4   think getting all of these photographs into the record

      5   establishes exactly how many photographs were taken.            And the

      6   agent has just described, sort of, how and why they were

      7   taken.   So I think they are relevant for that purpose.

      8               THE COURT:      So I will overrule the objection and

      9   admit number 8 with that kind of understanding of what these

    10    show, which is obviously different than what might happen in a

    11    trial.

    12         (Government's Exhibit 8 admitted.)

    13    BY MR. FIELDS:

    14    Q.   All right.    So when agents take these photos three times,

    15    before, during, after, are they photographing the same areas

    16    of a place?

    17    A.   Yes.

    18    Q.   Do they photograph the entire place?

    19    A.   Yes.

    20    Q.   Why?

    21    A.   We will photograph the entire area that we are allowed to

    22    search regardless of whether or not we find evidence there, at

    23    least for the first tranche and the last tranche of photos.

    24    And, again, it's to document the scene as we found it and as

    25    we left it.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                       281
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC159
                                                                      Colorado
                                                                         of 234    pg
                                282 of 460

          20-cr-00305-DDD                 Palmer - Direct                  10/12/2022   159


      1   Q.     Are agents sometimes accused of damaging property?

      2   A.     They are.

      3   Q.     So how do photographs help -- why are they relevant to

      4   accusations like that?

      5   A.     So if agents do damage property, it should show up in

      6   those photos, whether it be even that first tranche if damage

      7   was made during entry or in that last tranche if damage was

      8   made during the search.       It documents the scene as it was at

      9   the time the photos were taken.

    10    Q.     All right.   So here we are in Government's Exhibit 8, page

    11    20, and we talked about this yellow placard.                 Now could we go

    12    to Government's Exhibit 8, the next page, page 21?                 Is this a

    13    close-up view?

    14    A.     Yes, that's a close-up view.

    15    Q.     And now page 22.     Now are we even closer?

    16    A.     Yes.

    17    Q.     What did the agents find?

    18    A.     We found one of the two money pouches we were searching

    19    for.

    20    Q.     Now page 23.   Is this one of those money pouches?

    21    A.     Yes.

    22    Q.     Now let's go to Government's Exhibit 7.               These are the

    23    photographs taken after the search.               Page 30.    Do you

    24    recognize this space?

    25    A.     Yes, I do.


          Julie H. Thomas, RMR, CRR                                           (303)335-2111


                                                                                         282
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC160
                                                                     Colorado
                                                                        of 234   pg
                                283 of 460

          20-cr-00305-DDD                   Palmer - Direct             10/12/2022    160


      1   Q.   What is this space?

      2   A.   That space is the primary bedroom of the apartment that we

      3   searched that day.

      4   Q.   Do you recognize the closet?

      5   A.   I do.

      6   Q.   Was anything found inside that closet?

      7   A.   I believe one of the money pouches was found in that

      8   closet.

      9   Q.   So if we go to Government's Exhibit 8 and page 24.

    10                 MR. FIELDS:    08-024.

    11    BY MR. FIELDS:

    12    Q.   Do you see another yellow placard?

    13    A.   I do.

    14    Q.   Now the next page, page 25.

    15                 MR. BORNSTEIN:   What page are we looking at for

    16    another placard?

    17                 MR. FIELDS:    24.   So let's go back up to page 24.

    18                 MR. BORNSTEIN:   Oh, okay.         I'm sorry.   Thank you.

    19    BY MR. FIELDS:

    20    Q.   Just so we have it in the record, do you want to circle

    21    where you see the placard?

    22    A.   It's a little off, but in the white box.

    23    Q.   Now if we go to the next page, page 25.             Is that a

    24    close-up view?

    25    A.   It is.


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      283
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC161
                                                                 Colorado
                                                                    of 234    pg
                                284 of 460

          20-cr-00305-DDD                 Palmer - Direct           10/12/2022     161


      1   Q.   Page 26, is that an even closer view?

      2   A.   It is.

      3   Q.   Now if we go to page 27, does that show the bag that was

      4   found?

      5   A.   It does.

      6                MR. FIELDS:    Okay.   We can take those down.

      7   BY MR. FIELDS:

      8   Q.   How long did it take to execute the search warrants?

      9   A.   I believe it took approximately two hours.

    10    Q.   Now, if Mr. Tew pointed out the location of the bags and

    11    said that the phone wasn't in the apartment, why did it take

    12    two hours?

    13    A.   We still are obligated to perform a complete and thorough

    14    search until we find everything we are looking for.           And

    15    people lie to federal agents during investigations.

    16    Q.   Yeah.    So if Mr. Tew told you that the phone wasn't there,

    17    why didn't you take his word for it?

    18    A.   Again, people lie, so we had the right per the warrant to

    19    be at the premises to execute the search, so we completed the

    20    search until we were confident the phone was not on the

    21    premises.

    22    Q.   Did you find the phone?

    23    A.   We did not find the phone.

    24    Q.   What was ultimately seized pursuant to the warrant?

    25    A.   The two money pouches.


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                   284
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC162
                                                                     Colorado
                                                                        of 234   pg
                                285 of 460

          20-cr-00305-DDD                     Palmer - Cross            10/12/2022    162


      1              MR. FIELDS:      May I have a moment, Your Honor?

      2              THE COURT:       Sure.

      3              MR. FIELDS:      No further questions, Your Honor.

      4              THE COURT:       All right.       Thank you.

      5              Cross-examination?

      6                                CROSS-EXAMINATION

      7   BY MR. BORNSTEIN:

      8   Q.   Miss Palmer, you said you graduated from the academy in

      9   2018?

    10    A.   That is correct.

    11    Q.   What month?

    12    A.   I believe it was February 2018.

    13    Q.   So in July of 2020 you had been a special agent for a year

    14    and a half?

    15    A.   Uh, I think it's two and a half, two years and change, at

    16    that point.

    17    Q.   Two years.    And during those two years, how many warrants

    18    did you obtain, personally sign off on?

    19    A.   I believe at that point none.

    20    Q.   And how many warrants did you participate with a team in

    21    executing a warrant up to that point?

    22    A.   My best guess is 15 to 20, but I'm not actually sure.

    23    Q.   All right.

    24               MR. BORNSTEIN:      So if we could call up Exhibit 8 with

    25    the number 2 on it, please.


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      285
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC163
                                                                     Colorado
                                                                        of 234   pg
                                286 of 460

          20-cr-00305-DDD                 Palmer - Cross                 10/12/2022   163


      1                MR. FIELDS:    You want page 2?

      2                MR. BORNSTEIN:   The page with the number 2, uh,

      3   placard that shows something found.              That's one.   Okay.   So if

      4   you could go back a photo, please.

      5                MR. FIELDS:    So placard 2 is here.

      6                MR. BORNSTEIN:   Okay.

      7   BY MR. BORNSTEIN:

      8   Q.   So placard 2 is -- that shows -- what kind of money bag is

      9   that?

    10    A.   It's a cloth pouch with a zipper.

    11    Q.   Okay.

    12                 MR. BORNSTEIN:   Could we do the next photo, please?

    13    BY MR. BORNSTEIN:

    14    Q.   And how big is that bag?

    15    A.   Um, I would have to look at the measurements, but maybe

    16    like 4 or 5 inches by 9 inches approximately.

    17    Q.   All right.    And what bank is it from?

    18    A.   Guaranty Bank and Trust Company.

    19                 MR. BORNSTEIN:   Could we see the next photograph, I

    20    believe?

    21    BY MR. BORNSTEIN:

    22    Q.   And does that show the ruler?

    23    A.   Yes, it does.

    24                 MR. BORNSTEIN:   And then the next photograph?

    25    BY MR. BORNSTEIN:


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                      286
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC164
                                                                 Colorado
                                                                    of 234   pg
                                287 of 460

          20-cr-00305-DDD                Palmer - Cross             10/12/2022    164


      1   Q.   Where did all those little thumb drives show up?

      2   A.   I believe they were inside the bag.

      3   Q.   So did that indicate to you that that bag had never been

      4   used for money?

      5   A.   No, it did not.

      6   Q.   It was used to store thumb drives?

      7   A.   No, it did not.

      8   Q.   Why not?

      9   A.   Because you don't get a bag like that without it being

    10    provided by the bank.

    11    Q.   That's true.    It's got a bank name on it, but in this case

    12    it was not being used for money, was it?

    13    A.   At this point in time, no, it was not being used for

    14    money.

    15    Q.   How did you know at that point in time that it had ever

    16    been used for money?

    17    A.   Guaranty Bank and Trust Company was one of the banks where

    18    Mr. Tew had accounts that received proceeds from the alleged

    19    NAC fraud.    That included cash withdrawals.

    20    Q.   All right.    So you, "you" meaning the IRS, conducted

    21    surveillance of Mr. Tew at banks; right?

    22    A.   No, we did not.

    23    Q.   You didn't conduct surveillance or get surveillance

    24    footage at the Navy Federal Credit Union?

    25    A.   We did get surveillance footage from Navy Federal Credit


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  287
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC165
                                                                    Colorado
                                                                       of 234   pg
                                288 of 460

          20-cr-00305-DDD                Palmer - Cross                10/12/2022      165


      1   Union.

      2   Q.   Did you ever get surveillance footage from Guaranty Bank?

      3   A.   No, I did not.

      4   Q.   Do you have a date when he ever went to Guaranty Bank to

      5   withdraw any money?

      6   A.   I believe that there are bank statements that show that

      7   cash withdrawals were made in person, but I would want to

      8   check my notes before I answered that definitively.

      9   Q.   You have here in this photograph proof that this bag was

    10    used to store thumb drives; right?

    11    A.   Correct.

    12    Q.   How -- for how long had that bag been used to store thumb

    13    drives?

    14    A.   I do not know.

    15    Q.   Okay.   Now, explain to me, please, how seizing that bag

    16    was given to you -- I mean, how seizing that bag fits into the

    17    warrant you obtained.

    18    A.   The warrant included a list of items to be seized, and it

    19    included two cloth bags.      During Mr. Tew's proffer, he had

    20    detailed that he had used bags to transport cash withdrawals.

    21    Q.   Let me go back to the question.            The question was:     What

    22    makes you think that the warrant allowed you to seize a bag

    23    that has thumb drives in it?

    24    A.   Because the name of the bank on the bag is one of the

    25    banks where Mr. Tew received proceeds from the National Air


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                       288
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC166
                                                                 Colorado
                                                                    of 234   pg
                                289 of 460

          20-cr-00305-DDD                Palmer - Cross             10/12/2022     166


      1   Cargo fraud, and then Mr. Tew told us that he used bags such

      2   as this to transport currency that he withdrew from those

      3   accounts.

      4   Q.   What year?

      5   A.   I believe Mr. Tew had the Guaranty Bank and Trust account

      6   in 2018, but I would have to double-check my records.

      7   Q.   So he had a bank account in 2018, and you are doing a

      8   search in 2020, and you find a Guaranty Bank [sic] with a lot

      9   of thumb drives in it, and you think that your warrant gave

    10    you permission to take that bag?

    11    A.   Yes.

    12    Q.   All right.     Did you ask -- did you write the warrant?           Did

    13    you write the affidavit?

    14    A.   I helped in preparing it.

    15    Q.   And who else helped?

    16    A.   AUSA Doshi and Special Agent Anderson and, I believe,

    17    other members of the prosecution team.

    18    Q.   Okay.   Who else on the prosecution -- you had a lawyer

    19    from the Attorney General's -- I mean, the, uh -- from the

    20    prosecution.      You had a special agent from the FBI.       Yourself.

    21    Who else?

    22    A.   There was a forensic accountant by the name of Matt Morgan

    23    who helped with our review of financial documents.

    24    Q.   What did Matt Morgan's review have to do with a bank bag?

    25    A.   We were reviewing bank documents, and Mr. Morgan helped


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                    289
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC167
                                                                   Colorado
                                                                      of 234   pg
                                290 of 460

          20-cr-00305-DDD                Palmer - Cross               10/12/2022    167


      1   with the review of bank documents.

      2   Q.   Okay.

      3   A.   It relates to the affidavit as a whole.

      4   Q.   So you were looking for a Wells Fargo Bank bag too; right?

      5   A.   Correct.

      6   Q.   When did Mr. Tew have any account at Wells Fargo?

      7   A.   I do not remember the dates that he had the account, but I

      8   do know that between 2018 and 2020 he did receive multiple

      9   deposits from National Air Cargo as part of the fraud.

    10    Q.   That's not my question.      My question is:       You asked the

    11    magistrate judge for permission to seize a Wells Fargo bag.

    12    What made you think a Wells Fargo bag was evidence of a crime?

    13    A.   Because Mr. Tew had received deposits from the National

    14    Air Cargo as part of the fraud to his accounts at Wells Fargo,

    15    and he --

    16    Q.   Okay.   Link that to Wells Fargo.          When did he have a Wells

    17    Fargo account?

    18    A.   I do not remember the exact dates of the statements, but I

    19    know during the fraud between 2018 and 2020 Mr. Tew received

    20    deposits into a Wells Fargo account from National Air Cargo as

    21    part of the fraud.

    22    Q.   He only had a Wells Fargo account for about three months;

    23    isn't that true?

    24    A.   I don't remember the duration.         I could check the bank

    25    statements and let you know.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    290
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC168
                                                                 Colorado
                                                                    of 234   pg
                                291 of 460

          20-cr-00305-DDD                 Palmer - Cross            10/12/2022    168


      1   Q.   When you asked the magistrate judge for permission to

      2   seize a Wells Fargo bag, what made you think that that bag was

      3   linked to any fraud with National Air Cargo?

      4   A.   We reviewed the Wells Fargo Bank statements for the

      5   accounts that Mr. Tew was the signatory on, and he made large

      6   cash withdrawals at Wells Fargo immediately after receiving

      7   the NAC proceeds from the fraud.

      8   Q.   How many times?

      9   A.   I don't remember off the top of my head.

    10    Q.   More than five?

    11    A.   I don't remember.

    12    Q.   Six times?

    13    A.   I don't remember.

    14    Q.   Large cash.    How much?

    15    A.   I would have to check my notes, but several thousand

    16    dollars at least.

    17    Q.   How is several thousand dollars supposed to fit into a

    18    bank bag that size?

    19    A.   Depends on the denomination.         If you use bills such as

    20    hundred bills, a thousand dollars is only ten bills.

    21    Q.   Did you have evidence of hundred-dollar bills?

    22    A.   No.

    23    Q.   What evidence did you have that that bank bag was actually

    24    linked to this crime?

    25    A.   Mr. Tew told us that he used bank bags in his proffer, and


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  291
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC169
                                                                 Colorado
                                                                    of 234    pg
                                292 of 460

          20-cr-00305-DDD                Palmer - Cross             10/12/2022      169


      1   then we had security footage from the -- a couple of -- from

      2   two different Bitcoin kiosks.        One in particular included a

      3   video where he was taking money out of the bag and putting it

      4   into the Bitcoin kiosk.

      5   Q.   What bank bag was used?

      6   A.   I don't recall off the top of my head.

      7   Q.   Was it Wells Fargo?

      8   A.   I don't recall.

      9   Q.   So I'm going to go back.      You asked a judge to give you

    10    permission to seize a Wells Fargo bag by name; right?              It's in

    11    the warrant; right?

    12    A.   I would double-check, but yes.

    13    Q.   You said to the judge, I want to seize a Wells Fargo bag.

    14                 Were you taught at the academy that you have to link

    15    what you want to seize to the crime?

    16    A.   Yes.

    17    Q.   So I'm asking you:     How did you link a Wells Fargo bag in

    18    2020 to accounts that were used years before?

    19    A.   Again, Mr. Tew or accounts controlled by Mr. Tew received

    20    deposits from National Air Cargo as part of the fraud.             That

    21    was at Wells Fargo.

    22    Q.   When?

    23    A.   I don't recall without looking at bank statements, but it

    24    was between 2018 and 2020.

    25    Q.   Closer to '18, or closer to '20?


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                    292
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC170
                                                                     Colorado
                                                                        of 234   pg
                                293 of 460

          20-cr-00305-DDD                 Palmer - Cross                 10/12/2022   170


      1   A.   I do not recall the exact dates.

      2   Q.   '19?

      3   A.   I do not recall the exact dates.

      4   Q.   For how many months did he have that account opened at

      5   Wells Fargo?

      6   A.   I do not recall without checking the bank statements.

      7   Q.   All right.    One other question.           Did you ask the

      8   magistrate judge for permission to take hundreds -- 120

      9   photographs?

    10    A.   We did not explicitly ask permission to take photographs.

    11    Q.   Why not?

    12    A.   Because it is standard operating procedure for all

    13    agencies to take photographs related to a search warrant.

    14    Q.   Well, do you know what the Fourth Amendment to the

    15    Constitution of the United States says about what you can

    16    seize?

    17    A.   It says that we can seize whatever the Court allows us to

    18    so long as we have probable cause.

    19    Q.   And you did not ask the Court for permission to seize a

    20    hundred-some photographs, did you?

    21    A.   We did not seize photographs.          We took photographs, and we

    22    did not ask the Court for permission to take photographs.

    23    Q.   You seized images of the apartment.            Correct?

    24                MR. FIELDS:     Your Honor, this is skating into legal

    25    territory over what constitutes a seizure.             I'm not sure the


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                      293
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC171
                                                                     Colorado
                                                                        of 234   pg
                                294 of 460

          20-cr-00305-DDD                     Palmer - Cross            10/12/2022    171


      1   agent is competent to answer those legal questions.

      2              MR. BORNSTEIN:      Well, I'm just trying to --

      3              THE COURT:       That they took all those pictures I don't

      4   think is really contested, so go on.

      5              MR. BORNSTEIN:      All right.

      6   BY MR. BORNSTEIN:

      7   Q.   So is it your testimony that because -- you work for the

      8   United States Treasury department; right?

      9   A.   At the IRS, yes.

    10    Q.   Is it your testimony that the United States Treasury

    11    department has a procedure that says you don't have to ask

    12    permission from a magistrate judge to seize images in an

    13    apartment building?

    14    A.   It is our policy.       It is what we are taught.        I do not

    15    point to the policy number for that, but we are taught to

    16    document a scene when we arrive.              We are taught to take photos

    17    before, during, and after.

    18    Q.   Were you taught whether that policy meets the requirements

    19    of the Fourth Amendment to the United States Constitution?

    20    A.   It is my understanding that that particular policy is

    21    constitutional, but I am not a lawyer.

    22               MR. BORNSTEIN:      No further questions.

    23               THE COURT:       Okay.    Thank you.

    24               Any redirect?

    25               MR. FIELDS:      Very briefly, Your Honor.


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      294
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC172
                                                                   Colorado
                                                                      of 234   pg
                                295 of 460

          20-cr-00305-DDD                 Palmer - Redirect           10/12/2022    172


      1               THE COURT:      Okay.

      2                            REDIRECT EXAMINATION

      3   BY MR. FIELDS:

      4   Q.   Special Agent Palmer, do you recall being asked about the

      5   evidence linking those particular bank bags to the crime?

      6   A.   Yes, I do.

      7   Q.   Did you actually put that -- was that put into the

      8   warrant?

      9   A.   It was.

    10    Q.   Were you shown the warrant during your cross-examination?

    11    A.   I didn't check it, no.

    12    Q.   Let's look at Government's Exhibit 5, if we could, and

    13    then let's go to --

    14                MR. BORNSTEIN:     Can I get that out, please?

    15                Thank you.

    16    BY MR. FIELDS:

    17    Q.   Let's go to page 15.

    18    A.   Is it page 15 of the exhibit or page --

    19    Q.   Page 15 of the exhibit.        It's stamped at the bottom SW 45.

    20    A.   Thank you.

    21    Q.   If you could please read to yourself paragraphs 40 and 41.

    22                Have you read them?

    23    A.   Yes.

    24    Q.   Do those photographs describe in sum and substance and in

    25    pertinent part why two bank bags were relevant to your


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    295
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC173
                                                                   Colorado
                                                                      of 234   pg
                                296 of 460

          20-cr-00305-DDD                 Palmer - Redirect           10/12/2022    173


      1   investigation?

      2   A.   Yes, it does.

      3   Q.   Who told you about these bank bags?

      4   A.   Mr. Tew told us about the bank bags, and then the

      5   surveillance footage was also a source of information.

      6   Q.   And what two bank bags were you told about?

      7   A.   The Guaranty Bank and Trust bag and the Wells Fargo bag.

      8   Q.   What two bank bags were seized during the warrant?

      9   A.   The Guaranty Bank and Trust bag and the Wells Fargo bag.

    10    Q.   And do you remember being asked whether or not the warrant

    11    authorized your ability to seize those particular bank bags?

    12    A.   Yes, I do.

    13    Q.   So if we could look at Government's Exhibit 5 again, and

    14    let's go to page 4.         Is this attachment B to the warrant?

    15    A.   It is.

    16    Q.   Is this the attachment that tells you what you are allowed

    17    to seize when you execute a warrant?

    18    A.   Yes, it does.

    19    Q.   What does part A there tell you you are allowed to seize?

    20    A.   Two cloth, or similar material, bags approximately the

    21    size of 8.5 by 11 inches piece of paper, with one bag bearing

    22    the insignia, label, or logo of Wells Fargo and the other

    23    bearing an insignia, label, or logo of another bank.

    24    Q.   Now, when you seized these bank bags pursuant to the

    25    search warrant, you also took those photographs as well;


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    296
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC174
                                                                   Colorado
                                                                      of 234   pg
                                297 of 460

          20-cr-00305-DDD                 Palmer - Redirect           10/12/2022    174


      1   right?

      2   A.   Correct.

      3   Q.   Do those photographs help show where the bank bags came

      4   from?

      5   A.   Yes.

      6   Q.   Why is that important?

      7   A.   It's to show kind of the context for where they were

      8   found, and also to show kind of their scale and if they were

      9   in use in another form or how they existed at the time they

    10    were found.

    11    Q.   When you are trying to show the relevance of these bags,

    12    do you have to show who may have owned or used them?

    13    A.   Not at the time of the photos.

    14    Q.   But can those photos help -- do they provide evidence of

    15    who might have used those bags?

    16    A.   Yes, they do.

    17    Q.   How so?

    18    A.   It can be where it was found.           So say it was found in the

    19    subject's bedroom.       That would be evidence or support that the

    20    subject was using them, whereas if they were found, say, in

    21    someone else's room, that would be support for the fact that

    22    maybe they weren't the subject's.

    23                MR. FIELDS:     No further questions, Your Honor.

    24                THE COURT:      All right.    Thank you, Mr. Fields.

    25                Agent Palmer, you may step down.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    297
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC175
                                                                     Colorado
                                                                        of 234   pg
                                298 of 460

          20-cr-00305-DDD                     Motion Hearing            10/12/2022    175


      1              THE WITNESS:      Thank you so much.

      2              THE COURT:       Mr. Fields, am I right that that is the

      3   extent of your evidence?

      4              MR. FIELDS:      It is, Your Honor.

      5              THE COURT:       All right.       Why don't we take a 10-minute

      6   recess and come back and discuss this and then move on to

      7   discussing the remaining items.              So we'll take a 10-minute

      8   recess.

      9        (Proceedings recessed 3:07 p.m. to 3:21 p.m.)

    10               THE COURT:       Please take your seats.

    11               Okay.    So we've completed the evidentiary portion of

    12    the hearing.      I think now we can talk about a little bit of a

    13    discussion about the -- a little bit of argument as to the

    14    suppression issues.

    15               Why don't we begin with the Government.            Explain why

    16    you believe you've met the burdens for these motions.

    17               MR. FIELDS:      Your Honor, I'm going to start

    18    backwards.    I'm going to start with the motion to suppress the

    19    evidence at the apartment building.

    20               THE COURT:       Okay.

    21               MR. FIELDS:      First, I just want to note for the

    22    record that I think, given that each of these searches was

    23    conducted pursuant to a warrant under Carhee, it's actually

    24    the defense that bears the burden of showing a motion -- that

    25    everything should be suppressed.              That being said, the motion


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      298
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC176
                                                                    Colorado
                                                                       of 234   pg
                                299 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022    176


      1   should be denied for several reasons.

      2              So the motion to suppress -- this is the motion to

      3   suppress the search at 3222.         That's ECF number 221 is the

      4   defense motion.     So two arguments raised by the defense there.

      5   One is there was no link between the bank bags and the crime.

      6   There was.    And if you look at Government's Exhibit 5 on page

      7   15 and 16, paragraphs 40 and 41, you will see how the agents

      8   sort of lay it out.

      9              Why did they think the bank bags were used in the

    10    scheme?    Well, because Michael Tew told them that he used bank

    11    bags to collect money from the scheme.            And even if he hadn't

    12    told them that, they saw ATM surveillance footage of him with

    13    the bags collecting proceeds of the fraud.            So that's the

    14    link.

    15               The photographs.       So there are a lot of photographs

    16    here, Your Honor.     The Government is not going to use all of

    17    these photographs at trial.         Most of that I think can be

    18    addressed through a motion in limine, but here we are at a

    19    motion to suppress.         He's asking for blanket suppression of

    20    all of them.      Blanket suppression should not be the remedy

    21    here.   It should be, sort of, photograph by photograph.

    22               Even before we get to that, though, we need to see

    23    was there actually a seizure, and there was not.             So a

    24    seizure, the definition is a -- something that interferes with

    25    the possessory interests of the user.             So if there's no


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     299
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC177
                                                                 Colorado
                                                                    of 234   pg
                                300 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    177


      1   seizure, there's no Fourth Amendment violation.

      2              So the, sort of, keynote case here is Maryland versus

      3   Macon, 472 U.S. 463, but you can also look at Arizona versus

      4   Hicks.   So Arizona versus Hicks is that kind of famous case

      5   that's taught in law school still where agents are there, they

      6   find some stereo equipment, they look underneath, and they see

      7   a serial number.     The lifting of the stereo equipment, Justice

      8   Scalia says, Well, that's a search, but actually just

      9   recording the serial number, not a seizure.          And the reason

    10    for that, as he explains on page 324 of that opinion, is that

    11    you are not interfering with anyone's possessory interest of

    12    those particular speakers.

    13               The same is true here, Your Honor.        Taking all of

    14    these photographs does not interfere with anyone's possessory

    15    interest in anything in the apartment building, and so there

    16    was no seizure.     And without a seizure, no Fourth Amendment

    17    violation.    That's what the courts conclude in Bills versus

    18    Asteline and United States versus Harb cited in the

    19    Government's brief.

    20               Even if you were to conclude that it was a seizure,

    21    here the question would be:       Okay.     Well, is it in violation

    22    of the Fourth Amendment?      And no.      It would be under plain

    23    view.    The agents certainly had authority to be inside of the

    24    apartment.    They could describe to a jury everything that they

    25    saw in, sort of, minute detail.         Oftentimes -- you know, we


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  300
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25         Page
                                                                  USDC178
                                                                       Colorado
                                                                          of 234   pg
                                301 of 460

          20-cr-00305-DDD                    Motion Hearing               10/12/2022    178


      1   are not dealing with that here, because in this era federal

      2   agents didn't wear bodycams, but if they were, they'd have a

      3   bodycam, so you're recording everything, just like their eyes,

      4   and all of that would be plain view.                They have authority to

      5   be there.    So no Fourth Amendment violation there.

      6               And even then, Your Honor, if you are inclined to

      7   say, okay, maybe it wasn't plain view, or maybe it was a

      8   seizure, the agents -- the warrant authorized them to collect

      9   evidence or information related to these crimes.                Attribution

    10    evidence showing that these particular bank bags actually

    11    belonged to Michael Tew is relevant and is evidence of the

    12    crime.   And the fact that these bank bags were located within

    13    the apartment owned by Kimberley Tew and Michael Tew and used

    14    solely by them as their family residence surely is evidence

    15    attributing those bank bags to them and then those bank bags

    16    used in the crime.

    17                Does Your Honor want to sort of go -- do you want me

    18    to argue about all the motions now?

    19                THE COURT:      No.   Why don't you let Mr. Bornstein

    20    respond on that one, and then we can move on.

    21                MR. BORNSTEIN:        Your Honor, in the old tradition of

    22    the search and seizure law, we were involved with things like

    23    possession and trespass, but -- and since that time search and

    24    seizure law has moved from the physical trespass of property

    25    and physical possession of property into expectations of


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                        301
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC179
                                                                 Colorado
                                                                    of 234   pg
                                302 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    179


      1   privacy, and we are now talking about -- and this gets into a

      2   little bit about motion 200 -- that once you start talking

      3   about expectations of privacy, you start talking about do you

      4   have an expectation of privacy of your apartment where you

      5   live, your residence, which the Fourth Amendment has always

      6   been -- had a special favor for residences.          And to walk into

      7   somebody's apartment and then say we can -- as the evidence

      8   is, Michael Tew gives them these two bank bags, says, My wife

      9   isn't here, which is very easy to determine.          He calls his

    10    wife during the course of this search and says that they're

    11    here.   They could call and make a phone call and say that her

    12    phone is not there, because she answers the phone, and

    13    determine it's time to leave.        They should have finished their

    14    search and left instead of doing what they did, which was to

    15    stay there for two and a half hours photographing every room,

    16    including the kids' house -- kids' rooms.         That's point one.

    17               Point two is in their own exhibits 27 and 23 --

    18    photographs 27 and 23 as part of Exhibit, I believe, 8, shows

    19    that the bank bags that they seized were not 8 and a half by

    20    11.   The warrant says that these bank bags are to be 8 and a

    21    half by 11, the size of a -- of a, you know, regular paper, 8

    22    and a half by 11 sheet of paper.         These bags were 4 by 9,

    23    approximately half the size that they had told the magistrate

    24    judge that they were looking for.

    25               Third, the plain view doctrine was established to say


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  302
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC180
                                                                   Colorado
                                                                      of 234   pg
                                303 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    180


      1   that if you see something illegal, contraband, in plain view,

      2   you didn't have to shut your eyes to it.           It's not a plain

      3   view doctrine that says that you can, you know, look for

      4   things all over the apartment once you have finished your

      5   search or should have finished your search just to see if,

      6   quote, maybe I can find something.            That's --

      7              THE COURT:       So let me ask you --

      8              MR. BORNSTEIN:      Yeah.

      9              THE COURT:       -- a quick question, because I do think

    10    probably your best argument on this one is that they should

    11    have stopped their search, not that photographs are seizures

    12    or anything like that, but they found all the evidence they

    13    were going to find early on --

    14               MR. BORNSTEIN:      Right.

    15               THE COURT:       -- but continued on.     But is that

    16    actually true?     I mean, I suppose they could have taken his

    17    word for it or done something else, but they were

    18    authorized -- I mean, let me take a step back.            Yes, you

    19    certainly have an expectation of privacy in your apartment,

    20    but a warrant was issued to search it.            Your expectation of

    21    privacy once a warrant has been issued to search your

    22    apartment is certainly decreased, if not completely gone.

    23               But you're right that -- I think you're right that

    24    once the agents have found all the evidence they are

    25    authorized to seize, they have to end their search, but what


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    303
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25           Page
                                                                    USDC181
                                                                         Colorado
                                                                            of 234   pg
                                304 of 460

          20-cr-00305-DDD                     Motion Hearing                10/12/2022    181


      1   is -- how do I know that that -- when and how that happened?

      2   When do you think they should have stopped?

      3              MR. BORNSTEIN:      All right.            I think that they should

      4   have stopped when Michael Tew called on his phone and talked

      5   to his wife.

      6              THE COURT:       Because they should have known that that

      7   was the phone, that they weren't going to find the phone at

      8   that point?

      9              MR. BORNSTEIN:      Yes.       Or they could have, you

    10    know -- they knew because it's -- when they got the warrant,

    11    it says the phone number.           The warrant has a phone number in

    12    it.   And so they know that -- they have phones.                 If they

    13    didn't believe him that he was calling that phone number, they

    14    could pick up their phone, call that phone number, and say,

    15    Mrs. Tew, and all she has to do is say yes, and that's the end

    16    of it.

    17               THE COURT:       Okay.

    18               MR. BORNSTEIN:      That's if they don't believe him.

    19               THE COURT:       Right.     And I don't think they are

    20    obligated to believe him.           I mean, I guess they could, but --

    21               What do you think of Mr. Fields' point that even if

    22    some of this should be suppressed or shouldn't be used, that

    23    your motion just asks for a blanket suppression of everything

    24    from the apartment and that that's not appropriate even if

    25    they took too many photographs and spent too long there?


          Julie H. Thomas, RMR, CRR                                            (303)335-2111


                                                                                          304
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25         Page
                                                                  USDC182
                                                                       Colorado
                                                                          of 234    pg
                                305 of 460

          20-cr-00305-DDD                     Motion Hearing              10/12/2022       182


      1              MR. BORNSTEIN:      I guess if you ask for the sun, the

      2   moon, and the stars, and the Court says, I'm going to give you

      3   the sun, but you aren't going to get the moon and the stars,

      4   that that's part of life in arguing motions in front of a

      5   court in a criminal case.           So I think if the Court cuts

      6   back -- issues a ruling in which the Court cuts back on what

      7   is excessive in terms of the execution of the warrant, then

      8   that's the Court's prerogative.              And the Court certainly has

      9   the discretion and the ability to do that, and I don't think

    10    any appellate court would fault the Court for doing that.

    11               THE COURT:       Okay.    You can go ahead, if you have a

    12    couple of other --

    13               MR. BORNSTEIN:      No, I think those were the things

    14    that I wanted to deal with from Mr. Fields' argument.                    Those

    15    were the plain view doctrine, the possession versus privacy,

    16    the size of the bags, the fact that the execution went too

    17    long, and the idea that somehow taking all those photographs

    18    is not a seizure.     But, you know, if the Court -- I kind of --

    19    I appreciate the Court's comments that -- the fact that they

    20    exceeded what's reasonable.            I mean, reasonable has always

    21    been the touchstone of Fourth Amendment, what was reasonable

    22    in terms of when you stop the search.                The search was not

    23    reasonable.

    24               THE COURT:       Okay.    Thank you.

    25               Mr. Fields, do you want to have a little bit of


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                           305
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC183
                                                                  Colorado
                                                                     of 234   pg
                                306 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022     183


      1   rebuttal?

      2               MR. FIELDS:     No, Your Honor.

      3               THE COURT:      All right.    Thank you.   Why don't we then

      4   move on to the next motion.

      5               MR. FIELDS:     So, Your Honor, again sort of working

      6   backwards through the testimony, the next one I'd like to

      7   address is the motion to suppress the statement, so this is

      8   defense motion 216.

      9               THE COURT:      Go ahead.

    10                MR. FIELDS:     There we heard testimony from Special

    11    Agent Anderson and Special Agent Romero.          I don't want to

    12    repeat too much of what's in the brief, so what I will do now

    13    is I will just put it in the context of the testimony we

    14    heard.

    15                So the question here is whether or not these

    16    statements were custodial.        The definition is, of course,

    17    could a reasonable person would [sic] have felt he or she was

    18    not at liberty to terminate the interrogation and leave.                And

    19    the courts have elucidated a five factor test:           location of

    20    the interview, the duration, statements made during the

    21    interview indicating whether or not someone had a belief that

    22    they could leave, whether physical restraints were used, and

    23    whether or not the interviewee is released at the end.              All of

    24    those factors weigh in favor of a finding here that this was

    25    not custodial.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                        306
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC184
                                                                   Colorado
                                                                      of 234   pg
                                307 of 460

          20-cr-00305-DDD                Motion Hearing               10/12/2022     184


      1              First of all, the location.          There is no doubt that

      2   this took place at the Tews' residence, so this was not a

      3   police-dominated environment.        This is their personal

      4   residence where they are going to feel most comfortable.                 They

      5   have got their children there.        They are free to move around.

      6   They can go into this common space.

      7              This factor is not, sort of, determinative, but I

      8   would say that the courts do give it more weight than others.

      9   That's the Richie case, cited in our brief, which says the

    10    courts are much less likely to find something was custodial

    11    when it takes place at home as opposed to, you know, a police

    12    station or a cruiser or something like that.

    13               The duration of the interview.         The actual sort of

    14    meat of the interview was about 30 minutes, so we are not

    15    talking about, sort of, a, you know, five-hour long

    16    interrogation here where someone's will was overborne.               We are

    17    talking about a short encounter, which again I think weighs in

    18    the favor of the finding that it's not custodial.            30 minutes

    19    just sitting and chatting is not, sort of, a huge limitation

    20    on someone's freedom of action.

    21               Statements made during the interview.          In this

    22    particular case, the Tews declined to answer a lot of

    23    questions.    They weren't really being responsive.          At one

    24    point Kimberley Tew actually told Michael Tew to stop, and he

    25    did.   At one point in time the agents asked to record the


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                      307
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC185
                                                                   Colorado
                                                                      of 234    pg
                                308 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022     185


      1   interview, and that invitation is declined.            All of that does

      2   not -- all of that indicates a situation where the Tews here

      3   are well aware that they have freedom, that they can make

      4   decisions, and they are not in custody.

      5              THE COURT:       Let me just interrupt you a little bit,

      6   because I guess in my mind I have a little trouble keeping

      7   distinct the idea of being in custody and voluntarily making

      8   statements, which are related, obviously, and both can cause

      9   problems, but are not necessarily the same thing.            So I think

    10    you could be in custody and still refuse to answer questions.

    11    I mean, these are pretty sophisticated people, probably

    12    understand they have a right not to answer questions.                So the

    13    fact that they at times at least said, We don't want to answer

    14    questions, might play into whether other statements were

    15    voluntary, but I'm not sure it plays into whether -- or how it

    16    plays into the custody question.           Does that make sense?

    17               MR. FIELDS:      It does, Your Honor.      And actually the

    18    courts -- oftentimes the, sort of, Miranda motion is paired

    19    with a voluntariness motion.         As I understand the defense's

    20    motion, it's just about Miranda.           So when you look at Miranda,

    21    I think what the courts have often done is that analysis gets

    22    compressed into, sort of, one, sort of, step, you know, the

    23    voluntariness and the statements.            I think the way to read

    24    that case law is to say that, sort of, you're right that

    25    someone can be in custody and their statement can still be


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                        308
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC186
                                                                     Colorado
                                                                        of 234   pg
                                309 of 460

          20-cr-00305-DDD                     Motion Hearing            10/12/2022    186


      1   voluntary.    In terms of were they in custody in the first

      2   place -- and maybe actually courts have, sort of, created

      3   this, like, ouroboros loop, but I think it's a fair reading of

      4   the case law to say that the courts look to see did these

      5   individuals, sort of, make statements indicating their

      6   voluntariness, which would indicate that they are not in

      7   custody.    Right?   They still have freedom of action.            They

      8   still have freedom of movement.              The court's looking at

      9   custody as sort of a real limitation on someone's freedom and

    10    as someone's will sort of being -- not overborne in sort of

    11    a -- you can be in custody and still make statements, but

    12    still there's a dividing line somewhere along there.

    13               I'm not sure how to parse that out here, and I don't

    14    think we have to.     I think it's, sort of, one factor among

    15    many, and it's one that weighs in favor of a finding here that

    16    it's not custodial even if it's not determinative.

    17               THE COURT:       Okay.

    18               MR. FIELDS:       And then release at the end.        Now, the

    19    release at the end here was only about 20 minutes, but courts

    20    have said that's enough.        He was free to go.        He went back

    21    into his apartment.         The agents had to go get him.        That is

    22    also unrebutted.

    23               THE COURT:       I think you would agree if he had hopped

    24    in a cab, he might not have been free to -- they might have

    25    stopped him then.     Don't you think there's -- they were


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      309
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC187
                                                                    Colorado
                                                                       of 234   pg
                                310 of 460

          20-cr-00305-DDD                  Motion Hearing              10/12/2022     187


      1   prepared, if they had to, to arrest him if he started to

      2   leave, not just to go back in the apartment, but to actually

      3   go somewhere else where they weren't?

      4               MR. FIELDS:     I think they were making those

      5   preparations, Your Honor, which is what the testimony says.

      6   Right?   So you have this place where the -- the agents are

      7   there.   They are conducting surveillance.           They are not sure

      8   they are going to make an arrest yet.             They want to talk to

      9   him.   Eventually they do make that decision, and it happens

    10    pretty quickly, but it is made after the interview.              Right?

    11    And so, you know, could he have left?             What would have

    12    happened?    All of that is speculative.          And, also, the courts

    13    are very clear on this, the subjective intent of the agents

    14    does not matter.

    15                So looking at all of this objective -- all of these

    16    objective factors, the Government would urge the Court to deny

    17    the motion because this was not custodial.

    18                THE COURT:      All right.    Thank you, Mr. Fields.

    19                Mr. Bornstein.

    20                MR. BORNSTEIN:     In my view, what the Court started to

    21    ask about is the key question in the case or key fact in the

    22    case in this motion.        A commonsense, ordinary, regular human

    23    beings, not lawyers in court, we're told that the agents went

    24    there to make sure that he was not going to flee, would say

    25    that if he tried to leave, they would have stopped him.               And


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                      310
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC188
                                                                  Colorado
                                                                     of 234   pg
                                311 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022    188


      1   the idea that they wouldn't have stopped him or they would

      2   have followed him to the airport and watched him get on a

      3   plane and head to wherever it would be, South America, is just

      4   not believable.     They would not have done that.

      5               THE COURT:      So I agree with you about that, and I

      6   think Mr. Fields agrees, largely, but I think Mr. Fields'

      7   point is that's not the question because that's not what

      8   happened.    What happened was they showed up, they asked him

      9   some questions, then they let him go back in his apartment,

    10    and then they decided to arrest him.

    11                And in some senses, you know, I think a normal

    12    citizen, FBI agents -- a bunch of FBI agents show up, no

    13    matter what, you are going to feel some sense that your

    14    freedom to move is restricted in some sense.           I think we all

    15    understand that just being confronted by a bunch of law

    16    enforcement officers in almost any circumstances is, in that

    17    sense, a normal person wouldn't typically just think, well,

    18    nothing will happen if I just start to run, for example.

    19                On the other hand, the law is also pretty clear that

    20    despite maybe that instinct that we all would have, that

    21    that's not enough to say you are in custody.           There has to be

    22    some actual reasonable either expression or the circumstances

    23    have to show that you are not allowed to leave.

    24                And here what are those factors, I mean, that he

    25    actually would have known about?           Now, there was, as you


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   311
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC189
                                                                 Colorado
                                                                    of 234   pg
                                312 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022        189


      1   pointed out, a lot going on behind the scenes.          They may have

      2   been preparing to arrest him, but why would someone in his

      3   circumstances feel that he was in custody in a way that

      4   someone -- anyone else in similar circumstances wouldn't?               I

      5   guess my point is:     Doesn't your argument prove a little bit

      6   too much that basically any kind of interrogation or

      7   questioning by law enforcement officers is going to be

      8   involuntary if I agree with your argument here or going to

      9   mean you are in custody?

    10               MR. BORNSTEIN:    No, Your Honor, because this goes

    11    back to Mr. Fields' argument about subjective versus

    12    objective.    So that if the -- if we put a defendant on the

    13    stand and say, How did you feel about these officers, and he

    14    says, Oh, my God, there were four officers, I knew they were

    15    armed, I knew that if I did anything they'd, you know, shoot

    16    me or stop me or do something to me, that would be subjective,

    17    and he would say, Absolutely, subjectively I thought I was in

    18    custody.    And the law has said we're not interested in that.

    19    You know, you can get on the witness stand and say you

    20    subjectively thought that you were not free to leave, and we

    21    are not going -- the law is not going to give that a lot of --

    22    give -- is not going to make that the touchstone, not going to

    23    make that the test.

    24               So that's why I go back to the actual test is

    25    objectively he couldn't leave.        He could stay in that


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                      312
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC190
                                                                  Colorado
                                                                     of 234   pg
                                313 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022    190


      1   apartment until they arrested him, but eventually they were

      2   going to go into that apartment and arrest him.           The AUSA is

      3   obtaining a complaint and a warrant to arrest him.            These

      4   agents are aware of that from the AUSA being in contact with

      5   them.   So I'm going to go with Mr. Fields' subjective versus

      6   objective line of cases.

      7              THE COURT:       All right.    I get what you are saying,

      8   and I think you are saying that objectively we know all these

      9   things, but I think the test is maybe some kind of a weird --

    10    well, it's not that weird.        It's -- we do it pretty

    11    frequently, I think, in the law, which is -- it's an objective

    12    test, but it's from the perspective of a reasonable person in

    13    the defendant's -- in the person challenging -- the person

    14    making the statements, it's from a reasonable person test in

    15    those circumstances.        And he didn't know about what the AUSA

    16    was doing behind the scenes.         So that I don't think is

    17    relevant to the question of what a reasonable person in his

    18    circumstances would have thought about whether he was free to

    19    go.   Because the reason custody is important is because we, I

    20    guess, sort of as Mr. -- we want to make sure that people when

    21    they are -- as Miranda says, we want to make sure people when

    22    they are in custody know that they are free not to answer

    23    questions.    If you can just walk away or think you can just

    24    walk away, then we are not as concerned if you voluntarily --

    25    if you go ahead and answer questions.


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   313
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC191
                                                                      Colorado
                                                                         of 234    pg
                                314 of 460

          20-cr-00305-DDD                  Motion Hearing                10/12/2022     191


      1              MR. BORNSTEIN:       Well, let me give you a hypothetical

      2   then.   Let me give you a hypothetical.

      3              THE COURT:       I thought I'm the one who's supposed to

      4   give hypotheticals.         This is why I got out of practicing law.

      5   But go ahead.

      6              MR. BORNSTEIN:       Suppose a very savvy police officer,

      7   detective, FBI agent, whatever it is, approaches the subject

      8   and says to that subject:        I promise you, I will not arrest

      9   you.    I just want to have a couple of words with you.                 You

    10    know, maybe after you talk to me I'll understand that you are

    11    not part of this criminal activity, and I absolutely promise

    12    you I'm not going to arrest you.           And he's lying.      I mean, his

    13    subjective intent was he was going to arrest him when this was

    14    over.   And the subject says, Oh, I believe you.              Oh, you know,

    15    you're a law enforcement officer wearing a badge and a gun,

    16    and if you tell me I'm -- you know, you're not going to arrest

    17    me, I believe you.      Does that mean that they are not in

    18    custody?

    19               THE COURT:       Yeah, it's a good question.        Isn't the

    20    answer no, they are not in custody?               I think the answer is no

    21    in that circumstance, isn't it?           Because a reasonable person

    22    would say, if they didn't want to answer the questions, would

    23    either say, I'm not going to answer it, or just say, Leave me

    24    alone, I don't want to talk to you.

    25               MR. BORNSTEIN:       But the reason that we ask for


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                        314
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC192
                                                                   Colorado
                                                                      of 234   pg
                                315 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    192


      1   Miranda is to advise the subject that what you say might be

      2   used against you, and before you talk to me you need to know

      3   that what you say might be used against you.            And if you need

      4   to consult with a lawyer before making that decision, you have

      5   a right to do so.

      6              And if you are not told that -- I mean, Miranda is

      7   more than just a talisman.        I mean, it actually is supposed to

      8   be -- whether, you know -- how it actually works on the field

      9   is sometimes a little hard to fathom, but it's supposed to be

    10    a talisman that does advise you that, you know, you have some

    11    rights.

    12               THE COURT:       I agree.   So what do you think are the

    13    factors that would tell a reasonable person in Mr. Tew's

    14    circumstances that he was in custody at the time he made these

    15    statements, not afterwards, but at the time he answered the

    16    questions that he answered?

    17               MR. BORNSTEIN:      I think the number of agents there is

    18    certainly -- and the fact that the agents have positioned

    19    themselves so that they are in all different locations in that

    20    area.    He goes out in the hallway.          He sees at least two of

    21    them in the hallway.        He might not know there's one or two

    22    waiting at the bottom of the lobby, but he knows that -- he

    23    goes out in the hallway, and here's these people who were out

    24    there.    They identify themselves as agents.          More show up, and

    25    eventually they tell him that an FBI agent is on her way to


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    315
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC193
                                                                      Colorado
                                                                         of 234    pg
                                316 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022     193


      1   question you.     Those are all the factors that I would stress.

      2              THE COURT:       Okay.    Thank you.

      3              Mr. Fields, any rebuttal?

      4              MR. FIELDS:      No, Your Honor, but thank you.

      5              THE COURT:       All right.       Thank you.

      6              All right.       So I'm going to take these motions under

      7   advisement and issue a written order on all the suppression.

      8              So why don't we move on, then, to the e-mail, the

      9   electronic information motion, which is 200, I think.                   I think

    10    probably, Mr. Bornstein, I should let you go first and last on

    11    this one, since it's not really an evidentiary question, and

    12    just highlight for me kind of your legal arguments, and then

    13    I'll let Mr. Fields go, and let you have the last word too, if

    14    you want to, on this motion.

    15               MR. BORNSTEIN:      Thank you.

    16               The issue that this motion raises for the Court is

    17    twofold.    The first fold is was the use of the Stored

    18    Communications Act to obtain ESP, electronically stored data,

    19    to obtain ESP records, was that constitutional.               The courts --

    20    we argue that it's not constitutional and that the search

    21    warrants were invalid.        And we stressed the issue of Carpenter

    22    versus the United States, but I also want to go back a few

    23    years to Riley versus California.               And in Riley California the

    24    Court issued the cell phone determination and determined that

    25    what was in your cell phones in terms of data was what you --


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                        316
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC194
                                                                 Colorado
                                                                    of 234   pg
                                317 of 460

          20-cr-00305-DDD                  Motion Hearing           10/12/2022    194


      1   you were carrying around, you know, your life in your cell

      2   phone, and that if the police or the FBI, or whatever the law

      3   enforcement agency, wanted the contents of your cell phone,

      4   they had to get an order.        And in this case when you have

      5   Google and Apple, you're talking about not only your cell

      6   phone, but your entire cell phone plus your computers, no

      7   matter how many computers you have or what other cell phones

      8   you have.    And in this case we also have factual information

      9   that Mr. Tew's Apple data became merged in Miss Tew's Apple

    10    data, and things that were not separate but between the two of

    11    them, we're not quite sure how that happened, but at some

    12    point those datas were mixed.          So now what you have is not

    13    just in terms of Riley versus California, not just your cell

    14    phone, but your cell phone plus your computer and plus any

    15    other computers or cell phones that are linked.          And Google

    16    and Apple ask you -- literally ask you, Please, you know, link

    17    all of your -- all of your material together.

    18                So once you look at Riley and Carpenter together, we

    19    have, in my view, the law catching up or trying to catch up

    20    with technology.

    21                THE COURT:      Well, let me -- so let me ask you to,

    22    sort of, stop right there, because I think I agree with you,

    23    the law has probably not entirely caught up with technology,

    24    but to go back to Carpenter, I mean, the Government is right,

    25    the Supreme Court went out of its way to try to limit the


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  317
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC195
                                                                 Colorado
                                                                    of 234   pg
                                318 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022        195


      1   holding in Carpenter, and you, I think, are -- you know,

      2   you're not wrong to suggest that maybe all of these things you

      3   just said are true about what is on people's phones and their

      4   e-mail and their -- all these accounts being linked up

      5   together.    You are not wrong about how modern technology, sort

      6   of, puts everything out there.        But I think my view of the law

      7   is you've got to convince a higher court than me to deal with

      8   that.    The Supreme Court basically said in Carpenter, Hey,

      9   we're talking a step to modernize some of this Fourth

    10    Amendment law when it comes to modern technology, but we're

    11    not undoing our precedents as to anything else.          And I'm just

    12    down here at the bottom of the ladder, and I'm stuck with

    13    that.    Right?   I'm not the one who gets to say, Hey, yeah, now

    14    is the time to, sort of, expand Carpenter into a new area.

    15    Right?

    16                MR. BORNSTEIN:   I understand what the Court is

    17    saying, obviously.     I mean, I have anticipated that thought

    18    and that argument, and I went back, and I read in Carpenter

    19    what the court said about Miller and Smith, because Miller and

    20    Smith are the third-party doctrine cases, and that was what

    21    was preserved specifically in Carpenter was to preserve the

    22    Miller and Smith records for business records exceptions.               I

    23    cited to the Court a magistrate judge out of Kansas.           Waxby is

    24    the name of the magistrate judge.          And although obviously

    25    that's not precedent for this Court, it is a 20-some-odd page


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                      318
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC196
                                                                      Colorado
                                                                         of 234   pg
                                319 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022    196


      1   opinion that's very well reasoned.               It's a 2016 opinion that's

      2   very well reasoned in terms of why Miller and Smith can stand

      3   there, because Miller was based on the business records of a

      4   bank, and the relationship between the customer and the bank

      5   records is limited by the business records exception and by

      6   the fact that the customer does direct business with the bank.

      7              We do not do direct business with Google.              We do not

      8   do direct business with Apple.             If we do a search looking for

      9   doctors or -- well, let's say we are looking for abortion

    10    clinics, and we are doing that search.               We don't ask Google or

    11    Apple to save that information for us like we ask them to save

    12    our bank records.     They do it whether we want them to do it or

    13    not.   We can't even stop them from doing it.              So there's a

    14    difference -- a distinction with a real difference between the

    15    bank records in Miller and the way that these records are kept

    16    by Google, Amazon, Microsoft, et cetera, et cetera.

    17               THE COURT:       Okay.

    18               MR. BORNSTEIN:      So I agree, the court did want to

    19    preserve Miller and Smith.           If I remember, Smith was the

    20    traditional trap and trace device which we've -- law

    21    enforcement has used for 25, 30 years.               The trap and trace

    22    device is a way in which the telephone company would record

    23    that the suspect's telephone called these 25 numbers on this

    24    day.   It wouldn't tell you who owned those 25 numbers, what

    25    those 25 numbers -- whether, you know -- content of the


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                        319
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC197
                                                                   Colorado
                                                                      of 234   pg
                                320 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    197


      1   conversation.      I think it did record how many minutes the

      2   conversation lasted, but law enforcement would have to find

      3   another way to find out who is on that other end of those

      4   telephones.       They did.   They often knew that, you know, one

      5   drug dealer was calling another drug dealer, and they knew

      6   both telephone numbers, and so they could figure out that

      7   there was conversations going on between the two.

      8              But Smith is also different because your relationship

      9   to your telephone company is, again, a direct relationship

    10    where you make your calls, they bill you.           Often if you ask

    11    them, Can I see who I called, can you give me a printout of

    12    what my calls were, for example, a business wants to see that,

    13    and it's a direct one-to-one relationship, different again

    14    from the fact that Google doesn't ask you, you know, what they

    15    are going to save.

    16               THE COURT:       I get it.    I guess -- and, I mean,

    17    believe me, I'm not -- the way that our information is used by

    18    Google and other companies, I'm not here to defend that, but

    19    isn't the fact that they -- when you use Google or these

    20    e-mail -- these free e-mail providers, aren't you -- I mean,

    21    it's worse in some ways.        Right?     At least with your bank it's

    22    just the two of you having this relationship.            They are not

    23    sharing your bank account information with whoever comes along

    24    and asks to buy all of it.        Right?      And that's what these

    25    internet companies do.        They share it -- it's not just third


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    320
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC198
                                                                   Colorado
                                                                      of 234   pg
                                321 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    198


      1   party.    There's millions of people who have access to all this

      2   information.

      3              MR. BORNSTEIN:      And they make money doing it.

      4              THE COURT:       Exactly.   That's their product.

      5              MR. BORNSTEIN:      They make money telling you, you

      6   know, how to make searches so that they are tailored directly

      7   to the kinds of --

      8              THE COURT:       Right.

      9              MR. BORNSTEIN:      -- businesses that you historically

    10    went to.

    11               THE COURT:       Right.   So, but that suggests that you

    12    are sharing this information with everybody who wants it.

    13               MR. BORNSTEIN:      All I can say to the Court is that

    14    the court in Warshak was willing to go out on a limb a little

    15    bit with its ruling, that in Carpenter both the majority and

    16    the dissent cited to Warshak.          Neither one criticized it as

    17    being an example of going too far.            You know, yes, maybe I am

    18    asking this Court to go out on a limb a little bit, but, you

    19    know, in the interest of -- in the interest of the

    20    Constitution, I guess I am, I'm asking this Court to go out on

    21    a limb.

    22               THE COURT:       All right.    Fair enough.   I appreciate --

    23    I appreciate that.

    24               Let me then just ask you to address the standing

    25    argument, which is sort of tied to the idea that these are


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    321
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC199
                                                                   Colorado
                                                                      of 234    pg
                                322 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022     199


      1   kind of, very broad motions that you haven't necessarily tied

      2   to every particular account.         You know, each -- you can only

      3   assert your own privacy interests in a Fourth Amendment

      4   context, not others'.        Mr. Tew can't protect Mrs. Tew's

      5   privacy interests, vice versa, let alone anyone else.                And I'm

      6   not totally sure I know whose these accounts all are.

      7              MR. BORNSTEIN:      Maybe I should call Mr. Tew to the

      8   witness stand and put him on about these accounts.

      9              THE COURT:       If you want to, I suppose you could do

    10    that.   I'm willing to, sort of, take your word for it, though,

    11    if you want to just tell me --

    12               MR. BORNSTEIN:      I mean, I can tell you -- I think in

    13    my reply -- let me look and see if it's in my reply.

    14               THE COURT:       I mean, you do list each one, but isn't

    15    it -- isn't it that if Miss Tew had an account, it would only

    16    be suppressed as to her?        I mean, do you disagree with that

    17    sort of proposition?

    18               MR. BORNSTEIN:      No, I do not.      I agree with that

    19    proposition.      I agree that if the account -- what I do want to

    20    make sure the record is clear.          Even though these accounts had

    21    Political Media, Rincon, Meyer Consulting, those individuals

    22    were not responsible for those e-mail addresses.            Those e-mail

    23    addresses were created by one or more of my clients.             So they

    24    were not belonging to Mike Meyers.            They were not belonging to

    25    Christian Rincon.     They were not belonging to third parties.


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     322
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC200
                                                                      Colorado
                                                                         of 234   pg
                                323 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022    200


      1   They belonged to either Mr. or Mrs. Tew, probably Mr. Tew.                   I

      2   can put him on, we can make a factual record, but I do agree,

      3   yes, if that e-mail account is one created by Mr. Tew,

      4   Mrs. Tew does not have a privacy interest in it.

      5              THE COURT:       Okay.    Before we have him come up, unless

      6   there's something else you want to say right now, why don't I

      7   let Mr. Fields respond.        And then if we need to, we can -- I

      8   will certainly let you come back up, and if we need to, we can

      9   take some evidence.         I don't think it's probably necessary.

    10               MR. BORNSTEIN:       I just want to say if standing is an

    11    issue, then I can clear that standing issue up with that one

    12    or -- of my clients has standing to make that issue, to make

    13    that argument.

    14               THE COURT:       Okay.    All right.      That's good enough for

    15    me for now on that.         Thank you.

    16               Mr. Fields.

    17               MR. FIELDS:       Thank you, Your Honor.        So, as I

    18    understand the defendant's motion, we are not talking -- I

    19    mean, a warrant was used here.             Right?    So the question is:

    20    Does -- do 2703(d) orders, which ask for noncontent, sort of,

    21    routing metadata, do those run afoul of the Fourth Amendment?

    22    In this particular case, I would say it's not a matter of

    23    extending Carpenter.        It would actually be running up directly

    24    against Tenth Circuit precedent.              United States versus

    25    Perrine, which is cited in the Government's brief,


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                           323
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC201
                                                                   Colorado
                                                                      of 234    pg
                                324 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022     201


      1   specifically held there's no reasonable expectation of privacy

      2   in any of that information.         So for the Court to conclude that

      3   the 2703(d) orders here violated the Fourth Amendment, it

      4   would actually have to somehow distinguish Perrine, and I

      5   don't think the defendant has offered any valid way to do

      6   that.

      7               Let's say maybe, actually, there's the suggestion

      8   that Carpenter, sort of, sub silentio overturned Tenth Circuit

      9   decisions like Perrine.        That's where you I think you get into

    10    Justice Roberts' very, very explicit, sort of, language that

    11    he is not overturning the third-party doctrine in multiple

    12    different contexts.         And for good reason, Your Honor.         I mean,

    13    if you look at the solicitor general's brief in that case, it

    14    was really concerned with the idea that if the court ruled a

    15    certain way, use of subpoenas generally might come into

    16    question.    Right?   And the use of subpoenas goes back all the

    17    way to the common law, to the writs of King Henry VIII.

    18    There's precedent going back hundreds of years.            That's why we

    19    cite cases like Morton Salts, Oklahoma Press.            Subpoenas can

    20    be used to gather information from third parties without

    21    running afoul of the Fourth Amendment.            You give your

    22    accountant all of your tax records, and the government

    23    subpoenas your accountant, not a violation of the Fourth

    24    Amendment.

    25                Now, when you start dealing with technology, maybe


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                     324
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC202
                                                                   Colorado
                                                                      of 234    pg
                                325 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022     202


      1   eventually you get to a point where there's, sort of, issues

      2   with, you know, sort of, a mosaic of surveillance over

      3   someone.    That's what I think Carpenter was getting at was

      4   sort of drawing that line right there, but there's been -- I

      5   think drawing that line here is very difficult, and there's

      6   not a good reason to extend Carpenter.            For one, we are not

      7   dealing with location information, sort of, 24/7 surveillance.

      8   That's not the information we are talking about here.                We are

      9   talking about basically the information that's on the envelope

    10    of an electronic communication.           The Supreme Court has ruled

    11    for hundreds of years, going back all the way back to Ex parte

    12    Jackson in the 1900s, that sort of the information on an

    13    envelope when it goes to the postal service, it's in plain

    14    view, and there's no Fourth Amendment violation to read the

    15    envelope or to use it.

    16               THE COURT:       Doesn't the motion make a decent argument

    17    that this goes a little bit beyond that, sort of, very basic

    18    information that would be on an envelope?           I mean, it's a

    19    little bit -- it doesn't include the contents of the e-mails,

    20    but doesn't it go a little bit beyond just maybe what an

    21    envelope would?

    22               MR. FIELDS:      I think so, Your Honor, and there I

    23    think we run up against -- in order for the Court to rule in

    24    the defendants' favor, you'd almost have to kind of overrule

    25    Katz a little bit.      You'd have to get into a reasonable


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                        325
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC203
                                                                 Colorado
                                                                    of 234    pg
                                326 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022     203


      1   expectation of privacy test.       And as has already been

      2   discussed, a lot of these companies are very up front about

      3   the fact that the bargain here is you get to use Google for

      4   free, you get Gmail, you get the suite of documents, and it's

      5   great for you, the consumer, who gets all this free stuff, but

      6   in return we are going to pillage your data, and we are going

      7   to use it, and we are going to sell it to third parties.               And

      8   they are very up front about that.

      9              So you don't have a reasonable expectation of privacy

    10    when you use Google accounts.        If you wanted to use something

    11    else, there are all sorts of other, sort of, market actors

    12    that will actually protect your privacy.          You can use

    13    ProtonMail.       You can use Signal.    You can use all sorts of

    14    other things if that's really important to you.          That wasn't

    15    this case.

    16               So I think in order to extend Carpenter, you have got

    17    multiple problems.      It's overruling Perrine.      It's then

    18    getting into, sort of, is Katz' reasonable expectation of

    19    privacy test privacy-protective enough in this world?              And

    20    that is definitely something that could percolate up, but the

    21    law on that is very clear.       In order for the Fourth Amendment

    22    to apply, it's a reasonable expectation of privacy that

    23    society is willing to protect, and it's both subjective and

    24    objective.

    25               So I think for all of those reasons extending


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                       326
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC204
                                                                 Colorado
                                                                    of 234   pg
                                327 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022     204


      1   Carpenter here does not make a lot of sense.

      2              And then I just want to address this, sort of, direct

      3   business test potentially that we could use.          I think with a

      4   bank oftentimes there will be a personal relationship when you

      5   are doing direct business.       It's not really the case with a

      6   lot of phone companies.      Right?     Or the idea that the phone

      7   company is different because you can call them, and they're

      8   keeping track of your number so you have it for a bill, that's

      9   exactly what Google does.      You have got all of your e-mails

    10    that you could ever use to a personal particular person sorted

    11    for you.    So let's say you wanted to talk to your accountant

    12    about preparing your taxes.       Here's all the e-mails I sent,

    13    you know, to that accountant or to someone else.          That is the

    14    service they provide, and you are doing direct business with

    15    Google, again, recognizing the bargain that's been struck when

    16    you signed their terms of service and got that, the mail.               So

    17    I'm not sure that a, sort of, direct business test really gets

    18    us any further.

    19               The other thing I'll note is just the courts that

    20    have addressed whether or not Carpenter should be extended

    21    here, all the Circuit Courts to address it have declined to do

    22    so.   So Soybel, cited in the Government's brief at 13 F.4th

    23    584, that's particularly talking about, sort of, ISPs and

    24    whether or not they should be discovered under the Carpenter

    25    ambit, but the cases cited in there from various other


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                       327
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC205
                                                                  Colorado
                                                                     of 234   pg
                                328 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022    205


      1   circuits have come to the same conclusion:          Carpenter does not

      2   extend to 2703 information.         So if the Court is inclined to

      3   look towards persuasive authority, I think those are the cases

      4   it should look at.

      5              The District of Kansas cases that the defendant is

      6   citing -- I think they are on page 9 of his brief -- those are

      7   cases, sort of, describing Warshak and, sort of, the fallout

      8   from Warshak.     And the question there was:       Can you use 2703

      9   to get content?     And there's this whole content/noncontent

    10    distinction.      We are not there here because the Government got

    11    a warrant.    It did exactly what the Warshak court said the

    12    Government should do.

    13               So for all --

    14               THE COURT:       Let me ask you a quick question about

    15    that.   Wouldn't, though, all of the discussion we just had

    16    about how Google and these e-mail companies share your

    17    information and they sweep through all your stuff, don't they

    18    do the same thing with the content of your -- I mean, they may

    19    not share it directly in the same way, but, I mean, they seem

    20    to know what's in your e-mails.           They get the content.     So

    21    wouldn't our -- if we are going to say the third-party

    22    doctrine applies -- I mean, this is not that case because you

    23    are not asking -- you didn't do that here, but wouldn't truly

    24    applying the third-party doctrine in the way we are talking

    25    about, sort of, mechanically saying, Well, did you share this


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   328
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC206
                                                                     Colorado
                                                                        of 234   pg
                                329 of 460

          20-cr-00305-DDD                     Motion Hearing            10/12/2022      206


      1   with someone else who shares it with a third party, wouldn't

      2   that apply to the content too?

      3               MR. FIELDS:     Yes.

      4               THE COURT:      Okay.

      5               MR. FIELDS:     And so I think actually what the court

      6   ended up there doing is -- you know, the reasonable

      7   expectation of privacy test, Katz, really does depend on

      8   higher courts saying this is a privacy interest that society

      9   is prepared to accept.        So they did that in Carpenter.           They

    10    did that in Warshak.        They have not done that with all this,

    11    sort of, routing digiting ISP information we are talking about

    12    here.

    13                Also I just wanted to note for the record that even

    14    if the Court was inclined to conclude that the use of 2703(d)

    15    orders here runs afoul of the Fourth Amendment, then you get

    16    this analysis where, okay, all of that stuff should be severed

    17    from the warrants.       And so then you look at the warrants and

    18    you say, Is there still probable cause?              And there is, Your

    19    Honor.   If you look at the warrants, what you will see is it

    20    describes the fraud, and then National Air Cargo, the victim

    21    here, had e-mails in its servers from these e-mail accounts,

    22    the ones that were the subject of the warrants, with sham

    23    invoices.    So that gives you probable cause to believe that

    24    those e-mail addresses, the ones that submitted the sham

    25    invoices, may have evidence of a crime.              So I still think you


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                        329
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC207
                                                                 Colorado
                                                                    of 234   pg
                                330 of 460

          20-cr-00305-DDD                  Motion Hearing           10/12/2022    207


      1   have PC even if the Court were inclined to extend Carpenter

      2   and to do sort of a Kastigar-type analysis.          You could sever

      3   out all of that stuff and still conclude that these warrants

      4   shouldn't be suppressed.

      5               And even then, Your Honor, if the Court were inclined

      6   to rule that the use of this information violated the Fourth

      7   Amendment, if the Court were inclined to then strike all those

      8   portions from the warrants and conclude that they weren't

      9   valid, then you get to good faith, and then you get to the

    10    fact that here the agents are relying on Perrine and other,

    11    sort of, well-established Tenth Circuit cases saying that

    12    you -- this is how you do investigations.         You start from

    13    small to big.     Right?     So we don't have probable cause yet.

    14    We have reasonable and articulable suspicion, so we use a 2703

    15    order, and you sort of go up the ladder in terms of invading

    16    people's privacy.     They followed that law, and they did what

    17    the courts and everyone have asked them to do.

    18                THE COURT:      Let me ask you about that.   I meant to,

    19    kind of, do a little research on that, but I didn't, so maybe

    20    you have.

    21                How does that work when -- my understanding of the

    22    good faith is when, say, a warrant includes information that's

    23    wrong and you go to the wrong place, but if -- if the mistake

    24    is a legal one, that this was actually not legally authorized,

    25    does good faith really apply in that circumstance?           Because it


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  330
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC208
                                                                   Colorado
                                                                      of 234   pg
                                331 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    208


      1   seemed odd to me.     How would you ever -- no one would ever win

      2   one of these cases.         Right?

      3              MR. FIELDS:       That's right, Your Honor, and actually

      4   they don't win that initial case.            Instead, basically a

      5   precedent is created where future defendants might win.

      6              So Warshak is actually a great example.          Warshak,

      7   there they declared 2703(b) unconstitutional to the effect

      8   that it allowed the Government to obtain the content of e-mail

      9   without a warrant.      But the Sixth Circuit said, Actually, our

    10    precedent at the time allowed the Government to do just that,

    11    so we are not going to suppress, but now we have told you, and

    12    everyone is on notice that you need to get a warrant from now

    13    on.   So defendant lost in that particular case, but future

    14    defendants got the, sort of, fruit of that.

    15               THE COURT:       Well, that's sort of a heads I win, tails

    16    you lose situation, right, for the Government?            And why would

    17    anyone bother to take these cases to the Supreme Court if they

    18    would lose either way?

    19               MR. FIELDS:       Because sometimes you get strategic

    20    litigants who are concerned about, sort of, shaping the law

    21    for future defendants.        But in particular cases, Your Honor,

    22    the reason for this, as stated in, sort of, Herring and Leon,

    23    is that suppression is a really radical remedy.            What we are

    24    talking about here is distorting the truth process and

    25    preventing a jury -- like, the fact is maybe actually, because


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    331
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC209
                                                                     Colorado
                                                                        of 234   pg
                                332 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022    209


      1   we haven't actually looked through these warrants because of

      2   the sanctions motion that we will talk about, but if there are

      3   text messages in there in which the Tews are talking back and

      4   forth about, sort of, fleecing a company out of $5 million and

      5   those just exist, going into court with all of that, like,

      6   factual information removed from a jury is a distortion, which

      7   is not what the courts are all about.             So the Supreme Court

      8   has said you should only do that if it's going to deter

      9   misconduct.       There's no misconduct here, Your Honor.          The

    10    agents did exactly what everyone wants agents to do, which is

    11    get a warrant.      They didn't, sort of, you know, go out on a

    12    limb.   They didn't try to do anything.            What they did is they

    13    consulted an AUSA who said, This is the state of the law at

    14    the time.    AUSA reviews the warrant.            It gets submitted to a

    15    magistrate judge.      And the magistrate judge, also taking into

    16    account legal training and, sort of, you know, knowledge of

    17    precedent, issues the warrant.          So good faith should still

    18    apply under all these circumstances.

    19                There are also some arguments that haven't been

    20    addressed orally, Your Honor, about, sort of, the two-step

    21    process and, sort of, gathering all that stuff.              I'm happy to

    22    address them, but they weren't addressed initially, and I

    23    think our brief recognizes or addresses all of them.

    24                THE COURT:      I agree.   Thank you.

    25                Mr. Bornstein, rebuttal?


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      332
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC210
                                                                      Colorado
                                                                         of 234   pg
                                333 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022        210


      1              MR. BORNSTEIN:      Your Honor, I want to address the

      2   two-step process --

      3              THE COURT:       Okay.

      4              MR. BORNSTEIN:      -- if I might.

      5              THE COURT:       Go ahead.

      6              MR. BORNSTEIN:      Because in this case the two-step

      7   process has failed, completely failed.               The Government asked

      8   Apple and Google and AT&T to execute the warrant and give them

      9   all of the information in this e-mail accounts between certain

    10    dates.   They didn't pay attention to what the warrant said.

    11    They gave dates -- they gave information that went back way

    12    beyond and way greater than what the warrant issued and even

    13    what the U.S. Attorney said this is what we want.               And so

    14    Apple and Google -- first of all, I have some problems

    15    saying -- the Fourth Amendment talks about law enforcement

    16    watching these warrants, and it says, for example, that the

    17    law enforcement agent is to file a return with the court.                    I

    18    have not found any returns from Apple or Google.               There was a

    19    return filed for AT&T.        It turned out to have -- AT&T sent the

    20    U.S. Attorney the wrong person's -- somebody else's

    21    information, and the U.S. Attorney had to go back to AT&T and

    22    say, No, no, you sent me the wrong information, do it again.

    23    But I don't think there's -- the returns on Rule 41 are

    24    supposed to be done by the law enforcement.               We don't have

    25    returns yet.      The Government has admitted that now, two


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                           333
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC211
                                                                 Colorado
                                                                    of 234   pg
                                334 of 460

          20-cr-00305-DDD                  Motion Hearing           10/12/2022    211


      1   years -- it was 20 months when I wrote the brief, so it's

      2   obviously more than 20 months now, and they don't know what's

      3   in these e-mails.     They haven't read these text messages,

      4   these e-mails, or these other matters to ensure that the

      5   two-step process -- that what they got was, in fact, what the

      6   magistrate authorized them to take.

      7               And we've found that they have in their computers a

      8   huge trough of information that they are not entitled to have.

      9   And so the two-step process just has not -- I mean, it made

    10    sense.   You used to take -- I mean, we had cases.         The FBI

    11    would seize a computer.        They would take a image of that

    12    computer, of how it existed on that date.         They'd give the

    13    computer back -- except that it had child porn or something,

    14    then they wouldn't give it back -- but they -- if it didn't

    15    have child porn, if it had something else, they would give it

    16    back.    They had the image.      They'd send it to the forensic

    17    laboratory and process it and determine what was in there.

    18    But in this case the facts of this case are they haven't done

    19    that yet.    They have not sifted through hundreds of thousands

    20    of text messages and e-mails to determine what's not

    21    authorized by the warrant, and to me that is such a problem.

    22    And that's, again, technology exceeding the law and, in fact,

    23    in this case exceeding the ability of the U.S. Attorney to

    24    process what they got.

    25                THE COURT:      Okay, and I think I understand.    I may


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  334
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC212
                                                                   Colorado
                                                                      of 234   pg
                                335 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    212


      1   give Mr. Fields, since I didn't have him speak on this, a

      2   chance to respond to that.        But, I mean, isn't that partly my

      3   fault, partly you suggesting they shouldn't be going through

      4   those?   I mean, isn't that because they're concerned about

      5   potential privileges in there?

      6              MR. BORNSTEIN:      As to privileges, yes, but not as to

      7   nonprivileged information.        And their privilege was originally

      8   limited to only the attorney-client privilege, and we said

      9   that there's husband-wife spousal material, there's medical

    10    material, there's accountant material.            Those privileges,

    11    that's one box.     The other box is irrelevance, thousands and

    12    thousands of irrelevant texts and e-mails that have never been

    13    culled out.

    14               Okay.   That's -- I'll --

    15               THE COURT:       Go ahead.

    16               MR. BORNSTEIN:      Perrine, United States versus

    17    Perrine, it predates both Riley and Carpenter, and it

    18    represents the fact that the courts had not at that time in

    19    Perrine caught up with cloud computing at all.            Perrine is

    20    just a case that the law has, by Riley and Carpenter, have

    21    gone beyond it.     And, as I say, I think Riley is as important

    22    as Carpenter in terms of where we are.

    23               And then, finally, I wanted to say the affidavit and

    24    application in this case were reviewed by a lawyer, a member

    25    of the U.S. Attorney's Office, and so the agent -- most of the


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    335
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC213
                                                                   Colorado
                                                                      of 234   pg
                                336 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    213


      1   time on our Leon good faith we sort of say, Well, here's this

      2   police officer, not a trained lawyer, doesn't know the law,

      3   hasn't been there, acts in good faith, accepts what the

      4   magistrate judge says because the magistrate judge is a lawyer

      5   and knows the law, and so we can't punish the police officer

      6   for violating the Constitution.           In this case, we have the

      7   entire United States Attorney's Office involved in the

      8   decision as to what's in these warrants.

      9              And the key about the 2703(d) is that what's

    10    important to the case is what made it into the warrants,

    11    because it's the warrants that have the content, and it's the

    12    content that's going to be the evidence at a trial.             So how

    13    did the Government get all this content evidence?            They got it

    14    from a warrant, and that warrant was based on all of these

    15    270 (d)'s [sic] requests, in part.            In part.   I need to say

    16    that.

    17               THE COURT:       I appreciate that.

    18               If Mr. Fields wants to respond on the two-step, go

    19    ahead, since he brought it up.

    20               MR. FIELDS:      Thank you, Your Honor.

    21               So with regards to the two-step process, this isn't a

    22    technological problem at all.          In fact, agents had started to

    23    execute the warrants.        They had started to actually -- so

    24    they'd get the entire account, step one.           Then they have to go

    25    through it, apply Attachment B and actually see the relevant


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    336
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC214
                                                                 Colorado
                                                                    of 234   pg
                                337 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    214


      1   communications.     When they started to do that, they realized

      2   that despite the fact they had already tried to filter out

      3   communications taking place before the arrest, so before known

      4   lawyers were involved, it looked like there still might be

      5   lawyers.    So out of an abundance of caution, they stopped.            At

      6   that time the Tews were not represented, so a decision was

      7   made, Let's wait until they've got a lawyer.          Then that

      8   lawyer, who would be in the best position to protect their

      9   privilege, we can engage with the lawyer and, sort of, figure

    10    out a filter process.

    11               The Tews' lawyer, Mr. Ekeland, asserted a blanket

    12    privilege and said, Do not look at anything regarding these.

    13    Right?   The Government counsel tried to work through with

    14    Mr. Ekeland how that was going to happen.         I was actually

    15    scheduled to meet with him in Brooklyn in December, was

    16    getting on a train to go out there, and I get a call that he's

    17    withdrawing from the case.       So we never had an opportunity to

    18    do that.

    19               And, actually, the reason the Government hasn't done

    20    this is not because we are not, sort of -- I think we have a

    21    right to go through it, and we can, but when you get motions

    22    for sanctions talking about Government attorneys, sort of,

    23    rifling through privileges, that makes even, sort of, you

    24    know, the most stiff-spined AUSA a little bit nervous.             And so

    25    we haven't done that.       We have been waiting for this motion to


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                   337
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC215
                                                                      Colorado
                                                                         of 234   pg
                                338 of 460

          20-cr-00305-DDD                     Motion Hearing             10/12/2022     215


      1   get resolved and to potentially engage Mr. Bornstein in our

      2   filter process.      Mr. Bornstein's position, as I understand it,

      3   is the same as Mr. Ekeland's:             That our entire filter process

      4   is problematic.      We shouldn't be using filters at all.              No one

      5   from the Government should be looking to see what's relevant

      6   at all yet.       Instead, there needs to be maybe a special master

      7   or something else.

      8              We disagree with that, but that's why the warrants

      9   haven't been executed yet.           So it's not a technological

    10    problem.    It's actually, sort of, a legal one, and it's the

    11    Government being, sort of, mindful and prudent and thoughtful

    12    about how to go about doing this.

    13               THE COURT:       Okay.    Thank you.      Well, why don't we go

    14    ahead and talk about the sanctions motion, then.               I should

    15    probably let Mr. Bornstein go first on that.

    16               Why don't you go ahead and address the sanctions

    17    motion, and specifically address, kind of, the -- you can talk

    18    about whatever you think you need to highlight, but about

    19    this, sort of, last point about what exactly -- I mean, I know

    20    you asked for dismissal as a sanction, but is there not

    21    something else?      Why -- is there any other possible sanction?

    22    Is there any other possible way to resolve any of this?                 Why

    23    do you think that's appropriate?

    24               MR. BORNSTEIN:      By the time I got into this case,

    25    this issue had already been raised by prior counsel and


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                        338
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC216
                                                                 Colorado
                                                                    of 234   pg
                                339 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    216


      1   decisions had been made.      And, as I understood the decision --

      2   and I received a memo that was authored by Mr. Fields.             I

      3   believe it's dated March of 2022.          And that memo indicated or

      4   said what the Government's position was and that they had

      5   assigned a filter team, taint team, and that the taint team

      6   was dealing with the attorney-client privilege because prior

      7   counsel, Mr. Ekeland, had raised the attorney-client privilege

      8   and had raised a Fourth Circuit Court of Appeals case

      9   concerning, concerning that case, the one I cite on paragraph

    10    7 of my motion.

    11                When I got the case, I felt that it was too late to

    12    deal with these issues that way anymore, that they had already

    13    had this information.       They did not set up this filter team.

    14    I mean, they were talking about searches that occurred in

    15    2020, July, September, December of 2020.          I get a memo that's

    16    written in 2022, and my determination was, okay, it's too late

    17    for this.

    18                And, beside that, the team has not been asked to look

    19    at spousal privilege material, has not been asked to look at

    20    medical privilege material, has not been asked to look at

    21    accountant privilege material.        And there's a lot of spousal

    22    material.    Perhaps some of that spousal material may be, you

    23    know, admissible in evidence because of coconspirator law.

    24    Perhaps it might be admissible because of crime-fraud

    25    exception or something, but it had not been culled out.            So I


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                    339
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC217
                                                                     Colorado
                                                                        of 234   pg
                                340 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022    217


      1   needed to figure out what I was going to do.

      2               I think that what could be done as terms of a lesser

      3   sanction is to not let the Government use the Apple computer

      4   material.    That's the biggest tranche of e-mails and text

      5   messages which we demonstrated go back to 2013 when the

      6   warrant said that it only wanted two years worth of documents,

      7   and Google paid no attention to being told that they only

      8   wanted two years worth of documents.              They did not filter out

      9   by time or date.     They just dumped their entire file on the

    10    U.S. Attorney.     And so I think that could be a lesser way to

    11    deal with it is to simply say they can't use the Apple

    12    computer material.       They can use the other material as long as

    13    it doesn't have privileged documents in it.

    14                I don't know how else to deal with it.           I mean, if

    15    the Court fashions some way to deal with this problem that's

    16    intermediate or less onerous, I guess I just -- I just don't

    17    know how to do it, but if the Court has a way of doing it,

    18    obviously the Court has the discretion to fashion any remedy

    19    that the Court feels is appropriate.

    20                THE COURT:      Let me ask you to at least address the

    21    argument that these other privileges you are asserting beyond

    22    attorney-client privilege are not appropriate, that some of

    23    them may apply to the evidence the Government could introduce

    24    at trial, but they don't apply necessarily to this sort of

    25    information -- the investigatory process.             Can you address


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      340
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC218
                                                                  Colorado
                                                                     of 234   pg
                                341 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022    218


      1   that?

      2              MR. BORNSTEIN:      I'm not sure I understand the Court's

      3   question yet.

      4              THE COURT:       Well, the Government -- a big part of the

      5   problem you are asserting is that the Government maybe has

      6   never planned, doesn't plan to, and has never filtered out

      7   anything but attorney-client --

      8              MR. BORNSTEIN:      Right.

      9              THE COURT:       -- privileged material.    What is your

    10    argument as to why they have to?           I mean, the Government I

    11    think says some of that may not be ultimately admissible, but

    12    that doesn't mean that it has to be filtered out of their

    13    investigatory process.

    14               MR. BORNSTEIN:      Okay.    If the purpose of the

    15    privileges are to take -- as I say, there's a difference

    16    between testimonial privileges and communication privileges.

    17    And the purpose of the privileges -- and we are talking about

    18    the communication privileges, not the testimonial ones, right

    19    now.    And the communication privileges essentially say, for

    20    example, if I'm called into the grand jury and I'm asked by

    21    the grand jury, What did your wife tell you about

    22    such-and-such, I can tell the grand jury, That's private, and

    23    I don't need to tell you that.          And if they then take me to

    24    court and seek a court order ordering me to violate a private

    25    communication between husband and wife, my hope is that the


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                   341
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25    Page
                                                             USDC219
                                                                  Colorado
                                                                     of 234   pg
                                342 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022     219


      1   court would say, No, you can't, we are not going to hold you

      2   in contempt for not answering that question in front of the

      3   grand jury.

      4              So I would say that that's material that the husband

      5   and wife or the doctor and patient can say:           It's off limits.

      6   You're not supposed to know that I have cancer.           You're not

      7   supposed to know that I have some other life threatening

      8   disease.    You're not supposed to know what we talked about

      9   unless you can establish a crime-fraud exception or some kind

    10    of exception to that.

    11               And that would be a two-step process also because

    12    then you would go to the Court seeking a contempt citation and

    13    say, We have a right to know this information because the

    14    privilege has been broken.        But I believe that that's the way

    15    the privileges are supposed to be protected.

    16               THE COURT:       All right.    Then let me ask how you

    17    think -- I know you said you think it's too late.           Just humor

    18    me with how you think the process should have worked or, if it

    19    weren't too late, how you think it should work.           You recognize

    20    there's some exceptions.        Some of these statements maybe could

    21    come in some other way.        Whose burden is it at which stage to

    22    establish that, which ones come in and which ones don't?                How

    23    would we figure that out?

    24               MR. BORNSTEIN:      I think that when you have conducted

    25    a search and in that conducting of a search the Government has


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                        342
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC220
                                                                    Colorado
                                                                       of 234   pg
                                343 of 460

          20-cr-00305-DDD                     Motion Hearing           10/12/2022    220


      1   material that is, let's say, potentially privileged, including

      2   spousal privilege, that they should set that aside, not use it

      3   to obtain other warrants or other material or use it in their

      4   investigation.     Set it aside, and go to a court.          If there's

      5   been an indictment, then we have a court to deal with.                If

      6   there hasn't been an indictment, we have all these cases that

      7   are now propping up with regard to these privileges that are

      8   being handled by the court that issued the search warrant, and

      9   say, Judge, we have a problem with this material.             And then if

    10    the Government wants it, they need to argue why it's -- why

    11    they should be able to look at it and use it.             And if they

    12    fail to do that, which they can do at a reasonably early stage

    13    in the search process, not two years later, I think that would

    14    work.

    15               THE COURT:       Okay.    Do you think a filter team would

    16    ever suffice?

    17               MR. BORNSTEIN:      It's up in the air.       I mean, we

    18    have -- we all know about the Eleventh Circuit Court of

    19    Appeals and what they are going to say about a special master

    20    as opposed to a filter team.            I think that's an area of the

    21    law that's in flux.

    22               THE COURT:       Okay.    Fair enough.

    23               MR. BORNSTEIN:      I mean, I prefer -- I think I would

    24    prefer a special master for reasons that they are independent

    25    of the prosecution team, and that protects that -- it's a


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     343
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25         Page
                                                                  USDC221
                                                                       Colorado
                                                                          of 234   pg
                                344 of 460

          20-cr-00305-DDD                     Motion Hearing              10/12/2022     221


      1   level of protection.        I could understand if some Court of

      2   Appeals says these taint teams are good enough, but I

      3   personally would like to see more use of special masters if

      4   this comes up.

      5              THE COURT:       Okay.

      6              MR. BORNSTEIN:      And this never used to come up.               It's

      7   coming up again because they're getting these warrants for

      8   massive amounts of data in the cloud, and it's the cloud.

      9   It's not your -- your computer at your desk that they can take

    10    an image of.      It's the damn stuff is all up there in the

    11    cloud.

    12               THE COURT:       I get it.      Thank you.

    13               Okay.    I'll give Mr. Fields a chance to respond.

    14               MR. FIELDS:      Just a couple of things, Your Honor.

    15               First, it hasn't been two years.             Different defense

    16    counsel have taken different approaches to this.                Initial

    17    defense counsel for the Tews did not require filtering for

    18    spousal privilege, did not assert any of these other

    19    privileges and, in fact, really tried to cooperate with the

    20    Government on a way to best protect attorney-client privilege,

    21    which is sui generis and I'm going to set aside because it's

    22    just analytically difficult.

    23               Really what happened is -- so all this prior counsel

    24    were sort of allowing it.           The Tews had proffered, it looked

    25    like they were going to cooperate, and then they fire their


          Julie H. Thomas, RMR, CRR                                          (303)335-2111


                                                                                          344
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC222
                                                                    Colorado
                                                                       of 234   pg
                                345 of 460

          20-cr-00305-DDD                Motion Hearing                10/12/2022    222


      1   attorneys, and there's a period of a couple of months before

      2   the indictment where they have no attorneys.             I've already

      3   said in those circumstances, Your Honor, what happened is when

      4   we started to execute the warrants, there was attorney-client,

      5   and we decided it would make sense:             indictment, work with

      6   defense counsel.     That's when you get defense counsel --

      7   basically over the span of a year it's been defense counsel

      8   who has said:     Don't look at anything.         If you look at any of

      9   this stuff, we are going to move for sanctions.             It's

    10    completely inappropriate.      We don't like your filter process.

    11    Just don't do it.

    12               We were trying to work through that, Your Honor, and

    13    again that's when Mr. Ekeland, sort of, withdrew.             Then we had

    14    another couple-of-month period where there was no

    15    representation, and Mr. Bornstein.          Mr. Bornstein, as I

    16    understand it, continues to object to the entire idea of a

    17    filter process.     And even here when you asked him point blank,

    18    he didn't have sort of a good answer as to what should happen

    19    here.

    20               Suppressing all of this stuff because the Government

    21    acted prudently and tried to engage defense counsel to best

    22    protect attorney-client privilege is not an appropriate remedy

    23    and would run counter to, again, all of the -- you know, Leon

    24    and Herring aren't directly on point, but if the idea of

    25    suppression is sort of to deter misconduct, this would do the


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     345
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC223
                                                                 Colorado
                                                                    of 234   pg
                                346 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    223


      1   opposite of that, Your Honor.        It would sort of reward

      2   defendants', sort of, just delay and, sort of, dilatory

      3   tactics and punish AUSAs who are trying to act in good faith

      4   to resolve difficult privilege issues.

      5              So that's why these warrants have not yet been

      6   executed because we have been waiting on all of that.

      7              Now let's look at spousal privilege and everything

      8   else.   First, I want to draw the Court's attention to United

      9   States versus Wilson.       It's F05 [sic] F.Supp. 3d 3.      It's out

    10    of the District of Massachusetts.          It's one of these Varsity

    11    Blues cases.      So those have been somewhat high-profile cases

    12    involving often husband and wives who are offering bribes to

    13    get their children into various elite schools.          The question

    14    came up should -- the government has all these e-mails.            Do

    15    they need to filter for spousal privilege?         Squarely keyed up,

    16    and the court there said, No, absolutely not.          And the reason

    17    for that is all of these privileges are creatures of Federal

    18    Rule of Evidence 501.       They are not constitutionally based,

    19    Your Honor.       This is federal common law.     And when you are

    20    dealing with, sort of, Wong Sun and fruit of the poisonous

    21    tree and, sort of, other issues related to suppression, those

    22    remedies are associated with constitutional violations.

    23    That's why cases cited in the Government's brief like

    24    Squillacote or Squillacote -- I'm never going to be able to

    25    pronounce that -- of the Fourth Circuit make it very clear


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                   346
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC224
                                                                 Colorado
                                                                    of 234   pg
                                347 of 460

          20-cr-00305-DDD                  Motion Hearing            10/12/2022   224


      1   that because these are evidentiary privileges, sort of,

      2   suppressing everything isn't appropriate.         The Government can

      3   still look at them.         They can use them potentially for

      4   derivative evidence.        They can look to see if there's an

      5   exception to the privilege.         And really all this will come

      6   into play during motions in limine or at the trial itself

      7   when, let's say, the Government sort of offers a

      8   communication, defense objects and says, Actually, that's

      9   protected by Federal Rule of Evidence 501.         Then you get a

    10    ruling.

    11               THE COURT:       Let me ask you to respond to

    12    Mr. Bornstein's hypothetical, I guess, about someone being

    13    asked to testify against their spouse in front of a grand

    14    jury.   How do you think that would play out?

    15               MR. FIELDS:       I think that hypothetical is -- there

    16    are cases on this, actually.         So because the spousal privilege

    17    is two privileges -- right?         It's the testimonial privilege,

    18    and it's also the communications privilege.          So if they are

    19    actually married, completely inappropriate.          You could not use

    20    a grand jury subpoena to compel someone to testify because of

    21    the testimonial privilege.        Let's say they are divorced, and

    22    actually one of the spouses does not want to talk in the grand

    23    jury.   It's -- I think, as a matter of substantive law, they

    24    could actually compel that testimony, and the grand jury would

    25    be entitled to use it to gather other evidence, because the


          Julie H. Thomas, RMR, CRR                                     (303)335-2111


                                                                                  347
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25       Page
                                                                USDC225
                                                                     Colorado
                                                                        of 234   pg
                                348 of 460

          20-cr-00305-DDD                  Motion Hearing               10/12/2022    225


      1   grand jury is an investigative body.              And so you are not

      2   dealing -- the Rules of Evidence don't apply.              You don't have

      3   to deal with Rule 501.        So they could do that.        Would an AUSA

      4   do that?    I don't know, and the reason is because there's a

      5   lot of churn in that case law over whether or not that's

      6   appropriate to do.

      7              THE COURT:       So then what's the different -- why is

      8   that different from you guys looking through spouse's e-mails

      9   to each other?

    10               MR. FIELDS:      Here we have a -- well, so here what you

    11    have is warrants laying out a conspiracy between a husband and

    12    wife.   So a magistrate judge looked at all of that, concluded

    13    that a warrant should issue for accounts for the husband and

    14    wife, sort of, detailing the conspiracy, and then allowing and

    15    specifically, sort of, ex ante, like before the Government

    16    even gets started, allowing the Government to search through

    17    that for evidence of a crime because there's probable cause.

    18    So there there's been, sort of, judicial buy-in and, sort of,

    19    judicial sanction before they do it.

    20               That being said, Your Honor, I will say actually if

    21    you were to, sort of, press me, could the AUSA compel

    22    testimony from [sic] a grand jury from an ex-spouse about

    23    communications, the answer to that is yes.             And the grand jury

    24    could use that evidence that they have gathered to gather

    25    other evidence that might result in an indictment.               I think


          Julie H. Thomas, RMR, CRR                                        (303)335-2111


                                                                                      348
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25           Page
                                                                    USDC226
                                                                         Colorado
                                                                            of 234    pg
                                349 of 460

          20-cr-00305-DDD                     Motion Hearing                10/12/2022      226


      1   there would be issues with using the actual communications in

      2   the grand jury to get an indictment, but you could use it to

      3   gather derivative evidence, if that makes sense.                  So a spouse

      4   says -- ex-spouse says, Yeah, I talked to my husband about a

      5   bank robbery, and he buried the bag of money in the backyard.

      6   The grand jury could then direct the evidence -- the agents to

      7   go get that bag of money in the yard and use that bag of

      8   money -- maybe it's got the fingerprints on it -- without

      9   using the actual communications, if that makes sense.                      That

    10    would be the prudent way to do it there.

    11               And that's essentially what we are trying to do here,

    12    Your Honor, is sort through the evidence and figure out what

    13    could actually be used in a court of law consistent with Rule

    14    501.

    15               THE COURT:       Let me just make sure I understand where

    16    we actually are on this.        There was a time where the

    17    Government was reviewing some of this.                 They began this

    18    process, right, when there was prior counsel, and then

    19    stopped?    So some number of -- presumably some number of

    20    communications -- let's say you perfectly filtered out all the

    21    attorney-client privileged communications, but some number of

    22    these others were not filtered out.                  Right?

    23               MR. FIELDS:      Correct.

    24               THE COURT:       Okay.    And it got to you guys, the

    25    prosecution team.


          Julie H. Thomas, RMR, CRR                                            (303)335-2111


                                                                                            349
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25          Page
                                                                   USDC227
                                                                        Colorado
                                                                           of 234    pg
                                350 of 460

          20-cr-00305-DDD                     Motion Hearing               10/12/2022     227


      1              MR. FIELDS:      Correct, Your Honor.           And I will say,

      2   very candidly, spousal communications in particular, right,

      3   because this is a conspiracy committed by husband and wife?

      4              THE COURT:       Sure.

      5              MR. FIELDS:      So the exact timeline here is a lot of

      6   these warrants come down.           We execute them in December.           We

      7   start getting them in January.             The indictment is in February.

      8   Agents started searching very specifically for communications

      9   between coconspirators.        Right?        And some of those were used

    10    to secure the indictment.           After defense counsel comes on

    11    board and says, Do not look through any of those, we are going

    12    to move for sanctions, it's completely inappropriate, we stop

    13    out of an abundance of caution.              Right?    And then there's a

    14    period where there's some negotiations, and the Government

    15    says, Look, we are negotiating here.                 We are going to set up

    16    this filter process and ask the agent to go back and actually

    17    start looking at it again.           And that's when the agent finds

    18    something that might actually be related to an attorney, and

    19    full stop, and nothing has been looked at since that time.

    20               Again, the reason for that is because -- and this is

    21    my specific ask of the Court -- we would like an order from

    22    the Court specifically denying this motion for sanctions and

    23    allowing the Government's filter process to continue.                     At that

    24    point the Government can expeditiously execute the warrants,

    25    look at Attachment B, which is the evidence we are actually


          Julie H. Thomas, RMR, CRR                                           (303)335-2111


                                                                                          350
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25        Page
                                                                 USDC228
                                                                      Colorado
                                                                         of 234   pg
                                351 of 460

          20-cr-00305-DDD                  Motion Hearing                10/12/2022    228


      1   able to seize, and that's when we can start preparing a James

      2   log, which -- now I'm getting a little bit ahead, but I think

      3   the Government's ask with respect to a James hearing is we are

      4   not opposed to one, but we need time to execute the search

      5   warrants, which have been sort of delayed I think in good

      6   faith as we tried to work through this with defense counsel,

      7   but now it's teed up for the Court.               Once we get that ruling,

      8   we'd like a period of approximately eight weeks to sort

      9   through that, prepare the James log, and have the hearing.

    10               THE COURT:       That was obviously the --

    11               MR. FIELDS:      Yeah.

    12               THE COURT:       -- I think the last thing on the agenda

    13    today.    We might as well just talk about it briefly, because I

    14    know I have to do some kind of order.              Do you think eight

    15    weeks -- is that a real estimate?            Do you think you can do it

    16    quicker than that?      Obviously we are -- the trial date in this

    17    case is going to be very difficult to stick, if it's possible

    18    at all.    So I'm just trying to figure out what we're looking

    19    at.   Do you really think it will be eight weeks to do the

    20    James log?

    21               MR. FIELDS:      I think actually eight weeks is really

    22    aggressive on our part in terms of, like, time frame, because

    23    we are talking about searching through all that and then

    24    preparing the log.      If -- we want this to happen

    25    expeditiously.     If the Court orders it to happen in eight


          Julie H. Thomas, RMR, CRR                                         (303)335-2111


                                                                                       351
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC229
                                                                    Colorado
                                                                       of 234   pg
                                352 of 460

          20-cr-00305-DDD                     Motion Hearing           10/12/2022    229


      1   weeks, we will do it, but ideally we would actually like

      2   closer to maybe 12 weeks, which I know is sort of pushing

      3   things, but I think consistent with the Speedy Trial Act the

      4   Court could set the hearing on that motion sometime in

      5   January, which would toll the statute of limitations while

      6   that -- or not -- speedy trial while that hearing is pending,

      7   and there's 30 days after that to resolve the hearing, so that

      8   would put trial sometime in February or March.             I think that

      9   would be appropriate.        I think it's doable.

    10               I also think it's quite possible that as we start

    11    executing the warrants and the evidentiary picture starts to

    12    harden even more, defense counsel might need a little bit more

    13    time to prepare for trial, so we might get another ends of

    14    justice motion, which I think would be sort of warranted on

    15    the facts here.

    16               THE COURT:       Okay.    Thank you.

    17               Why don't I let Mr. Bornstein respond on all of that.

    18               MR. BORNSTEIN:      Number one, Mr. Fields said something

    19    interesting that I wanted to emphasize in the record, which is

    20    that attorney -- not attorney -- husband-wife communications

    21    were used in the grand jury to obtain the indictment in this

    22    case.   And that's partially why I can say it's too late to put

    23    the genie back in the bottle, because it's already been used

    24    to obtain an indictment.        I'm not sure where they, you

    25    know -- I have a grand jury transcript, and there was


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     352
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25     Page
                                                              USDC230
                                                                   Colorado
                                                                      of 234   pg
                                353 of 460

          20-cr-00305-DDD                  Motion Hearing             10/12/2022    230


      1   testimony about the -- that Mr. and Mrs. Tew said this to each

      2   other.

      3              Second -- your court reporter is --

      4              COURT REPORTER:      Just shaking my hands out --

      5              MR. BORNSTEIN:      -- showing some --

      6              COURT REPORTER:      -- while you pause.      Go ahead.

      7              MR. BORNSTEIN:      -- showing some signs of wear and

      8   tear here, Your Honor.

      9              THE COURT:       I know, and we should all finish up as

    10    quickly as we can, but go ahead.           I want you to say your

    11    piece.

    12               MR. BORNSTEIN:      I've just -- I've never had a case

    13    like this.    I've never been -- I've never been two months from

    14    trial in a case that's two years old and had the Government

    15    say a large tranche -- a large piece of the evidence we are

    16    going to use at trial we haven't even seen yet, and after we

    17    see it, then we'll determine what we want to use, and then

    18    we'll file a James log, and then you can object that it's

    19    either not part of the conspiracy, you know, the whole James

    20    thing, you know, it either wasn't in further of the conspiracy

    21    or at the time it wasn't -- this person wasn't in the

    22    conspiracy or it's not conspiratorial.            I have never had this

    23    happen to me.

    24               THE COURT:       Well, you probably have more experience

    25    than me.    I haven't either, but I think that the -- a large


          Julie H. Thomas, RMR, CRR                                      (303)335-2111


                                                                                    353
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25      Page
                                                               USDC231
                                                                    Colorado
                                                                       of 234   pg
                                354 of 460

          20-cr-00305-DDD                     Motion Hearing           10/12/2022    231


      1   part of that is because the Government was going down a more

      2   routine path, and then counsel changed, strategy changed, the

      3   approach to privilege and the filter team changed, lots of

      4   things changed, and so they, sort of, stopped in the middle,

      5   and now here we are.        I need to resolve these issues before

      6   they can go on, because obviously part of your position is

      7   they shouldn't be looking at any of that.            So if they had gone

      8   through it -- if they had just bowled through and reviewed all

      9   of it, your sanctions motion would be even more outraged than

    10    it already is.     Right?     So, I mean, I think there's a reason

    11    we are in this unusual position, and until I resolve some of

    12    these legal issues, we are sort of stuck with that.              Right?

    13               MR. BORNSTEIN:      And I am the one who raised the

    14    spousal privilege.

    15               THE COURT:       Right.

    16               MR. BORNSTEIN:      Prior counsel only was dealing with

    17    attorney-client.     I am the one who said, Whoa, you know,

    18    there's a whole other set of privileges that are here,

    19    especially husband-wife.

    20               THE COURT:       Okay.    Yeah, exactly, and so they sort of

    21    stopped -- it strikes me as, in good faith, they stopped in

    22    the middle to make sure they weren't going even further down a

    23    path, your position is, was incorrect.

    24               So I agree with you, it's unusual.           It's very

    25    strange.    I can't see any way that the trial date sticks given


          Julie H. Thomas, RMR, CRR                                       (303)335-2111


                                                                                     354
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC232
                                                                 Colorado
                                                                    of 234   pg
                                355 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    232


      1   everything that's going on, but I do need to resolve all these

      2   motions so, to be fair to everybody in the case, we can know

      3   the ground rules and proceed.        So I'm going to rule on them

      4   all as quickly as I can.      But did you have anything else you

      5   wanted to respond to?

      6              MR. BORNSTEIN:    Let me look at my notes here.

      7              Oh, yes.   Yes.   With respect to the James proffer and

      8   the James hearing, there are hearsay statements that the

      9   Government has from Michael Mora, Christian Rincon, Michael

    10    Meyers, and Larry Ward which, if they are coconspirators,

    11    which they might be, I am not sure if the Government says so,

    12    they could have done James proffers for all of those people in

    13    the interim time.     There are hearsay statements from Jonathan

    14    Yioulos.    They know that Jonathan Yioulos and Michael Tew

    15    communicated about financial matters related to NAC that were

    16    not part of any fraudulent scheme.          And so separating those

    17    out in terms of whether they are going to try to use any of

    18    those or whether those were made by a conspirator during the

    19    course of the conspiracy and in furtherance of the conspiracy,

    20    so they could have done some James work while waiting for

    21    this, and they didn't.

    22               There's hearsay statements from Michael Tew's cell

    23    phone which they obtained -- he gave it up early in the case,

    24    and they made a -- copies, took screenshots from his cell

    25    phone with communications between him and his wife.           That


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  355
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25           Page
                                                                    USDC233
                                                                         Colorado
                                                                            of 234   pg
                                356 of 460

          20-cr-00305-DDD                     Motion Hearing                10/12/2022    233


      1   could have been subject to a James.                  Those are all other James

      2   things that are beyond just the material in the iCloud.

      3              THE COURT:       Okay.    So that's probably a good reason I

      4   can sort of hold them to the fire on a somewhat shorter

      5   timeline for the James briefing, but I do think we are going

      6   to need a James hearing in this case once they -- and I do

      7   want to give them time to review it.                 So I will probably --

      8   eight weeks or so is probably fair.                  But anything else?

      9              MR. BORNSTEIN:      No.      Thank you.

    10               THE COURT:       All right.       Thank you, Mr. Bornstein.

    11               All right.       I already earlier denied the motion for a

    12    Franks hearing.     Everything else I am taking under advisement

    13    for now.    We will get out written orders to try to be as clear

    14    as possible about my rulings on all those.                 I will try to do

    15    it as soon as I can and then after that either have a status

    16    conference or ask for status report about the timing as we go

    17    from there, but I do want to move this along as quickly as we

    18    can.   I appreciate everybody's patience.

    19               If there's nothing else -- well, why don't I ask.

    20               Is there anything else for the Government,

    21    Mr. Fields?

    22               MR. FIELDS:      No, Your Honor.            Thank you very much.

    23               THE COURT:       Anything else, Mr. Bornstein?

    24               MR. BORNSTEIN:      I have nothing for today.

    25               THE COURT:       All right.       Thank you all for your time


          Julie H. Thomas, RMR, CRR                                            (303)335-2111


                                                                                          356
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     285 Filed
                                           filed 12/27/22
                                                 01/24/25   Page
                                                            USDC234
                                                                 Colorado
                                                                    of 234   pg
                                357 of 460

          20-cr-00305-DDD                Motion Hearing             10/12/2022    234


      1   and attention.     The Court will be in recess.

      2        (Proceedings concluded 4:59 p.m.,

      3        October 12, 2022.)

      4
                                  REPORTER'S CERTIFICATE
      5
                   I, JULIE H. THOMAS, Official Court Reporter for the
      6   United States District Court for the District of Colorado, a
          Registered Merit Reporter and Certified Realtime Reporter, do
      7   hereby certify that I reported by machine shorthand the
          proceedings contained herein at the time and place
      8   aforementioned and that the foregoing pages constitute a full,
          true and correct transcript.
      9            Dated this 27th day of December, 2022.

    10
                                   /s/ Julie H. Thomas
    11                           Official Court Reporter

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25


          Julie H. Thomas, RMR, CRR                                    (303)335-2111


                                                                                  357
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   1 of 103   pg
                                   358 of 460                                  1


  1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
  2
       Criminal Action No. 20-cr-305-2-DDD
  3
       UNITED STATES OF AMERICA,
  4
             Plaintiff,
  5
       vs.
  6
       KIMBERLEY ANN TEW,
  7
           Defendant.
  8    _______________________________________________________________

  9                         REPORTER'S TRANSCRIPT
                             SENTENCING HEARING
 10    _______________________________________________________________

 11              Proceedings before the HONORABLE DANIEL D. DOMENICO,

 12    Judge, United States District Court for the District of

 13    Colorado, occurring at 1:30 p.m., on the 8th day of August,

 14    2024, in Courtroom A1002, United States Courthouse, Denver,

 15    Colorado.

 16                                   APPEARANCES

 17              Bryan Fields, Sarah Weiss and Laura Hurd, Assistant

 18    U.S. Attorneys, 1225 17th Street, Suite 700, Denver, Colorado,

 19    80202, appearing for the Government.

 20              David Kaplan and Jamie Hubbard, Stimson LaBranche

 21    Hubbard, LLC, 1652 North Downing Street, Denver, CO 80218,

 22    appearing for the Defendant.

 23

 24           TAMMY HOFFSCHILDT, FCRR, CRR, RMR, Official Reporter
                    901 19th Street, Denver, Colorado 80294
 25              Proceedings Reported by Mechanical Stenography
                      Transcription Produced via Computer



                                                                                   358
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   2 of 103   pg
                                   359 of 460                                  2


  1                             P R O C E E D I N G S

  2         (In open court at 1:06 p.m.)

  3              THE COURT:     Good afternoon.     Please take your seats.

  4    We're here for a sentencing hearing in case number 20-cr-305-2,

  5    United States versus Kimberley Tew.

  6              Why don't I begin by having counsel enter their

  7    appearances.    For the government?

  8              MR. FIELDS:     Good afternoon, Your Honor.       Bryan Fields

  9    for the United States.      I'm joined by my co-counsel,

 10    Sarah Weiss, co-counsel, Laura Hurd, and Special Agent Lisa

 11    Palmer.

 12              THE COURT:     Welcome.

 13              MR. KAPLAN:     Good afternoon, Your Honor.

 14    David Kaplan, appearing on behalf of Kimberley Tew, along with

 15    Jamie Hurd (sic) Mrs. Tew is present.

 16              MS. HUBBARD:     My last name is Hubbard, Your Honor.

 17              THE COURT:     I thought so.     From probation?

 18              PROBATION:     Josh Roth, from probation.

 19              THE COURT:     Thank you for being here, as well.        We're

 20    going to begin with a discussion of the Government's Motion For

 21    A Preliminary Order Of Forfeiture, which the defendant has

 22    objected to.    I, in addition, then will turn to sentencing.           We

 23    will take a break somewhere.        I'm not sure if it will be

 24    in-between the forfeiture issue and the sentencing itself, but

 25    I will plan to take a break at some point.




                                                                                    359
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   3 of 103   pg
                                   360 of 460                                  3


  1              I do want to address forfeiture first, and I think I

  2    will just, sort of, tell you, based on my understanding of the

  3    law and what has been filed so far, that I understand the

  4    defendant's position, but that the law of conspiracy, in

  5    particular, which she has been convicted of, makes it somewhat

  6    difficult for defendants to argue that they should, sort of, be

  7    separated out from the proceeds, even if they didn't have

  8    themselves a direct role in a particular transaction.

  9              So, while I understand the factual and, sort of,

 10    fairness argument that the defendant has before it, the

 11    government seems to be on fairly strong legal grounds on this

 12    issue, but I would like to hear from both sides.

 13              I think it makes sense to start with the government,

 14    since it's their burden, and so is Ms. Hurd going to address

 15    this?

 16              MS. HURD:     Your Honor, may I step to the podium?

 17              THE COURT:     Please.

 18              MS. HURD:     Thank you.    Your Honor, in our filings we

 19    address the conspiracy issue, and you have, sort of, intimated

 20    that there is strong legal basis for this.          The government

 21    agrees.

 22              The evidence at trial established that Michael Tew,

 23    Kimberley Tew and John Yioulos engaged in this conspiracy, in

 24    netting more than $5 million, and they did it by submitting the

 25    false invoices for services that were not rendered to the




                                                                                   360
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   4 of 103    pg
                                   361 of 460                                   4


  1    company here.

  2              After Mr. Tew was terminated, they continued to submit

  3    invoices through Jonathan Yioulos for payment.           Mr. Tew

  4    continued to recruit -- or attempt to recruit other individuals

  5    into the conspiracy, and had personal connections with various

  6    individuals involved in the company submitting invoices.               The

  7    Tews also used multiple business and dummy email accounts to

  8    disguise their conduct.      As a result, as was before the jury

  9    and found by the jury, the scheme netted $5,023,878.50.

 10              Ms. Tew is arguing she should only be responsible for

 11    the substantive accounts, but that doesn't align with the

 12    jury's findings here nor does it align with the statute.

 13    Your Honor, under 18 United States Code 981(a)(1)(C), any

 14    property, which constitutes or is derived from proceeds

 15    traceable to either wire fraud or a conspiracy shall be

 16    forfeited.    Interestingly, Your Honor, 981 specifically states

 17    conspiracy, therefore understanding that anything derived from

 18    the conspiracy can be forfeited in a case.          That is where the

 19    government has strong legal basis supporting what it's asking

 20    for today.

 21              THE COURT:     All right.    Me interrupt you and I

 22    apologize, but let me just ask you a couple of questions, one

 23    sort of directly related to that, which is I understand what

 24    the statute says and your position, but if the forfeiture

 25    applies to funds that have been derived or proceeds of it, do




                                                                                    361
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   5 of 103   pg
                                   362 of 460                                  5


  1    you have to show -- do I have to find, that she has those

  2    funds?   What if 4 million of it we all agreed Yioulos kept

  3    completely himself and the Tews never got, would she still be

  4    subject to forfeiture for that?

  5              MS. HURD:     The facts make all of the difference.          So

  6    you are correct, the government -- technically speaking, the

  7    Tenth Circuit hasn't ruled on Honeycutt, in whether it applies

  8    981, because it doesn't discuss the very important wording, the

  9    person obtained, right?      It just says derived from the

 10    conspiracy.    So the Tenth Circuit has, sort of, skirted this

 11    issue to date, but from a policy perspective we generally try

 12    to attribute the funds to those that received or enjoyed the

 13    benefit of them, and that's, sort of, in line with the

 14    Honeycutt decision.      It said, you can't just take from a

 15    low-level player everything that's going on, right.            We are not

 16    applying Pinkerton liability to that, but what we do want to

 17    recognize is that you should look to what the person is

 18    enjoying.    What they are getting from the fraud.

 19              I don't think there's any doubt in this case

 20    Your Honor, that Ms. Tew and Mr. Tew, in a joint marital

 21    relationship, enjoyed the bulk, if not all, every single dollar

 22    in this conspiracy.      They don't need to retain it.        They just

 23    have to have used it for their benefit.

 24              THE COURT:     But I do have to find that they obtained

 25    it, at some point.      I understand that they don't have to have




                                                                                   362
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   6 of 103   pg
                                   363 of 460                                  6


  1    retained it.

  2              MS. HURD:     Yes, Your Honor.     I think the evidence is

  3    clear, the exhibits, especially Exhibit 108 -- sorry -- 1008

  4    sort of sets forth the whole scheme.         Then the jury was tasked

  5    with figuring out the scope of the conspiracy, and they were

  6    given the jury instructions which says look at the Indictment,

  7    and then determine if this is within the conspiracy, right?             So

  8    for Count 1, one of the facts set forth in the Indictment said

  9    over $5 million, as a result of this particular fraud.            Further

 10    the -- all of the -- excuse me, Your Honor, all of the bank

 11    accounts that were admitted in trial, there were many, those

 12    also show, kind of, the use of these funds, as they went to the

 13    benefit of Mr. and Mrs. Tew, this included the cryptocurrency,

 14    personal expenses, various other things that are just normal

 15    expenses of a marital relationship.

 16              THE COURT:     Okay.   And you don't think anything should

 17    be subtracted out from that total number?          I agree with you,

 18    it's clear that 5-million number is very clearly established

 19    from the Indictment and elsewhere, but I'm just curious if you

 20    acknowledge anything should be netted out, I guess?

 21              MS. HURD:     Your Honor, that would be their burden

 22    under 981(a)(2), but nonetheless, the idea is if you are using

 23    it for your benefit, whether it's a kickback, whether it's paid

 24    to other people, because you are running another scheme, it

 25    doesn't really matter.      Those aren't expenses, those aren't




                                                                                    363
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   7 of 103    pg
                                   364 of 460                                   7


  1    deductions that are normally understood, because the defendants

  2    realized the gain when they got the funds.

  3              THE COURT:     Okay.   Thank you.

  4              MS. HURD:     Thank you, Your Honor.

  5              Your Honor, I think we've explain the law in regards

  6    to retaining or obtaining those funds.         There's little doubt

  7    that there was multiple statements in furtherance of the

  8    scheme, and those, sort of, tell the tale of the obtaining of

  9    the funds.    I won't go through all of those, Your Honor, that

 10    relate to each transaction here, but generally speaking, Ms.

 11    Tew was, sort of, the driving forcing behind this.            She was

 12    consistently asking for money.        The fact she may not have

 13    executed the original wire fraud is irrelevant under the law.

 14    Accordingly, Your Honor, the government maintains that she

 15    should be fully responsible for the full amount of the fraud,

 16    in the amount of 5,023,878.50.

 17              Your Honor, as noted in the government's motion, we

 18    will not seek to get both from the defendants; meaning, we

 19    would only get the total amount of 5 million, if the Court were

 20    to find that the full amount should be attributable to her.

 21              THE COURT:     Okay.   Thank you.    I appreciate that

 22    clarification.

 23              MS. HURD:     Your Honor, we rest on the remaining

 24    pleadings and the law we have set forth in those pleadings, and

 25    I think that it's well within the law to make her responsible




                                                                                    364
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   8 of 103   pg
                                   365 of 460                                  8


  1    for the full amount.      Thank you.

  2              THE COURT:     Thank you.    Mr. Kaplan?

  3              MR. KAPLAN:     Yes, Your Honor.     Your Honor, our

  4    position, as the Court acknowledged in its introductory

  5    comments have been placed in our pleading.          I would just add a

  6    couple of items.     I agree with the Court's acknowledgment of

  7    the conspiracy law, as it relates to forfeiture, and what the

  8    weight of it says, but I also agree with the Court having some

  9    concern about Ms. Tew being held responsible for the entire

 10    amount.   We've indicated to the Court that the response would

 11    be for $184,300 that we think is the amount attributable to her

 12    behavior, and we would ask the Court to consider that as the

 13    forfeiture amount.

 14              The government comes up and says that because of the

 15    conspiracy she should be responsible for the entire amount, and

 16    we take objection to that, as the Court said, in the government

 17    establishing that she had obtained the $5 million.            The other

 18    item that is of concern is the government just spoke of her

 19    being the driving force behind the fraud.          I assume that's

 20    going to be much of what's contested during the sentencing

 21    hearing in front of the Court, and so I want to take exception

 22    to that whenever it is stated, even if it's stated in the

 23    context of a forfeiture.

 24              I'm also concerned with the manner in which the

 25    government chose to ask for this as $5 million, simply by




                                                                                   365
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                               Document
                                      645-4
                                         541 filed
                                              Filed01/24/25
                                                    08/28/24 USDC
                                                              Page Colorado
                                                                   9 of 103   pg
                                   366 of 460                                  9


  1    Ms. Kimberley Tew.      I assume, although it's difficult to assume

  2    things, I don't like to do it much, but that that is the amount

  3    that will also be requested of Mr. Tew, and although there is

  4    certainly evidence that I don't need to belabor, there should

  5    be an amount that is attributable to Mr. Yioulos, whatever that

  6    may be, during argument during his sentencing.

  7              So the fact that the government hasn't asked for this

  8    to be joint and several gave me the impression, at least the

  9    statements that just were made, that trailing the comment that

 10    she was the driving force behind the fraud and therefore

 11    responsible for the $5 million, as if that should be an amount

 12    that is attributable to her.

 13              Again, I don't want to presume how the government is

 14    going to discuss the amount when Mr. Tew in front of the Court,

 15    but I take exception to that manner of issuing and order as it

 16    relates to restitution.

 17              Other than that, rest on the information I provided

 18    the Court.

 19              THE COURT:     All right.    Thank you, Mr. Kaplan.      And I

 20    do think that the government clarified, again, that they won't

 21    be seeking forfeiture from both of the Tews in that amount, and

 22    obviously then, there's also the interplay with restitution

 23    that I do think is requested, or at least recommended to be

 24    joint and several among all three of the defendants, and how

 25    that plays out is a bit of a complication, and also I take into




                                                                                   366
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 10
                                                                   Colorado
                                                                      of 103   pg
                                  367 of 460                                   10


  1    account your concern with describing her as the driving force.

  2    I don't think that's a necessary part of my analysis of the

  3    forfeiture issue, and I do think we will have time to discuss

  4    that, but I do find that the facts here, as I indicated,

  5    support that the government's position on forfeiture, whether

  6    or not she was the driving force, Ms. Tew was indicted and

  7    convicted of being part of this conspiracy.            The conspiracy

  8    obtained that amount, that amount is proceeds derived from the

  9    criminal activity, and there's no reason to separate out, under

 10    the law, only those transactions that Mrs. Tew was individually

 11    involved in directly, because she, at the very least,

 12    indirectly received some benefit from all of those

 13    transactions, and so I think the government has met its burden

 14    on this, particularly under the US vs. Channon case, where the

 15    defendants are married, the money went into one or both of

 16    their accounts.     I think that Mrs. Tew fits the description of

 17    someone who benefit -- who derived these benefits, taking into

 18    account the government's admission that it won't be seeking

 19    double forfeiture, which would be, obviously, problematic.

 20               So I'm going to grant -- I'm going to grant the

 21    Government's Motion For A Preliminary Order Of Forfeiture In

 22    The Amount Of $5,023,878.50.

 23               I think we should at least go ahead and just get

 24    started on the sentencing itself, and maybe after we deal with

 25    objections or something I will take a quick break, but I will




                                                                                    367
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 11
                                                                   Colorado
                                                                      of 103   pg
                                  368 of 460                                   11


  1    just kind of give you, again, try to give you a little bit of

  2    an idea of some of my initial consideration.            Mr. Kaplan?

  3               MR. KAPLAN:    Your Honor, could I just have one more

  4    comment on the forfeiture issue, based on something that you

  5    said?

  6               THE COURT:    Sure.   Go ahead.

  7               MR. KAPLAN:    Will be very brief.      Your Honor, the

  8    Court mentioned some issues that involve with forfeiture versus

  9    restitution that I recognize also.         I just wanted to point out,

 10    in the government's document on forfeiture, it indicated that

 11    pursuant to the Attorney General recommendation or a

 12    recommendation to the Attorney General, the forfeiture money

 13    was going to be provided to the eligible victims, and I would

 14    just, in the Court's contemplation of the question of

 15    forfeiture and restitution, I think that plays a role in how

 16    the government can ask for funds or additional funds from

 17    Ms. Tew.

 18               THE COURT:    Maybe we should go ahead and have a little

 19    discussion of that, because I have gotten myself worked up

 20    about restitution and forfeiture before, and it, sort of,

 21    bothers me, the idea, at least, under the law that the US can,

 22    kind of, decide whether or not to, sort of, double up on and

 23    make someone, both, provide full restitution and forfeiture.

 24               My understanding, what the government is saying, is

 25    that their recommendation will be to not double up; that any




                                                                                    368
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 12
                                                                   Colorado
                                                                      of 103   pg
                                  369 of 460                                   12


  1    restitution be counted against the forfeiture.            But, Ms. Hurd,

  2    would you make me make sure I understand the position.

  3               MS. HURD:    Yes, Your Honor.     28 CFR Subpart 9 sets

  4    forth that any net proceeds from forfeited funds can be applied

  5    to restitution, restoration, depending on a civil or criminal

  6    case.   We just have the authority to recommend that to the

  7    Attorney General, and his delegees, but generally speaking,

  8    Your Honor, there's some factors that have to be met, most

  9    cases meet those factors.       It's rare when people can pay twice.

 10    So really the government is, like, primary goal is to get money

 11    back for restitution, and that's just the mechanism.             So we

 12    were just telling the Court that we intend to, when we find out

 13    proceeds -- or when we find any assets, those net proceeds,

 14    once they are sold or whatever else, we would ask that the

 15    Attorney General use their discretion to apply those to restore

 16    the victim; meaning, provide it to the Clerk of the Court for

 17    restitution.     Does that make sense, Your Honor?

 18               THE COURT:    It does, as a legal matter.        Again, I

 19    have -- it's always seemed to me that if they have to pay

 20    restitution, that they no longer have those proceeds to

 21    forfeit.    So it's, sort of, seems to me it should be less

 22    discretionary on the part of the Attorney General, but I

 23    understand that's the law.

 24               MS. HURD:    Yeah, Your Honor.     If I could do it in

 25    every case, that I have that magic wand, I would.




                                                                                    369
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 13
                                                                   Colorado
                                                                      of 103   pg
                                  370 of 460                                   13


  1    Unfortunately, it's just not the way it's written or the scheme

  2    that its set forth.      So we just follow that procedure,

  3    Your Honor.    I'm always hopeful that we can get money back to

  4    victims that way, as well.

  5               THE COURT:    Okay.

  6               MS. HURD:    Thank you, Your Honor.

  7               THE COURT:    I appreciate the government's

  8    representations that they will seek to do that in this case.

  9               Mr. Kaplan, was that what you were trying to address?

 10               MR. KAPLAN:    Yes, it was.     And it was my understanding

 11    from the paper, so I wasn't necessarily suggesting that they

 12    were trying to do something differently, but when the Court

 13    raised it as a legitimate concern, I recognized, and the

 14    government obviously recognizes, I was just pointing out that

 15    that is my understanding, notwithstanding the requirement that

 16    the Attorney General weigh in, but it was my understanding how

 17    the government, in this case, was seeking to proceed.

 18               THE COURT:    Okay.   Well, thank you.       Now we've got our

 19    belt and suspenders on, on that issue, so thank you.

 20               So, as I was indicating, I will just give you a little

 21    bit of a heads up of my thinking on the sentencing.             To some

 22    extent I'm in a similar position on some of these objections.

 23    I feel like the government has taken a fairly aggressive

 24    approach on enhancements in this case, but for the most part I

 25    think I'm, at this point, convinced that they are correct on




                                                                                    370
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 14
                                                                   Colorado
                                                                      of 103   pg
                                  371 of 460                                   14


  1    most of them.

  2               There are two, and one in particular that I will

  3    indicate I question most, one is the aggravating role, the

  4    leader or organizer question, and then probably the one I'm

  5    most on the fence about is the obstruction of justice

  6    enhancement.     The rest, I think the government is on solid

  7    legal ground.

  8               Why don't -- we can go ahead and begin.          I guess what

  9    I would probably want to do on this is begin.            Mr. Kaplan or

 10    Ms. Hubbard, are you going to address the objections.             So let

 11    me just say what I would like to do first, and say the

 12    overarching objection that you have made to sort of the

 13    presentence report's quoting from the government's sentencing

 14    statement, I understand that general objection and some of the

 15    specific objections within it, but I also understand that

 16    that's how the process works.        The presentence investigation

 17    report is very clear that it's simply reporting what it was

 18    given by the government.       I don't take it for anything more,

 19    establishing facts beyond that.        I participated in the trial, I

 20    understand a lot of the facts.        I take the additional context

 21    that's been provided by me -- or by you to me in response into

 22    account.    So I don't -- I'm -- I expect I will be overruling,

 23    kind of, that general objection, with the understanding that

 24    you have provided additional context and I am not simply going

 25    to rely on those statements for anything more than just an




                                                                                    371
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 15
                                                                   Colorado
                                                                      of 103   pg
                                  372 of 460                                   15


  1    understanding of the government's position.

  2               So with that, I think I would like to begin if you

  3    feel the need to add to anything on that, you can do so, and

  4    then let's just, maybe, address whether there are any other

  5    objections that don't affect the guideline range that we still

  6    need to address.

  7               MS. HUBBARD:    Your Honor, just as a general matter, on

  8    that policy, to quote from the government's sentencing

  9    statement, I think oftentimes that's less problematic than it

 10    is in this case.     Largely, because often times the government's

 11    sentencing statement is written much more factually, than it is

 12    in this case.     The vitriol with which the government has

 13    approached the sentencing arguments against my client is

 14    something that I have never seen before.          I don't understand

 15    the basis for it.      So that really causes more concern in this

 16    case than would typically be true, and the reason for that,

 17    Your Honor, it's not so much for you, because you presided over

 18    the trial, you know, we tried to acknowledge most of our

 19    sentencing pleadings, that we don't need to re-litigate the

 20    facts with you, who is way more familiar with the facts than

 21    you usually are at a sentencing, but this document follows

 22    Ms. Tew into custody.      It is a document that goes to the bureau

 23    of prisons.    It is a document full of adjectives and adverbs

 24    that are defamatory and slanderous and just accusatory, and

 25    full of vitriol about my client that the bureau of prisons




                                                                                    372
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 16
                                                                    Colorado
                                                                       of 103   pg
                                  373 of 460                                    16


  1    officials don't need to read all of that.

  2               It is easy to prepare a neutral summary of the facts.

  3    The Indictment, quite frankly, in this case, is a speaking

  4    Indictment that is long and in detail about what happened, and

  5    so it's just that whole narrative, that is the government's

  6    argument about why Kimberley Tew is the ringleader and the

  7    driving force, and this master manipulator, who made her poor

  8    powerless husband steal all of this money.             That's the

  9    narrative, that's -- it's just unnecessary for that to follow

 10    her into the bureau of prisons.

 11               So, you know, that's just my -- I'm off my soapbox,

 12    apologies, Your Honor.       I don't think it affects the

 13    sentencing.    I don't believe it's going to affect Your Honor's

 14    rulings here, but it is, from my perspective, a bigger issue,

 15    than just how it plays out in this courtroom, because the

 16    intent of the PSR is to provide the bureau of prisons with the

 17    information that they need to meet her needs and provide for

 18    educational opportunities and health concerns, and that's what

 19    a PSIR is intended to do, both to educate the Court, and to

 20    make sure she gets her needs met in the bureau of prisons.               So

 21    this ten-pages of vitriol for my client just doesn't need to be

 22    there.

 23               THE COURT:    All right.    I will say, in general, I

 24    agree that the sentencing statement probably could have been a

 25    little bit more matter of fact, and I appreciate that.              I don't




                                                                                     373
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 17
                                                                   Colorado
                                                                      of 103   pg
                                  374 of 460                                   17


  1    think, in this case, there's anything in there, that I'm

  2    especially concerned would cause problems with the bureau of

  3    prisons, but in general, I understand it.

  4               Are there any other sort of nonguideline objections

  5    that haven't been addressed, that you think we need to rule on?

  6               MS. HUBBARD:    No, nothing specific, Your Honor.

  7               THE COURT:    Okay.   So then I'm going to overrule the

  8    objection, to that extent, and then why don't we turn then to

  9    the objections that do affect the guideline range, and I

 10    indicated to you that I was most troubled by, at this point,

 11    but it may make sense instead to just go -- not to address

 12    those first.

 13               Why don't we go ahead and start with 18-level

 14    enhancement for the amount of loss.         I think as we, sort of,

 15    just discussed, I think you have got a tough legal position to

 16    overcome on that but go ahead if you would like.

 17               MS. HUBBARD:    Your Honor, I do think there's a

 18    distinction between how loss is treated for purpose -- or

 19    misuse words.     So, how the amount at issue is treated for

 20    purposes of forfeiture and restitution, and how it's treated

 21    for purposes of 2B1.1, for sentencing.          And I think, you know,

 22    there's a little bit of two sides to the coin, and this is true

 23    of many of our sentencing arguments is, you know, sometimes

 24    it's actually a misapplication of the guidelines, and other

 25    times it's just things we want the Court to consider and in




                                                                                    374
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 18
                                                                   Colorado
                                                                      of 103   pg
                                  375 of 460                                   18


  1    fashioning an overall sentence, right?          But we wanted to

  2    articulate the same considerations so that you could have them

  3    in mind as you think about, Do these guidelines apply?             And if

  4    you say, Well, the guideline applies, you have it in mind for

  5    what's an appropriate sentence.        But when you look at loss, you

  6    know, there is -- the law on conspiracy, that I think is

  7    particularly apt in this case, is once you are in a conspiracy,

  8    there are significant steps you have to take to withdraw from a

  9    conspiracy.    We're not contending those were met here, and so,

 10    for purposes of whether Kimberley Tew was not guilty of certain

 11    aspects of the conspiracy, we didn't present that defense.              But

 12    I think that is different than how much is relevant conduct and

 13    how much should be attributed to her, for purposes of the loss

 14    calculation under 1B -- 2B1.1, in that I don't believe there

 15    has to be that same formalistic withdrawal in order to not have

 16    the later parts of a conspiracy accounted for.

 17               I know in this federal court the conspiracy law often

 18    is applied in drug cases, and we're here arguing, you know,

 19    there's a conspiracy with 20 kilos, but my guy was only

 20    involved with one, and that's how the Court is typically

 21    sentencing people.      There has to be some direct involvement,

 22    some direct link between the person, who is being sentenced,

 23    and the amount of the conspiracy that can be attributed to that

 24    person.

 25               So the reason I say that this distinction is




                                                                                     375
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 19
                                                                   Colorado
                                                                      of 103   pg
                                  376 of 460                                   19


  1    particularly apt in this case, is because the evidence of

  2    Ms. Tew's involvement in the conspiracy, the people who she was

  3    connected to, the relationships she had, the evidence was much

  4    more... Your Honor, I'm going to struggle a little bit, as I'm

  5    trying to do the best I can to make sure that my client's

  6    appellate rights are fully preserved, as I make all of these

  7    sentencing arguments.      So forgive me if I stumble over some

  8    words.   But I believe the evidence the government presented was

  9    stronger that she had the relationship with Hannah Scaife, who

 10    were the first invoices presented, that she had some

 11    relationship with Michael Meyers, who was amongst the first,

 12    and then there is very slim evidence of any of her direct

 13    involvement when the numbers in this case, got huge, right?

 14    Because if you look at the amounts of the invoices, at first,

 15    they are -- I mean, they are not tiny, but in the scheme of the

 16    5 million, I think it's like 3-and-a-half million were stolen

 17    at the very end, through the entities, where there's no link to

 18    my client at all.      Michael Tew set up those entities.         All of

 19    the conversations are between him and John Yioulos.             At that

 20    point, the government's evidence against is that she is a

 21    nagging wife asking her husband to get money.

 22               So when you are talking about this conspiracy, you

 23    have somebody who, the evidence is stronger at the beginning

 24    and then it falls off, I think for purposes of relevant conduct

 25    and purposes of 2B1.1, that needs to be taken into account.




                                                                                    376
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 20
                                                                   Colorado
                                                                      of 103   pg
                                  377 of 460                                   20


  1    Her direct involvement with the amounts at issue.

  2               We've posed two different alternatives for how the

  3    Court could consider the evidence, either the counts of

  4    conviction, which I think are the 184,300, or the counts of

  5    conviction, plus those early entities, where the evidence was

  6    stronger that she had the direct connections to people or she

  7    was more directly involved with setting up or facilitating any

  8    of those invoices.

  9               Once you get to Arrow Maintenance Resources, once you

 10    get to... I'm forgetting the other acronyms, but later in the

 11    conspiracy, there isn't the evidence of her continued

 12    involvement.

 13               THE COURT:    So let me just ask you, so you talked

 14    about relevant conduct, and you talked about, sort of, those

 15    specific transactions she was convicted of.            She was also

 16    convicted of conspiracy, and the 2B1.1's language just talks

 17    about increasing the offense level if the loss from the offense

 18    shall she was convicted of, adds up to a certain amount, in

 19    this case over three-and-a-half-million dollars.            The

 20    conspiracy, as we talked about a little bit, involved over $5

 21    million.    She was convicted of conspiracy, why isn't that alone

 22    enough?

 23               MS. HUBBARD:    I think the Court has to make an

 24    individualized determination for each defendant, and so, just

 25    like when, in a drug case, somebody pleads guilty to the




                                                                                    377
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 21
                                                                   Colorado
                                                                      of 103   pg
                                  378 of 460                                   21


  1    entirety of the conspiracy, you don't look at it and say, The

  2    conspiracy was 20 kilos, so you get hit with sentencing for the

  3    full 20 kilos, that's the purse of relevant conduct and the

  4    purpose of individualized sentencing under the guidelines, is

  5    for the Court to look deeper and look at each individual

  6    defendant's involvement, because again we are not talking about

  7    guilty or not guilty, for purposes of conspiracy law, right?

  8    We're talking about what is this individual defendant's role,

  9    in the overall scope of the conspiracy?          Because now that we're

 10    at sentencing, what happens with Michael Tew or what happens

 11    with Jonathan Yioulos is really not at issue.            The Court is

 12    here to sentence Kimberley Tew, and so I think that's the

 13    distinction, Your Honor, is that sentencing is a time for

 14    individualized consideration, and that applies to the loss as

 15    well.

 16               THE COURT:    Okay.   Thank you.

 17               MS. HUBBARD:    Do you want me to tackle all of them

 18    while I'm here?

 19               THE COURT:    Why don't we let the government respond on

 20    that.

 21               MS. HUBBARD:    That works.

 22               THE COURT:    Thank you.    Mr. Fields?      Thank you,

 23    Your Honor.    So two issues, one matter of law, one a matter of

 24    fact.   I will start with, sort of, the legal issue.            I agree

 25    there does need to be an individualized determination here, but




                                                                                    378
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 22
                                                                   Colorado
                                                                      of 103   pg
                                  379 of 460                                   22


  1    the individualized determination the Court is going to make is

  2    what was the scope of the conspiracy for this particular

  3    person?    What did they agree to?       Were the steps in furtherance

  4    of that conspiracy?      And was it reasonably foreseeable?

  5               Defense counsel didn't cite any of that law or apply

  6    it or even assess it in what we just heard, that's 1B1.3

  7    relevant conduct, and that's the individualized determination

  8    here.   So as the government points out in its sentencing

  9    papers, there's no disagreement about the scope of the

 10    agreement here.     The jury found, beyond a reasonable doubt,

 11    that she agreed to execute an essential objective of the

 12    conspiracy, which was to defraud National Air Cargo.

 13               The second thing, Were these in furtherance?           The

 14    Court has already made a finding, by a preponderance of the

 15    evidence, that all of the communications in -- well, most of

 16    the communications in the James log were in furtherance.                Many

 17    of those featured Kimberley Tew.         They feature Kimberley Tew in

 18    every aspect of the conspiracy with each and every vendor, and

 19    so that leaves the individualized determination as to whether

 20    or not any of this was reasonably foreseeable to her.             And as

 21    the government points out in its sentencing papers, right up

 22    until the very end, in June of 2020, she is asking Michael

 23    about whether the FBI -- like, What has John said about the

 24    FBI's investigation in the National Air Cargo, and, Oh by the

 25    way, when is John going to send it again.          Stick with me.




                                                                                      379
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 23
                                                                   Colorado
                                                                      of 103   pg
                                  380 of 460                                   23


  1               So as a legal matter, I think the Court has everything

  2    it needs to make an individualized determination for Kimberley

  3    Tew, under 1B1.3, that three-prong test, and then as a factual

  4    matter she was involved in every aspect of this.

  5               So I would just say two things, so the -- when defense

  6    counsel says that there has to be some direct link, that's just

  7    not true, as a matter of law, especially when it comes to

  8    conspiracy.    If we're talking about she has to be involved in

  9    each and every transaction, it's just not true.            The direct

 10    link here is, Did you agree to be part of the conspiracy?               So

 11    let's use the drug example, right?         You are talking about two

 12    people, and one defendant agrees, Yeah, I'm going to help you

 13    distribute cocaine from Mexico, here into Denver, Colorado, and

 14    they keep on doing that and the objective of the conspiracy is

 15    to distribute cocaine.       It's not a separate part of the

 16    conspiracy where like, I only agreed to provide you with sort

 17    of you know a car, to actually get you know some bricks of

 18    cocaine on this one day to cross the border on one day.             The

 19    scope of the agreement might be a little different for that

 20    particular defendant, but if you just agreed to help distribute

 21    cocaine on the streets of Denver, and, you know, you -- and

 22    acts are taken in furtherance of that and it's reasonably

 23    foreseeable to you that cocaine is going to be distributed on

 24    the streets of Denver, you are liable for all of that cocaine.

 25               THE COURT:    Let me ask you to clarify how you think




                                                                                    380
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 24
                                                                   Colorado
                                                                      of 103   pg
                                  381 of 460                                   24


  1    that example applies.      So I think everyone would agree, if

  2    you're my supplier and we have an agreement that I'm going to

  3    get a certain amount from you and distribute it, we are both

  4    liable for all of that amount, but if you are the higher up in

  5    the organization and you also have an agreement with ten other

  6    people, isn't the question, am I -- you're liable for all of

  7    theirs, but am I also liable for the ten other people's

  8    distribution?     Do you think that I would be liable for

  9    everybody else too, if I'm just one spoke and you are the hub?

 10               MR. FIELDS:    I think the Court would have to make the

 11    finding that that, sort of, was part of the agreement, right.

 12    There were going to be, sort of, other channels, right, and

 13    that is within the scope.       So, you know, if it's a supplier and

 14    a, sort of, I don't know, like basically a wholesaler and

 15    retailer, right, and so the retailer has to understand that

 16    the -- or the wholesaler has to understand the retailer is

 17    going to have sub-vendors, things like that, right?             It's

 18    within the scope.      If there's a finding, if the facts establish

 19    that the wholesaler knew that, agreed to it, and wanted it,

 20    that's all that you need to be in furtherance of the

 21    conspiracy, and that's what we have here, Your Honor.

 22               Kimberley Tew understood what was going on here.

 23    There's communications throughout the conspiracy in which she

 24    is asking Michael Tew to take money from National Air Cargo.                 I

 25    don't think there's any doubt as a matter of law and fact that




                                                                                        381
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 25
                                                                   Colorado
                                                                      of 103   pg
                                  382 of 460                                   25


  1    she intended to get the whole amount, and it was reasonably

  2    foreseeable.

  3               THE COURT:    I agree with you.      I think it's clear that

  4    she understood and agreed and was part of the conspiracy to

  5    defraud National Air Cargo, and the jury found that, but I

  6    don't know that there's evidence, and certainly as the defense

  7    points out, the jury didn't find and she was not charged with

  8    each particular transaction, and there's not evidence, I think,

  9    that would let me say, I know that she had agreed to each of

 10    the transactions, that you put evidence on, that add up to the

 11    $5 million.    But my understanding is that your position is that

 12    it's not necessary to have that, as long as it was reasonably

 13    foreseeable and within, kind of, the scope of the basic

 14    conspiracy that she did enter into; is that right?

 15               MR. FIELDS:    That's right, Your Honor.

 16               THE COURT:    Okay.

 17               MR. FIELDS:    I have nothing more, Your Honor.

 18               THE COURT:    All right.    Thank you.      Yes.   Ms. Hubbard,

 19    I will give you a moment, if you want to have, sort of, a bit

 20    of rebuttal on this particular issue.

 21               MS. HUBBARD:    Your Honor, I think the spoke-and-hub

 22    analogy is apt here in that what the government is trying to do

 23    is to hold Kimberley Tew responsible for everything that was

 24    happening in the middle.       The evidence was very strong at trial

 25    of recordings and communications between Michael Tew and




                                                                                    382
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 26
                                                                   Colorado
                                                                      of 103   pg
                                  383 of 460                                   26


  1    Jonathan Yioulos that they were talking about how much money

  2    NAC had, talking about how to get that money out of NAC to

  3    Michael Tew, and again, as the conspiracy goes on, the evidence

  4    becomes that Kimberely's role was to say, Michael, we need more

  5    money, get more money, get more money, and that's not evidence

  6    of the same level of direct involvement in the nexus of the

  7    conspiracy that exists early.

  8               So, Your Honor, I will just stand on our pleadings,

  9    unless the Court has further questions on that point?

 10               THE COURT:    I don't.    I'm going to overrule that

 11    objection.    I understand it.      Again, as I discussed in

 12    forfeiture, the forfeiture discussion I have some, sort of, at

 13    least emotional understanding of how unfair it may seem, but I

 14    think on the law the government is correct that Mrs. Tew

 15    entered into a conspiracy, took steps in furtherance of that

 16    conspiracy, was convicted of doing so by the jury, and while

 17    she may not have known the specifics of particular transactions

 18    or particular arrangements between her husband and Mr. Yioulos,

 19    they were all essentially the same sort of transactions that

 20    she did know about and were certainly reasonably foreseeable.

 21               So I think under the law that enhancement -- or that

 22    section, the 18-point increase, under 2B1.1 has to be a

 23    applied.    So that objection is overruled.

 24               Why don't you go ahead to the next one.

 25               MS. HUBBARD:    Is the next one on your list the




                                                                                    383
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 27
                                                                   Colorado
                                                                      of 103   pg
                                  384 of 460                                   27


  1    sophisticated means?

  2               THE COURT:    Sure.   Sure.

  3               MS. HUBBARD:    Just trying to follow your organization,

  4    Your Honor.    If you want me to go in a different order, just

  5    say so.    I think I'm just following the list.

  6               You know, our primary argument as to sophisticated

  7    means, again, touches on the fact that the Court, at the time

  8    of sentencing, has to make an individualized determination.              I

  9    am not here arguing that the scheme, overall, doesn't have

 10    sophisticated means, given the number of companies, Michael Tew

 11    setting up an LLC in another state, all of the things that the

 12    PSR points out, about invoices not being consecutively

 13    numbered.

 14               The Court heard testimony and saw communications

 15    between John Yioulos and Michael Tew where they are talking

 16    about, What should I use as the description on this invoice,

 17    so, that we're not raising suspicion inside NAC?            I'm not here

 18    arguing that none of that happened.         What I'm here to point

 19    out, Your Honor, is that none of it involved Kimberley Tew, and

 20    the sophisticated means enhancement, Application Note 10(C) to

 21    2B1.1 is very specific on this issue.         It says, If the offense

 22    otherwise involved sophisticated means and this defendant,

 23    Kimberley Tew, intentionally engaged in those sophisticated

 24    means, or caused those sophisticated means to be used, that's

 25    where the evidence falls short.        There's not evidence that




                                                                                    384
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 28
                                                                   Colorado
                                                                      of 103   pg
                                  385 of 460                                   28


  1    Kimberley Tew engaged in the sophisticated means.            There's not

  2    evidence that she made the invoices.         There's not evidence that

  3    she was involved in those conversations about what should be on

  4    the invoices.     There's not evidence that she was responsible

  5    for sending them, receiving them, any of that.            That's all

  6    John Yioulos and Michael Tew.

  7               So again, because we are at sentencing, the issue is

  8    not whether it was sophisticated means, the issue is whether

  9    this specific enhancement should apply to Kimberley Tew, and

 10    whether Kimberley Tew's guideline range should go up by two

 11    points?    And I think under the facts of the case and the law as

 12    applied to this enhancement, there just isn't the evidence

 13    necessary here for that enhancement to apply.

 14               THE COURT:    I think there's certainly evidence

 15    sufficient to find, by a preponderance of the evidence, that

 16    Mrs. Tew, at least at some point, knew of the basics, that fake

 17    companies and fake invoices were being used to carry out the

 18    scheme.    Is that not enough?      And that she encouraged it, and

 19    if only by saying We need more money, caused some of those

 20    false invoices to be submitted?

 21               MS. HUBBARD:    I think if the issue was, Did she cause

 22    the fraud itself to occur, that would be a different issue.

 23    But the issue here is Did she cause the specific sophisticated

 24    means to occur here?      And so, I'm not aware of any evidence

 25    that she said, Michael, go set up an LLC in Wyoming.             Make sure




                                                                                    385
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 29
                                                                    Colorado
                                                                       of 103   pg
                                  386 of 460                                    29


  1    it's something in the aerospace industry.          Talk to John about

  2    what we should put on the invoices, to make sure we're not

  3    raising anybody's suspicion at NAC.         She is not doing that.

  4    Like, I think what you are talking about, as far as was she

  5    potentially causing -- is Michael get money, is that causing

  6    Michael to then potentially go to John and say, We need money?

  7    Maybe.   But it's not causing Michael to say, Okay, now, I have

  8    got to do the LLC.      That's all Michael's doing; that's

  9    Michael's doing, in conversation with John Yioulos; that's John

 10    Yioulos saying, Hey, Michael, I don't think I can send more

 11    money to Political Media because that is not a legitimate

 12    expense for NAC.     There's only so much I can send to a

 13    marketing company without raising suspicions, and then Michael

 14    saying, Let's start using another company.             That's all

 15    happening between the two of them.         So that's not Kimberley Tew

 16    causing the sophisticated means to occur, if that makes sense.

 17               THE COURT:    I understand the argument, yes.

 18    Mr. Fields.

 19               MR. FIELDS:    Thank you, Your Honor.         I'm going to

 20    bracket the invoice issue for a second.          So I'm going to focus

 21    on all of the other sophisticated means that are in paragraph

 22    80 of the PSR.     So this would include using other's

 23    identifiers, creating fake email accounts, recruiting others to

 24    be use, sort of, sham account holders, using cryptocurrencies,

 25    and all of the cases that the government cites, in its




                                                                                     386
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 30
                                                                   Colorado
                                                                      of 103   pg
                                  387 of 460                                   30


  1    sentencing statement, on pages 35 through 38, none of those are

  2    addressed by the defendant in any of their responses.             None of

  3    them were addressed now.       The defendant concedes, in the

  4    response, that the cases cited therein, say those sorts of

  5    things are sophisticated means.        So the government's first

  6    argument here would be that they have waived any argument that

  7    all of those means, in paragraph 80, are sophisticated.

  8    There's no doubt that they are and there's no doubt that the

  9    defendant individually did that.

 10               So you recall the testimony at trial from Hannah

 11    Scaife, that Kimberley Tew reached out to her, to specifically

 12    used her bank account, so that they could launder money that

 13    was being taken from National Air Cargo.          You will also recall

 14    the testimony of Michael Meyers at trial, who testified really

 15    extensively about his online relationship with Kimberley Tew

 16    and how she convinced him to let her use his bank account to

 17    again launder money that was being taken from National Air

 18    Cargo.    The Court will also recall all of the photographs of

 19    Kimberley Tew standing in front of Bitcoin ATMs.            Also recall

 20    the substantial bank records, where money would come from

 21    National Air Cargo into the accounts, and then be immediately

 22    transferred to Kimberley Tew, frequently, and then from there,

 23    into various cryptocurrency exchanges, Gemini, Kraken, et

 24    cetera.    All of those are sophisticated means.

 25               If we are going to look at the use of the shell




                                                                                    387
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 31
                                                                   Colorado
                                                                      of 103   pg
                                  388 of 460                                   31


  1    companies themselves, the issue isn't, Did she set it up?               The

  2    issue is, Did she engage in the sophisticated means?             Did she

  3    use it and did she cause it to be used?          And the defendant's

  4    statements that there's no evidence is a wild overstatement,

  5    Your Honor.

  6               If you look at Government's Exhibit 295, this was a

  7    text message -- sorry this is James log entry 295.             So

  8    Government's Exhibit 895.       Hahn, there's only 919 left in

  9    Global Fuel, because all of the Wynn stuff hit.            And Kimberley

 10    Tew responds, Okay, so hold off on depositing at Sand Hill.              Or

 11    Government's Exhibit 902, What's the email for PayPal linked to

 12    Sand Hill.    Again, one of the sham companies used.           Michael Tew

 13    responds, M2@globalfuel.co.        Another exhibit, Government's

 14    Exhibit 932, Kimberley Tew asking, How much did you withdraw

 15    from Global?     Government's Exhibit 914, If it works for Global

 16    Fuel deposit cash into Sand Hill.         And then Government's

 17    Exhibit 962, How much money are you showing, Kimberley asked

 18    Michael.    The response, 55.5 plus the 93 John sent in Global

 19    Fuel.

 20               She is asking about these shell companies.           She knows

 21    that they are being used.       She is encouraging Michael Tew to

 22    use them.    It's just factually incorrect to say that she did

 23    not -- wasn't aware of the sophisticated means.

 24               When it comes to the invoices, Your Honor, there was

 25    testimony at trial that Kimberley Tew had submitted her own




                                                                                     388
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 32
                                                                   Colorado
                                                                      of 103   pg
                                  389 of 460                                   32


  1    invoices to National Air Cargo.        Government submitted those

  2    invoices at trial.      If you look at Government's Exhibit 986,

  3    it's one of those invoices that Kimberley Tew submitted.                If

  4    you look at Government's Exhibit 543, Michael Meyers' invoice,

  5    they look remarkably similar.        There's evidence that Kimberley

  6    Tew used the Michael Meyers' email account.            She admitted as

  7    such in her replies, the government notes, in that Motion To

  8    Suppress, but there's also independent evidence, including all

  9    of the Google records, the shipments of clothing to her house.

 10    So she is using someone else's email account and there's

 11    independent evidence, and it's a fair inference, that she is

 12    the one who submitted those invoices.         And you add, on top of

 13    that, Your Honor, all of the evidence recounted in the

 14    government's sentencing statement and its objections as to her

 15    conversations with Michael Tew, specifically about invoicing.

 16    Or her conversations with Jonathan Yioulos, where Yioulos would

 17    ask her for an invoice.       I need an invoice from Scaife, right?

 18    These are those, sort of, one-sided conversations, we don't

 19    know what she says, but we certainly know that an invoice was

 20    submitted for Hannah Scaife, because Yioulos testified about

 21    it, and Abby Schwarts talked about the invoices that were in

 22    National Air Cargo's books.        So again, it's a fair inference

 23    that she caused -- she engaged in the sophisticated means and

 24    caused it to be used.

 25               The jury's findings here really leave no doubt that




                                                                                    389
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 33
                                                                   Colorado
                                                                      of 103   pg
                                  390 of 460                                   33


  1    sophisticated means were used, and the Court has already found,

  2    by a preponderance of the evidence, that many of these entries

  3    in the James log were in furtherance of the conspiracy, and if

  4    you look at those cases, they are sophisticated means.

  5               So for all of those reasons, the government would say

  6    that the enhancement applies.

  7               THE COURT:    All right.    Thank you.      Ms. Hubbard, would

  8    you like a brief rebuttal?

  9               MS. HUBBARD:    Since I have to stand up here anyway for

 10    the next issue, I might as well.

 11               Your Honor, just briefly, to point out that my

 12    understanding of the sophisticated means is that it was

 13    applying to the wire fraud counts, and so I think this

 14    reference to the use of cryptocurrency and structuring

 15    transactions, that appears in paragraph 80 of the PSIR, isn't

 16    applicable.

 17               I would also urge the Court, given that it's 2024, I

 18    think it would be an overstatement to say that just because

 19    somebody uses cryptocurrency that makes it sophisticated.               It

 20    is becoming an evermore present part of our society.

 21               So, just wanted to make those couple of points and

 22    stand on the preexisting record.

 23               THE COURT:    Okay.   I understand that argument and I do

 24    think that, at least for some of these transactions, it's not

 25    clear that Mrs. Tew participated, but I think that the




                                                                                    390
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 34
                                                                   Colorado
                                                                      of 103   pg
                                  391 of 460                                   34


  1    enhancement still applies, even if it was only a limited amount

  2    that she was involved in the use of sophisticated means.                I do

  3    think that she, at least, caused and participated in their use,

  4    as Mr. Fields explained, both -- I guess on both ends of the

  5    transactions, encouraging the use of, she clearly understood

  6    the use of shell corporations and the different corporations

  7    and invoices.     I think the use of Mr. Meyers' and Ms. Scaife's

  8    information.     There's at least evidence I think with -- I think

  9    it's probably stronger, my recollection, as to Michael Meyers,

 10    that Mrs. Tew was a driving force in that aspect of it, using

 11    other's bank accounts, and that that is sufficient.

 12               The cryptocurrency, I think you are right, it's

 13    becoming more commonplace, but I don't think that means it's

 14    not a sophisticated means.       I don't -- I think that taking

 15    money out of a -- that may have been criminally derived and

 16    immediately or very quickly turning it into cryptocurrency is

 17    an effort to hide the money through the use of very

 18    sophisticated technology, even if it's relatively commonplace.

 19    So I'm going to overrule that objection.

 20               Go ahead, Ms. Hubbard.

 21               MS. HUBBARD:    I believe the next one in the PSIR is

 22    leader organizer enhancement.        Your Honor, I would note, I

 23    think one of the important distinctions here is that the wire

 24    fraud counts have three defendants, the money laundering counts

 25    have two.    And the reason I think that matters is when you are




                                                                                      391
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 35
                                                                   Colorado
                                                                      of 103   pg
                                  392 of 460                                   35


  1    talking about the leader/organizer enhancement the key -- the

  2    key aspect that the Court is supposed to look at is relative

  3    culpability.     There's all of these terms, leader, organizer,

  4    control, all of that appears in the case law.            But the key,

  5    kind of, policy reason for this enhancement is if one member of

  6    the conspiracy is more relatively culpable than the other one,

  7    they should be assigned this enhancement, and this is not an

  8    enhancement -- I understand the case law that the government

  9    cited, where more than one person can be a leader/organizer,

 10    and sure that's absolutely true, there often is conspiracies of

 11    10, 20, people, and there's multiple people who are heads of

 12    that conspiracy, but that's not what we have here.

 13               What we have here is a two-person conspiracy, between

 14    a husband and a wife, and, Your Honor, I would call the Court's

 15    attention to the government's own motion, their Preliminary

 16    Order For Forfeiture, ECF Number 513, on page seven, the

 17    government says, Michael and Kimberley Tew were equally

 18    culpable in the conspiracy that obtained 5 million plus from

 19    the victim company for their benefit.         Based on their joint

 20    conduct, joint use of proceeds, and joint responsibility,

 21    government seeks forfeiture.

 22               That's the issue here.      If there's two people in a

 23    conspiracy, and the evidence is that they are equally culpable,

 24    then the leader/organizer enhancement simply doesn't apply.

 25    This is not one that just gets applied in every case.             It's




                                                                                    392
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 36
                                                                   Colorado
                                                                      of 103   pg
                                  393 of 460                                   36


  1    intended to apply when there's truly somebody who has increased

  2    culpability, right?      We could, and as the Court has seen in

  3    other conspiracy cases, I'm going to default to drug cases

  4    because I feel like that's just what we have so many of in this

  5    district, but the guidelines are driven by amount of drugs.

  6    Guidelines here are driven by amount of loss.            Guidelines are

  7    driven by sophisticated means.

  8               The Court has said there's sophisticated means in this

  9    case that apply to all of the defendants.          So when you look at

 10    the Chapter 2 enhancements, in the Sentencing Guidelines, those

 11    are, kind of, what is in the whole conspiracy.            What's the

 12    action at issue in the whole conspiracy?          This enhancement is

 13    Chapter 3.    Chapter 3 is really intended to distinguish between

 14    people who have different roles in a conspiracy case, and in

 15    this case, this enhancement applies to money laundering.                The

 16    proof at trial was on the money laundering that Kimberley Tew

 17    and Michael Tew were equally as involved.

 18               There were countless pictures of Michael Tew at the

 19    Bitcoin ATMs.     There was a handful of Kimberley Tew.          The bank

 20    witnesses that came in and testified, had a number of

 21    interaction with his Michael Tew.         They remember him asking all

 22    kinds of questions about, What are your withdrawal limits?               He

 23    wanted to know about the bank's policies for how he can access

 24    money.   They presented pictures of him going into the lobby,

 25    and then driving through the drive through to get more money,




                                                                                     393
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 37
                                                                   Colorado
                                                                      of 103   pg
                                  394 of 460                                   37


  1    right?    Those are all evidence of what Michael Tew was doing

  2    with respect to the laundering.        There was one time that the

  3    bank teller remembered Kimberley Tew coming and making a

  4    withdrawal.    One time.

  5               Now, I'm not here to argue that Kimberley Tew was less

  6    involved than Michael Tew.       I'm aware of all of the

  7    communications between the two of them, about what money is in

  8    what account.     How money should be transferred from here to

  9    there and moved around.       All -- honestly, Your Honor, none of

 10    that is shocking, given that this is a married couple.             A

 11    married couple where there are not two separate sources of

 12    income.    It's a married couple where one of the two of them has

 13    always made the money, since the kids were born at least, and

 14    the other one has taken care of the kids and not brought in

 15    their own on independent income.

 16               These communications about where the bank balances are

 17    and where the money lives and how it should be transferred

 18    between accounts are not surprising.         They don't make Kimberely

 19    the organizer/leader of a money laundering conspiracy anymore

 20    than I would be for my husband when I tell him where to pay the

 21    pills -- honestly, I just pay the bills, but one of the two

 22    people in a relationship takes on that role, and that doesn't

 23    make Kimberley Tew the organizer/leader over Michael Tew for

 24    the money laundering.

 25               THE COURT:    I agree with you, sort of, as a factual,




                                                                                    394
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 38
                                                                   Colorado
                                                                      of 103   pg
                                  395 of 460                                   38


  1    your factual description of how relationships work and just

  2    reading, for example, Application Note 2, to this, I would

  3    think you are on very strong ground, but the government points

  4    to binding Tenth Circuit precedent, the Valdez-Arieta case,

  5    that says exactly, that a defendant can organize illegal

  6    activity without exercising control over the other

  7    participants, and that there can be an organizer enhancement

  8    under Subsection C, which is specifically for small

  9    conspiracies, small criminal enterprises, and even if they are,

 10    sort of, co-organizer, without one of them being the other

 11    one's supervisor, why doesn't that defeat your argument?

 12               MS. HUBBARD:    Because, again, Your Honor, I would go

 13    back to the whole purpose of this 2S1.1, is relative

 14    culpability, and so when there are only two people, if they are

 15    equally culpable, the application doesn't apply to either of

 16    them, and I understand that case law, as far as defining the

 17    term control, and that you do not need to have control in order

 18    for the enhancement to apply, that's how I read the case, is

 19    you don't need to have proof of control.

 20               But here we're talking about two people, equally

 21    culpable, and... I lost my train of thought.            Sorry,

 22    Your Honor.    Equally culpable for the money laundering, the

 23    enhancement shouldn't apply to either of them.

 24               The other issue, I think, is when you are applying

 25    this enhancement to maybe a different kind of conspiracy, where




                                                                                    395
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 39
                                                                   Colorado
                                                                      of 103   pg
                                  396 of 460                                   39


  1    there was a different aspects of it, that different people

  2    could be in charge of, perhaps you could have two people who

  3    are both leader/organizer of different aspects of it, but

  4    that's not the proof in this case with respect to money

  5    laundering.

  6               My understanding of the money laundering is it's

  7    moving the money to a different account, once it has been

  8    transferred to the Tews, spending of proceeds.            And so the

  9    money laundering, itself, is taking the money from what had

 10    been transferred from NAC into the Tews account and moving it

 11    to a different account, and this isn't where, for purposes of

 12    the money laundering, Michael Tew could be responsible for part

 13    of it and Kimberley Tew be responsible for some other aspect.

 14    Like, I keep going back to drugs, and I apologize for that, but

 15    perhaps, if there was a conspiracy where one person had the

 16    connection in Mexico, they are the leader/organizer for how it

 17    gets into the United States, right?         Maybe they are a

 18    leader/organizer of the importation into the United States.

 19    There's another person who is leader/organizer of the

 20    distribution ring here in Denver.         I could see, kind of,

 21    scenarios and different factual situations, where you are

 22    talking about both people could be leader/organizer even in an

 23    only two-person conspiracy, but this isn't -- this is a much

 24    simpler case when you look at what is actually charged as money

 25    laundering.    It's just the moving of the funds.




                                                                                    396
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 40
                                                                   Colorado
                                                                      of 103   pg
                                  397 of 460                                   40


  1               THE COURT:    But it's a three-person conspiracy, right?

  2    Not as to the money laundering, but as to the overall

  3    conspiracy, right?      The enhancement is -- I guess my question,

  4    couldn't both of the Tews have been leaders and organizers for

  5    this enhancement?

  6               MS. HUBBARD:    So my understanding is that in the

  7    guidelines, and I can find the cite when I sit down, but that

  8    there's a specific provision that says, If the defendant is

  9    charged with money laundering, that leader/organizer should be

 10    determined based on money laundering.         So that's why I think

 11    the Court's focus here should be on the money laundering

 12    conspiracy, that conspiracy has two defendants, that

 13    conspiracy, we're talking about money laundering, it's the

 14    moving of the funds, once it touches the Tews' account into

 15    another account.     That's where I think there's no evidence that

 16    one of the Tews was a leader/organizer over the other.             There

 17    was conversations.      They talked to each other about how to move

 18    the money, where to move the money, when to move the money.

 19    There's Michael Tew going to move the money.            Kimberley Tew

 20    doing so, less so.      But there's not somebody who is markedly

 21    more culpable than the other one as to the money laundering

 22    conspiracy.

 23               THE COURT:    Okay.   Why don't I let the government

 24    respond.    Thank you.

 25               MR. FIELDS:    Thank you, Your Honor.        It's always nice




                                                                                    397
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 41
                                                                   Colorado
                                                                      of 103   pg
                                  398 of 460                                   41


  1    when there are at least some points of agreement.            I agree with

  2    Ms. Hubbard the focus needs to be on the money laundering.

  3    Where we disagree is the notion that this needs to be focused

  4    on a conspiracy.     The enhancement actually talks about

  5    participants.     They don't need to be co-conspirators.          In fact,

  6    the part of the enhancement that we're talking about, 3B1.1(c),

  7    specifically refers to criminal activity.

  8               As the government pointed out in its response, and has

  9    gone unrebutted now, just like it went unrebutted before, the

 10    defendants are completely ignoring the testimony of

 11    Michael Meyers.     Kimberley Tew actively recruited him to be

 12    part of the money laundering, to use his accounts to transfer

 13    money from National Air Cargo, and he testified that he knew

 14    something shady was going on, but he agreed to do it anyway.

 15    He is a participant in the criminal activity, one -- Kimberley

 16    Tew organized that entire part of the fraud.            So when we're

 17    talking about, sort of, Are they both, sort of, culpable?

 18    Equally culpable?      Yes.   Did they organize different parts of

 19    the money laundering conspiracy?         Absolutely.     Kimberley Tew

 20    was responsible for organizing things like that.            She organized

 21    it regarding Michael Meyers.        She also organized with regard to

 22    Christain Rincon.

 23               If you look at Government's Exhibit 659, that's

 24    another example of Kimberley Tew talking -- this is Michael Tew

 25    actually saying, Kimberley knows more about why you are sending




                                                                                    398
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 42
                                                                   Colorado
                                                                      of 103   pg
                                  399 of 460                                   42


  1    all of this money to Christain Rincon, who was one of Kimberley

  2    Tew's, again, online buddies, very similar situated to

  3    Michael Meyers.     Ignoring all of that, it's a waiver, and that

  4    by itself is enough to constitute leader/organizer, but there's

  5    more, Your Honor.      It also ignores evidence that the defendant

  6    organized the money laundering conspiracy by using her mother's

  7    identifiers, her bank accounts, organizing that entire aspect

  8    of the scheme.

  9               There's also plenty of evidence, as the government

 10    points out, and has again gone unrebutted, that the defendant

 11    was the one organizing and directing Michael Tew to make

 12    particular transactions.       So, It needs to go into this

 13    particular account.      It needs to be this particular amount.          I

 14    want you to put it into this particular cryptocurrency

 15    exchange.

 16               The government cites numerous entries from the James

 17    log, which again the Court has already found, by a

 18    preponderance of the evidence, were in furtherance of the

 19    conspiracy.    All of those are part of her organizing the

 20    conspiracy.

 21               Also want to say that the defendant -- defense counsel

 22    didn't distinguish, in any meaningful legal way, United States

 23    vs. Valdez-Arieta.      The response that I heard was to go back

 24    and look at the, you know, policy issues and the guidelines,

 25    but presumably the Tenth Circuit already did that, and the




                                                                                    399
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 43
                                                                    Colorado
                                                                       of 103   pg
                                  400 of 460                                    43


  1    Tenth Circuit has decided, as a matter of law, that there could

  2    be two organizers, even in a simple scheme like this, and that

  3    3B1.1(c) can apply in these circumstances.

  4               So I think the law is very clear regarding who can be

  5    an organizer, and the facts are also clear that Kimberley Tew

  6    was organizing this.

  7               Another example that the Court can look at, it's one

  8    of the summary charts, chart 1025, one of the money laundering

  9    counts, and if you look there it cites to Government's Exhibit

 10    931, with Kimberley Tew giving very specific instructions, Go

 11    to Wells Fargo, in this particular amount.             All of that is part

 12    of the organization of the money laundering, which was about

 13    taking these proceeds from National Air Cargo and then using

 14    the banking system to disburse them as quickly as possible, as

 15    efficiently as possible, to the defendant's benefit, that makes

 16    her an organizer and this enhancement should apply.

 17               THE COURT:    Thank you, Mr. Fields.

 18               MS. HUBBARD:    Your Honor, I was looking more closely

 19    at the Valdez-Arieta case.       It looks like that is a drug case

 20    where there was two people indicted, who are, essentially, the

 21    hubs, and the government, for a change, chose not to indict all

 22    of the spokes or all of the people on the outside.              And so

 23    while there was only two defendants, in that case, it's very

 24    clear to me, based on the facts set forth in the case, that the

 25    conspiracy, overall, was significantly bigger than two people.




                                                                                     400
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 44
                                                                   Colorado
                                                                      of 103   pg
                                  401 of 460                                   44


  1    And again, when you are talking here, I understand the

  2    government wants to talk about Kimberley's mother, who I'm not

  3    aware there's any evidence that money went into her account,

  4    now trickled down, ten, fifteen transactions later, I

  5    understand there's some evidence Kimberley had access to

  6    accounts in her name, but the money laundering, itself, is

  7    moving the money from the account it goes to into another one,

  8    and I am not aware of any evidence that Kimberley's mom's

  9    account was involved with that or that Kimberley's mom was

 10    involved in anyway.

 11               THE COURT:    Money laundering can involve multiple

 12    transactions, right?      It's not just the initial transfer from

 13    their account to something else, right?          You can money launder

 14    things through multiple transactions, I think.

 15               MS. HUBBARD:    I think that's true under different

 16    theories of money laundering, but this one in particular I

 17    think it spending.      So I believe the money laundering has

 18    occurred when the money moves.        That's my understanding.          Not

 19    my specialty area of law.

 20               But as to Michael Meyers there was evidence of both

 21    Michael and Kimberley being involved with Michael Meyers.               Now

 22    certainly there was evidence that Kimberley had a relationship

 23    with Michael Meyers, but Michael Meyers testified to driving

 24    and meeting Michael Tew, to actually do the financial

 25    transaction itself.      So when you are talking about, again,




                                                                                     401
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 45
                                                                   Colorado
                                                                      of 103   pg
                                  402 of 460                                   45


  1    money laundering, the moving of the money, taking the money out

  2    of one person's account, depositing it somewhere else, there

  3    was evidence that Michael Tew was equally as involved with

  4    Michael Meyers as Kimberley Tew was.         So again, that doesn't

  5    put Kimberley higher or an organizer over Michael Tew with

  6    respect to Michael Meyers.       It puts her involved with money

  7    laundering perhaps in Michael Meyers, but not more so than

  8    Michael Tew, and when you look at the Section 3 enhancement

  9    here, it is again the relative culpability.

 10               Valdez-Arieta says, Sure, you don't have to have

 11    control over another person, for the enhancement to apply, but

 12    there's it does not say that you don't need to have more

 13    culpability than other people who are involved.            The

 14    enhancement only applies if you are more culpable than other

 15    people in the conspiracy and that's where I think the proof

 16    falls short.

 17               THE COURT:    All right.    Thank you.      So I'm -- as I

 18    indicated this one is, I think, a fairly close call, for me.                 I

 19    actually think, though, that probably the evidence of

 20    Mrs. Tew's role as an organizer, at least, or leader is

 21    probably stronger on the money laundering side than on the wire

 22    fraud side.

 23               As we talked about, I think her relationship with

 24    Mr. Meyers, in particular, suggests this, sort of, leadership

 25    of another less culpable individual, that I think we all agree




                                                                                        402
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 46
                                                                   Colorado
                                                                      of 103   pg
                                  403 of 460                                   46


  1    is at least suggested in Valdez-Arieta.          I think the other --

  2    use of the other bank accounts is troubling, and the use -- and

  3    it was clear to me, that, I think, from the evidence that

  4    Mrs. Tew was the one driving the withdrawals, purchases of

  5    cryptocurrency, that were, sort of, the key to the money

  6    laundering, and so I do think on the -- I'm going to overrule

  7    this objection.     Like I said, I think it's kind of a close

  8    case, and I will take into account that fact at sentencing, as

  9    part of my consideration of the Motion For A Variant Sentence,

 10    but I am going to overrule it as an objection.            I do think as a

 11    legal matter that that enhancement is properly applied, at

 12    least under Valdez-Arieta.

 13               Ms. Hubbard, I think that also, I think, sort of,

 14    obviates the possibility of the two-level reduction for

 15    zero-point offenders.      I will tell you, I definitely will still

 16    consider the criminal history and lack of any criminal history

 17    as part of my sentencing decision, but I don't think I can

 18    apply that reduction, and so I think, if I'm not mistaken,

 19    there's one more objection.

 20               MS. HUBBARD:    Just the obstruction?

 21               THE COURT:    Yeah.

 22               MS. HUBBARD:    Yeah.    I agree with, Your Honor, as a

 23    matter of law, as I read the zero-point offender, it cannot be

 24    applied to Ms. Tew if the Court finds leader/organizer.

 25               On the obstruction, Your Honor, I feel like we've




                                                                                    403
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 47
                                                                   Colorado
                                                                      of 103   pg
                                  404 of 460                                   47


  1    briefed it.    I'm not -- the government keeps faulting us for

  2    not addressing every aspect of every point raised, and I have,

  3    quite frankly, never filed objections even close to as long as

  4    I did in this case.      So with the obstruction, there is one area

  5    in particular that I feel like has been quite a moving target

  6    for us to try to address what the alleged obstruction is, in

  7    this case.

  8               If the Court wants to point me to where your thinking,

  9    I'm happy to direct my comments in that way.

 10               THE COURT:    Yeah.    Thank you.    Let me just tell you.

 11    So, I'm not impressed by the government's position that

 12    convincing someone not to stop cooperating with the government

 13    is obstruction of justice, and I'm, frankly, surprised that

 14    they pressed that position without more.          So I will say, I

 15    don't see any evidence that what happened with Mr. Tew amounts

 16    to obstruction of justice.

 17               I have a bit of concern about what happened with

 18    Ms. Scaife, who did testify that there was some sort of threat

 19    to reveal embarrassing information, so that concerns me a bit.

 20    I did look back at the transcript of her testimony, and at

 21    the -- those look like text messages to me, but maybe they are

 22    the Instagram message that was referenced in her testimony.              To

 23    me it's a bit of a stretch to call that a threat, and maybe in

 24    some context it could be.        So that's where I am on that.

 25               The deletion of text messages is probably more




                                                                                     404
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 48
                                                                   Colorado
                                                                      of 103   pg
                                  405 of 460                                   48


  1    problematic.     I'm not sure what to make of taking contradictory

  2    positions.    I think those are all of the justifications, but

  3    you know, if you want to address particularly though three,

  4    Ms. Scaife, the deletion of text messages, maybe with knowledge

  5    that there was an investigation going on, and then the

  6    contradictory positions.       Those are, I think, worth your time.

  7               MS. HUBBARD:    Okay.    Thank you, Your Honor.       With

  8    respect to Ms. Scaife, quite frankly, I don't think that

  9    happened.    If it happened, I don't think there's any proof that

 10    Hannah Scaife's memory is reliable as to when.            We submitted

 11    the messages between Ms. Scaife and my client.            I honestly

 12    don't know whether they are text messages or Instagram or

 13    something else, but -- and Ms. Scaife was wrong on the timing

 14    of the other messages that she testified about.            She testified

 15    that Kimberley Tew had sent, you know, pictures from their

 16    prior friendship, which she felt like was manipulative.             The

 17    timing with which she testified to, that those messages had

 18    been sent was wrong, when you look at the messages themselves.

 19    And the timing on this matters, Your Honor, because I think

 20    that's what the government is saying is allegedly

 21    obstructionist, is the timing of this message that was

 22    supposedly sent with which there is no proof the message

 23    actually was sent, other than Ms. Scaife's own words.

 24               My sense was that, you know, obviously, the Court

 25    heard the testimony, this was a tumultuous relationship,




                                                                                    405
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 49
                                                                   Colorado
                                                                      of 103   pg
                                  406 of 460                                   49


  1    perhaps not a healthy friendship.         I don't see anything that's

  2    obstruction.     I certainly don't see anything that the

  3    government has met its burden that the timing of any messages

  4    that may or may not have been sent was intended to somehow

  5    affect this investigation.       I just don't think that the proof

  6    is there.

  7               THE COURT:    Okay.

  8               MS. HUBBARD:    On the deletion of data, right, we have

  9    the recording, where Kimberley, with two 6-year olds in tow,

 10    runs down and sees her husband and freaks out, right?             And

 11    makes comments, I can't remember exactly what it was but, I

 12    have already wiped most of it anyway.

 13               There is no proof, and it is the government's burden

 14    here, to establish the facts necessary to apply any

 15    enhancement.     There's no proof as to when that wiping would

 16    have occurred.     They say she made the statement, and then later

 17    we got data that shows some messages were supposedly missing,

 18    that, you know, the government couldn't find, supposedly, the

 19    one-sided messages.

 20               It's curious to me that Ms. Tew would have wiped data

 21    and left 7,000 pages of messages with her husband, where they

 22    talk about all of the transactions, in this case, needing

 23    money, getting money, all of that.         I just don't think there's

 24    any evidence for the obstruction enhancement to apply.             The

 25    deletion of data has to be intended to interfere with the




                                                                                    406
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 50
                                                                   Colorado
                                                                      of 103   pg
                                  407 of 460                                   50


  1    investigation.     I don't think that there's proof of that in

  2    this case.    Even if there was some deletion of data, there's no

  3    proof as to when that deletion of data may have occurred or

  4    that it was after Kimberley Tew knew about the investigation in

  5    this case.

  6               As the Court remembers, the government kind of

  7    happened upon all of this and then went and talked to John

  8    Yioulos, in New York, and did the call with Michael Tew that

  9    was recorded, and then the Tews had no idea that this

 10    investigation was happening until Michael was arrested, and

 11    this meeting happened within days of that.

 12               So we're not talking about a long timeframe here.

 13    We're talking about a very short window.          So I just don't think

 14    there's the proof necessary for the Court to find that

 15    Kimberley Tew, if there was any data deleted, which I'm not

 16    sure there's really any proof of that, given all of the data

 17    that the Court has seen, all of which came from Ms. Tew's

 18    iPhone account, all of those text messages that were presented

 19    at trial, all of it came from Mrs. Tew's iCloud account.                I

 20    don't know how you wipe one string of text messages and oh, and

 21    when you do so, there's only one -- you only wipe one-half of

 22    the text messages?      I just think the proof is very lacking

 23    here.

 24               And then what was the last one the Court wanted me to

 25    address?




                                                                                    407
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 51
                                                                   Colorado
                                                                      of 103   pg
                                  408 of 460                                   51


  1               THE COURT:    Oh, taking contradictory sort of factual

  2    positions about her use of a particular account.

  3               MS. HUBBARD:    Your Honor, I think that that should be

  4    attributed to Ms. Tew's counsel, not Ms. Tew herself.             There's

  5    a number of things that I think are in the government's

  6    sentencing pleadings, including the supposed treatment of

  7    witnesses at trial.      My Cross-examination of Hannah Scaife is

  8    one of them that is being thrown at Kimberley Tew as a reason

  9    the Court should hammer her with a sentence.            That was my

 10    strategic decision.      Ms. Tew actually did not approve and did

 11    not encourage that Cross-examination.

 12               The government was offered -- I won't go into all of

 13    the details.     That was unfortunate that Ms. Scaife had to go

 14    through that, because the government felt like they needed to

 15    subpoena her, put her on the stand, and ask her to defame my

 16    client's character.      That decision, that I made, shouldn't be

 17    held against my client, and I would say the same is true for

 18    any contradictory statements that may have been at different

 19    points in the case, when she had different counsel.             If we

 20    didn't realize a different position had been taken earlier in

 21    the case, I don't think that should be attributed to Mrs. Tew.

 22               THE COURT:    Okay.   Thank you.     Mr. Fields.

 23               MR. FIELDS:    Thank you, Your Honor.        With the Court's

 24    indulgence, I'm going to start with Michael Tew, and I

 25    recognize how the Court has foreshadowed its ruling and its




                                                                                    408
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 52
                                                                   Colorado
                                                                      of 103   pg
                                  409 of 460                                   52


  1    current thoughts and I appreciate that, but just for purposes

  2    of the record I want to note the cases that are cited on page

  3    42 and 43 of the government's sentencing filing, at ECF 459

  4    United States vs. Hesser, which is an 11th Circuit case, kind

  5    of specifically on point, where a husband tries to convince

  6    another family member not to cooperate --

  7               THE COURT:    Yeah, but in that case the husband said he

  8    will know whose head to lop off if they cooperate, that doesn't

  9    seem like -- is there evidence -- I mean, the enhancement

 10    applies to what seems to me to be unlawful witness tampering,

 11    threatening, intimidating, otherwise unlawfully influencing a

 12    codefendant.     Where is that?     Where is the unlawfulness?

 13               MR. FIELDS:    So it doesn't need to be unlawful,

 14    Your Honor.    The statute is corruptly persuades, and I would

 15    say going to the Yeti store and haranguing your husband not to

 16    cooperate, and pleading with him and sort of emotionally

 17    manipulating him is enough.

 18               Tampering with a witness is definitely obstruction.               I

 19    don't take the Court to be taking a position that it, sort of,

 20    categorically can never be obstruction.          In mob cases, in New

 21    York and Brooklyn, it was applied all the time.            You can see

 22    why.   You can imagine, members of the mob, close family, sort

 23    of, persuading one another, maybe not using real threats, just

 24    sort of corruptly persuading, Hey, you might not want to

 25    testify against someone.




                                                                                        409
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 53
                                                                   Colorado
                                                                      of 103   pg
                                  410 of 460                                   53


  1               You also have the Pofahl case, which is a Fifth

  2    Circuit case, that one did not involve a threat, as far as I

  3    can tell, that was just a letter, a husband writing a letter --

  4    or a wife writing a letter, just imploring him not to provide

  5    information to the authorities, that was considered enough for

  6    the enhancement.

  7               THE COURT:    Well, I don't think that's accurate

  8    either.    I think the Fifth Circuit said that there was

  9    additional evidence that supported the enhancement beyond just

 10    that.   And I agree with you, I wouldn't certainly say it never

 11    can apply, but I do think the government to apply -- to hold

 12    someone liable for obstruction of justice for encouraging them

 13    or convincing them to do something that they have the right to

 14    do, whether it was good advice in this case or not.             I mean it

 15    seems, to me, to have been a bad decision, ultimately, for

 16    everybody involved.      But attorneys convince people not to

 17    cooperate with the government all the time.            People tell their

 18    friends, don't consent to searches, that's not obstruction of

 19    justice.

 20               MR. FIELDS:    No, Your Honor.     It would need to be

 21    corruptly persuading.      In this particular case what would

 22    distinguish it from those other scenarios, I leave aside the

 23    attorney scenario, which I think is sui generis.            You have a

 24    case where charges have already been brought.            It was very

 25    clear, and he was cooperating, that was also very clear.                So we




                                                                                       410
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 54
                                                                   Colorado
                                                                      of 103   pg
                                  411 of 460                                   54


  1    have this direct link to an investigation, and Kimberley Tew,

  2    very specifically, trying to corruptly persuade her husband not

  3    to give the phone, that's going to have evidence of all of the

  4    incriminating messages, to the authorities.            She corruptly

  5    persuaded him.     We have evidence of that in Government's

  6    Exhibit 551, and I think that would be enough for a charge of

  7    witness tampering that could have been found by a jury.             It

  8    certainly more likely than not, as we sit here today.             But I

  9    understand the Court's position, so I'm going to move on to the

 10    three other aspects of the obstructive conduct.

 11               THE COURT:    Yeah.   I think we just disagree about the

 12    adverb.    I think it may have been unwisely or foolishly

 13    persuaded him, but I don't think it was corruptly as it's used

 14    in the statute.     So go on to the others.

 15               MR. FIELDS:    Your Honor, I will start with the data

 16    deletion.    So with regard to the data deletion, it shouldn't be

 17    a surprise, at all, that only certain messages were missing,

 18    but there were thousands of other messages, and the reason it

 19    shouldn't be surprising, at all, is if the Court will recall

 20    that the testimony at trial was that Kimberley Tew -- that the

 21    Michael Tew and Kimberley Tew iCloud accounts had both been

 22    merged into one.     So the fact that Kimberley Tew would have

 23    deleted messages in her account wouldn't have affected the

 24    merger to Michael Tew's account.

 25               We have further corroboration of that in the




                                                                                    411
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 55
                                                                   Colorado
                                                                      of 103   pg
                                  412 of 460                                   55


  1    defendant's own submissions.        You have messages from her

  2    personal phone, not from the iCloud, where you have both sides

  3    of the communication with Hannah Scaife and with

  4    Michael Meyers.

  5               THE COURT:    Yeah.    Let me interrupt you, because I --

  6    I agree with you on that.        It seems pretty clear to me that

  7    some effort was made to delete from her phone relevant text

  8    messages.    The real question for me has to do with the timing,

  9    because as I read -- as I read the enhancement, it tries to be

 10    somewhat careful about limiting the timeframe, and there's a

 11    possibility -- I mean it seems clear that it was done before

 12    she was arrested or anything like that, but that doesn't

 13    necessarily mean it doesn't apply.         But if it was done weeks or

 14    months ahead of time and she just said, Man, I don't want to

 15    have those on here, that looks really bad, I don't know that

 16    that's enough if you haven't met your burden of showing that it

 17    was done specifically in response not just to the kind of

 18    understanding that maybe there was evidence of wrongdoing but

 19    of actual criminal investigation that was pending or about to

 20    be pending.    Am I wrong about that?

 21               MR. FIELDS:    Well, two responses, one legal, one

 22    factual.    So first is the factual matter as to the timing here.

 23    The Court will recall there are messages shortly before Michael

 24    Tew gets arrested in July.        The arrest is a complete surprise,

 25    I think, both to the agents and to Michael Tew himself, right?




                                                                                    412
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 56
                                                                   Colorado
                                                                      of 103   pg
                                  413 of 460                                   56


  1    So there wasn't sort of a long lead up for them when she is

  2    likely going to delete messages.         You have this interim period

  3    between July 2020, where Michael Tew is charged, but she is

  4    not, but Michael Tew is cooperating and providing information

  5    on his cell phone, and the Indictment in February.             She shows

  6    up at the Yeti store, during the interim period, where Michael

  7    Tew has already been charged, and she basically says something

  8    to the effect of, you know, What you are doing here is going to

  9    be ineffectual because I already wiped it.

 10               So is it more likely than not, the standard that the

 11    Court needs to make, that she deleted the messages within that

 12    timeframe?    I would argue that it is, Your Honor.          I think the

 13    timing of her comments is strong evidence of that, and I also

 14    think just the factual circumstances, that that's the time

 15    period where she is most in jeopardy, Michael Tew has already

 16    been arrested, but she has not been indicted yet, that's the

 17    most likely period that she would have deleted it.

 18               But even if the Court doesn't agree with that as a

 19    factual matter, as a legal matter the enhancement could still

 20    apply if it had a material hindrance on the litigation.

 21               Now I will refer to the arguments that the government

 22    makes in its sentencing filings about how this did have a

 23    material hindrance.      It ended up being a key component of the

 24    defendant's defense at trial, and during the James hearing,

 25    trying to cast doubt on the authenticity of a lot of these




                                                                                    413
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 57
                                                                   Colorado
                                                                      of 103   pg
                                  414 of 460                                   57


  1    messages because there was only one side of it, and trying to

  2    tell the jury, Hey, all of these text messages looked a little

  3    weird.   Like, why are some of these only one sided?            In a way,

  4    to sort, of discount those in front of the jury.            And so to

  5    rebut that, the government had to task an FBI data analyst to

  6    go into the raw data tables associated with the Apple account,

  7    design -- sort of, write scripts to, sort of, sift through all

  8    of that, sort of sort through it and find the tables, because

  9    they are not organized in an intuitive way.

 10               THE COURT:    Yeah, I agree with you.        But let me ask

 11    you, sort of, about your legal position, because I'm not sure I

 12    agree with it.     Your position is even if I think she deleted

 13    these well in advance, before she had any necessary

 14    understanding that the Feds were looking into it, that as long

 15    as it had a material impact on the investigation, that the

 16    enhancement applies?

 17               MR. FIELDS:    I'm sorry, Your Honor, I misunderstood

 18    you.   No.   I think, you know, this is the example of someone

 19    flushing drugs down the toilet, right?          So of contemporaneous.

 20    I think there's evidence, for a long period of time, like

 21    actually throughout the conspiracy, that she thought Yioulos

 22    would go to the FBI.      You have those very early on.         Including,

 23    you know, she is calling Yioulos a rat, she is very concerned

 24    about it.    So, as a factual matter, I think there's evidence,

 25    sort of, throughout from the James log, again found by




                                                                                    414
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 58
                                                                   Colorado
                                                                      of 103   pg
                                  415 of 460                                   58


  1    preponderance of evidence, that she was concerned about this.

  2    So if the Court doesn't think that she deleted the messages

  3    during what I would say is the most likely time period, even

  4    then, as long as it had a material hindrance on the

  5    prosecution, the obstruction enhancement would apply.

  6               THE COURT:    All right.    I mean, I guess I have a

  7    little bit of a problem with that position, because what if

  8    they just automatically -- they know -- a defendant knows they

  9    are involved in illegal activity, they don't want to get

 10    caught, or if they do get caught they want to hide as much

 11    evidence as possible so they just, sort of, routinely delete

 12    everything or use a burner phone.         Does that automatically

 13    subject under this enhancement, just because, you know, they

 14    knew that it would help them if there happened to be an

 15    investigation?

 16               MR. FIELDS:    Your Honor, I would -- if I could grab my

 17    guideline book?

 18               THE COURT:    Sure.

 19               MR. FIELDS:    So in that regard, Your Honor, I would

 20    say, you know, you can parse the facts, you know, pretty

 21    finely, I would say.      I do think there would be, sort of, a

 22    legal distinction between, sort of, designing your criminal

 23    enterprise, so that no evidence is created at all, right?

 24    Like, so not -- using a burner phone, right?            Or using

 25    Snapchat.    Using only, sort of, direct, face-to-face




                                                                                    415
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 59
                                                                   Colorado
                                                                      of 103   pg
                                  416 of 460                                   59


  1    communications.     I don't think that's obstruction.          On the

  2    other hand, let's say you have a burner phone, and it's got all

  3    of these text messages on it, you needed that burner phone to

  4    coordinate all of your transactions.         It's got your contacts.

  5    It knows where your drug buddies are, talking a lot about drug

  6    cases today because they come up a lot.          And then you find out

  7    that there's an investigation or you suspect that one of your

  8    co-conspirators might go to the FBI, so you throw the phone in

  9    the river, that's obstruction, and that's what the guidelines

 10    say, if that has a material hindrance.

 11               So I do think the burner-phone example is one.           Not

 12    creating the evidence in the first place isn't necessarily

 13    obstruction, if that makes sense.

 14               So our position here, like this is very different, she

 15    knows that she has got all of these incriminating messages, and

 16    there's substantial evidence here that she deleted it.             She

 17    admitted it, and the evidence at trial sort of bore out the

 18    messages were deleted.       The question is, did it have a material

 19    hindrance, and the government's position is it did.

 20               THE COURT:    All right.    Thank you, Mr. Fields.

 21    Ms. Hubbard, I don't think you have another one to address, but

 22    you can come up for quick rebuttal, if you like.

 23               MS. HUBBARD:    Just so used to coming back up here, at

 24    this point.    Your Honor, from a factual perspective, I would

 25    note that the last message that was the one-sided texts, that




                                                                                    416
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 60
                                                                   Colorado
                                                                      of 103   pg
                                  417 of 460                                   60


  1    was -- that I know to exist is from February 19th, 2019.                There

  2    was significant testimony from Mr. Yioulos, himself, about

  3    Kimberley Tew and Jonathan Yioulos having a tumultuous

  4    relationship.     One that went up and down and back and forth

  5    and.   So it's not -- it is entirely conceivable that given the

  6    only evidence that looks like it was potentially deleted is

  7    this one text string, that Kimberley Tew could have deleted

  8    that at any point in time after February 19th, 2019, when she

  9    was like, You know what I'm done with that guy.            Right?   I'm

 10    done with that guy.      I don't want to hear him.        I don't want

 11    his messages on my phone anymore.         Because we have both sides

 12    of text messages with Hannah Scaife.         We have both sides of

 13    text messages with Michael Meyers.         We have both sides of text

 14    messages with other people who are also involved, in some way,

 15    with the supposed scheme, and so the only evidence that there

 16    is -- the only supposed deletion is this one text string

 17    between Kimberley Tew and John Yioulos, there isn't any

 18    evidence that it happened at a time -- a point in time where it

 19    would have been an attempt to interfere with this

 20    investigation.

 21               I also disagree with how Mr. Fields interprets the

 22    provision.    I was just looking at 3C1.1 in the notes.           It seems

 23    to me that it needs to be around the time of the investigation,

 24    and the way I read that, if it causes a material hindrance,

 25    that's the example given if you swallow evidence at the time of




                                                                                       417
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 61
                                                                   Colorado
                                                                      of 103   pg
                                  418 of 460                                   61


  1    arrest, that obstruction doesn't apply if you swallow evidence

  2    at the time of the arrest or you do something when you are

  3    arrested, unless it also has a material hindrance.

  4               The last thing I would note, Your Honor, the

  5    government had to call their analysts because they needed to

  6    authenticate evidence, that was the purpose of those people's

  7    testimony.    I handled both of those Cross-examinations.           The

  8    Court had previously ruled that they needed to present the

  9    evidence, to lay the foundation for the downloads, and to do

 10    the chain of custody, to make sure that it was all admissible

 11    evidence.    Those people testified for that purpose.

 12               THE COURT:    All right.    Thank you.      I'm going to

 13    sustain this objection.       I appreciate the arguments.        As I

 14    indicated, I think the evidence as to Mrs. Tew's discussions

 15    with Mr. Tew, while I indicated they may have been a mistake,

 16    for both of them, in hindsight at least, don't rise to

 17    threatening, intimidating or otherwise unlawfully influencing

 18    him.

 19               The Ms. Scaife testimony about feeling threatened, is

 20    a closer call to me, but the evidence just isn't there to

 21    support that that was a threat to try to get her to somehow

 22    influence the investigation, particularly given the confusion

 23    about the timing and the odd context of that exchange, as far

 24    as I'm aware.

 25               The deletion, I think, if I were more confident about




                                                                                    418
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 62
                                                                   Colorado
                                                                      of 103   pg
                                  419 of 460                                   62


  1    exactly when it had happened, would be the most problematic of

  2    these factors, but I just can't quite get to a determination

  3    that it's more likely than not that that was done purposefully

  4    to interfere with this investigation.         I don't think it's a

  5    crazy position to take.       I just can't find that it meets the

  6    government's burden.      So I'm going to sustain that objection.

  7               That, I believe, is all of the objections, and if I'm

  8    not mistaken, I have granted -- or sustained one objection,

  9    which would reduce the offense level by two, to 30.             The

 10    guideline range -- the defendant's Criminal History Category is

 11    Category I, and I think my understanding is that yields a

 12    guideline range of 97 to 120 month -- 121 months of

 13    imprisonment.     I think the supervised release and the fine

 14    remains the same, if I'm not mistaken.

 15               Officer Roth, am I right about that?

 16               PROBATION:    Yes, sir.    Well, the fine is reduced to

 17    30,000 --

 18               THE COURT:    I'm sorry, 30,000.      Thank you for that

 19    clarification.

 20               So understanding everyone preserves their objections

 21    to my rulings on those objections, unless there's anyone who --

 22    who thinks we got the calculation wrong, what I would like to

 23    do is take our break now, and come back and discuss the

 24    ultimate sentence.

 25               So, hearing no objection, we will take a break until 3




                                                                                    419
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 63
                                                                    Colorado
                                                                       of 103   pg
                                  420 of 460                                    63


  1    o'clock.

  2               THE COURTROOM DEPUTY:      All rise.    Court is now in

  3    recess.

  4         (Recess at 2:45 p.m.)

  5         (In open court at 3:03 p.m.)

  6               THE COURT:    Please take your seats.         So we have dealt

  7    with the guideline calculations, as I indicated, and now we

  8    have the -- ultimate sentencing decision, which is tied up with

  9    the Defendant's Motion For A Variant Sentence.             The defendant

 10    has asked for a 21-month term of imprisonment, the government's

 11    request was at the top of the guidelines for 151 months.

 12               I will just tell you, based on my initial review and

 13    understanding of the case so far, I think probably 21 months is

 14    not quite sufficient to meet the purposes of sentencing, but I

 15    do think that 151 months would be much more than is necessary.

 16    So I'm likely to arrive at a sentence somewhere in-between, but

 17    I want to allow everyone to present their positions on that

 18    before I make a final decision.

 19               I will ask the government to go first, then Mrs. Tew's

 20    counsel and then, of course, if she wishes to make any

 21    statement, she will be permitted to do so.             But would the

 22    government like to explain their sentencing position?

 23               MS. WEISS:    Yes, Your Honor.     Thank you.

 24               THE COURT:    Thank you.

 25               MS. WEISS:    Thank you, Your Honor.




                                                                                     420
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 64
                                                                   Colorado
                                                                      of 103   pg
                                  421 of 460                                   64


  1               THE COURT:    Go ahead.

  2               MS. WEISS:    Today we're here to talk about the 3553(a)

  3    sentencing factors as they apply to Kimberley Tew following

  4    eight days of a jury trial, in which she was convicted on

  5    nearly all counts.      Thousands of -- near thousands of exhibits,

  6    dozens of witnesses that came from all over the country to

  7    testify, in support of this case.

  8               Today, is about the consequences of Kimberley Tew's

  9    choices, and that is what the 3553(a) factors are meant to

 10    enable, is the consequences of her behavior.            During this

 11    criminal activity, after this criminal activity, through the

 12    trial, up through today.

 13               Kimberley Tew is a person that understands the concept

 14    of consequences, and we know that she understands the concept

 15    of consequences, because she leveraged threats of consequences

 16    in order to achieve her criminal conspiracies in this case.

 17    The Court has heard all of the evidence that the jury heard in

 18    reaching their guilty verdicts, and you have considered our

 19    written sentencing filing, as well as the defendant's

 20    sentencings filings, and what I want to do today is really

 21    focus on Kimberley Tew's words, and how they show that she

 22    understands what consequences are and how she used that against

 23    others in this case.

 24               Government's Exhibit 659, this was a text message

 25    where Kimberley Tew took over Michael Tew's phone and texted to




                                                                                    421
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 65
                                                                   Colorado
                                                                      of 103   pg
                                  422 of 460                                   65


  1    Jonathan Yioulos.      You should take this seriously, because you

  2    could lose your license if he reports you.

  3               Government's Exhibit 205, and I apologize, I'm going

  4    to be using the James log exhibit numbers, for the most part.

  5    Michael Meyers is dumb, dumb so dumb, dumb enough to do it.

  6               In response, in the same conversation, as Michael Tew

  7    is talking about filing an FBI complaint against Chris Rincon.

  8    Don't file an FBI complaint.        You are not think it go through.

  9    Same conversation.      The only thing that concerns me about Chris

 10    Rincon and Michael Meyers, once again two individuals that she

 11    recruited into this scheme, in order to money mule those

 12    invoices from National, through her husband's accounts, into

 13    her own uses, The only thing that concerns me about those

 14    individuals is National.       She knew there was a potential for

 15    consequences.

 16               To her husband, You operate on fear, that's why we're

 17    married.    In trying to convince him how to behave in this case.

 18               Government's Exhibit 242, I don't know why you never

 19    talk to John in front of me.        You let him treat you like shit.

 20    Okay.   I don't respect you.       If he doesn't call you within the

 21    next 20 minutes, I will personally turn him in.            Fuck it.     He

 22    can't even help us at this point.         No plan.     No clarity.

 23               During this trial we heard a lot, during the defense

 24    case, about how there was only one bank account that was

 25    jointly in Kimberley Tew and Michael Tew's names, and that the




                                                                                    422
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 66
                                                                   Colorado
                                                                      of 103   pg
                                  423 of 460                                   66


  1    rest of the accounts were in Michael Tew's name.            No accident.

  2    Kimberley Tew was foreseeing consequences, she was foreseeing

  3    the arguments that she was going to make in this courtroom in

  4    front of that jury.      How do we know that?      Government's Exhibit

  5    254.   A text message to Michael, I want to get 15,000 of

  6    Bitcoin.    Michael:    You need me to go to the bank?         Kimberley:

  7    Yes, how else would I get it?

  8               Another exhibit, Government's Exhibit 265, to Jonathan

  9    Yioulos, message:      Fuck you.    This is Kimberley.      I'm calling

 10    the fucking husband.      We're all in this together.        You have

 11    sent money once in awhile.

 12               Government's Exhibit 306, Michael Tew:          How much

 13    should I go for with John today and tomorrow?            What's

 14    realistic?    Kimberley Tew:     As much as you can.

 15               Government's Exhibit 317 text message from Kimberley

 16    Tew to Michael Tew:      Tell Jonathan I'm personally calling the

 17    local jail to have the guy she is having an affair with pick

 18    him up.    I don't care if we all go down.

 19               Consequences, Your Honor.       It's very confusing, this

 20    case, why someone, with all of the advantages that Kimberley

 21    Tew has had in her life, from being adopted into a loving and

 22    supportive family, to marrying a high-earning husband, living

 23    in an opulent apartment, having two children with that person,

 24    why one would risk that all?        And the only explanation that

 25    could possibly be mitigating in this case is that Kimberley Tew




                                                                                    423
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 67
                                                                   Colorado
                                                                      of 103   pg
                                  424 of 460                                   67


  1    is an addict.     She has a severe gambling addiction.          She talked

  2    about that addiction to agents, even though she denies it to

  3    this Court today.      She has admitted it at various moments in

  4    time, but how we know whether or not she has really admitted it

  5    to herself, which is the first step to addressing that

  6    addiction, is her behavior, and we know that she would sit in

  7    this courtroom, during those days of trial, hearing the

  8    evidence come in to this courtroom against her, and she would

  9    leave this courtroom, and she would get on a laptop, and she

 10    would go to a cryptocurrency betting site, and she would bet

 11    thousands of dollars at a time on betting websites, during this

 12    case, with absolutely everything on the line.

 13               I really hoped that we would come in here and we would

 14    see some evidence that she was taking steps to address that

 15    addiction, and that's not what's in her objections or her

 16    sentencing statement.      We would see some ownership of the way

 17    in which, potentially, drugs are play into this.            We have not

 18    seen any ownership of that.        We've seen denials of that.

 19               And that, Your Honor, when it comes to 3553(a)

 20    factors, presents an ongoing serious risk to the community, to

 21    herself, to her family, to all of the people that she claims

 22    this Court should consider, in fashioning a sentence against

 23    her.   They are all at risk.

 24               People like Michael Meyers, someone who had

 25    significantly less education, street smarts, savviness, who met




                                                                                    424
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 68
                                                                   Colorado
                                                                      of 103   pg
                                  425 of 460                                   68


  1    Kimberley Tew on the internet, had his life almost destroyed by

  2    her.

  3               Hannah Scaife, someone who knew Kimberley in college,

  4    ran back into her in New York, had an addiction herself, and

  5    Kimberley Tew saw vulnerability in that addiction.             A

  6    vulnerability that, in recorded calls, her husband laughed

  7    about.   That she explained was part of what made her a good

  8    foil for this.     And I want to take counsel at their word that

  9    the decision about how that witness was treated on the stand

 10    was that counsel's decision and not Kimberley Tew's decision,

 11    but, Your Honor, you observed Kimberley Tew's demeanor in this

 12    courtroom during that testimony, and that is on her, that's a

 13    consequences that is on her.        She was triumphant about how that

 14    woman was treated on that stand.         Triumphant about how

 15    Michael Meyers was treated on that stand.

 16               Up to her latest sentencing filings where she is

 17    accusing her husband of infidelity, in trying to distance

 18    herself from the purchase of luxury goods to her home, using an

 19    email address that she previously told this Court was hers.

 20    Consequences.

 21               And so when we talk about what the government is

 22    asking for today, especially, and I will -- I don't know if you

 23    want to handle the Motion For A Variance separately, but

 24    especially when we trial talk about this argument about a trial

 25    tax.   What we have in this case, Your Honor, is a long period




                                                                                    425
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 69
                                                                   Colorado
                                                                      of 103   pg
                                  426 of 460                                   69


  1    of time, prior to this courtroom starting, this trial starting,

  2    where the government new Kimberley Tew from a distance, from an

  3    impressionist perspective, and the government got to know

  4    Kimberley Tew, through introduction of that evidence, through

  5    her demeanor at trial, through her demeanor during the

  6    proceedings pretrial, and outside of the visibility of the jury

  7    and within the visibility of the jury, so you come from an

  8    impressionist painting to a realistic painting.            That was one

  9    of the risks that she took here, and there are consequences to

 10    that risk.

 11               Talking about the nature and circumstances of

 12    Kimberley Tew, herself.       I understand Your Honor's position

 13    about the obstruction of justice enhancement, and I don't want

 14    to belabor that too much, other than to say that we attached, I

 15    believe, as an exhibit to Docket Entry 394, a transcript of the

 16    portion of that incident at the Yeti store when Kimberley Tew

 17    arrived on scene.      It's 30-pages long.      It's a quick read, and

 18    I would ask Your Honor, to indulge the government by rereading

 19    that transcript prior to sentencing, briefly, and I want to

 20    talk about what she said during that meeting.

 21               I apologize, I should have kept a finger on this mouse

 22    pad so it didn't give up on me.        She talked about a lot of the

 23    factors that she wants this Court to consider mitigating.

 24    Things like her kids needing her as a parent at home.             Here is

 25    what she said during that meeting about being a parent to those




                                                                                    426
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 70
                                                                    Colorado
                                                                       of 103   pg
                                  427 of 460                                    70


  1    children.    She said, The girls need one parent Michael, I'm a

  2    better person to give up.       She said, Michael is the better

  3    parent.    She begged him to leave that meeting, to remove his

  4    phone from where it was being imaged with agents.             She tried to

  5    appeal to his parenting and how much the girls needed him, and

  6    when that didn't work, here is what she said instead, I

  7    actually will not turn myself in, because obviously Michael,

  8    you are not a good parent.       So I'm going to go home to our

  9    children that are crazy worried about you.             Michael you deserve

 10    it if this is your choice.       You have the right person in

 11    custody -- or not in custody, but with the agents, because you

 12    don't give a shit about our children.

 13               That's consistent behavior with how we saw Kimberley

 14    Tew act with Jonathan Yioulos, with Abby Schwartz, with

 15    Michael Meyers, with Chris Rincon, with Hannah Scaife.              Start

 16    out nice, and if it doesn't work out the way you want it to,

 17    then you go for the gut.

 18               Now she is starting out saying that she wants

 19    Your Honor to consider things like her family and her children,

 20    and her background and her upbringing and her education as

 21    mitigating factors.      Your Honor, those are aggravating factors.

 22    Those are things that she used and leveraged against people to

 23    convince them to either participate in these crimes, to

 24    continue to participate in these crimes, to ignore their better

 25    nature and their own sense of morality, to follow her down this




                                                                                     427
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 71
                                                                   Colorado
                                                                      of 103   pg
                                  428 of 460                                   71


  1    path.

  2               I want to talk about the 3553(a) factors, about

  3    seriousness of the crimes, promoting deterrence, protecting the

  4    public.    Your Honor, there's a general deterrence factor and a

  5    specific deterrence factor and both of these matter here.               When

  6    it comes to general deterrence in our filing, I cited several

  7    cases about how the concept of collateral consequences are not

  8    ones that fall within the 3553(a) factors, and it creates a

  9    real risk when we say things like becoming a felon, having your

 10    reputation tarnished, et cetera, are somehow justifiable for

 11    mitigating a sentence outside of the guidelines range or below

 12    the guidelines range --

 13               THE COURT:    Let me ask you about that, I guess.            I

 14    mean, on their own, no, but don't they suggest, particularly

 15    for someone with no criminal history, don't they play into, at

 16    the very least, the question of deterrence, and the risk of

 17    recidivism, and the need for -- the general need for -- I mean

 18    you are asking for an additional 12 years in prison, in this

 19    case.   Isn't that appropriate to take into account whether

 20    those collateral consequences would play into some of those

 21    other factors that are listed?

 22               MS. WEISS:    Yes, Your Honor, and I think this is one

 23    of these cases where if we were just dealing, as we were

 24    pretrial, during plea negotiations, with the impressionism

 25    version of the facts, perhaps I would give that more credit in




                                                                                      428
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 72
                                                                   Colorado
                                                                      of 103   pg
                                  429 of 460                                   72


  1    this case.    But what we have, instead, are we've now seen, in

  2    this courtroom, text messages, we've heard the testimony of

  3    witnesses, who have all shown us that Ms. Tew was very

  4    cognizant of those collateral consequences.            She just didn't

  5    think she would ever get caught and if she did get caught, she

  6    would get out of it, right?

  7               One of the things that they talked about, her and

  8    Michael was, I messaged John.        Truthfully we owe him our lives

  9    I don't think he never knew how bad it was.            If really hates us

 10    we should figure something out and get immunity.            I told him I

 11    would turn myself in and negotiate immunity for you, Michael,

 12    so the kids could have a chance.

 13               This wasn't a crime or situation where desperation in

 14    a moment drove an incredibly poor decision.            This was a

 15    two-year span of time, that was thought about extremely

 16    strategically, the entire way through, in which, Ms. Tew in

 17    some ways had some advantages, in knowing that her day of

 18    reckoning before the Court and charges in front of this Court

 19    might be coming, by virtue of the fact that her husband was

 20    arrested on that complaint, months before she was ever

 21    indicted, a period of time in which she came in and gave a

 22    proffer interview, hoping to achieve a sentence that she would

 23    be happier with, and then did not take, and then had a period,

 24    years, in the making, in which there were a series of hiring

 25    and firing counsel and filing various motions, including




                                                                                    429
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 73
                                                                   Colorado
                                                                      of 103   pg
                                  430 of 460                                   73


  1    motions to delay this case in the days leading up to the trial.

  2    She strategically prolonged these proceedings as long as she

  3    could.   Every moment in time there represents an opportunity to

  4    make a different choice and that wasn't taken.

  5               On top of that, Your Honor, we have indications with

  6    the relevant conduct that, whether or not we take the generic

  7    statistics filed by the defense, about the chances of

  8    recidivism in white collar cases, as Ms. Hubbard so eloquently

  9    said, we are here to sentence this defendant today.             What do we

 10    know about this defendant?       Well, we know she was running a

 11    cryptocurrency algorithm, soliciting investors, including

 12    Michael Meyers, and the plaintiffs in Denver District Court,

 13    and then fleecing them out of money.         We know that she was

 14    gambling prior to being indicted, after being indicted, all the

 15    way up through the days of trial in this case, following the

 16    days of trial in this case, after she was convicted.

 17               This is a serious risk.       I mean gambling is an

 18    addiction, like any other.       We can look at that behavior, and

 19    we can see that that risk is ongoing, that potential for

 20    recidivism, when she needs that money so badly so she can

 21    gamble it.    It's a huge risk.

 22               So again, Your Honor, I would just encourage us not to

 23    think about distractions.       Let's look at Kimberley Tew's words,

 24    let's look at her actions, let's look at her behavior, and

 25    let's tailor the 3553(a) factors at analysis appropriately




                                                                                    430
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 74
                                                                   Colorado
                                                                      of 103   pg
                                  431 of 460                                   74


  1    according to that.

  2               THE COURT:    Okay.   So I did want you to address

  3    whatever you need to as to the motion, in addition to anything

  4    just specifically under the factors.         If you have something

  5    that you want to add specifically on that, you should do it

  6    now.

  7               MS. WEISS:    No, Your Honor.     I will just touch briefly

  8    on the kinds of sentences and sentence disparities.             I believe

  9    most of this is addressed in our written filings, but we would

 10    indicate that the vast majority of sentences in this district

 11    are -- for white collar offenders do fall within the guideline

 12    range, and that's part of achieving the objectives of the

 13    guidelines more generally, that all types of crime are being

 14    sentenced concordant with how that matrix has developed and the

 15    congressional intent behind it.

 16               Here, Your Honor has ruled on the objections, and

 17    we're now at an Offense Level of 30, with Criminal History

 18    Category I, for 97 to 121 months.         Given that change,

 19    Your Honor, the government is still going to request the top of

 20    that now applicable guidelines range, and ask for 121 months.

 21    I know Your Honor expressed, and I want to be to be cognizant

 22    of some of the things that were said during our previous part

 23    of this hearing, when we're talking about a leader/organizer

 24    role, which Your Honor, I believe understands is close, I would

 25    encourage you to think about the words that I read out to you




                                                                                    431
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 75
                                                                    Colorado
                                                                       of 103   pg
                                  432 of 460                                    75


  1    today, which are Kimberley Tew's own words.            The hundreds of

  2    text messages, in which she was saying to her husband things

  3    like, I don't need this sulking.         I told you to get in touch

  4    with John and get money.       Figure out if you want to be in this

  5    family.    You are extremely rude to me in front of John and have

  6    said horrible things these past days.

  7               And to John, not knowing that John was under

  8    investigation at the time, Oh my God thank you, oh my God you

  9    have saved me and my family.        I mean that.       Don't send anything

 10    this fall.    And then moments later, No chance at sending

 11    anything today and tomorrow?        Like splitting it?       Or best just

 12    all at once.     I don't know how it all works, that's Michael's

 13    area.

 14               Those are the things that she was saying when she was

 15    leading her husband, Mike Meyers, Chris Rincon, Hannah Scaife,

 16    all these others down her path.

 17               I also want to address how that plays into the

 18    Zero-Point Offender Rule.       Again, I think this touches upon

 19    what we were talking about previously, in terms of risk of

 20    recidivism.    The Zero-Point Offender Rule was designed

 21    appropriately to take into account someone who has no criminal

 22    history, whatsoever.      Is at the lowest chance of recidivism,

 23    presumably.    But what it doesn't account for are all of the

 24    instances where someone has committed crimes that don't show up

 25    on a criminal history category score.         And what do we have




                                                                                     432
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 76
                                                                    Colorado
                                                                       of 103   pg
                                  433 of 460                                    76


  1    here?

  2               We have a person that we know has a gambling

  3    addiction, through their own admissions, during the exhibits.

  4    We know somebody that has used drugs, numerous times.              In fact,

  5    and I know that the filings say there wasn't any drug problem,

  6    but the messages belie that.        For instance, We need to get

  7    another wire for Friday, I played gambling, last night on

  8    drugs, and lost.     I need my pills and I need you to get on John

  9    to cash that check tomorrow.        We need something this week.

 10    Anything.    John is going to screw us over.           I really, really

 11    don't want to stress you out, but we're going to need more

 12    money.   It's just not enough.       It leaves nothing for Vegas.

 13    We're going to Vegas Down.       That's not a criminal history

 14    category score, but that's behavior that creates a risk of

 15    recidivism, Your Honor.

 16               As is things like the details that came out in the

 17    Denver District Court case, about that algorithm, the amount of

 18    money she was able to swindle out of other people in order to

 19    feed that gambling addiction, as is the evidence Your Honor

 20    heard in this courtroom, about taking the National Air Cargo

 21    credit card and driving all over Denver and spending $35,000 on

 22    gift cards.    Things that someone with a low chance of

 23    recidivism doesn't do.       They don't do things like that.

 24               So that might not equate to a criminal history

 25    category point, but when we're talking about 3553(a) factors,




                                                                                     433
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 77
                                                                   Colorado
                                                                      of 103   pg
                                  434 of 460                                   77


  1    we're talking about how to sentence this defendant, not a

  2    generic defendant, this defendant, based on everything that we

  3    know about her.     I would encourage Your Honor to take into

  4    account the facts of this defendant, which speak for

  5    themselves.

  6               Anymore questions for me?

  7               THE COURT:    Not at this time.

  8               MS. WEISS:    Thank you.

  9               THE COURT:    Mr. Kaplan?

 10               MR. KAPLAN:    So, Your Honor, it is correct, this is

 11    the time where there's disagreements and arguments about 3553

 12    considerations, and what we all know, and the phrase that we

 13    use in determining the appropriate sentence, pursuant to 3553

 14    is, A sentence that's sufficient but not greater than

 15    necessary.    Everything else kind of is the umbrella, 3553, and

 16    it's not unusual, for this time, that there's a dispute about

 17    that, and the government and defense counsel will argue their

 18    side.

 19               I do want to point out, as we did in our paper, and I

 20    do here, that in this case, we have a little bit of an insight

 21    into what the government felt was an appropriate sentence,

 22    sufficient but not greater than necessary, and that is the plea

 23    offer that was made very shortly before we went to trial.               I

 24    understand that now we have guidelines.          There's repercussions

 25    of not taking it.      That's not what I'm suggesting to the Court.




                                                                                    434
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 78
                                                                   Colorado
                                                                      of 103   pg
                                  435 of 460                                   78


  1    But when the government comes up here and talks about the

  2    necessity for what they they wanted, which was 151-month

  3    sentence, then it is incumbent on me to point out and put a

  4    mirror to some of this position of the government, under these

  5    circumstances, the protocol that was mentioned in the footnote

  6    by the government in terms of you know, it's not legally

  7    prohibited, but there's, sort of, like some sort of protocol

  8    not to bring that up.      I understand where that's coming from.

  9    We want free flow of conversation.         We don't want that to come

 10    back later on, when there's those kind of conversations, but it

 11    is hard for me not, and I will refuse to come before the Court

 12    and know that prior to trial there was an agreed to amount --

 13    when I say agreed to, the government presented something that,

 14    in their calculations, was a sentence between 51 and 64 months.

 15    And what does that mean, at the time, I would suggest to the

 16    Court that what it means, at the time, is that the government

 17    come before the Court and justify a plea agreement, with all of

 18    the considerations that the government needs to have, as to

 19    what is appropriate under the guidelines and appropriate under

 20    3553, that what is sufficient, but not greater than necessary,

 21    is 51 to 64 months, and I just can't sit here and out of some

 22    sort of protocol for future negotiations, not raise that as

 23    pretty good evidence of what they thought right before trial.

 24               Now I understand, also, I'm well aware, I have been a

 25    criminal defense attorney a very long time, that there are




                                                                                    435
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 79
                                                                   Colorado
                                                                      of 103   pg
                                  436 of 460                                   79


  1    risks to going to trial and having things revealed to the

  2    Court, sometimes, and sometimes even the prosecutor that is --

  3    that they are unaware of, that would change the whole set of

  4    circumstances, in terms of what they think was appropriate.

  5               But I would suggest to the Court that that didn't

  6    happen here.     They knew, as the Court knows, we had an

  7    extensive James log hearing.        It was an incredibly extensive

  8    log of communications, involving all of the defendants.             They

  9    had a cooperating defendant from the beginning of the case, in

 10    John Yioulos, who they could speak to about, you know, all of

 11    the things that he ended up testifying to, and I am sure many

 12    more.

 13               They were intimately familiar, in speaking with the

 14    members of National Air Cargo and John about the circumstances

 15    of National Air Cargo and what the scheme -- what impact it had

 16    and finally there were downloads of information that the Court

 17    is well aware of, that the government has demonstrated, very

 18    successfully, from banks, computers, incredible amount of

 19    telephonic communication, recorded conversations that they have

 20    used very effectively in the terabytes of information.

 21               So to suggest that there was something was disclosed,

 22    including the witnesses, those that they called and those that

 23    they didn't call, who they had interviewed and spoke with, in

 24    the preparation of this case, again, as the government has

 25    pointed out and the Court know was prepared numerous times by




                                                                                    436
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 80
                                                                   Colorado
                                                                      of 103   pg
                                  437 of 460                                   80


  1    numerous lawyers representing both the Tews.

  2               And so the idea that what Ms. Weiss said was what we

  3    learned about Ms. Tew was not, I would suggest to the Court,

  4    significant, something that was significantly revealed during

  5    trial, that they didn't have when we were engaged in

  6    discussions about disposition.

  7               What then did they say, in their own submissions to

  8    the Court that they learned during trial, because that's

  9    another thing that we don't have to wonder about.            They put it

 10    in the submission to the Court when they talked about it.               The

 11    demeanor of the defendant.       The impact on others.       And they

 12    specifically discussed the humiliation of Ms. Scaife.             That she

 13    never admitted -- that Ms. Tew has never admitted wrongdoing.

 14    No effort to address mental health or gambling addiction.               And

 15    then I think they suggested in lots of materials that somehow

 16    she was a driving force in the operation.

 17               None of those things, as contained in the information

 18    that the government gave the Court as revelations during trial,

 19    would be the kind of significant differences that would make a

 20    difference in what was a, as we've said, sufficient but not

 21    greater sentence than necessary.         And they conclude in that

 22    that Ms. Tew lacks respect for the law and holds her victims in

 23    contempt.    That was what they learned.        It doesn't

 24    significantly impact the difference of what these factors are,

 25    with what they initially thought was sufficient and now coming




                                                                                     437
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 81
                                                                   Colorado
                                                                      of 103   pg
                                  438 of 460                                   81


  1    before the Court now, and asking for 151, I understand, because

  2    of the Court's rulings, that it will be less than that.

  3               Their discussion, in the materials they gave the

  4    Court, had to do with what they now say is her role in this

  5    offense, which I will get to momentarily.

  6               The other thing that I want the Court to take into

  7    consideration, in terms of how the government views the scheme

  8    and how they view it when it was indicted, is how they indicted

  9    the case.    If they were talking about Ms. Tew as they did with

 10    the materials as being some sort of leader that it would not --

 11    I think the language they used was, It would not have happened

 12    but for Ms. Tew.

 13               Well, how they indict something is certainly not the

 14    be all and end all of what they believe the particular

 15    culpability is.     Matter of fact, in their materials, they talk

 16    about how they wouldn't file every count for every violation

 17    because they couldn't do that in cases they brought to trial,

 18    in every case it would be cumbersome and not valuable.             I don't

 19    disagree with that at all.       But when they indicted the case, it

 20    is instructive, in terms of what they felt the scheme was, and

 21    I would offer to the Court it has not changed, that Mr. Yioulos

 22    was indicted on 40 counts, Mr. Tew was indicted on 59 counts,

 23    including four counts of tax fraud, where he was found guilty

 24    of all of those, and Ms. Tew merely 14 counts of which she

 25    ended up convicted of 12.




                                                                                    438
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 82
                                                                   Colorado
                                                                      of 103   pg
                                  439 of 460                                   82


  1               I don't want to put too sharp of an edge on that, but

  2    it is an indication of what they believed the relative

  3    culpability, I will suggest to the Court, of the defendants

  4    that were involved in this particular scheme.            Another area

  5    that would support the 50-plus months that they initially were

  6    discussing in plea negotiations.

  7               I was going to take some more time, but I don't think

  8    it's necessary, based on the Court having not only gone through

  9    the trial, which I knew, obviously, but also some of the

 10    Court's comments to try to counter the paper that was submitted

 11    to the Court that tried to paint Ms. Tew as, you know, some

 12    sort of leader of men here, and without which this wouldn't

 13    happen, because there couldn't be anything more absurd than

 14    that.   You know, notwithstanding, you know, Michael Tew's

 15    attorney putting the campfire images up on the screen, these

 16    were sophisticated people that Ms. Tew was dealing with, much

 17    more sophisticated than she was.

 18               Now, the government comes up and talks about an

 19    isolated piece of information here.         The way she conducted

 20    herself on some occasions with individuals.            Some of the text

 21    messages and the emails they come up, to try to paint a picture

 22    of Ms. Tew that is not accurate in terms of what the Court

 23    heard, as to how the scheme was actually conducted.

 24               The scheme was conducted by two sharp, sophisticated,

 25    accomplished individuals, who, far and away, without much room




                                                                                    439
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 83
                                                                   Colorado
                                                                      of 103   pg
                                  440 of 460                                   83


  1    for debate, knew exactly how this scheme would be the most

  2    effective, and that was not the position that Ms. Tew was in,

  3    nor was how she -- what her participation was.            I'm not here

  4    defending -- the jury has spoken, and it's conspiracy, all

  5    right, and she is responsible for those things.            I'm not here

  6    trying to minimize that at all.        What I'm here, having to spend

  7    a little bit of time, notwithstanding them not having said it

  8    today, is this idea that her involvement somehow overcame the

  9    will and the ability to stay away from being participants in

 10    this scheme by Mr. Yioulos and Mr. Tew, and I don't think

 11    anything in the presentation of the facts would justify that

 12    conclusion.    Far to the contrary.

 13               And they talk, in their papers, about the effect on

 14    the company, and the loss of trust by the people that were

 15    involved in it.     That was Mr. Tew and Mr. Yioulos who was

 16    involved with that.

 17               The government talks about conversations that she had,

 18    random conversations that Ms. Tew had with Mr. Yioulos.             The

 19    testimony was that, at trial, was that -- by Mr. Yioulos, was

 20    that -- I think he said it a few different ways, but at one

 21    point I believe he said 98 percent of the conversations he had

 22    having to do with anything having to do with the scheme was

 23    with Mr. Tew, and it was over two years that he had these

 24    conversations.     And at one point he said, Yeah, he did not want

 25    to speak with Kimberley Tew anymore.         So that was the end of




                                                                                    440
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 84
                                                                   Colorado
                                                                      of 103   pg
                                  441 of 460                                   84


  1    that.   I believe that was probably at the end of 2019 beginning

  2    of 2020.

  3               So if you are talking about the people who made this

  4    train run on time, in terms of being able to take the money

  5    from NAC, not minimizing the jury has spoken, but suggest in

  6    the paper that somehow we've now shifted into blaming Ms. Tew

  7    as the impetus, without which this wouldn't happen, is just

  8    preposterous.

  9               What she did is she was nagging for money.           I think

 10    that was demonstrated.       She nagged Michael for money.        Michael

 11    was the individual who provided, at least since the children

 12    were born, the financial health of the family.            He is -- he is

 13    competent and capable of it.        He obtained the funds during the

 14    scheme, and best I can tell from documents provided to the

 15    Court and in the probation reports, his pretrial reports, he is

 16    capable of making millions of dollars still.            And so, to

 17    suggest that there's a nagging wife aggravator, that should

 18    result in the government now coming before the Court saying

 19    that Kimberley Tew should get more time because of her

 20    involvement in this case than even Michael Tew, shows what I --

 21    what we've suggested throughout the paperwork, a certain

 22    animus, a certain vitriol, and I think also demonstrated here,

 23    a certain personal dislike for Ms. Tew, that is not appropriate

 24    for, I think, a sentencing decision, and certainly not

 25    reflective of her involvement in this particular offense.




                                                                                    441
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 85
                                                                   Colorado
                                                                      of 103   pg
                                  442 of 460                                   85


  1               The government talks about, that the other parts of

  2    the 3553 issue should be having to do with her -- the way she

  3    conducted herself during the pendency of this case.             I don't

  4    know what the government is observing or what they want -- or

  5    what they want the Court to conclude.         Ms. Tew has been

  6    compliant during the entire prosecution of the case.             She has

  7    been respectful to the Court.        She has not caused any delay or

  8    problems with the Court.       Her demeanor during trial, I am at a

  9    loss.    I sat at the same table as Ms. Tew throughout the whole

 10    trial.    I do not know.     Her demeanor.    There was suggestions

 11    that she was going to leave the jurisdiction.            She did not.

 12    And much of what the government talks about, in terms of things

 13    that they want held against her is really things that were done

 14    by lawyers and in the defense of Ms. Tew.

 15               It is dangerous to suggest to the Court that things

 16    that are done by counsel, defending a defendant, who had the

 17    audacity to go to trial, would now come back to be an

 18    aggravating factor.      The response to our request for variant

 19    sentences is just -- some of the lines that were in it.             They

 20    said, quote, Her stubborn refusal to take any responsibility

 21    for her actions should weigh heavily in favor of a significant

 22    custodial sentence.      Is that stubborn refusal bringing her case

 23    to trial?    Is that what we're punishing?        The disregard, the

 24    very real threat of incarceration?         I want to be clear to the

 25    Court, I understand that we look and see people that make bad




                                                                                    442
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 86
                                                                   Colorado
                                                                      of 103   pg
                                  443 of 460                                   86


  1    decisions.    The Court mentioned a few things saying well, She

  2    did it, I don't know that it was the best decision for her, but

  3    what does it stand for?       What significance does it have when

  4    you are deciding what the appropriate sentence is?             And

  5    anything that suggests that she should be punished, the

  6    sentence needs to be longer and larger and harder and more

  7    punitive, because she took something to trial, regardless of

  8    how ill-advised any of us would think that might be, is not a

  9    basis.

 10               We've talked about telling the government one thing in

 11    a proffer and then repeating -- repeatedly telling the jury

 12    something different.      That was legal litigation that

 13    Ms. Hubbard and I pursued on her behalf, as we must do, as we

 14    are proud to do, because we are aggressive in the defense of

 15    somebody who chooses to exercise their right to a trial, but

 16    somehow, that gets turned as some sort of aggravating factor.

 17               The financial and nonfinancial resources of subjecting

 18    numerous lay out of state witnesses to a nearly two-week jury

 19    trial was reason enough to justify the government's generosity

 20    in a plea agreement.      Again, are we now placed in a situation

 21    where the plea -- and I get -- I get that we can save

 22    resources.    It's not illegitimate about that.          But when the

 23    government talks about that's the reason why we need a lengthy

 24    sentence and to aggravate it is because we need to go through

 25    the requirements of a jury trial, which, by the way, by any




                                                                                    443
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 87
                                                                   Colorado
                                                                      of 103   pg
                                  444 of 460                                   87


  1    statistic that you look at, somewhere around 3 percent of

  2    all -- of all prosecutions end up indictments/charges end up in

  3    trial.   All right.     So talk about the trial tax, you know, it's

  4    more complicated than that buzzword, that's why I haven't used

  5    it till now.     But it is a real thing, in terms of people not

  6    going to trial, because the repercussions of the way the system

  7    operates now, is so hard that they can't exercise that right.

  8    And you know, the government was actually more clear and honest

  9    about what they were upset with, having to do with Ms. Tew,

 10    than I would have anticipated.

 11               You know, Your Honor, I sit and listen to first

 12    advisements and a judge tells the defendant, facing charges,

 13    that you have an absolute right to go to trial.            A

 14    constitutional right to go to trial.         And in the business that

 15    I'm in, that we, as defense attorneys in, that, it actually

 16    feels -- I mean, it's such an important right.            When I hear

 17    that, I take pride in the fact that in this country, not only

 18    do we have the right, but the sincerity in which the Court

 19    advises anybody in custody of their right to go to trial,

 20    really ends up being, you know, it's almost spine tingling.

 21    And you know when it happens again?         At a providency hearing.

 22    It happens again at a providency hearing, when at the end of a

 23    lengthy discussion, the soliloquy, the questions, the answers,

 24    I tell people, federal court, at the end of what is a very

 25    complete advisement, the very last thing that a judge says is,




                                                                                    444
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 88
                                                                   Colorado
                                                                      of 103   pg
                                  445 of 460                                   88


  1    We have gone through all of this, but I want to tell you, that

  2    if you don't want to do this, you have a right to go to trial,

  3    and that's at the beginning and at the end.            That's when we get

  4    something that really is, in some ways, unique to our justice.

  5               Yet, what I'm hearing from the government in their --

  6    in what their most -- well I don't know about most.             Let me not

  7    say that.    What I'm hearing from the government is that Ms. Tew

  8    had the audacity to do that.        It comes with repercussions.        I

  9    have said that before and I am going to say it again, I'm not

 10    naive about that.      Lord knows that I'm not naive about that.

 11    But it shouldn't come as a punishment for doing it.

 12               You can't evaluate who Ms. Tew is by taking out

 13    different emails and texts, over the course of a couple years,

 14    and thousands, upon thousands, upon thousands of text messages

 15    and phone calls, and have the Court conclude that she is some

 16    sort of horrible person.       It is rightful that -- there was an

 17    introduction of the tens of thousands of communications, that

 18    have to do with demonstrating that she is a loving wife, and a

 19    loving -- and effective and loving mother, and involved in the

 20    schools and going to deal with the family situation.             It is a

 21    skewed, terribly skewed view to demonize her by taking clearly

 22    what they have and clearly what they used to gather the

 23    convictions, and to suggest that the Court, and I would say

 24    without much of which having to do with her behavior in this

 25    case, without justification, that she is somehow an evil person




                                                                                    445
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 89
                                                                   Colorado
                                                                      of 103   pg
                                  446 of 460                                   89


  1    needing to be incarcerated.        That's not what the Court is

  2    determining, but it is the sense of the documents that have

  3    been provided the Court, in a real kind of sense of what the

  4    government's statements are.

  5               So I would suggest to the Court that the Court has

  6    already indicated 21 months, and was a number that we arrived

  7    upon if we won all of the objections to the guidelines.             So it

  8    didn't come out of thin air.        It was indeed something that was

  9    rooted in our arguments having to do with the guidelines, but

 10    when you come to what the Court did on the guidelines, and how

 11    it reached its agreement or disagreement, in most every portion

 12    of our objections, to every -- whether it was the loss amount

 13    or the organizer/leader, what the Court said is that it was

 14    arguments to be entertained, and I took from the Court that

 15    they were not all easily defeated or easily agreed to the other

 16    way.   And so what does that mean to the request for a variance,

 17    including the lack of criminal history?          Which the government

 18    seems to suggest is a lack of criminal history because she,

 19    perhaps, has a drug problem where there's no evidence of a drug

 20    problem, by the way.

 21               I mean, what they cited and what was a very narrow

 22    look at it and what was contained in the presentence

 23    investigation report is Ms. Tew does take prescribed

 24    medication.    The presentence investigation report talked about

 25    what she took.     She tried cocaine sometime in her youth and she




                                                                                    446
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 90
                                                                   Colorado
                                                                      of 103   pg
                                  447 of 460                                   90


  1    smokes marijuana occasionally.        Not a drug problem.       They are

  2    concluding an addiction to gambling, which, I mean, I guess

  3    people could draw their own conclusions, but I don't know that

  4    there was any testimony as to that, and then they borrow from

  5    things that the Court will decide whether it's appropriate to

  6    consider those things.       The civil case, which we, in our

  7    responses, question whether that is appropriate.            I understand

  8    the Court can draw conclusions about the algorithm as it

  9    relates to some of the people who testified, but

 10    cryptocurrency, in and of itself, is not aggravating.             I mean

 11    they are really pulling at some straws outside of what is

 12    appropriate, and that is that she has been convicted.             She was

 13    convicted of the offense that she was convicted of, and that

 14    results in repercussions.

 15               We ask the Court to consider 21 months.          Like I said,

 16    if we had been successful it would have been something around

 17    that time.

 18               We talk about deterrence and punitive and those kind

 19    of things, and I will add this, as it relates to the more

 20    specific factors under 3553, and that is, 150 months really

 21    rolls off the tongue pretty easy for the government, and what's

 22    not sufficient amount of time, when you are talking about years

 23    incarcerated, rolls off maybe all of our tongues too easily.                 I

 24    know doesn't roll off any judge's tongue too easily, because

 25    you are required to impose it and have a real understanding of




                                                                                        447
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 91
                                                                   Colorado
                                                                      of 103   pg
                                  448 of 460                                   91


  1    what impact that might have, but I do think we have a tendency,

  2    when we get lost in the numbers, you know, the guidelines, and

  3    what's an appropriate sentence, to get a little calloused, a

  4    little immune to what that means, and I don't think anyone of

  5    us want to do that.      I wouldn't suggest the Court does.         But I

  6    think that when you are in this environment and dealing with

  7    numbers, the real reality of what is an appropriate sentence,

  8    in terms of being incarcerate and what deters and what prevents

  9    it from happening in the future, it does not need the kind of

 10    numbers that the government is coming here and asking, and so

 11    we would ask the Court to provide a sentence that's close to

 12    what we've recommended, as the Court, in good conscience, can

 13    provide.

 14               I don't know if now is the time to talk about

 15    surrendering and things like that?

 16               THE COURT:    We can talk about that in a little bit.

 17    After I have determined the sentence.

 18               MS. WEISS:    Your Honor, may I respond very briefly?

 19               THE COURT:    No, I have heard enough.        Thank you.     I

 20    did -- let's see, I think I had one question about whether

 21    Ms. Tew wishes to make a statement, though.

 22               Ms. Tew, you have the right to make a statement before

 23    I make a decision, but you are not required to.

 24               MS. HUBBARD:    Just going to talk to her.

 25               (Discussion off the record between counsel and her




                                                                                    448
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 92
                                                                   Colorado
                                                                      of 103   pg
                                  449 of 460                                   92


  1    client.)

  2               THE DEFENDANT:     Thank you.    I ... I'm sure I'm not

  3    going to say the things you want me to say, but I do want to

  4    tell you I am very grateful for you and for your courtroom, and

  5    I love our country and I love that I had a trial, and I think

  6    about the jurors and I am very grateful for them.

  7               This has not been hard -- this has not been easy.            My

  8    husband was arrested on July 8th of 2020, and since then we

  9    have tried to keep our heads up and raise our children the best

 10    that we can.

 11               And for the record, Michael is a great parent, so.             He

 12    is funny, he makes them laugh, and I'm just more serious.               I do

 13    want to say that I really care, very much, for Hannah, and I

 14    also care for Michael Meyers.        I liked who he was, as a person,

 15    and who he was trying to become.         And I still want only the

 16    best for them.     Especially Hannah.

 17               Thank you for letting me speak.

 18               THE COURT:    Thank you, Mrs. Tew.      All right.     Thank

 19    you everyone for your efforts in this case and your time today.

 20    I have considered, as I indicated, the record in this case,

 21    both what we've discussed today, as well as a number of other

 22    things, going back through the record, the docket, the filings

 23    in this case, and based on my review of the record, the

 24    sentencing factors set forth in Title 18 Section 3553(a), my

 25    judgment is that the defendant, Kimberley Ann Tew, be committed




                                                                                      449
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 93
                                                                   Colorado
                                                                      of 103   pg
                                  450 of 460                                   93


  1    to the custody of the bureau of prisons for a term of 48 months

  2    on each conviction -- each count to run consecutive --

  3    concurrent, sorry, to each other.

  4               Upon release from imprisonment, she will be placed on

  5    supervised release for a term of three years, again, on each

  6    count, to run concurrently.        I will impose a fine at the bottom

  7    of the guidelines, which is $30,000.         She is also required to

  8    pay a special assessment of a hundred dollars on each count of

  9    conviction, which I believe totals $1200.          She will be required

 10    to pay restitution in the amounts, and as indicated in the

 11    presentence investigation report, jointly and severally with

 12    her codefendants in this case, as we previously discussed.              She

 13    will also be ordered to forfeit her interest in the money

 14    judgment as discussed at the beginning of this hearing.

 15               Mrs. Tew, while on supervision, you will be required

 16    to comply with all of the terms of supervision that are

 17    recommended and discussed in the presentence investigation

 18    report.    So that will include all of the mandatory statutory

 19    conditions.    The standard conditions that this Court has

 20    adopted in General Order 2020-20.         Will also include all of the

 21    special conditions recommended by the probation officer, which

 22    I do find are reasonably related to the factors laid out in the

 23    statute, given the facts of this case and the history and

 24    characteristics of this defendant.         Those will include

 25    participation in programs of mental-health treatment and




                                                                                     450
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 94
                                                                   Colorado
                                                                      of 103   pg
                                  451 of 460                                   94


  1    cognitive behavioral treatment, as supervised and approved by

  2    the probation officer.       It includes restrictionns on gambling

  3    and use of cryptocurrency, both of those, given what happened

  4    in this case, and the conviction and the issues that seem to

  5    have led to, at least, some of this conduct, are necessary to

  6    ensure that it doesn't reoccur.

  7               There are a number of financial conditions that are

  8    required to ensure payment of the various financial penalties,

  9    and you will be subject to the search condition, which will

 10    ensure that there are not ongoing issues of this type and only

 11    kicks in, of course, if there's reasonable suspicion of a

 12    violation of those conditions.        It does appear that the

 13    defendants can pay interest, so I will require interest on the

 14    restitution.

 15               My justification for this sentence, is, as I

 16    indicated, I think some of the -- first of all, some of the

 17    guideline calculations while legally appropriate are somewhat

 18    borderline cases that ran up the guideline numbers a bit higher

 19    than seemed appropriate in this case.         I don't rely super

 20    heavily on the plea agreement draft that was offered, but it

 21    does, at least, make me feel a bit more confident that the

 22    number I have arrived at is not completely out of line with

 23    where the government, at one point, thought would be an

 24    appropriate punishment for this case.

 25               In particular, as I indicated, while the two point --




                                                                                    451
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 95
                                                                   Colorado
                                                                      of 103   pg
                                  452 of 460                                   95


  1    two-level reduction for first time offender doesn't technically

  2    apply in this case, that reduction, to me, is often

  3    insufficient to meet the importance that I put on the fact that

  4    someone who has never been in front of a court before, never

  5    been sentenced to anything significant, in this case to

  6    anything at all, to me is just in a very, very different

  7    position than someone even who may have a couple of minimal

  8    criminal history points or even some criminal history that's

  9    not accounted for.

 10               In this case, 48 months, for someone who has never

 11    served any time before, never had any interaction with the

 12    criminal justice system, to me, is a sufficient sentence to

 13    meet all of the purposes of sentencing.          It is a significant

 14    sentence for a first-time offender.

 15               This is a significant crime though.          The government

 16    has pointed out the damage that this caused to a number of

 17    people, the company, for one, just in general, this sort of

 18    conduct requires companies that could, instead of wasting time

 19    on a bunch of redundant accounting procedures, could be doing

 20    something productive and useful to society.            So I take that

 21    into account.     And it's a serious crime.       There's a lot of

 22    money involved here.      I think the parties, obviously, have sort

 23    of a different conception of Mrs. Tew's role in the crime.              I

 24    guess I fall somewhere in the middle, as my sentence does.              It

 25    seems clear to me Mrs. Tew understood what was going on, was,




                                                                                    452
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 96
                                                                   Colorado
                                                                      of 103   pg
                                  453 of 460                                   96


  1    in many ways, a driving force in the sense that her need or

  2    desire for money pushed her husband to do this and in turn

  3    Mr. Yioulos to do this.       On the other hand, it doesn't seem at

  4    all as clear to me that she set out to set her husband and

  5    Mr. Yioulos into doing something criminal, more that she took

  6    advantage of it, and certainly participated in it, that's

  7    worthy of a crime, but I don't think it's quite fair to

  8    consider her the but for cause, or at least not the only but

  9    for cause, and so I think she deserves a significant sentence

 10    to reflect the seriousness of the offense, and to deter others

 11    from engaging in sort of thing in the future, as well as to

 12    ensure that both she understands that this was not just wrong

 13    but deserving of punishment and that it can't happen again.

 14               I think, as -- I guess I indicated in questioning, my

 15    question with Ms. Weiss, I do take into account, at least to

 16    some degree, the collateral consequences, not so much

 17    reputational or anything like that, but there are children

 18    involved here that will suffer because a sentence like this,

 19    and would suffer even more with an additional six years or so.

 20    I just don't think that should be discounted completely.                I do

 21    think that the deterrence of a sentence like this, in a case

 22    like this, is impacted and the likelihood, both general and

 23    specific deterrence is impacted, that I just can't justify a

 24    sentence -- an incarceration sentence that's that much longer.

 25    Particularly, this was driven by greed.          This was a crime




                                                                                      453
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 97
                                                                    Colorado
                                                                       of 103   pg
                                  454 of 460                                    97


  1    seeking money.     The financial penalties here are significant,

  2    and will be difficult to overcome, and so for all of those

  3    reasons I think a variant sentence, not to the degree requested

  4    by the plaintiff, which I think would be insufficient to

  5    recognize her role, but I do think it's sufficient.

  6               I don't know that Mrs. Tew's demeanor during the trial

  7    is really relevant for my consideration either.             I also, sort

  8    of, not sure how it would play out.         I do -- I do think that

  9    what happened with Ms. Scaife and with Mr. Meyers is very

 10    concerning.

 11               I think the government's position that the gambling

 12    addiction or habit or whatever we want to call it, which I

 13    think is not too far separate from the attraction to Bitcoin,

 14    as a form of gambling for a lot of people, I share the concern

 15    that that could get someone in a financial hold that could lead

 16    them into a temptation to do this sort of thing again, and so

 17    21 months, I think, would be insufficient.             Forty-eight months

 18    is my best effort to balance all of those factors and to make

 19    sure that Mrs. Tew's able to overcome those compulsions or

 20    desires and recognize that she can't encourage someone or get

 21    involved in something like this again, no matter how much there

 22    might be a desire for money.

 23               Obviously, this is a significant downward variance,

 24    but only about half a variance from the guidelines, as I

 25    calculated it, for a first-time offender under these




                                                                                     454
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24    USDC
                                                               Page 98
                                                                    Colorado
                                                                       of 103   pg
                                  455 of 460                                    98


  1    circumstances, with no threat of violence.             I do take into

  2    account, as Mr. Kaplan pointed out, that she has been

  3    compliant.    She may have tried to put off going to trial, as

  4    long as possible, but none of the parade of horribles that have

  5    been suggested about what would happen before trial, none of

  6    those came to pass.      I do take that into account, with the

  7    suggestion that Mrs. Tew has recognized the need to be more

  8    respectful of the law and her obligations, and I expect that

  9    that she will be and this sentence is my effort to balance all

 10    of those factors, and I think it's sufficient but not greater

 11    than necessary to do so.

 12               As I may have hinted, to that extent I'm not inclined

 13    to remand the defendant, at this time, unless something

 14    significant has changed between when we last discussed this?

 15    Does the government believe there's something significantly new

 16    that would warrant immediate remand?

 17               MR. FIELDS:    Your Honor, I am prepared to talk about

 18    that, but there's also a request I would like to make regarding

 19    restitution.

 20               THE COURT:    Okay.   Go ahead.

 21               MR. FIELDS:    So we just ask that it be due and payable

 22    immediately, and that she be required to pay restitution at 10

 23    percent of her income.

 24               THE COURT:    Yeah.   So those I think I would -- I would

 25    impose the restitution requirement.         Those are recommendations




                                                                                     455
Case No.
     Case1:20-cr-00305-DDD
           1:20-cr-00305-DDD Document
                              Document645-4
                                       541 Filed
                                             filed 01/24/25
                                                   08/28/24   USDC
                                                              Page 99
                                                                   Colorado
                                                                      of 103   pg
                                  456 of 460                                   99


  1    in the presentence report.       I will adopt all of those.        Thank

  2    you.

  3               MR. FIELDS:    Thank you very much, Your Honor.         With

  4    regard to remand, we would ask for it, Your Honor, but we're

  5    mindful of the Court's conclusions.         The only thing is that now

  6    she is certainly facing four years of jail, which has made

  7    people leave before, so that's the only thing that's changed.

  8               THE COURT:    All right.    Thank you.      I appreciate that,

  9    Mr. Fields.

 10               Mr. Kaplan, Ms. Hubbard, do you have anything to add

 11    on any of this?

 12               MR. KAPLAN:    Just a couple things, Your Honor.         I

 13    know -- I appreciate not having Mrs. Tew remanded.             I know that

 14    the Court -- well, everybody is aware that Mr. Tew is going to

 15    be sentenced in about a month, and I understand that usually,

 16    that -- the procedure is if she is not remanded that she

 17    reports after it's designated, but in this situation, we would

 18    request a stay for 60 days, because in 30 days Michael and

 19    Kimberley will know what is required of them and for how long

 20    and the circumstances of that.        I mean, it's a little bit

 21    different.    It's not that they were not prepared, because I

 22    know it's been coming a long time, but the final preparations

 23    will be made after they can tell somebody, if they need to, of

 24    you know how they are going to deal with the child care,

 25    depending on his sentence now and for how long and what




                                                                                    456
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     541 Filed
                                           filed 08/28/24
                                                 01/24/25   Page
                                                            USDC100
                                                                 Colorado
                                                                    of 103    pg
                                457 of 460                                   100


  1    location, and those are kind of considerations that, quite

  2    frankly, are better finalized when the family knows what the

  3    circumstances of both parents are.

  4              Aside from that, given the conversation about

  5    prescribed medication, government suggesting that there may be

  6    an addiction, we would request an RDAP.

  7              THE COURT:    Okay.    Let me address the first issue you

  8    raised, first.    I assume the government would oppose that,

  9    since they believe immediate remand is appropriate.           I

 10    understand that.     But I think these are unusual circumstances,

 11    as I indicated.    I think -- I'm not concerned about Mrs. Tew at

 12    this point absconding.

 13              Mr. Roth, is there a way that we can phrase, I think

 14    it requests that we not designate for 60 days to make that

 15    work?   I know you have done it before, but I forget the exact

 16    mechanism.

 17              PROBATION:    Yes.    To avoid any issues with the BOP

 18    potentially designating her a time that you are not

 19    anticipating, I would recommend a specific date.          So I would

 20    recommend October 8th or later that she be designated.

 21              THE COURT:    Okay.    So would that make sense that

 22    she -- that we include that kind of language in the judgment?

 23              MR. KAPLAN:    Yes, that would be appreciated.

 24              THE COURT:    Okay.    I will do that.     As to the RDAP, I

 25    don't see the necessity, based on what I know, but if it's a




                                                                                   457
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     541 Filed
                                           filed 08/28/24
                                                 01/24/25   Page
                                                            USDC101
                                                                 Colorado
                                                                    of 103    pg
                                458 of 460                                   101


  1    request that she at least be made -- that that be possibly be

  2    made available.    Anybody who wants to participate in that I'm

  3    happy to recommend it, as long as Mrs. Tew understands those

  4    sorts of things I can't order.       They are only recommendations,

  5    and BOP will make a decision based on a number of factors.

  6              MR. KAPLAN:    Along those same lines ... well, if I may

  7    have a moment?

  8              (Discussion off the record between counsel.)

  9              MR. KAPLAN:    Your Honor, also, it's not unusual, and I

 10    know the -- the Court always minimizes the importance of it.

 11    We may request a placement for her, but I don't want to do --

 12    request the Court put a recommendation for a placement, but I

 13    think it would make more sense if I spoke with Ms. Tew and

 14    found out where the kids might be.        So right now I don't want

 15    to recommend a Colorado placement if that's the -- the kids

 16    aren't there.

 17              THE COURT:    Well, it's difficult for women too.           There

 18    are only so many federal facilities for women.          So, I think

 19    yeah, if we're going to do that, we may have to do a little

 20    research.

 21              MR. KAPLAN:    We will do that.

 22              THE COURT:    Okay.   The only other thing I wish to say

 23    is I know you have indicated that you plan to appeal your

 24    conviction.    I just want to advise you that if you do wish to

 25    appeal, you must do so within 14 days after judgment is entered




                                                                                     458
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     541 Filed
                                           filed 08/28/24
                                                 01/24/25     Page
                                                              USDC102
                                                                   Colorado
                                                                      of 103    pg
                                459 of 460                                     102


  1    or your right to appeal will be lost.        If you can't afford an

  2    attorney for an appeal, the Court will appoint one to represent

  3    you, and if you are request, the Clerk of the Court of this

  4    court must immediately prepare and file a Notice of Appeal on

  5    your behalf.

  6              Is there anything else from the government?

  7              MR. FIELDS:    Your Honor, I just want to put on the

  8    record that we respectfully oppose the Court recommending RDAP.

  9    We see that as another manipulation, that's an opportunity for

 10    her to get an even lower sentence.        She has not admitted to

 11    having a drug problem or a gambling problem.            There's no basis

 12    in the record for the Court to recommend that.            It's, in fact,

 13    contrary to everything that they have been filing, and so for

 14    the Court to put its thumb on the scales to BOP with that

 15    recommendation, we think would be improper.

 16              THE COURT:    Okay.   Noted, but overruled, to the extent

 17    it was a motion.     Anything on behalf of the defendant?

 18              MR. KAPLAN:    No, Your Honor.

 19              THE COURT:    Anything else, Mr. Roth?

 20              PROBATION:    No, Your Honor.

 21              THE COURT:    All right.    The Court will be in recess.

 22              THE COURTROOM DEPUTY:      All rise.       Court is now in

 23    recess.

 24        (Recess at 4:20 p.m.)

 25




                                                                                     459
CaseCase
    No. 1:20-cr-00305-DDD
         1:20-cr-00305-DDD Document
                            Document645-4
                                     541 Filed
                                           filed 08/28/24
                                                 01/24/25   Page
                                                            USDC103
                                                                 Colorado
                                                                    of 103    pg
                                460 of 460                                   103


  1                            REPORTER'S CERTIFICATE

  2

  3          I certify that the foregoing is a correct transcript from
       the record of proceedings in the above-entitled matter.
  4

  5           Dated at Denver, Colorado, this 26th day of August, 2024.

  6                                        s/Tammy Hoffschildt

  7                                         ______________________________
                                            Tammy Hoffschildt, FCRR,RMR,CRR
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




                                                                                   460
